                                                Case 2:21-cv-08688-DSF-PVC                                                 Document 95 Filed 01/19/23                                                    Page 1 of 274 Page ID
                                                                                                                                 #:2140

                                                                                                                                                                                                                                                         RESPONSE TO OBJECTION
                                       DATE (OF TIME OF
                                       ENTRY) (Date of
ATTORNEY                                Invoice on which
(Invoice Number)                           it appears)   DESCRIPTION                                     REASON FOR REDACTION              TIME     AMT CHALLENGED         REDUCED BY                            OBJECTION   REASON FOR OBJECTION
Health Freedom Defense Fund, et al. v. Carvahlo, et al.
                                                                                                                                                    ($397.60)
                                                                                                                                                    [this is 5/7s of the
Connie L. Michaels                         11/10/2021 Prepare for by review of Complaint and exhibits    To protect content of attorney-          1 full $560 entry]
Invoice=5619039                             2/28/2022 (.5) and telephone call with client re             client communications re
                                                      REDACTED (.5).                                     discussion of allegations.


                                           11/24/2021                                                                                             ($37.63)
                                                                                                                                                  [This is 5/7s of the
Connie L. Michaels                                    Correspond with Mr. Howard re my being                                                  0.1 full $53 entry]
Invoice=5601829                             1/31/2022 authorized to accept service of the complaint.

                                                                                                                                                  ($75.26)         [This
                                                                                                                                                  is 5/7s of the full
Connie L. Michaels                         11/24/2021 Telephone call with Mr. Hernandez re REDACTED      To protect content of attorney-      0.2 $106 entry]
Invoice=5601829                             1/31/2022 REDACTED                                           client communications re
                                                      REDACTED our representation and representing all   discussion of allegations and
                                                      defendants.                                        strategy.

                                                                                                                                                                                                                                                         Mr. Hernandez refers to
                                                                                                                                                                                                                                                         Marcos Hernandez, the
                                                                                                                                                                                                                                                         Chief Labor & Employment
                                                                                                                                                                                                                                                         Counse of LAUSD. As
                                                                                                                                                                                                                                                         indicated, entry is redacted
                                                                                                                                                                                                                                                         to protect contents of
                                                                                                                                                                                                                                                         attorney-client
                                                                                                                                                                                                                                                         communications re
                                                                                                                                                                                                                                                         discussions of allegations.
                                                                                                                                                                                                                                                         "Reasons for Redaction"
                                                                                                                                                                                                                                                         clearly indicates that this is
                                                                                                                                                                                                                                                         a telephonic
                                                                                                                                                                                                                                                         communication re
                                                                                                                                                  ($150.52)        [This                                                                                 allegations.
                                                                                                                                                  is 5/7s of the full                                                        unable to determine
Connie L. Michaels                         11/24/2021 Prepare for telephone call with Mr. Hernandez      To protect content of attorney-      0.4 $212 entry]            Reduced in its entirety by Plaintiffs   Object      nature of entry
Invoice=5601829                             1/31/2022 re REDACTED litigation by review and initial       client communications re
                                                      analysis of REDACTED.                              discussion of analysis and
                                                                                                         strategy.
                                                                                                         To protect content of attorney
                                                                                                         work product, attorney mental
                                                                                                         impressions, and strategy.


                                                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                                                         conducted in the entire
                                                                                                                                                                                                                                                         review of the allegations in
                                                                                                                                                                                                                                                         Plaintiffs' Complaint. If a
                                                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                                                         Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                             unable to determine         intend to seek a 5/7 fraction
                                                                                                                                                                                                                             nature of redacted entry;   of total attorneys' fees
                                                                                                                                                  $308.50          [This                                                     unable to determine how     billed for this entry.
                                                                                                                                                  is 5/7s of the full                                                        much time billed for each
Donna Leung                                11/29/2021 Review 48-page Complaint and exhibits filed by     To protect content of attorney       1.1 $434.50 entry]         Reduced in its entirety by Plaintiffs   Object      claim.
Invoice=5601829                             1/31/2022 Health Freedom Defense Fund, et al. against the    work product, attorney mental
                                                      Los Angeles Unified School District and            impressions, and strategy.
                                                      individual defendants REDACTED
                                                      re the alleged violation
                                                      of civil rights and request for declaratory and
                                                      injunctive relief, and specifically claims for
                                                      violation of the Fourteenth Amendment, Relief




                                                                                                                  Final Joint Statement_00001
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                                under the Americans with Disabilities Act,
                                Violation of Due Process, Public Disclosure of
                                Private Facts, and Breach of Security for
                                Computerized Personal Information in order to
                                REDACTED.

                                                                                                                       ($39.76)
                                                                                                                       [This is 5/7s of the
Connie L. Michaels   12/1/2021 Prepare correspondence to Mr. Hernandez re                                          0.1 full $56 entry]
Invoice=5619039      2/28/2022 status of service and related issues.

                                                                                                                       ($1,073.52)
                                                                                                                       [This is 5/7s of full
Connie L. Michaels   12/5/2021 Commence drafting of answer to complaint.                                           2.7 $1512 entry]
Invoice=5619039      2/28/2022

                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in the entire
                                                                                                                                                                                                                          review of the allegations in
                                                                                                                                                                                                                          Plaintiffs' Complaint. If a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek a 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry. Nature
                                                                                                                                                                                                                          of the attorney work is
                                                                                                                                                                                                                          evident, and redactions
                                                                                                                                                                                                                          have been made to protect
                                                                                                                                                                                                                          attorney-client privilege,
                                                                                                                                                                                                                          attorney mental impression,
                                                                                                                                                                                                                          and attorney work product.
                                                                                                                                                                                                unreasonable/excessive    Defendants were obligated
                                                                                                                                                                                                block billing; unable to  to review the 51 page
                                                                                                                                                                                                determine nature of       Complaint and its exhibits
                                                                                                                       ($2,027.76)                                                              redacted entry; unable to and affirm or deny the
                                                                                                                       [This is 5/7s of the                                                     determine how much time factual allegations in its 149
Connie L. Michaels   12/6/2021 Further draft answer to complaint, and            To protect content of attorney-   5.1 full $2,856 entry]      Reduced in its entirety by Plaintiffs   Object   billed for each claim.    Paragraphs and 7 causes of
Invoice=5619039      2/28/2022 correspond with client re REDACTED,               client communications re
                               REDACTED,                                         discussion of allegations.
                               REDACTED.

                                                                                                                                                                                                                             Attorney activity was
                                                                                                                                                                                                                             conducted in relation to all
                                                                                                                                                                                                                             factual allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint. If a
                                                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991).Defendants intend
                                                                                                                                                                                                                             to seek a 5/7 fraction of
                                                                                                                                                                                                                             total attorneys' fees billed
                                                                                                                                                                                                                             for this entry. Nature of the
                                                                                                                                                                                                                             attorney work is evident,
                                                                                                                                                                                                                             and redactions have been
                                                                                                                                                                                                                             made to protect attorney-
                                                                                                                                                                                                                             client privilege, attorney
                                                                                                                                                                                                                             mental impression, and
                                                                                                                                                                                                                             attorney work product.

                                                                                                                                                                                                unable to determine
                                                                                                                       ($218.68)         [This                                                  nature of entry; unable to
                                                                                                                       is 5/7s of full $308                                                     determine how much time
Andrew R. Gray       12/6/2021 Assist with analysis and strategy relating to     To protect content of attorney    0.7 entry]                  Reduced in its entirety by Plaintiffs   Object   billed for each claim.




                                                                                          Final Joint Statement_00002
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Invoice=5619039      2/28/2022 affirmative defenses to be alleged in response to   work product, attorney mental
                               Plaintiffs' claims REDACTED                         impressions, and strategy.
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in relation to all
                                                                                                                                                                                                                           factual allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint. If a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek a 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry. Nature
                                                                                                                                                                                                                           of the attorney work is
                                                                                                                                                                                                                           evident, and redactions
                                                                                                                                                                                                                           have been made to protect
                                                                                                                                                                                                                           attorney-client privilege,
                                                                                                                                                                                                                           attorney mental impression,
                                                                                                                                                                                                                           and attorney work product.


                                                                                                                       ($188.15)        [This                                                  unable to determine how
                                                                                                                       is 5/7s of the full                                                     much time billed for each
Connie L. Michaels   12/7/2021 Compare complaint allegations with those in                                         0.5 $265 entry]            Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5601829      1/31/2022 first amended complaint.

                                                                                                                                                                                                                          The letter was sent by
                                                                                                                                                                                                                          counsel for Defendants to
                                                                                                                                                                                                                          all of the Defendants re
                                                                                                                                                                                                                          potential conflicts. Nature
                                                                                                                                                                                                                          of the attorney work is
                                                                                                                                                                                                                          evident, and redactions
                                                                                                                                                                                                                          have been made to protect
                                                                                                                                                                                                                          client's proprietary
                                                                                                                                                                                                                          information. If a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                               unable to determine        Cabrales v. Co. of L.A. , 935
                                                                                                                       ($39.76) [This is                                                       nature of entry; unable to F.2d 1050, 1053 (9th
                                                                                                                       5/7s of the full $56                                                    determine how much time Cir.1991).
Connie L. Michaels   12/7/2021 Revise REDACTED letter.                             To protect proprietary          0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5619039      2/28/2022                                                     information.




                                                                                            Final Joint Statement_00003
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                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in relation to all
                                                                                                                                                                                                                        factual allegations and
                                                                                                                                                                                                                        causes of actions within
                                                                                                                                                                                                                        Plaintiffs' Complaint. If a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek a 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                                        billed for this entry. Nature
                                                                                                                                                                                                                        of the attorney work is
                                                                                                                                                                                                                        evident, and redactions
                                                                                                                                                                                                                        have been made to protect
                                                                                                                                                                                                                        attorney-client privilege,
                                                                                                                                                                                                                        attorney mental impression,
                                                                                                                                                                                                                        and attorney work product.
                                                                                                                                                                                                                        Defendants were obligated
                                                                                                                                                                                             unable to determine        to review the 51 page
                                                                                                                      ($112.89) [This is                                                     nature of entry; unable to Complaint and its exhibits
                                                                                                                      5/7s of the full $159                                                  determine how much time and affirm or deny the
Connie L. Michaels    12/7/2021 Revise answer supporting first amended         To protect content of attorney-    0.3 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim.     factual allegations in its 149
Invoice=5601829       1/31/2022 complaint REDACTED.                            client communications re
                                                                               discussion of allegations.

                                                                                                                      ($37.63) [This is
                                                                                                                      5/7s of the full $53
Connie L. Michaels    12/8/2021 Correspond with client re finalizing answer,                                      0.1 entry]
Invoice=5601829       1/31/2022 complete revisions to same and oversee
                                filing/service.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident. This is a
                                                                                                                                                                                                                          communication with client
                                                                                                                                                                                                                          regarding discussion about
                                                                                                                                                                                                                          claims. Redactions have
                                                                                                                                                                                                                          been made to protect
                                                                                                                                                                                                                          attorney-client
                                                                                                                                                                                                                          communications and
                                                                                                                                                                                                                          attorney mental
                                                                                                                                                                                                                          impressions. If a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek a 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                             unable to determine          billed for this entry.
                                                                                                                      ($75.26) [This is                                                      nature of entry; unable to
                                                                                                                      5/7s of the full $106                                                  determine how much time
Connie L. Michaels   12/16/2021 Correspond with Hernandez re REDACTED          To protect proprietary             0.2 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5601829       1/31/2022 REDACTED.                                       information. To protect content
                                                                               of attorney-client communication
                                                                               re discussions about claims.




                                                                                        Final Joint Statement_00004
                          Case 2:21-cv-08688-DSF-PVC                                            Document 95 Filed 01/19/23                                               Page 5 of 274 Page ID
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                                                                                                                                                                                                                      The duplicative entry has
                                                                                                                                                                                                                      been deleted. A brief case
                                                                                                                                                                                                                      team meeting was held for
                                                                                                                                                                                                                      all defense counsel weekly
                                                                                                                                                                                                                      to confer and strategize
                                                                                                                                                                                                                      regarding the case and its
                                                                                                                                                                                                                      developments. Nature of
                                                                                                                                                                                                                      attorney work is evident
                                                                                                                                                                                                                      and relates to strategic
                                                                                                                                                                                                                      assessment and factual
                                                                                                                                                                                                                      analysis regarding Plaintiff's
                                                                                                                                                                                                                      allegations. If a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991).
                                                                                                                    ($112.89) [This is
                                                                                                                    5/7s lof the full
Connie L. Michaels   12/21/2021 Prepare for and confer with case team re                                        0.3 $159 entry]          Reduced in its entirety by Plaintiffs   Object   Duplicative.
Invoice=5601829       1/31/2022 background facts and initial strategy.



                                                                                                                                                                                                                     Not a duplicative entry. This
                                                                                                                                                                                                                     entry concerned a motion
                                                                                                                                                                                                                     for an injunction which was
                                                                                                                                                                                                                     anticipated to be filed early
                                                                                                                                                                                                                     in the case as it was in the
                                                                                                                                                                                                                     initial related lawsuit.
                                                                                                                                                                                                                     Attorney work conducted
                                                                                                                                                                                                                     on entirety of factual
                                                                                                                                                                                                                     allegation within Plaintiffs'
                                                                                                                                                                                                                     Complaint. If a prevailing
                                                                                                                                                                                                                     party ultimately wins on a
                                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                     intend to seek a 5/7 fraction
                                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                                     billed for this entry. Nature
                                                                                                                                                                                                                     of the attorney work is
                                                                                                                                                                                                                     evident, and redactions
                                                                                                                                                                                                                     have been made to protect
                                                                                                                    ($84.14) [This is                                                                                attorney work product,
                                                                                                                    5/7s of the full                                                      Duplicative; unable to     attorney mental
Donna Leung          12/21/2021 Strategize re litigation strategy, including   To protect content of attorney   0.3 $118.5 entry]        Reduced in its entirety by Plaintiffs   Object   determine nature of entry. impressions and strategy.
Invoice=5601829       1/31/2022 potential response to REDACTED                 work product, attorney mental
                                REDACTED                                       impressions, and strategy.
                                REDACTED.




                                                                                        Final Joint Statement_00005
                          Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 6 of 274 Page ID
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                                                                                                                                                                                                                                  Not a duplicative entry.
                                                                                                                                                                                                                                  Attorney work conducted
                                                                                                                                                                                                                                  on entirety of factual
                                                                                                                                                                                                                                  allegation within Plaintiffs'
                                                                                                                                                                                                                                  Complaint. If a prevailing
                                                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek a 5/7 fraction
                                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                                                  billed for this entry. Nature
                                                                                                                                                                                                                                  of the attorney work is
                                                                                                                                                                                                                                  evident, and redactions
                                                                                                                                                                                                                                  have been made to protect
                                                                                                                                                                                                                                  attorney work product,
                                                                                                                                                                                                                                  attorney mental
                                                                                                                                                                                                     Duplicative; unable to       impressions and strategy.
                                                                                                                                                                                                     determine nature of entry;
                                                                                                                             ($56.09) [This is                                                       unable to determine how
                                                                                                                             5/7s of the full $79                                                    much time billed for each
Donna Leung          12/21/2021 Strategize re litigation strategy and next             To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5601829       1/31/2022 steps, including drafting an answer to the complaint   work product, attorney mental
                                with appropriate affirmative defenses to Plaintiff's   impressions, and strategy.
                                claims in order to REDACTED.


                                                                                                                                                                                                                                  The letter was sent by
                                                                                                                                                                                                                                  counsel for Defendants to
                                                                                                                                                                                                                                  all of the Defendants re
                                                                                                                                                                                                                                  potential conflicts. Nature
                                                                                                                                                                                                                                  of attorney work is evident.
                                                                                                                                                                                                                                  This is a communication
                                                                                                                                                                                                                                  with client regarding
                                                                                                                                                                                                                                  discussion about claims and
                                                                                                                                                                                                                                  strategy. If a prevailing
                                                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991).Redactions have
                                                                                                                                                                                                                                  been made to protect
                                                                                                                                                                                                                                  attorney-client
                                                                                                                                                                                                                                  communications and
                                                                                                                                                                                                                                  attorney mental
                                                                                                                                                                                                     unable to determine          impressions.
                                                                                                                             ($75.26) [This is                                                       nature of entry; unable to
                                                                                                                             5/7s of the full $106                                                   determine how much time
Connie L. Michaels   12/22/2021 Draft REDACTED and correspond with                     To protect content of attorney-   0.2 entry]                Reduced in its entirety by Plaintiffs    Object   billed for each claim.
Invoice=5601829       1/31/2022 clients re same.                                       client communications re
                                                                                       discussion of case status and
                                                                                       strategy. To protect content of
                                                                                       attorney mental impressions
                                                                                       and strategy.




                                                                                                Final Joint Statement_00006
                          Case 2:21-cv-08688-DSF-PVC                                                  Document 95 Filed 01/19/23                                                 Page 7 of 274 Page ID
                                                                                                            #:2146

                                                                                                                                                                                                                               Mr. Hernandez refers to
                                                                                                                                                                                                                               Marcos Hernandez, the
                                                                                                                                                                                                                               Chief Labor & Employment
                                                                                                                                                                                                                               Counsel of LAUSD; Ms.
                                                                                                                                                                                                                               Shahin is an Associate
                                                                                                                                                                                                                               General Counsel of LAUSD.
                                                                                                                                                                                                                               Nature of attorney work is
                                                                                                                                                                                                                               evident. This is a
                                                                                                                                                                                                                               communication with client
                                                                                                                                                                                                                               regarding discussion about
                                                                                                                                                                                                                               claims and strategy. If a
                                                                                                                                                                                                                               prevailing party ultimately
                                                                                                                                                                                                                               wins on a particular claim, it
                                                                                                                                                                                                                               is entitled to all attorney's
                                                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991).Redactions have
                                                                                                                                                                                                                               been made to protect
                                                                                                                                                                                                                               attorney-client
                                                                                                                                                                                                                               communications and
                                                                                                                                                                                                                               attorney mental
                                                                                                                                                                                                  unable to determine          impressions.
                                                                                                                          ($188.15)        [This                                                  nature of entry; unable to
                                                                                                                          is 5/7s of the full                                                     determine how much time
Connie L. Michaels   12/27/2021 Prepare for and confer with Ms. Sharin, Mr.         To protect content of attorney-   0.5 $265 entry]            Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5601829       1/31/2022 Hernandez, and Ms. Evan’s re strategy and           client communications re
                                status REDACTED.                                    discussion of case status and
                                                                                    strategy. To protect content of
                                                                                    attorney mental impressions
                                                                                    and strategy.




                                                                                                                                                                                                                               Other duplicative entry
                                                                                                                                                                                                                               deleted. Nature of attorney
                                                                                                                                                                                                                               work is evident. This is a
                                                                                                                                                                                                                               communication with client
                                                                                                                                                                                                                               regarding discussion about
                                                                                                                                                                                                                               claims and strategy. If a
                                                                                                                                                                                                                               prevailing party ultimately
                                                                                                                                                                                                                               wins on a particular claim, it
                                                                                                                                                                                                                               is entitled to all attorney's
                                                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991). Redactions have
                                                                                                                                                                                                                               been made to protect
                                                                                                                                                                                                                               attorney-client
                                                                                                                                                                                                                               communications and
                                                                                                                                                                                                                               attorney mental
                                                                                                                                                                                                                               impressions.

                                                                                                                          ($166.99) [This is
                                                                                                                          5/7s of the full
Connie L. Michaels     1/5/2022 Prepare for and conference call with client and                                       0.4 $235.2 entry]          Reduced in its entirety by Plaintiffs   Object   Duplicative
Invoice=5619039       2/28/2022 co-counsel re status of case and related matters.




                                                                                             Final Joint Statement_00007
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                              Page 8 of 274 Page ID
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                                                                                                                                                                                                                         A brief case team meeting
                                                                                                                                                                                                                         was held for all defense
                                                                                                                                                                                                                         counsel weekly to confer
                                                                                                                                                                                                                         and strategize regarding the
                                                                                                                                                                                                                         case and its developments.
                                                                                                                                                                                                                         This entry is not duplicative.
                                                                                                                                                                                                                         Several attorneys were
                                                                                                                                                                                                                         involved in the defense of
                                                                                                                                                                                                                         Plaintiffs' claims. If a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). The nature of this
                                                                                                                                                                                                                         entry is evident and relates
                                                                                                                                                                                                                         to communications with
                                                                                                                                                                                                                         Defendants re defense
                                                                                                                                                                                                                         strategy.
                                                                                                                       ($84.14) [This is
                                                                                                                       5/7s of the full
Nick McKinney         1/5/2022 Conference call with team regarding strategy                                        0.3 $118.5 entry]       Reduced in its entirety by Plaintiffs   Object   Duplicative
Invoice=5619039      2/28/2022 for case handling.




                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident. Communication
                                                                                                                                                                                                                         with client regarding
                                                                                                                                                                                                                         discussion about claims and
                                                                                                                                                                                                                         strategy are recoverable. If
                                                                                                                                                                                                                         a prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Redactions have
                                                                                                                                                                                                                         been made to protect
                                                                                                                                                                                                                         attorney-client
                                                                                                                                                                                                                         communications and
                                                                                                                                                                                                                         attorney mental
                                                                                                                                                                                                                         impressions.
                                                                                                                                                                                            unable to determine
                                                                                                                       ($41.75) [This is                                                    nature of entry; unable to
                                                                                                                       5/7s of the full                                                     determine how much time
Connie L. Michaels    1/9/2022 Prepare correspondence with client re status of   To protect content of attorney-   0.1 $58.8 entry]        Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5619039      2/28/2022 REDACTED.                                         client communications re
                                                                                 discussion of case status.

                                                                                                                       ($41.75) [This is
                                                                                                                       5/7s of the full
Connie L. Michaels    1/9/2022 Prepare correspondence with plaintiff's counsel                                     0.1 $58.8 entry]
Invoice=5619039      2/28/2022 re meeting and conferring for scheduling
                               conference.




                                                                                          Final Joint Statement_00008
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                                                                                                       #:2148

                                                                                                                                                                                                                         The letter was sent by
                                                                                                                                                                                                                         counsel for Defendants to
                                                                                                                                                                                                                         all of the Defendants re
                                                                                                                                                                                                                         potential conflicts. Nature
                                                                                                                                                                                                                         of attorney work is evident.
                                                                                                                                                                                                                         Communication with client
                                                                                                                                                                                                                         regarding discussion about
                                                                                                                                                                                                                         claims and strategy are
                                                                                                                                                                                                                         recoverable. If a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Redactions have
                                                                                                                                                                                                                         been made to protect
                                                                                                                                                                                                                         attorney-client
                                                                                                                                                                                                                         communications and
                                                                                                                                                                                                                         attorney mental
                                                                                                                                                                                                                         impressions.
                                                                                                                                                                                            unable to determine
                                                                                                                     ($41.75) [This is                                                      nature of entry; unable to
                                                                                                                     5/7s of the full                                                       determine how much time
Connie L. Michaels   1/10/2022 Correspond with client re status of REDACTED    To protect content of attorney-   0.1 $58.8 entry]          Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5619039      2/28/2022 REDACTED.                                       client communications re
                                                                               discussion of case status.


                                                                                                                                                                                                                         Case budgeting is not an
                                                                                                                                                                                                                         administrative tasks and
                                                                                                                                                                                                                         requires the expertise of
                                                                                                                                                                                                                         counsel to advise a client of
                                                                                                                                                                                                                         anticipated time and cost of
                                                                                                                                                                                                                         defending a matter which is
                                                                                                                                                                                                                         further vested on the
                                                                                                                                                                                                                         nature of claims,
                                                                                                                                                                                                                         allegations, and required
                                                                                                                                                                                                                         attorney work to present
                                                                                                                                                                                                                         defense. Such task cannot
                                                                                                                     ($41.75) [This is                                                                                   be handled by an assistant.
                                                                                                                     5/7s of the full
Connie L. Michaels   1/10/2022 Draft case budget and forward same to client.                                     0.1 $58.8 entry]          Reduced in its entirety by Plaintiffs   Object   Administrative task
Invoice=5619039      2/28/2022

                                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                                         privileged documents or
                                                                                                                     ($208.74) [This is                                                                                  information is not an
                                                                                                                     5/7s of the full $294                                                                               administrative task.
Connie L. Michaels   1/11/2022 Confer with Ms. Richman re preparation and                                        0.5 entry]                Reduced in its entirety by Plaintiffs   Object   Administrative task
Invoice=5619039      2/28/2022 maintenance of extranet.




                                                                                        Final Joint Statement_00009
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                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                         privileged documents or
                                                                                                                                                                                                         information is not an
                                                                                                                                                                                                         administrative task.
                                                                                                                                                                                                         Moreover, attorney's fees
                                                                                                                                                                                                         may properly include
                                                                                                                                                                                                         compensation for
                                                                                                                                                                                                         paralegals. Missouri v.
                                                                                                                                                                                                         Jenkins , 491 U.S. 274, 285
                                                                                                                                                                                                         (1989). The Ninth Circuit
                                                                                                                                                                                                         has extended compensable
                                                                                                                                                                                                         time to all those "whose
                                                                                                                                                                                                         labor contributes to work
                                                                                                                                                                                                         product for which an
                                                                                                                                                                                                         attorney bills her client."
                                                                                                                                                                                                         Trustees of the Constr.
                                                                                                                                                                                                         Indus. Laborers Health
                                                                                                                                                                                                         Welfare Trust v. Redland
                                                                                                                                                                                                         Ins. Co ., 460 F.3d 1253,
                                                                                                           ($31.95) [This is                                                                             1256-57 (9th Cir. 2006).
                                                                                                           5/7s of the full $45
Suzy Richman      1/11/2022 Call with C. Michaels re organizing and                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   Administrative task
Invoice=5619039   2/28/2022 supporting all files on Extranet and review
                            email thread re setting up extranet and email
                            A. Greer re Extranet questions.


                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                         privileged documents or
                                                                                                                                                                                                         information is not an
                                                                                                                                                                                                         administrative task.
                                                                                                                                                                                                         Moreover, attorney's fees
                                                                                                                                                                                                         may properly include
                                                                                                                                                                                                         compensation for
                                                                                                                                                                                                         paralegals. Missouri v.
                                                                                                                                                                                                         Jenkins , 491 U.S. 274, 285
                                                                                                                                                                                                         (1989). The Ninth Circuit
                                                                                                                                                                                                         has extended compensable
                                                                                                                                                                                                         time to all those "whose
                                                                                                                                                                                                         labor contributes to work
                                                                                                                                                                                                         product for which an
                                                                                                                                                                                                         attorney bills her client."
                                                                                                                                                                                                         Trustees of the Constr.
                                                                                                                                                                                                         Indus. Laborers Health
                                                                                                                                                                                                         Welfare Trust v. Redland
                                                                                                                                                                                                         Ins. Co ., 460 F.3d 1253,
                                                                                                           ($31.95) [This is                                                                             1256-57 (9th Cir. 2006).
                                                                                                           5/7s of the full $45
Suzy Richman      1/12/2022 Set up folders on Extranet REDACTED.            To protect proprietary     0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin. Task
Invoice=5619039   2/28/2022                                                 information.




                                                                                     Final Joint Statement_00010
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 11 of 274 Page
                                                                                                         ID #:2150

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident. Counsel has
                                                                                                                                                                                                                         reviewed pleadings in
                                                                                                                                                                                                                         preparation for defense of
                                                                                                                                                                                                                         this matter. If a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991).Redactions have
                                                                                                                                                                                                                         been made to protect
                                                                                                                                                                                                                         attorney-client
                                                                                                                                                                                                                         communications and
                                                                                                                                                                                             Unable to discern nature of attorney mental
                                                                                                                      ($333.98) [This is                                                     entry; unable to determine impressions.
                                                                                                                      5/7s of the full $                                                     how much time billed for
Connie L. Michaels   1/12/2022 Locate and review pleadings from REDACTED         To protect content of attorney   0.8 470.4 entry]          Reduced in its entirety by Plaintiffs   Object   each claim
Invoice=5619039      2/28/2022 REDACTED.                                         work product, attorney mental
                                                                                 impressions, and strategy.

                                                                                                                                                                                                                          A brief case team meeting
                                                                                                                                                                                                                          was held for all defense
                                                                                                                                                                                                                          counsel weekly to confer
                                                                                                                                                                                                                          and strategize regarding the
                                                                                                                                                                                                                          case and its developments.
                                                                                                                                                                                                                          Strategizing and preparing
                                                                                                                                                                                                                          defense is not an
                                                                                                                                                                                                                          adminstrative task. Nature
                                                                                                                                                                                                                          of attorney work is evident,
                                                                                                                                                                                                                          and counsel are required to
                                                                                                                                                                                                                          strategize and confer as to
                                                                                                                                                                                                                          the next steps in defending
                                                                                                                                                                                                                          against Plaintiffs' claims.
                                                                                                                      ($166.99) [This is
                                                                                                                      5/7s of the full
Connie L. Michaels   1/13/2022 Confer with case team re matter status and next                                    0.4 $235.2 entry]         Reduced in its entirety by Plaintiffs   Object   Admin. Task; vague
Invoice=5619039      2/28/2022 steps.

                                                                                                                      ($41.75) [This is
                                                                                                                      5/7s of the full
Connie L. Michaels   1/13/2022 Correspond with Mr. Howard re meeting and                                          0.1 $58.8 entry]
Invoice=5619039      2/28/2022 conferring per Rule 26 re scheduling
                               conference.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident. Counsel has
                                                                                                                                                                                                                         reviewed pleadings in
                                                                                                                                                                                                                         preparation for defense of
                                                                                                                                                                                                                         this matter. If a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991).Redactions have
                                                                                                                                                                                                                         been made to protect
                                                                                                                                                                                                                         attorney-client
                                                                                                                                                                                                                         communications and
                                                                                                                                                                                             Unable to discern nature of attorney mental
                                                                                                                      ($208.74) [This is                                                     entry; unable to determine impressions.
                                                                                                                      5/7s of the full $294                                                  how much time billed for
Connie L. Michaels   1/13/2022 Review pleadings from related cases per           To protect content of attorney   0.5 entry]                Reduced in its entirety by Plaintiffs   Object   each claim
Invoice=5619039      2/28/2022 REDACTED.                                         work product, attorney mental
                                                                                 impressions, and strategy.




                                                                                          Final Joint Statement_00011
                       Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 12 of 274 Page
                                                                                                     ID #:2151

                                                                                                                                                                                                                       Preparing for and advising
                                                                                                                                                                                                                       on the manner in which to
                                                                                                                                                                                                                       maintain potentially
                                                                                                                                                                                                                       privileged documents or
                                                                                                                                                                                                                       information is not an
                                                                                                                                                                                                                       administrative task.
                                                                                                                                                                                                                       Moreover, attorney's fees
                                                                                                                                                                                                                       may properly include
                                                                                                                                                                                                                       compensation for
                                                                                                                                                                                                                       paralegals. Missouri v.
                                                                                                                                                                                                                       Jenkins , 491 U.S. 274, 285
                                                                                                                                                                                                                       (1989). The Ninth Circuit
                                                                                                                                                                                                                       has extended compensable
                                                                                                                                                                                                                       time to all those "whose
                                                                                                                                                                                                                       labor contributes to work
                                                                                                                                                                                                                       product for which an
                                                                                                                                                                                                                       attorney bills her client."
                                                                                                                                                                                                                       Trustees of the Constr.
                                                                                                                                                                                                                       Indus. Laborers Health
                                                                                                                                                                                                                       Welfare Trust v. Redland
                                                                                                                                                                                                                       Ins. Co ., 460 F.3d 1253,
                                                                                                                  ($31.95) [This is                                                                                    1256-57 (9th Cir. 2006).
                                                                                                                  5/7s of the full $45
Suzy Richman      1/13/2022 Prepare introduction email to group regarding    To protect proprietary           0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin. Task
Invoice=5619039   2/28/2022 using the extranet REDACTED.                     information.

                                                                                                                  ($308.50) [This is
                                                                                                                  5/7s of the full
Donna Leung       1/13/2022 Begin drafting joint Rule 26(f) report as                                         1.1 $434.5 entry]
Invoice=5619039   2/28/2022 required by Judge Fischer’s Standing Order,
                            Federal Rule of Civil Procedure 16(b) and
                            26(f), and Central District Local Rule 26-1 in
                            order to demonstrate to the court Defendants’
                            positions as to the statement of the case, key
                            factual and legal issues, and proposed
                            discovery and motion plan.

                                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                                       and strategize regarding the
                                                                                                                                                                                                                       case and its developments.
                                                                                                                                                                                                                       This entry is not duplicative.
                                                                                                                                                                                                                       Several attorneys were
                                                                                                                                                                                                                       involved in the defense of
                                                                                                                                                                                                                       Plaintiffs' claims. The nature
                                                                                                                                                                                                                       of this entry is evident and
                                                                                                                                                                                                                       relates to counsels' analysis
                                                                                                                  ($84.14) [This is                                                                                    re defense strategy.
                                                                                                                  5/7s of the full
Nick McKinney     1/13/2022 Conference call with team to discuss case                                         0.3 $118.5 entry]          Reduced in its entirety by Plaintiffs   Object   duplicative; vague
Invoice=5619039   2/28/2022 analysis and strategy.

                                                                                                                 ($280.45) [This is
                                                                                                                 5/7s of the full $395
Nick McKinney     1/14/2022 Review complaint and analysis for preparation                                      1 entry]
Invoice=5619039   2/28/2022 of further case handling.

                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident. Counsel drafted a
                                                                                                                                                                                                                      stipulation and proposed
                                                                                                                                                                                                                      order for the court ordered
                                                                                                                                                                                                                      Scheduling Conference.
                                                                                                                                                                                                                      Given the number of
                                                                                                                                                                                                                      Plaintiffs' attorneys,
                                                                                                                                                                                                                      scheduling conflicts for
                                                                                                                                                                                                                      defense counsel, and the
                                                                                                                                                                                                                      pending substitution of
                                                                                                                                                                                                                      counsel by Plaintiffs', the
                                                                                                                                                                                          Unable to discern nature of time billed for this attorney
                                                                                                                  ($308.50) [This is                                                      redacted services. Billed   work is reasonable.
                                                                                                                  5/7s of the full                                                        amount for unredacted
Donna Leung       1/14/2022 Draft stipulation and proposed order to          To protect content of attorney   1.1 $434.5 entry]          Reduced in its entirety by Plaintiffs   Object   services is excessive.




                                                                                      Final Joint Statement_00012
                           Case 2:21-cv-08688-DSF-PVC                                                   Document 95 Filed 01/19/23                                              Page 13 of 274 Page
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Invoice=5619039      2/28/2022 continue scheduling conference based upon             work product, attorney mental
                               scheduling conflict on behalf of Defendants’          impressions, and strategy.
                               counsel and pending substitution of attorney on
                               behalf of Plaintiffs’ counsel in order to REDACTED.


                                                                                                                         ($83.50) [This is
                                                                                                                         5/7s of the full
Connie L. Michaels   1/14/2022 Correspond with plaintiff’s counsel re his                                            0.2 $117.6 entry]
Invoice=5619039      2/28/2022 substitution out of case and stipulation to
                               court to continue scheduling conference.

                                                                                                                                                                                                             Maintaining potentially
                                                                                                                                                                                                             privileged documents or
                                                                                                                                                                                                             information is not an
                                                                                                                                                                                                             administrative task.
                                                                                                                                                                                                             Moreover, attorney's fees
                                                                                                                                                                                                             may properly include
                                                                                                                                                                                                             compensation for
                                                                                                                                                                                                             paralegals. Missouri v.
                                                                                                                                                                                                             Jenkins , 491 U.S. 274, 285
                                                                                                                                                                                                             (1989). The Ninth Circuit
                                                                                                                                                                                                             has extended compensable
                                                                                                                                                                                                             time to all those "whose
                                                                                                                                                                                                             labor contributes to work
                                                                                                                                                                                                             product for which an
                                                                                                                                                                                                             attorney bills her client."
                                                                                                                                                                                                             Trustees of the Constr.
                                                                                                                                                                                                             Indus. Laborers Health
                                                                                                                                                                                                             Welfare Trust v. Redland
                                                                                                                         ($47.93) [This is                                                                   Ins. Co ., 460 F.3d 1253,
                                                                                                                         5/7s of the full                                                                    1256-57 (9th Cir. 2006).
Suzy Richman         1/14/2022 Continue setting up extranet and setting up           To protect proprietary          0.3 $67.5 entry]         Reduced in its entirety by Plaintiffs   Object   Admin. Task
Invoice=5619039      2/28/2022 folders and renaming documents REDACTED.              information.


                                                                                                                                                                                                             Maintaining potentially
                                                                                                                                                                                                             privileged documents or
                                                                                                                                                                                                             information is not an
                                                                                                                                                                                                             administrative task.
                                                                                                                                                                                                             Moreover, attorney's fees
                                                                                                                                                                                                             may properly include
                                                                                                                                                                                                             compensation for
                                                                                                                                                                                                             paralegals. Missouri v.
                                                                                                                                                                                                             Jenkins , 491 U.S. 274, 285
                                                                                                                                                                                                             (1989). The Ninth Circuit
                                                                                                                                                                                                             has extended compensable
                                                                                                                                                                                                             time to all those "whose
                                                                                                                                                                                                             labor contributes to work
                                                                                                                                                                                                             product for which an
                                                                                                                                                                                                             attorney bills her client."
                                                                                                                                                                                                             Trustees of the Constr.
                                                                                                                                                                                                             Indus. Laborers Health
                                                                                                                                                                                                             Welfare Trust v. Redland
                                                                                                                         ($47.93) [This is                                                                   Ins. Co ., 460 F.3d 1253,
                                                                                                                         5/7s of the full                                                                    1256-57 (9th Cir. 2006).
Suzy Richman         1/18/2022 Continue organization of files on Extranet            To protect proprietary          0.3 $67.5 entry]         Reduced in its entirety by Plaintiffs   Object   Admin. Task
Invoice=5619039      2/28/2022 REDACTED                                              information.


                                                                                                                         ($41.75) [This is
                                                                                                                         5/7s of the full
Connie L. Michaels   1/18/2022 Review court order granting stipulation to                                            0.1 $58.8 entry]
Invoice=5619039      2/28/2022 continue the Rule 26 scheduling conference.


                                                                                                                         ($476.77) [This is
                                                                                                                         5/7s of the full
Donna Leung          1/18/2022 Continue drafting and revising Rule 26(f)                                             1.7 $671.5 entry]
Invoice=5619039      2/28/2022 report and proposed trial and pre-trial
                               deadlines in order to comply with Federal Rule
                               of Civil Procedure 16(b) and 26(f), and Central
                               District Local Rule 26-1.




                                                                                              Final Joint Statement_00013
                        Case 2:21-cv-08688-DSF-PVC                                                    Document 95 Filed 01/19/23                                               Page 14 of 274 Page
                                                                                                           ID #:2153

                                                                                                                                                                                                                          This entry concerned a
                                                                                                                                                                                                                          motion for an injunction
                                                                                                                                                                                                                          which was anticipated to be
                                                                                                                                                                                                                          filed early in the case as it
                                                                                                                                                                                                                          was in the initial related
                                                                                                                                                                                                                          lawsuit. Attorney work
                                                                                                                                                                                                                          conducted on potential
                                                                                                                                                                                                                          motion is recoverable in this
                                                                                                                                                                                                                          context as the research and
                                                                                                                                                                                                                          analysis done in
                                                                                                                                                                                                                          preparation for this
                                                                                                                                                                                                                          potential motion was later
                                                                                                                                                                                                                          utilized in the preparing,
                                                                                                                                                                                                                          filing and arguing of
                                                                                                                                                                                                                          Defendants' Motion for
                                                                                                                                                                                                                          Judgment on the Pleadings.
                                                                                                                                                                                                                          If a prevailing party
                                                                                                                                                                                                                          ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                        ($140.23) [This is                                                    Unnecessary; unable to      Cir.1991). Moreover,
                                                                                                                        5/7s of the full                                                      determine how many          Defendants intend to seek a
Donna Leung       1/18/2022 Begin drafting outline of key arguments in             To protect content of attorney   0.5 $197.5 entry]        Reduced in its entirety by Plaintiffs   Object   hours billed for each claim 5/7 fraction of total
Invoice=5619039   2/28/2022 opposition to a potential motion REDACTED              work product, attorney mental
                            filed by Plaintiffs with respect to                    impressions, and strategy.
                            the LAUSD vaccination mandate based upon Plaintiff's
                            claims Fourteenth Amendment and state law claims.




                                                                                                                                                                                                                           Attorney work conducted
                                                                                                                                                                                                                           on potential motion is
                                                                                                                                                                                                                           recoverable in this context
                                                                                                                                                                                                                           as the research and analysis
                                                                                                                                                                                                                           done in preparation for this
                                                                                                                                                                                                                           potential motion was later
                                                                                                                                                                                                                           utilized in the preparing,
                                                                                                                                                                                                                           filing and arguing of
                                                                                                                                                                                                                           Defendants' Motion for
                                                                                                                                                                                                                           Judgment on the Pleadings.
                                                                                                                                                                                                                           If a prevailing party
                                                                                                                                                                                                                           ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Moreover,
                                                                                                                                                                                                                           Defendants intend to seek a
                                                                                                                                                                                                                           5/7 fraction of total
                                                                                                                                                                                                                           attorneys' fees billed for
                                                                                                                                                                                              Unnecessary; unable to       this entry. Nature of the
                                                                                                                                                                                              determine how many           attorney work is evident,
                                                                                                                        ($84.14) [This is                                                     hours billed for each claim; and redactions have been
                                                                                                                        5/7s of the full                                                      unable to discern nature of made to protect attorney
Donna Leung       1/20/2022 Further strategy re opposition to a potential          To protect content of attorney   0.3 $118.5 entry]        Reduced in its entirety by Plaintiffs   Object   entry.                       work product, attorney
Invoice=5619039   2/28/2022 REDACTED motion filed by                               work product, attorney mental
                            Plaintiff REDACTED                                     impressions, and strategy.
                            REDACTED
                            in order to protect client's interests.




                                                                                            Final Joint Statement_00014
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 15 of 274 Page
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                                                                                                                                                                                                                        A brief case team meeting
                                                                                                                                                                                                                        was held for all defense
                                                                                                                                                                                                                        counsel weekly to confer
                                                                                                                                                                                                                        and strategize regarding the
                                                                                                                                                                                                                        case and its developments.
                                                                                                                                                                                                                        Attorney work conducted
                                                                                                                                                                                                                        on potential motion is
                                                                                                                                                                                                                        recoverable in this context
                                                                                                                                                                                                                        as the research and analysis
                                                                                                                                                                                                                        done in preparation for this
                                                                                                                                                                                                                        potential motion was later
                                                                                                                                                                                                                        utilized in the preparing,
                                                                                                                                                                                                                        filing and arguing of
                                                                                                                                                                                                                        Defendants' Motion for
                                                                                                                                                                                                                        Judgment on the Pleadings.
                                                                                                                                                                                                                        If a prevailing party
                                                                                                                                                                                                                        ultimately wins on a
                                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Moreover,
                                                                                                                     ($84.14) [This is                                                      unnecessary; unable to      Defendants intend to seek a
                                                                                                                     5/7s of the full                                                       determine how many          5/7 fraction of total
Nick McKinney        1/20/2022 Weekly case update conference call for defense                                    0.3 $118.5 entry]         Reduced in its entirety by Plaintiffs   Object   hours billed for each claim attorneys' fees billed for
Invoice=5619039      2/28/2022 team.

                                                                                                                                                                                                                         Attorney work conducted
                                                                                                                                                                                                                         on potential motion is
                                                                                                                                                                                                                         recoverable in this context
                                                                                                                                                                                                                         as the research and analysis
                                                                                                                                                                                                                         done in preparation for this
                                                                                                                                                                                                                         potential motion was later
                                                                                                                                                                                                                         utilized in the preparing,
                                                                                                                                                                                                                         filing and arguing of
                                                                                                                                                                                                                         Defendants' Motion for
                                                                                                                                                                                                                         Judgment on the Pleadings.
                                                                                                                                                                                                                         If a prevailing party
                                                                                                                                                                                                                         ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Moreover,
                                                                                                                                                                                                                         Defendants intend to seek a
                                                                                                                                                                                                                         5/7 fraction of total
                                                                                                                                                                                                                         attorneys' fees billed for
                                                                                                                                                                                            unnecessary; unable to       this entry. Nature of the
                                                                                                                                                                                            determine how many           attorney work is evident,
                                                                                                                     ($208.74) [this is                                                     hours billed for each claim; and redactions have been
                                                                                                                     5/7s of the full $294                                                  unable to discern nature of made to protect attorney
Connie L. Michaels   1/20/2022 Confer with case team re matter status and       To protect content of attorney   0.5 entry]                Reduced in its entirety by Plaintiffs   Object   entry.                       work product, attorney
Invoice=5619039      2/28/2022 strategy REDACTED                                work product, attorney mental
                               REDACTED                                         impressions, and strategy.
                               REDACTED.




                                                                                         Final Joint Statement_00015
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                  Page 16 of 274 Page
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                                                                                                                                                                                                                              This entry concerns case
                                                                                                                                                                                                                              experts. Defendants
                                                                                                                                                                                                                              retained experts regarding
                                                                                                                                                                                                                              the 14th amendment claims
                                                                                                                                                                                                                              and the ADA claim. Given
                                                                                                                                                                                                                              that Defendants seek
                                                                                                                                                                                                                              recovery solely on State law
                                                                                                                                                                                                                              claims and ADA claim,
                                                                                                                                                                                                                              Defendants intend to seek
                                                                                                                                                                                                                              1/3 of the amount of the
                                                                                                                                                                                                                              total attorneys' fees related
                                                                                                                                                                                                                              to experts. Defendants
                                                                                                                                                                                                                              retained the experts when
                                                                                                                                                                                                                              they did as they faced pre-
                                                                                                                                                                                                                              trial deadlines and, while
                                                                                                                                                                                                                              Defendants believed the
                                                                                                                                                                                                                              ADA claim was frivolous,
                                                                                                                                                                                                                              they had no guarantee their
                                                                                                                                                                                                                              motion to dismiss it would
                                                                                                                                                                                                unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                                argument that claims are would dismiss the claim in
                                                                                                                                                                                                frivolous or without merit response or elect not to
                                                                                                                                                                                                and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                                state law/ADA claims);        following a ruling on the
                                                                                                                       ($83.50) [This is                                                        unable to determine how motion.
                                                                                                                       5/7s of the full                                                         much time billed for each
Connie L. Michaels   1/24/2022 Evaluate information received to date and                                           0.2 $117.6 entry]           Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5619039      2/28/2022 analyze and strategize approach to obtain
                               appropriate experts.

                                                                                                                       ($208.74) [this is
                                                                                                                       5/7s of the full $294
Connie L. Michaels   1/24/2022 Revise defense section of joint report under                                        0.5 entry]
Invoice=5619039      2/28/2022 Rule 26 for scheduling conference.

                                                                                                                                                                                                                             A brief case team meeting
                                                                                                                                                                                                                             was held for all defense
                                                                                                                                                                                                                             counsel weekly to confer
                                                                                                                                                                                                                             and strategize regarding the
                                                                                                                                                                                                                             case and its developments.
                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident, and redactions
                                                                                                                                                                                                                             have been made to protect
                                                                                                                                                                                                                             attorney work product,
                                                                                                                                                                                                                             attorney mental
                                                                                                                                                                                                                             impressions and strategy.
                                                                                                                                                                                                                             Attorney activity was
                                                                                                                                                                                                                             conducted in light of all
                                                                                                                                                                                                                             allegations in Plaintiffs'
                                                                                                                                                                                                                             Complaint. If a prevailing
                                                                                                                                                                                                                             party ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
                                                                                                                                                                                                                             entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                Unnecessary; and unable Cir.1991). Defendants
                                                                                                                                                                                                to determine how many        intend to seek a 5/7 fraction
                                                                                                                       ($125.24) [This is                                                       hours billed for each claim; of total attorneys' fees
                                                                                                                       5/7s of the full                                                         unable to discern nature of billed for this entry.
Connie L. Michaels   1/27/2022 Strategize with case team including re REDACTED,   To protect content of attorney   0.3 $176.4 entry]           Reduced in its entirety by Plaintiffs   Object   entry.
Invoice=5619039      2/28/2022 REDACTED, and REDACTED.                            work product, attorney mental
                                                                                  impressions, and strategy.




                                                                                           Final Joint Statement_00016
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                                                                                                                                                                                                               This entry concerns case
                                                                                                                                                                                                               experts. Defendants
                                                                                                                                                                                                               retained experts regarding
                                                                                                                                                                                                               the 14th amendment claims
                                                                                                                                                                                                               and the ADA claim. Given
                                                                                                                                                                                                               that Defendants seek
                                                                                                                                                                                                               recovery solely on State law
                                                                                                                                                                                                               claims and ADA claim,
                                                                                                                                                                                                               Defendants intend to seek
                                                                                                                                                                                                               1/3 of the amount of the
                                                                                                                                                                                                               total attorneys' fees related
                                                                                                                                                                                                               to experts. Defendants
                                                                                                                                                                                                               retained the experts when
                                                                                                                                                                                                               they did as they faced pre-
                                                                                                                                                                                                               trial deadlines and, while
                                                                                                                                                                                                               Defendants believed the
                                                                                                                                                                                                               ADA claim was frivolous,
                                                                                                                                                                                                               they had no guarantee their
                                                                                                                                                                                 unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                 argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                 frivolous or without merit would dismiss the claim in
                                                                                                                                                                                 and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                 state law/ADA claims);        amend their Complaint
                                                                                                                                                                                 unable to determine how following a ruling on the
                                                                                                          (1,544.68) [This is                                                    much time billed for each motion.
                                                                                                          5/7s of the full                                                       claim; unable to determine
Robert Conti      1/27/2022 Review and summarize expert witness   To protect content of attorney      3.7 $2175.6 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5619039   2/28/2022 declarations from REDACTED matter.    work product, attorney mental
                                                                  impressions, and strategy. To
                                                                  protect proprieitary information.

                                                                                                                                                                                                                Nature of the attorney work
                                                                                                                                                                                                                is evident and necessary in
                                                                                                                                                                                                                the defense against
                                                                                                                                                                                                                Plaintiffs' claims. Attorney
                                                                                                                                                                                                                activity was conducted in
                                                                                                                                                                                                                light of all allegations within
                                                                                                                                                                                                                Plaintiffs' Complaint.
                                                                                                                                                                                                                However, if a prevailing
                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                 unnecessary; unable to         of total attorneys' fees
                                                                                                          ($83.50) [This is                                                      determine how many             billed for this entry.
                                                                                                          5/7s of the full                                                       hours billed for each claim;
Robert Conti      1/27/2022 Attend team strategy/status call.                                         0.2 $117.60 entry]        Reduced in its entirety by Plaintiffs   Object   vague
Invoice=5619039   2/28/2022

                                                                                                          ($41.75) [This is
                                                                                                          5/7s of the full
Robert Conti      1/27/2022 Receipt and review of Rule 26 plan.                                       0.1 $58.8 entry]
Invoice=5619039   2/28/2022




                                                                           Final Joint Statement_00017
                        Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                               Page 18 of 274 Page
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                                                                                                                                                                                                         A brief case team meeting
                                                                                                                                                                                                         was held for all defense
                                                                                                                                                                                                         counsel weekly to confer
                                                                                                                                                                                                         and strategize regarding the
                                                                                                                                                                                                         case and its developments.
                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                          unnecessary; unable to         billed for this entry.
                                                                                                ($56.09) [this is 5/7s                                                    determine how many
                                                                                                of the full $79                                                           hours billed for each claim;
Nick McKinney     1/27/2022 Weekly litigation team conference call to                       0.2 entry]                 Reduced in its entirety by Plaintiffs     Object   vague
Invoice=5619039   2/28/2022 discuss case strategy and further handling.

                                                                                                ($56.09) [this is 5/7s
                                                                                                of the full $79
Donna Leung       1/27/2022 Email to new counsel for Plaintiffs, Robert                     0.2 entry]
Invoice=5619039   2/28/2022 Tyler, re Rule 26(f) conference and status of
                            joint report in advance of Scheduling
                            Conference in order to meet and confer re the
                            same.

                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                ($532.86) [This is                                                        unable to determine how        billed for this entry.
                                                                                                5/7s of the full                                                          many hours billed for each
Donna Leung       1/27/2022 Further revisions to joint rule 26(f) report in                 1.9 $750.5 entry]            Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5619039   2/28/2022 order to include basis and authorities for
                            Defendants’ affirmative defenses to each of
                            Plaintiffs’ causes of action in order to
                            protect client’s statement of the case.


                                                                                                ($84.14) [this is 5/7s
Donna Leung       1/27/2022 Email to Marcos Hernandez and Narmin Shahin of                  0.3 of full $118.5 entry]
Invoice=5619039   2/28/2022 the LAUSD re status of Scheduling Conference,
                            draft of the joint Rule 26(f) report, and
                            status of Plaintiffs’ counsel substitution in
                            order to confer re the same.




                                                                              Final Joint Statement_00018
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                                                                                                                                                                                                                            This entry concerned a
                                                                                                                                                                                                                            motion for an injunction
                                                                                                                                                                                                                            which was anticipated to be
                                                                                                                                                                                                                            filed early in the case as it
                                                                                                                                                                                                                            was in the initial related
                                                                                                                                                                                                                            lawsuit. Attorney work
                                                                                                                                                                                                                            conducted on potential
                                                                                                                                                                                                                            motion is recoverable in this
                                                                                                                                                                                                                            context as the research and
                                                                                                                                                                                                                            analysis done in
                                                                                                                                                                                                                            preparation for this
                                                                                                                                                                                                                            potential motion was later
                                                                                                                                                                                                                            utilized in the preparing,
                                                                                                                                                                                                                            filing and arguing of
                                                                                                                                                                                                                            Defendants' Motion for
                                                                                                                                                                                                                            Judgment on the Pleadings.
                                                                                                                                                                                                                            If a prevailing party
                                                                                                                                                                                                                            ultimately wins on a
                                                                                                                                                                                                                            particular claim, it is
                                                                                                                                                                                                                            entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                               Unnecessary; and unable Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               to determine how many        F.2d 1050, 1053 (9th
                                                                                                                         ($869.40) [this is                                                    hours billed for each claim; Cir.1991). Moreover,
                                                                                                                         5/7s of the full                                                      unable to discern nature of Defendants intend to seek
Donna Leung          1/27/2022 Begin drafting memorandum of points and           To protect content of attorney      3.1 $1224.5 entry]       Reduced in its entirety by Plaintiffs   Object   entry.                       5/7 fraction of total
Invoice=5619039      2/28/2022 authorities in opposition to a potential motion   work product, attorney mental
                               for REDACTED anticipated to be                    impressions, and strategy. To
                               filed by Plaintiffs, including REDACTED           protect proprieitary information.
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident, and redactions
                                                                                                                                                                                                                            have been made to protect
                                                                                                                                                                                                                            attorney work product,
                                                                                                                                                                                                                            attorney mental
                                                                                                                                                                                                                            impressions and strategy.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A ., 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                               Unable to determine how
                                                                                                                         ($41.75) [This is                                                     many hours billed for each
                                                                                                                         5/7s of the full                                                      claim; unable to discern
Connie L. Michaels   1/28/2022 Review client changes to joint report and         To protect content of attorney      0.1 $58.8 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5619039      2/28/2022 provide direction to case team REDACTED           work product, attorney mental
                               REDACTED.                                         impressions, and strategy. To
                                                                                 protect proprieitary information.

                                                                                                                                                                                                                            This is not an adminstrative
                                                                                                                                                                                                                            task. Lead counsel can
                                                                                                                                                                                                                            recover fees for time spent
                                                                                                                                                                                                                            supervising other team
                                                                                                                         ($41.75) [This is                                                                                  counsel on drafting of court
                                                                                                                         5/7s of the full                                                                                   submissions.
Connie L. Michaels   1/31/2022 Coordinate revision and filing of unilateral                                          0.1 $58.8 entry]         Reduced in its entirety by Plaintiffs   Object   Admin task.
Invoice=5619039      2/28/2022 rule 26 report.




                                                                                          Final Joint Statement_00019
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                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident, and redactions
                                                                                                                                                                                                                            have been made to protect
                                                                                                                                                                                                                            attorney work product,
                                                                                                                                                                                                                            attorney mental
                                                                                                                                                                                                                            impressions and strategy
                                                                                                                                                                                                                            and attorney-client
                                                                                                                                                                                                                            communications. If a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               Unable to determine how      billed for this entry.
                                                                                                                       ($41.75) [This is                                                       many hours billed for each
                                                                                                                       5/7s of the full                                                        claim; unable to discern
Connie L. Michaels   1/31/2022 Review correspondence from client with key      To protect content of attorney      0.1 $58.8 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5619039      2/28/2022 timeline and documents re REDACTED              work product, attorney mental
                               REDACTED.                                       impressions, and strategy. To
                                                                               protect proprieitary information.
                                                                               To protect content of attorney-
                                                                               client communications.


                                                                                                                       ($140.23) [this is
                                                                                                                       5/7s of the full
Donna Leung          1/31/2022 Finalize and incorporate revisions to                                               0.5 $197.5 entry]
Invoice=5619039      2/28/2022 Defendants’ Rule 26 report to reflect efforts
                               to reach Plaintiffs’ new substituted counsel
                               and highlight Defendants’ position on all
                               required elements of the Judge’s requested
                               report and discovery plan in order to protect
                               client’s interests.




                                                                                                                                                                                                                            Preparing for and advising
                                                                                                                                                                                                                            on the manner in which to
                                                                                                                                                                                                                            maintain potentially
                                                                                                                                                                                                                            privileged documents or
                                                                                                                                                                                                                            information is not an
                                                                                                                                                                                                                            administrative task.
                                                                                                                                                                                                                            Attorneys' fee awards must
                                                                                                                                                                                                                            account for work of non-
                                                                                                                                                                                                                            attorneys, including
                                                                                                                                                                                                                            paralegals and law clerks
                                                                                                                                                                                                                            “whose labor contributes to
                                                                                                                                                                                                                            the work product for which
                                                                                                                                                                                                                            an attorney bills her client.”
                                                                                                                                                                                                                            Missouri v. Jenkins, 491 U.S.
                                                                                                                       ($15.98) [this is 5/7s                                                                               274, 285 (1989).
                                                                                                                       of the full $22.50
Suzy Richman         1/31/2022 Add Documents to Extranet re REDACTED           To protect proprietary              0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5619039      2/28/2022 REDACTED                                        information.
                               REDACTED




                                                                                        Final Joint Statement_00020
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                                                                                                                                                                                                                    Preparing for and advising
                                                                                                                                                                                                                    on the manner in which to
                                                                                                                                                                                                                    maintain potentially
                                                                                                                                                                                                                    privileged documents or
                                                                                                                                                                                                                    information is not an
                                                                                                                                                                                                                    administrative task.
                                                                                                                                                                                                                    Attorneys' fee awards must
                                                                                                                                                                                                                    account for work of non-
                                                                                                                                                                                                                    attorneys, including
                                                                                                                                                                                                                    paralegals and law clerks
                                                                                                                                                                                                                    “whose labor contributes to
                                                                                                                                                                                                                    the work product for which
                                                                                                                                                                                                                    an attorney bills her client.”
                                                                                                                                                                                                                    Missouri v. Jenkins, 491 U.S.
                                                                                                             ($15.98) [this is 5/7s                                                                                 274, 285 (1989).
                                                                                                             of the full $22.50
                                                                                                         0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Suzy Richman       2/1/2022 Upload documents to extranet REDACTED             To protect proprietary
Invoice=5631540   3/25/2022                                                   information.

                                                                                                                                                                                                                Nature of attorney work is
                                                                                                                                                                                                                evident and defense
                                                                                                                                                                                                                counsel can recover fees for
                                                                                                                                                                                                                analysis and strategy of
                                                                                                                                                                                                                defending matter.
                                                                                                                                                                                                                Redacation have been made
                                                                                                                                                                                                                to protect proprietary
                                                                                                                                                                                                                information. If a prevailing
                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                     Unable to determine how of total attorneys' fees
                                                                                                             ($208.74) [this is                                                      many hours billed for each billed for this entry.
                                                                                                             5/7s of the full $294                                                   claim; unable to discern
Robert Conti       2/1/2022 Receipt and review of REDACTED motion.            To protect proprietary     0.5 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5631540   3/25/2022                                                   information.

                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                    evident and defense
                                                                                                                                                                                                                    counsel can recover fees for
                                                                                                                                                                                                                    client communication
                                                                                                                                                                                                                    regarding the status and
                                                                                                                                                                                                                    plan of action. If a
                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                                    billed for this entry.
                                                                                                             ($125.24) [this is                                                      admin task; vague; unable
                                                                                                             5/7s of the full                                                        to determine how many
Robert Conti       2/3/2022 Teleconference re: cases status and work needed                              0.3 $176.40 entry]         Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5631540   3/25/2022 going forward.




                                                                                       Final Joint Statement_00021
                           Case 2:21-cv-08688-DSF-PVC                                                       Document 95 Filed 01/19/23                                                  Page 22 of 274 Page
                                                                                                                 ID #:2161

                                                                                                                                                                                                                                     A brief case team meeting
                                                                                                                                                                                                                                     was held for all defense
                                                                                                                                                                                                                                     counsel weekly to confer
                                                                                                                                                                                                                                     and strategize regarding the
                                                                                                                                                                                                                                     case and its developments.
                                                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                                                     Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                                                     Plaintiffs' Complaint.
                                                                                                                                                                                                                                     However, if a prevailing
                                                                                                                                                                                                                                     party ultimately wins on a
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                                                                                                                                                                                                                                     Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                                                     billed for this entry.
                                                                                                                              ($83.50) [This is                                                        unable to determine how
                                                                                                                              5/7s of the full                                                         many hours billed for each
Connie L. Michaels    2/3/2022 Confer with case team re matter status and                                                 0.2 $117.60 entry]          Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5631540      3/25/2022 strategy.


                                                                                                                              ($41.75) [This is
                                                                                                                              5/7s of the full
Connie L. Michaels    2/3/2022 Strategize with case team re initial disclosures.                                          0.1 $58.8 entry]
Invoice=5631540      3/25/2022


                                                                                                                              ($208.74) [this is
                                                                                                                              5/7s of the full $294
Connie L. Michaels    2/3/2022 Prepare for (.2) and participate in rule 26                                                0.5 entry]
Invoice=5631540      3/25/2022 conference with opposing counsel (.3).

                                                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                                                     is evident and done so in
                                                                                                                                                                                                                                     response to Court's order.
                                                                                                                                                                                                                                     Redactions rightfully protect
                                                                                                                                                                                                                                     attorney work product,
                                                                                                                                                                                                                                     attorney mental
                                                                                                                              ($84.14) [this is 5/7s                                                                                 impressions, and strategy.
                                                                                                                              of the full $118.5                                                       unable to discern nature of
Donna Leung           2/3/2022 Review of Court’s Order Setting Scheduling                To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs    Object   entry.
Invoice=5631540      3/25/2022 Conference in order to REDACTED respond to                work product, attorney mental
                               Court's order to show cause re Defendants' drafting       impressions, and/or strategy.
                               of the proposed trial schedule and pre-trial deadlines.


                                                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                                                     is evident and done so in
                                                                                                                                                                                                                                     response to Court's order.
                                                                                                                                                                                                                                     Redactions rightfully protect
                                                                                                                                                                                                                                     attorney work product,
                                                                                                                                                                                                                                     attorney mental
                                                                                                                             ($280.45) [This is                                                                                      impressions, and strategy.
                                                                                                                             5/7s of the full $395                                                     unable to discern nature of
Donna Leung           2/3/2022 Draft declaration in response to the Court’s              To protect content of attorney    1 entry]                Reduced in its entirety by Plaintiffs      Object   entry.
Invoice=5631540      3/25/2022 Order to Show Cause re the Proposed Trial                 work product, attorney mental
                               Schedule and revised trial schedule pursuant to           impressions, and/or strategy.
                               Judge’s Order Setting Scheduling Conference REDACTED
                               REDACTED.




                                                                                                  Final Joint Statement_00022
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                   Page 23 of 274 Page
                                                                                                         ID #:2162

                                                                                                                                                                                                                             A brief case team meeting
                                                                                                                                                                                                                             was held for all defense
                                                                                                                                                                                                                             counsel weekly to confer
                                                                                                                                                                                                                             and strategize regarding the
                                                                                                                                                                                                                             case and its developments.
                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint.
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                vague; unnecessary;          billed for this entry.
                                                                                                                      ($56.09) [This is                                                         unable to determine how
                                                                                                                      5/7s of the full $79                                                      many hours billed for each
Nick McKinney         2/3/2022 Weekly standing meeting to discuss case                                            0.2 entry]                   Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5631540      3/25/2022 handling analysis and strategy.


                                                                                                                      ($166.99) [this is
                                                                                                                      5/7s of the full
Connie L. Michaels    2/4/2022 Draft email to client re case status.                                              0.4 $235.20 entry]
Invoice=5631540      3/25/2022


                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                      ($84.14) [this is 5/7s                                                    unable to determine how      billed for this entry.
                                                                                                                      of the full $118.50                                                       many hours billed for each
Donna Leung           2/6/2022 Further revisions to the schedule of proposed     To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs     Object   claim.
Invoice=5631540      3/25/2022 trial and pre-trial deadlines in order to         work product, attorney mental
                               comply with the Court’s Order Setting             impressions, and/or strategy.
                               Scheduling Conference and ensure proposed dates
                               REDACTED.


                                                                                                                      ($28.05) [this is 5/7s
                                                                                                                      of the full $39.50
Donna Leung           2/7/2022 Communications with opposing counsel re the                                        0.1 entry]
Invoice=5631540      3/25/2022 proposed trial and pre-trial dates pursuant to
                               Judge Fischer’s Order Setting Scheduling
                               Conference in order to confer re the same.




                                                                                          Final Joint Statement_00023
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                   Page 24 of 274 Page
                                                                                                         ID #:2163

                                                                                                                      ($56.09) [This is
                                                                                                                      5/7s of the full $79
Nick McKinney         2/7/2022 Prepare notice of appearance.                                                      0.2 entry]
Invoice=5631540      3/25/2022


                                                                                                                      ($41.75) [This is
                                                                                                                      5/7s of the full
Connie L. Michaels    2/7/2022 Correspond with plaintiffs’ counsel re proposed                                    0.1 $58.8 entry]
Invoice=5631540      3/25/2022 deadlines in scheduling report.


                                                                                                                      ($208.74) [this is
                                                                                                                      5/7s of the full $294
Connie L. Michaels    2/8/2022 Various communications with plaintiffs’ counsel                                    0.5 entry]
Invoice=5631540      3/25/2022 re joint scheduling report and stipulation to
                               amend complaint.


                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident and clearly
                                                                                                                                                                                                                            depicts that the attorney
                                                                                                                      ($252.41) [this is                                                                                    work was revisions to the
                                                                                                                      5/7s of the full                                                          unable to discern nature of Court ordered Joint Report.
Donna Leung           2/8/2022 Final revisions to the Rule 26(f) joint report    To protect content of attorney   0.9 $355.50 entry]           Reduced in its entirety by Plaintiffs   Object   entry.
Invoice=5631540      3/25/2022 pursuant to the Judge’s Order Setting             work product, attorney mental
                               Scheduling Order in order to incorporate          impressions, and/or strategy.
                               Plaintiff’s inserts and REDACTED
                               REDACTED.

                                                                                                                      ($28.05) [this is 5/7s
                                                                                                                      of the full $39.50
Donna Leung           2/8/2022 Review of Plaintiff counsel’s declaration in                                       0.1 entry]
Invoice=5631540      3/25/2022 response to the Court’s order to show cause re
                               sanctions re the Joint Rule 26 report in order
                               to analyze the same.

                                                                                                                                                                                                                             A brief case team meeting
                                                                                                                                                                                                                             was held for all defense
                                                                                                                                                                                                                             counsel weekly to confer
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                                                                                                                                                                                                                             case and its developments.
                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
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                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint.
                                                                                                                                                                                                                             However, if a prevailing
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                unnecessary; vague;          billed for this entry.
                                                                                                                      ($56.09) [This is                                                         unable to determine how
                                                                                                                      5/7s of the full $79                                                      many hours billed for each
Nick McKinney        2/10/2022 Litigation team case update call.                                                  0.2 entry]                   Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5631540      3/25/2022




                                                                                          Final Joint Statement_00024
                           Case 2:21-cv-08688-DSF-PVC                                                   Document 95 Filed 01/19/23                                               Page 25 of 274 Page
                                                                                                             ID #:2164

                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
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                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                             light of all allegations within
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                unnecessary; vague;          of total attorneys' fees
                                                                                                                          ($83.50) [This is                                                     unable to determine how      billed for this entry.
                                                                                                                          5/7s of the full                                                      many hours billed for each
Robert Conti         2/10/2022 Teleconference with team members re: case status,                                      0.2 $117.60 entry]       Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5631540      3/25/2022 work in progress.

                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                unable to determine how of total attorneys' fees
                                                                                                                          ($41.75) [This is                                                     many hours billed for each billed for this entry.
                                                                                                                          5/7s of the full                                                      claim; unable to determine
Robert Conti         2/10/2022 Receipt and review of email from client re:           To protect proprietary           0.1 $58.8 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5631540      3/25/2022 REDACTED.                                             information.

                                                                                                                                                                                                                             A brief case team meeting
                                                                                                                                                                                                                             was held for all defense
                                                                                                                                                                                                                             counsel weekly to confer
                                                                                                                                                                                                                             and strategize regarding the
                                                                                                                                                                                                                             case and its developments.
                                                                                                                                                                                                                             Nature of the attorney work
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                                                                                                                                                                                                                             Plaintiffs' Complaint.
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                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                unable to determine how      billed for this entry.
                                                                                                                          ($125.24) [This is                                                    many hours billed for each
                                                                                                                          5/7s of the full                                                      claim; unable to determine
Connie L. Michaels   2/10/2022 Strategize with case team re matter status and next   To protect content of attorney   0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.




                                                                                              Final Joint Statement_00025
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                               Page 26 of 274 Page
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Invoice=5631540      3/25/2022 steps including REDACTED, REDACTED, and initial   work product, attorney mental
                               disclosures.                                      impressions, and/or strategy.


                                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                                       and strategize regarding the
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                                                                                                                                                                                                                       Nature of the attorney work
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                                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                                       light of all allegations within
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                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                            unable to determine how of total attorneys' fees
                                                                                                                                                                                            many hours billed for each billed for this entry.
                                                                                                                      ($83.50) [This is                                                     claim; unable to determine
                                                                                                                      5/7s of the full                                                      nature of entry; vague;
Connie L. Michaels   2/17/2022 Confer with case team re status REDACTED          To protect content of attorney   0.2 $117.60 entry]       Reduced in its entirety by Plaintiffs   Object   duplicative.
Invoice=5631540      3/25/2022 REDACTED                                          work product, attorney mental
                               REDACTED and                                      impressions, and/or strategy.
                               strategy.

                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. It clearly
                                                                                                                                                                                                                         denotes that the attorney
                                                                                                                                                                                                                         work was to revise initial
                                                                                                                                                                                                                         disclsours and review of
                                                                                                                                                                                                                         documents thereto.
                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
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                                                                                                                                                                                                                         Complaint. However, if a
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                      ($584.47) [this is
                                                                                                                      5/7s of the $823.20                                                   unable to determine
Connie L. Michaels   2/21/2022 Revise initial disclosures, including review of   To protect content of attorney   1.4 entry]              Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5631540      3/25/2022 client documents, and REDACTED.                   work product, attorney mental
                                                                                 impressions, and/or strategy.

                                                                                                                      ($196.32) [this is
                                                                                                                      5/7s of the full
Nick McKinney        2/21/2022 Prepare rule 26 disclosures.                                                       0.7 $276.5 entry]
Invoice=5631540      3/25/2022




                                                                                          Final Joint Statement_00026
                           Case 2:21-cv-08688-DSF-PVC                                        Document 95 Filed 01/19/23                                                 Page 27 of 274 Page
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                                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                                     is evident and necessary in
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                                                                                                                                                                                                                     Plaintiffs' claims. It clearly
                                                                                                                                                                                                                     denotes that the attorney
                                                                                                                                                                                                                     work was to regarding
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                                                                                                                                                                                                                     attorney-client
                                                                                                                                                                                                                     communications thereto.
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                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                                     billed for this entry.
                                                                                                               ($41.75) [This is
                                                                                                               5/7s of the full                                                        unable to determine
Connie L. Michaels   2/22/2022 Correspond with client re REDACTED         To protect content of attorney   0.1 $58.8 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5631540      3/25/2022 initial disclosures.                       work product, attorney mental
                                                                          impressions, and/or strategy.

                                                                                                               ($41.75) [This is
                                                                                                               5/7s of the full
Connie L. Michaels   2/28/2022 Provide brief case update to client.                                        0.1 $58.8 entry]
Invoice=5631540      3/25/2022

                                                                                                                                                                                                                     This entry concerns case
                                                                                                                                                                                                                     experts. Defendants
                                                                                                                                                                                                                     retained experts regarding
                                                                                                                                                                                                                     the 14th amendment claims
                                                                                                                                                                                                                     and the ADA claim. Given
                                                                                                                                                                                                                     that Defendants seek
                                                                                                                                                                                                                     recovery solely on State law
                                                                                                                                                                                                                     claims and ADA claim,
                                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                                     1/3 of the amount of the
                                                                                                                                                                                                                     total attorneys' fees related
                                                                                                                                                                                                                     to experts. Defendants
                                                                                                                                                                                                                     retained the experts when
                                                                                                                                                                                                                     they did as they faced pre-
                                                                                                                                                                                                                     trial deadlines and, while
                                                                                                                                                                                                                     Defendants believed the
                                                                                                                                                                                                                     ADA claim was frivolous,
                                                                                                                                                                                                                     they had no guarantee their
                                                                                                                                                                                                                     motion to dismiss it would
                                                                                                                                                                                       unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                       argument that claims are would dismiss the claim in
                                                                                                                                                                                       frivolous or without merit response or elect not to
                                                                                                                                                                                       and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                       state law/ADA claims);        following a ruling on the
                                                                                                               ($1,908.48) [this is                                                    unable to determine how motion.
                                                                                                               5/7s of the full                                                        many hours billed for each
Robert Conti          3/2/2022 Evaluate expert witness declarations and   To protect content of attorney   4.8 $2688 entry]           Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966      4/25/2022 REDACTED requests REDACTED                 work product, attorney mental
                               REDACTED                                   impressions, and/or strategy.
                               REDACTED
                               REDACTED.




                                                                                   Final Joint Statement_00027
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                                                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                                                  Plaintiffs' claims. It clearly
                                                                                                                                                                                                                                  denotes that the attorney
                                                                                                                                                                                                                                  work was related to
                                                                                                                                                                                                                                  discovery. Attorney activity
                                                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                                                  billed for this entry.
                                                                                                                              ($112.18) [this is                                                     unable to determine how
                                                                                                                              5/7s of the full $158                                                  many hours billed for each
Donna Leung        3/2/2022 Begin drafting document requests to plaintiffs,              To protect content of attorney   0.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022 including requests for communications with                   work product, attorney mental
                            defendants, accommodation requests, and key                  impressions, and/or strategy.
                            documents supporting their allegations in the
                            complaint in order to further investigate plaintiffs' claims


                                                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                                                  Plaintiffs' claims. It clearly
                                                                                                                                                                                                                                  denotes that the attorney
                                                                                                                                                                                                                                  work was related to
                                                                                                                                                                                                                                  Plaintiffs' initial disclosures.
                                                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                                                  conducted in light of all
                                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                                                  billed for this entry.
                                                                                                                              ($364.59) [this is                                                     unable to determine how
                                                                                                                              5/7s of the full                                                       many hours billed for each
Donna Leung        3/2/2022 Begin review of Plaintiff's initial disclosures                                               1.3 $513.5 entry]         Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022 document production, including Plaintiff's
                            alleged various research, articles, test
                            results, videos, and records regarding the
                            COVID-19 vaccine used to support Plaintiff's
                            allegations and claims.




                                                                                                 Final Joint Statement_00028
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                                                                                                                                                                                                                       This entry concerned a
                                                                                                                                                                                                                       motion for an injunction
                                                                                                                                                                                                                       which was anticipated to be
                                                                                                                                                                                                                       filed early in the case as it
                                                                                                                                                                                                                       was in the initial related
                                                                                                                                                                                                                       lawsuit. Attorney work
                                                                                                                                                                                                                       conducted on potential
                                                                                                                                                                                                                       motion is recoverable in this
                                                                                                                                                                                                                       context as the research and
                                                                                                                                                                                                                       analysis done in
                                                                                                                                                                                                                       preparation for this
                                                                                                                                                                                                                       potential motion was later
                                                                                                                                                                                                                       utilized in the preparing,
                                                                                                                                                                                                                       filing and arguing of
                                                                                                                                                                                                                       Defendants' Motion for
                                                                                                                                                                                                                       Judgment on the Pleadings.
                                                                                                                                                                                                                       If a prevailing party
                                                                                                                                                                                                                       ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                   ($504.81) [this is                                                     unnecessary; unable to       Cir.1991). Defendants
                                                                                                                   5/7s of the full $711                                                  determine how many           intend to seek 5/7 fraction
Donna Leung        3/3/2022 Further research in support of anticipated        To protect content of attorney   1.8 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim. of total attorneys' fees
Invoice=5647966   4/25/2022 opposition to Plaintiff's anticipated             work product, attorney mental
                            REDACTED motion, with particular                  impressions, and/or strategy.
                            attention to Plaintiff's state law claims for
                            declaratory and injunctive relief under the
                            Americans with Disabilities Act, violation of
                            due process under Skelly v. State Personnel
                            Board, 15 Cal.3d 194 (1975), and for public
                            disclosure of private facts in order to further
                            analyze the same.

                                                                                                                                                                                                                       This entry concerned a
                                                                                                                                                                                                                       motion for an injunction
                                                                                                                                                                                                                       which was anticipated to be
                                                                                                                                                                                                                       filed early in the case as it
                                                                                                                                                                                                                       was in the initial related
                                                                                                                                                                                                                       lawsuit. Attorney work
                                                                                                                                                                                                                       conducted on potential
                                                                                                                                                                                                                       motion is recoverable in this
                                                                                                                                                                                                                       context as the research and
                                                                                                                                                                                                                       analysis done in
                                                                                                                                                                                                                       preparation for this
                                                                                                                                                                                                                       potential motion was later
                                                                                                                                                                                                                       utilized in the preparing,
                                                                                                                                                                                                                       filing and arguing of
                                                                                                                                                                                                                       Defendants' Motion for
                                                                                                                                                                                                                       Judgment on the Pleadings.
                                                                                                                                                                                                                       If a prevailing party
                                                                                                                                                                                                                       ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                          unnecessary; unable to       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                          determine how many           F.2d 1050, 1053 (9th
                                                                                                                   ($336.54) [this is                                                     hours billed for each claim; Cir.1991). Moreover,
                                                                                                                   5/7s of the full $474                                                  unable to determine          Defendants intend to seek
Donna Leung        3/3/2022 Continue drafting and revising anticipated        To protect content of attorney   1.2 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.             5/7 fraction of total
Invoice=5647966   4/25/2022 opposition to Plaintiffs' anticipated motion      work product, attorney mental
                            REDACTED, with particular                         impressions, and/or strategy.
                            attention to points and authorities in support
                            REDACTED
                            for the breach of security for computerized
                            personal information.




                                                                                       Final Joint Statement_00029
                        Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 30 of 274 Page
                                                                                                            ID #:2169

                                                                                                                                                                                                                               This entry concerns case
                                                                                                                                                                                                                               experts. Defendants
                                                                                                                                                                                                                               retained experts regarding
                                                                                                                                                                                                                               the 14th amendment claims
                                                                                                                                                                                                                               and the ADA claim. Given
                                                                                                                                                                                                                               that Defendants seek
                                                                                                                                                                                                                               recovery solely on State law
                                                                                                                                                                                                                               claims and ADA claim,
                                                                                                                                                                                                                               Defendants intend to seek
                                                                                                                                                                                                                               1/3 of the amount of the
                                                                                                                                                                                                                               total attorneys' fees related
                                                                                                                                                                                                                               to experts. Defendants
                                                                                                                                                                                                                               retained the experts when
                                                                                                                                                                                                                               they did as they faced pre-
                                                                                                                                                                                                                               trial deadlines and, while
                                                                                                                                                                                                                               Defendants believed the
                                                                                                                                                                                                                               ADA claim was frivolous,
                                                                                                                                                                                                                               they had no guarantee their
                                                                                                                                                                                                 unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                 argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                 frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                 and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                 state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                 unable to determine how following a ruling on the
                                                                                                                         ($51.12) [this is 5/7s                                                  many hours billed for each motion.
                                                                                                                         of the full $72                                                         claim; unable to determine
David Alan Dixon    3/3/2022 Analyze legal inquiry pertaining to experts REDACTED   To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966    4/25/2022 REDACTED                                               work product, attorney mental
                             REDACTED                                               impressions, and/or strategy.
                             REDACTED
                             REDACTED
                             REDACTED.

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. It clearly
                                                                                                                                                                                                                              denotes that the attorney
                                                                                                                                                                                                                              work was related to
                                                                                                                                                                                                                              Plaintiffs' initial disclosures.
                                                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                                                                                                 unable to determine how      billed for this entry.
                                                                                                                        ($1,590.40) [this is                                                     many hours billed for each
                                                                                                                        5/7s of the full                                                         claim; unable to determine
Robert Conti        3/3/2022 Review multiple REDACTED cases regarding               To protect content of attorney    4 $2240 entry]            Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966    4/25/2022 REDACTED                                               work product, attorney mental
                             REDACTED                                               impressions, and/or strategy.
                             in support of oppositions and chart same.




                                                                                             Final Joint Statement_00030
                           Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 31 of 274 Page
                                                                                                               ID #:2170

                                                                                                                                                                                                                                  This entry concerns case
                                                                                                                                                                                                                                  experts. Defendants
                                                                                                                                                                                                                                  retained experts regarding
                                                                                                                                                                                                                                  the 14th amendment claims
                                                                                                                                                                                                                                  and the ADA claim. Given
                                                                                                                                                                                                                                  that Defendants seek
                                                                                                                                                                                                                                  recovery solely on State law
                                                                                                                                                                                                                                  claims and ADA claim,
                                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                                  1/3 of the amount of the
                                                                                                                                                                                                                                  total attorneys' fees related
                                                                                                                                                                                                                                  to experts. Defendants
                                                                                                                                                                                                                                  retained the experts when
                                                                                                                                                                                                                                  they did as they faced pre-
                                                                                                                                                                                                                                  trial deadlines and, while
                                                                                                                                                                                                                                  Defendants believed the
                                                                                                                                                                                                                                  ADA claim was frivolous,
                                                                                                                                                                                                                                  they had no guarantee their
                                                                                                                                                                                                    unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                    argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                    frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                    and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                    state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                    unable to determine how following a ruling on the
                                                                                                                            ($198.8) [this is 5/7s                                                  many hours billed for each motion.
                                                                                                                            of the full $280                                                        claim; unable to determine
Robert Conti          3/3/2022 Teleconference with client re: experts, case status,   To protect content of attorney    0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 REDACTED                                               work product, attorney mental
                               REDACTED.                                              impressions, and/or strategy.
                                                                                      To protect content of attorney-
                                                                                      client communication.


                                                                                                                                                                                                                                  This entry concerns case
                                                                                                                                                                                                                                  experts. Defendants
                                                                                                                                                                                                                                  retained experts regarding
                                                                                                                                                                                                                                  the 14th amendment claims
                                                                                                                                                                                                                                  and the ADA claim. Given
                                                                                                                                                                                                                                  that Defendants seek
                                                                                                                                                                                                                                  recovery solely on State law
                                                                                                                                                                                                                                  claims and ADA claim,
                                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                                  1/3 of the amount of the
                                                                                                                                                                                                                                  total attorneys' fees related
                                                                                                                                                                                                                                  to experts. Defendants
                                                                                                                                                                                                                                  retained the experts when
                                                                                                                                                                                                                                  they did as they faced pre-
                                                                                                                                                                                                                                  trial deadlines and, while
                                                                                                                                                                                                                                  Defendants believed the
                                                                                                                                                                                                                                  ADA claim was frivolous,
                                                                                                                                                                                                                                  they had no guarantee their
                                                                                                                                                                                                    unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                    argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                    frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                    and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                    state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                    unable to determine how following a ruling on the
                                                                                                                            ($238.56) [this is                                                      many hours billed for each motion.
                                                                                                                            5/7s of the full $336                                                   claim; unable to determine
Connie L. Michaels    3/3/2022 Confer with client with Mr. Conti re REDACTED          To protect content of attorney    0.6 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5647966      4/25/2022 expert witnesses.                                      work product, attorney mental
                                                                                      impressions, and/or strategy.
                                                                                      To protect content of attorney-
                                                                                      client communication.




                                                                                               Final Joint Statement_00031
                          Case 2:21-cv-08688-DSF-PVC                                                       Document 95 Filed 01/19/23                                                 Page 32 of 274 Page
                                                                                                                ID #:2171

                                                                                                                                                                                                                                  A brief case team meeting
                                                                                                                                                                                                                                  was held for all defense
                                                                                                                                                                                                                                  counsel weekly to confer
                                                                                                                                                                                                                                  and strategize regarding the
                                                                                                                                                                                                                                  case and its developments.
                                                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                                                  Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                  activity was conducted in
                                                                                                                                                                                                                                  light of all allegations within
                                                                                                                                                                                                                                  Plaintiffs' Complaint.
                                                                                                                                                                                                                                  However, if a prevailing
                                                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                     unnecessary; vague;          billed for this entry.
                                                                                                                             ($39.76) [this is 5/7s                                                  unable to determine how
                                                                                                                             of the full $56                                                         many hours billed for each
Connie L. Michaels    3/3/2022 Confer with case team re matter status and                                                0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966      4/25/2022 strategy for next steps.

                                                                                                                                                                                                                                   This entry concerns case
                                                                                                                                                                                                                                   experts. Defendants
                                                                                                                                                                                                                                   retained experts regarding
                                                                                                                                                                                                                                   the 14th amendment claims
                                                                                                                                                                                                                                   and the ADA claim. Given
                                                                                                                                                                                                                                   that Defendants seek
                                                                                                                                                                                                                                   recovery solely on State law
                                                                                                                                                                                                                                   claims and ADA claim,
                                                                                                                                                                                                                                   Defendants intend to seek
                                                                                                                                                                                                                                   1/3 of the amount of the
                                                                                                                                                                                                                                   total attorneys' fees related
                                                                                                                                                                                                                                   to experts. Defendants
                                                                                                                                                                                                                                   retained the experts when
                                                                                                                                                                                                                                   they did as they faced pre-
                                                                                                                                                                                                                                   trial deadlines and, while
                                                                                                                                                                                                                                   Defendants believed the
                                                                                                                                                                                                                                   ADA claim was frivolous,
                                                                                                                                                                                                                                   they had no guarantee their
                                                                                                                                                                                                     unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                     argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                     frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                     and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                     state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                     unable to determine how following a ruling on the
                                                                                                                             ($954.24) [this is                                                      many hours billed for each motion.
                                                                                                                             5/7s of the full                                                        claim; unable to determine
Robert Conti          3/6/2022 REDACTED expert witness data for medical                 To protect content of attorney   2.4 $1344 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 professionals REDACTED                                   work product, attorney mental
                               REDACTED                                                 impressions, and/or strategy.
                               regarding impact of COVID-19, need for vaccination and
                               compile list and documents re: same.




                                                                                                 Final Joint Statement_00032
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                               Page 33 of 274 Page
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                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and fees incurred
                                                                                                                                                                                                                      for attorney-client
                                                                                                                                                                                                                      communications are
                                                                                                                                                                                                                      recoverable. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                     ($874.72) [this is                                                    many hours billed for each billed for this entry.
                                                                                                                     5/7s of the full                                                      claim; unable to determine
Robert Conti          3/9/2022 Zoom conference with client, team members and   To protect content of attorney    2.2 $1232 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 LAUSD personnel REDACTED                        work product, attorney mental
                               REDACTED.                                       impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communication.

                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                    ($397.60) [this is                                                     many hours billed for each billed for this entry.
                                                                                                                    5/7s of the full $560                                                  claim; unable to determine
Connie L. Michaels    3/9/2022 Attend two witness interviews REDACTED          To protect proprietary             1 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 REDACTED.                                       information.

                                                                                                                                                                                                                         Not duplicative, these
                                                                                                                                                                                                                        interviews differ from
                                                                                                                                                                                                                        previous entry. Nature of
                                                                                                                                                                                                                        attorney work is evident
                                                                                                                                                                                                                        and clearly denotes witness
                                                                                                                                                                                                                        interviews were conducted
                                                                                                                                                                                                                        by defense cousnsel.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                           unable to determine how
                                                                                                                    ($397.60) [this is                                                     many hours billed for each
                                                                                                                    5/7s of the full $560                                                  claim; unable to determine
Connie L. Michaels    3/9/2022 Attend two witness interviews REDACTED          To protect proprietary             1 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 REDACTED                                        information.




                                                                                        Final Joint Statement_00033
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                Page 34 of 274 Page
                                                                                                     ID #:2173

                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      review and analysis of email
                                                                                                                                                                                                                      correspondences related to
                                                                                                                                                                                                                      this matter. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                  ($112.18) [this is                                                     many hours billed for each
                                                                                                                  5/7s of the full $158                                                  claim; unable to determine
Nick McKinney      3/9/2022 Review REDACTED Emails.                          To protect proprietary           0.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022                                                  information.

                                                                                                                                                                                                                      This entry concerned a
                                                                                                                                                                                                                      motion for an injunction
                                                                                                                                                                                                                      which was anticipated to be
                                                                                                                                                                                                                      filed early in the case as it
                                                                                                                                                                                                                      was in the initial related
                                                                                                                                                                                                                      lawsuit. If a prevailing party
                                                                                                                                                                                                                      ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Moreover,
                                                                                                                                                                                                                      Defendants intend to seek
                                                                                                                                                                                                                      5/7 fraction of total
                                                                                                                                                                                                                      attorneys' fees billed for
                                                                                                                                                                                                                      this entry. Nature of the
                                                                                                                                                                                                                      attorney work is evident,
                                                                                                                                                                                                                      and redactions have been
                                                                                                                                                                                                                      made to protect attorney
                                                                                                                                                                                                                      work product, attorney
                                                                                                                                                                                         unnecessary; unable to       mental impressions and
                                                                                                                                                                                         determine how many           strategy. Moreover,
                                                                                                                  ($140.23) [this is                                                     hours billed for each claim; Defendants' are entitled to
                                                                                                                  5/7s of the full                                                       unable to determine          recovery of litigation costs,
Donna Leung        3/9/2022 Further drafting of anticipated opposition to    To protect content of attorney   0.5 $197.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.             including expert fees, and
Invoice=5647966   4/25/2022 Plaintiff’s motion REDACTED,                     work product, attorney mental
                            with particular attention to Plaintiff’s claim   impressions, and/or strategy.
                            for the alleged violation of due process under
                            Skelly v. State Personnel Board, 15 Cal.3d 194
                            (1975).




                                                                                      Final Joint Statement_00034
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 35 of 274 Page
                                                                                                         ID #:2174

                                                                                                                                                                                                                           A brief case team meeting
                                                                                                                                                                                                                           was held for all defense
                                                                                                                                                                                                                           counsel weekly to confer
                                                                                                                                                                                                                           and strategize regarding the
                                                                                                                                                                                                                           case and its developments.
                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                      ($79.52) [this is 5/7s                                                  many hours billed for each
                                                                                                                      of the full $112                                                        claim; unable to determine
Connie L. Michaels   3/10/2022 Strategize with case team re matter status,       To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 REDACTED                                          work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                                                                                                                           A brief case team meeting
                                                                                                                                                                                                                           was held for all defense
                                                                                                                                                                                                                           counsel weekly to confer
                                                                                                                                                                                                                           and strategize regarding the
                                                                                                                                                                                                                           case and its developments.
                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                      ($79.52) [this is 5/7s                                                  unable to determine how
                                                                                                                      of the full $112                                                        many hours billed for each
Robert Conti         3/10/2022 Teleconference with team members re: witness                                       0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966      4/25/2022 introductions, deposition preparations and case
                               status.




                                                                                          Final Joint Statement_00035
                           Case 2:21-cv-08688-DSF-PVC                                                   Document 95 Filed 01/19/23                                                 Page 36 of 274 Page
                                                                                                             ID #:2175

                                                                                                                                                                                                                               Entry unredacted. Nature of
                                                                                                                                                                                                                               the attorney work is evident
                                                                                                                                                                                                                               and necessary in the
                                                                                                                                                                                                                               defense against Plaintiffs'
                                                                                                                                                                                                                               claims. Attorney activity
                                                                                                                                                                                                                               was conducted in light of all
                                                                                                                                                                                                                               allegations within Plaintiffs'
                                                                                                                                                                                                                               Complaint. However, if a
                                                                                                                                                                                                                               prevailing party ultimately
                                                                                                                                                                                                                               wins on a particular claim, it
                                                                                                                                                                                                                               is entitled to all attorney's
                                                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                                                               of total attorneys' fees
                                                                                                                                                                                                  unable to determine how      billed for this entry.
                                                                                                                          ($79.52) [this is 5/7s                                                  many hours billed for each
                                                                                                                          of the full $112                                                        claim; unable to determine
Robert Conti         3/11/2022 Teleconference with client re: witness depositions   To protect content of attorney-   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 and preparations.                                    client communication.

                                                                                                                          ($119.28) [this is
                                                                                                                          5/7s of the full $168
Robert Conti         3/11/2022 Receipt and review of proposed First Amended                                           0.3 entry]
Invoice=5647966      4/25/2022 Complaint.

                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint.
                                                                                                                                                                                                                             However, if a prevailing
                                                                                                                                                                                                                             party ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
                                                                                                                                                                                                                             entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                  unable to determine how of total attorneys' fees
                                                                                                                          ($39.76) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                          of the full $56                                                         claim; unable to determine
Connie L. Michaels   3/14/2022 Review video of COVID update REDACTED                To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 REDACTED                                             work product, attorney mental
                                                                                    impressions, and/or strategy.
                                                                                    To protect proprietary
                                                                                    information.




                                                                                             Final Joint Statement_00036
                           Case 2:21-cv-08688-DSF-PVC                                                  Document 95 Filed 01/19/23                                                   Page 37 of 274 Page
                                                                                                            ID #:2176

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
                                                                                                                                                                                                                              party ultimately wins on a
                                                                                                                                                                                                                              particular claim, it is
                                                                                                                                                                                                                              entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                   unable to determine how of total attorneys' fees
                                                                                                                        ($397.60) [this is                                                         many hours billed for each billed for this entry.
                                                                                                                        5/7s of the full $560                                                      claim; unable to determine
Connie L. Michaels   3/14/2022 Review and analyze proposed second amended           To protect content of attorney    1 entry]                Reduced in its entirety by Plaintiffs       Object   nature of redacted entry.
Invoice=5647966      4/25/2022 complaint, review and revise related documents       work product, attorney mental
                               forwarded by Plaintiffs' counsel (order and          impressions, and/or strategy.
                               stipulation), legal research re REDACTED
                               REDACTED, corresponde (separately) with client and
                               opposing counsel re same.


                                                                                                                         ($39.76) [this is 5/7s
                                                                                                                         of the full $56
Connie L. Michaels   3/15/2022 Forward discovery from plaintiffs’ to client.                                         0.1 entry]
Invoice=5647966      4/25/2022

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
                                                                                                                                                                                                                              party ultimately wins on a
                                                                                                                                                                                                                              particular claim, it is
                                                                                                                                                                                                                              entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                   unable to determine how of total attorneys' fees
                                                                                                                         ($140.23) [this is                                                        many hours billed for each billed for this entry.
                                                                                                                         5/7s of the full                                                          claim; unable to determine
Donna Leung          3/15/2022 Review the tracked changes and revisions             To protect content of attorney   0.5 $197.5 entry]            Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 regarding Plaintiffs’ 49-page second amended         work product, attorney mental
                               for violation of civil rights and declaratory        impressions, and/or strategy.
                               and injunctive relief in REDACTED
                               REDACTED
                               REDACTED
                               REDACTED.




                                                                                             Final Joint Statement_00037
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 38 of 274 Page
                                                                                                      ID #:2177

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                   ($140.23) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                   5/7s of the full                                                        claim; unable to determine
Donna Leung       3/16/2022 Review and analysis of plaintiffs' requests for   To protect content of attorney   0.5 $197.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 documents and interrogatories REDACTED            work product, attorney mental
                            REDACTED                                          impressions, and/or strategy.
                            REDACTED.

                                                                                                                                                                                                                        Preparing for and advising
                                                                                                                                                                                                                        on the manner in which to
                                                                                                                                                                                                                        maintain potentially
                                                                                                                                                                                                                        privileged documents or
                                                                                                                                                                                                                        information is not an
                                                                                                                                                                                                                        administrative task.
                                                                                                                                                                                                                        Moreover, attorneys' fee
                                                                                                                                                                                                                        awards must account for
                                                                                                                                                                                                                        work of non-attorneys,
                                                                                                                                                                                                                        including paralegals and law
                                                                                                                                                                                                                        clerks “whose labor
                                                                                                                                                                                                                        contributes to the work
                                                                                                                                                                                                                        product for which an
                                                                                                                                                                                                                        attorney bills her client.”
                                                                                                                   ($15.98) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                   of the full $22.5                                                                                    274, 285 (1989).
Suzy Richman      3/16/2022 Upload documents to extranet REDACTED             To protect proprietary           0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5647966   4/25/2022                                                   information.

                                                                                                                                                                                                                        If a prevailing party
                                                                                                                                                                                                                        ultimately wins on a
                                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Moreover,
                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        5/7 fraction of total
                                                                                                                                                                                                                        attorneys' fees billed for
                                                                                                                                                                                                                        this entry. Nature of the
                                                                                                                                                                                                                        attorney work is evident,
                                                                                                                                                                                                                        and redactions have been
                                                                                                                                                                                                                        made to protect attorney
                                                                                                                                                                                                                        work product, attorney
                                                                                                                                                                                                                        mental impressions and
                                                                                                                                                                                                                        strategy. Moreover,
                                                                                                                                                                                                                        Defendants' are entitled to
                                                                                                                                                                                                                        recovery of litigation costs,
                                                                                                                                                                                                                        including expert fees, and
                                                                                                                                                                                           unnecessary; unable to       attorneys' fee based on ADA
                                                                                                                                                                                           determine how many           statute if they are the
                                                                                                                   ($168.27) [this is                                                      hours billed for each claim; prevailing party, as is the
                                                                                                                   5/7s of the full $237                                                   unable to determine          case here.
Donna Leung       3/17/2022 Continue drafting and revising anticipated        To protect content of attorney   0.6 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5647966   4/25/2022 opposition to Plaintiff's motion                  work product, attorney mental
                            REDACTED                                          impressions, and/or strategy.




                                                                                       Final Joint Statement_00038
                          Case 2:21-cv-08688-DSF-PVC                                                      Document 95 Filed 01/19/23                                                   Page 39 of 274 Page
                                                                                                               ID #:2178

                                REDACTED
                                REDACTED.

                                                                                                                            ($39.76) [this is 5/7s
                                                                                                                            of the full $56
Connie L. Michaels   3/17/2022 Determine status of preparation of discovery                                             0.1 entry]
Invoice=5647966      4/25/2022 responses.

                                                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                                                   activity is related to
                                                                                                                                                                                                                                   discovery. Attorney activity
                                                                                                                                                                                                                                   was conducted in light of all
                                                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                      unable to determine how      billed for this entry.
                                                                                                                            ($140.23) [this is                                                        many hours billed for each
                                                                                                                            5/7s of the full                                                          claim; unable to determine
Donna Leung          3/22/2022 Review plaintiffs’ requests for documents and           To protect content of attorney   0.5 $197.5 entry]            Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 things in order to determine REDACTED,                  work product, attorney mental
                               REDACTED                                                impressions, and/or strategy.
                               REDACTED
                               REDACTED and ensure compliance with discovery
                               obligations.

                                                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                                                   activity is related to
                                                                                                                                                                                                                                   discovery. Attorney activity
                                                                                                                                                                                                                                   was conducted in light of all
                                                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                      unable to determine how      billed for this entry.
                                                                                                                            ($168.27) [this is                                                        many hours billed for each
                                                                                                                            5/7s of the full $237                                                     claim; unable to determine
Donna Leung          3/23/2022 Continue analysis of proposed responses and            To protect content of attorney    0.6 entry]                Reduced in its entirety by Plaintiffs      Object   nature of entry.
Invoice=5647966      4/25/2022 objections on behalf of the LAUSD in response          work product, attorney mental
                               to plaintiff’s interrogatories and send follow-up      impressions, and/or strategy.
                               correspondence to C. Michaels re strategy re REDACTED.




                                                                                                Final Joint Statement_00039
                       Case 2:21-cv-08688-DSF-PVC                                             Document 95 Filed 01/19/23                                                Page 40 of 274 Page
                                                                                                   ID #:2179

                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                                    activity is related to
                                                                                                                                                                                                                    discovery. Attorney activity
                                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                       unable to determine how      billed for this entry.
                                                                                                                ($224.36) [this                                                        many hours billed for each
                                                                                                                is5/7s of the full                                                     claim; unable to determine
Donna Leung       3/23/2022 Begin drafting responses and objections to    To protect content of attorney    0.8 $316 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 plaintiffs’ document requests for documents   work product, attorney mental
                            REDACTED                                      impressions, and/or strategy.
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                                    attorney-client
                                                                                                                                                                                                                    communications regarding
                                                                                                                                                                                                                    discovery. Attorney activity
                                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                       unable to determine how      billed for this entry.
                                                                                                                ($112.18) [this is                                                     many hours billed for each
                                                                                                                5/7s of the full $158                                                  claim; unable to determine
Donna Leung       3/23/2022 Communications with client, Narmin Shahin,    To protect content of attorney    0.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 regarding plaintiff's request for documents   work product, attorney mental
                            in order to REDACTED                          impressions, and/or strategy.
                            REDACTED                                      To protect content of attorney-
                            REDACTED.                                     client communications.




                                                                                   Final Joint Statement_00040
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 41 of 274 Page
                                                                                                         ID #:2180

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           activity is related to
                                                                                                                                                                                                                           discovery. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                      ($336.54) [this is                                                      many hours billed for each
                                                                                                                      5/7s of the full $474                                                   claim; unable to determine
Donna Leung          3/23/2022 Begin drafting responses and objections to        To protect content of attorney   1.2 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5647966      4/25/2022 plaintiffs’ contention interrogatories REDACTED   work product, attorney mental
                               REDACTED.                                         impressions, and/or strategy.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           activity is related to
                                                                                                                                                                                                                           discovery. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
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                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                      ($159.04) [this is                                                      unable to determine how
                                                                                                                      5/7s of the full $224                                                   many hours billed for each
Connie L. Michaels   3/23/2022 Draft approach for responses to 6                                                  0.4 entry]                Reduced in its entirety by Plaintiffs    Object   claim.
Invoice=5647966      4/25/2022 interrogatories.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           activity is related to
                                                                                                                                                                                                                           discovery. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
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                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                      ($79.52) [this is 5/7s                                                  many hours billed for each
                                                                                                                      of the full $112                                                        claim; unable to determine
Connie L. Michaels   3/24/2022 Determine status of preparation of responses to   To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 discovery and review correspondence REDACTED      work product, attorney mental
                               REDACTED.                                         impressions, and/or strategy.




                                                                                          Final Joint Statement_00041
                       Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 42 of 274 Page
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                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       attorney-client
                                                                                                                                                                                                                       communications regarding
                                                                                                                                                                                                                       discovery. Attorney activity
                                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                  ($56.09) [this is 5/7s                                                  many hours billed for each
                                                                                                                  of the full $79                                                         claim; unable to determine
Donna Leung       3/24/2022 Further communications with Narmin Shahin of    To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 LAUSD re REDACTED responsive documents to       work product, attorney mental
                            plaintiff’s discovery requests and objections   impressions, and/or strategy.
                            to the same.                                    To protect content of attorney-
                                                                            client communications.

                                                                                                                                                                                                                       Attorneys' fee awards must
                                                                                                                                                                                                                       account for work of non-
                                                                                                                                                                                                                       attorneys, including
                                                                                                                                                                                                                       paralegals and law clerks
                                                                                                                                                                                                                       “whose labor contributes to
                                                                                                                                                                                          admin task; unable to        the work product for which
                                                                                                                                                                                          determine how many           an attorney bills her client.”
                                                                                                                  ($143.78) [this is                                                      hours billed for each claim; Missouri v. Jenkins, 491 U.S.
                                                                                                                  5/7s of the full                                                        unable to determine          274, 285 (1989).
Suzy Richman      3/24/2022 Download Records received from client and       To protect proprietary            0.9 $202.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 REDACTED                                        information.
                            REDACTED.

                                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                                       and strategize regarding the
                                                                                                                                                                                                                       case and its developments.
                                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
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                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unnecessary; vague;          billed for this entry.
                                                                                                                  ($56.09) [this is 5/7s                                                  unable to determine how
                                                                                                                  of the full $79                                                         many hours billed for each
Nick McKinney     3/24/2022 Weekly litigation team meeting.                                                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022




                                                                                     Final Joint Statement_00042
                       Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 43 of 274 Page
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                                                                                                                                                                                                                        A brief case team meeting
                                                                                                                                                                                                                        was held for all defense
                                                                                                                                                                                                                        counsel weekly to confer
                                                                                                                                                                                                                        and strategize regarding the
                                                                                                                                                                                                                        case and its developments.
                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                                        However, if a prevailing
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                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unnecessary; vague;          billed for this entry.
                                                                                                                   ($56.09) [this is 5/7s                                                  unable to determine how
                                                                                                                   of the full $79                                                         many hours billed for each
Nick McKinney     3/24/2022 Weekly litigation team meeting.                                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        activity is related to
                                                                                                                                                                                                                        discovery. Attorney activity
                                                                                                                                                                                                                        was conducted in light of all
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                                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                   ($196.32) [this is                                                      many hours billed for each
                                                                                                                   5/7s of the full                                                        claim; unable to determine
Donna Leung       3/24/2022 Begin review of documents provided by client in   To protect content of attorney   0.7 $276.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 response to plaintiff's request for documents,    work product, attorney mental
                            including REDACTED                                impressions, and/or strategy.
                            REDACTED
                            REDACTED in order to analyze the same.




                                                                                       Final Joint Statement_00043
                        Case 2:21-cv-08688-DSF-PVC                                           Document 95 Filed 01/19/23                                               Page 44 of 274 Page
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                                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                                  attorney interview of fact
                                                                                                                                                                                                                  witness. Redacations have
                                                                                                                                                                                                                  been madde to protect
                                                                                                                                                                                                                  attorney work proudct,
                                                                                                                                                                                                                  attorney metnal
                                                                                                                                                                                                                  impressions and strategy.
                                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                                  conducted in light of all
                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                  prevailing party ultimately
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                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                                  billed for this entry.
                                                                                                                                                                                     unable to determine how
                                                                                                              ($280.45) [this is                                                     many hours billed for each
                                                                                                              5/7s of the full $395                                                  claim; unable to determine
Donna Leung       3/25/2022 Participate in telephone interview of fact   To protect content of attorney     1 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 witness REDACTED                             work product, attorney mental
                            REDACTED                                     impressions, and/or strategy.
                            REDACTED                                     To protect content of attorney-
                            REDACTED                                     client communications.
                            REDACTED
                            REDACTED in order to
                            further investigate the same.

                                                                                                                                                                                                                  Preparing for and advising
                                                                                                                                                                                                                  on the manner in which to
                                                                                                                                                                                                                  maintain potentially
                                                                                                                                                                                                                  privileged documents or
                                                                                                                                                                                                                  information is not an
                                                                                                                                                                                                                  administrative task.
                                                                                                                                                                                                                  Moreover, attorneys' fee
                                                                                                                                                                                                                  awards must account for
                                                                                                                                                                                                                  work of non-attorneys,
                                                                                                                                                                                                                  including paralegals and law
                                                                                                                                                                                                                  clerks “whose labor
                                                                                                                                                                                                                  contributes to the work
                                                                                                                                                                                                                  product for which an
                                                                                                                                                                                                                  attorney bills her client.”
                                                                                                               ($111.83) [this is                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                               5/7s of the full                                                                                   274, 285 (1989).
Suzy Richman      3/29/2022 Upload documents to Extranet received from                                     0.7 $157.5 entry]        Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5647966   4/25/2022 client.




                                                                                  Final Joint Statement_00044
                        Case 2:21-cv-08688-DSF-PVC                                                          Document 95 Filed 01/19/23                                                 Page 45 of 274 Page
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                                                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                                                   attorney-client
                                                                                                                                                                                                                                   communications regarding
                                                                                                                                                                                                                                   discovery. Attorney activity
                                                                                                                                                                                                                                   was conducted in light of all
                                                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                      unable to determine how      billed for this entry.
                                                                                                                              ($56.09) [this is 5/7s                                                  many hours billed for each
                                                                                                                              of the full $79                                                         claim; unable to determine
Donna Leung       3/31/2022 Communications with Narmin Shahin re                        To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 plaintiff's interrogatories to the District in order to     work product, attorney mental
                            REDACTED.                                                   impressions, and/or strategy.
                                                                                        To protect content of attorney-
                                                                                        client communications.

                                                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                                                   activity related to discovery.
                                                                                                                                                                                                                                   Attorney activity was
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                                                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                      unable to determine how      billed for this entry.
                                                                                                                              ($224.36) [this is                                                      many hours billed for each
                                                                                                                              5/7s of the full $316                                                   claim; unable to determine
Donna Leung       3/31/2022 Further drafting of responses and objections to             To protect content of attorney    0.8 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5647966   4/25/2022 Plaintiffs’ interrogatories re the District's contentions   work product, attorney mental
                            and defenses as to the REDACTED                             impressions, and/or strategy.
                            in order to REDACTED.




                                                                                                 Final Joint Statement_00045
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                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       activity related to discovery.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
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                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
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                                                                                                                  ($140.23) [this is                                                      many hours billed for each
                                                                                                                  5/7s of the full                                                        claim; unable to determine
Donna Leung       3/31/2022 Revisions to responses and objections to         To protect content of attorney   0.5 $197.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 Plaintiffs’ requests for documents in order to   work product, attorney mental
                            REDACTED.                                        impressions, and/or strategy.

                                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                                       and strategize regarding the
                                                                                                                                                                                                                       case and its developments.
                                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                                       activity was conducted in
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                                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                                       entitled to all attorney's
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                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unnecessary; vague;          billed for this entry.
                                                                                                                  ($56.09) [this is 5/7s                                                  unable to determine how
                                                                                                                  of the full $79                                                         many hours billed for each
Nick McKinney     3/31/2022 Weekly litigation team meeting.                                                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022




                                                                                      Final Joint Statement_00046
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 47 of 274 Page
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                                                                                                                                                                                                                           A brief case team meeting
                                                                                                                                                                                                                           was held for all defense
                                                                                                                                                                                                                           counsel weekly to confer
                                                                                                                                                                                                                           and strategize regarding the
                                                                                                                                                                                                                           case and its developments.
                                                                                                                                                                                                                           Nature of the attorney work
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                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                           party ultimately wins on a
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                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unnecessary; vague;          billed for this entry.
                                                                                                                      ($56.09) [this is 5/7s                                                  unable to determine how
                                                                                                                      of the full $79                                                         many hours billed for each
Nick McKinney        3/31/2022 Weekly litigation team meeting.                                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966      4/25/2022

                                                                                                                                                                                                                           A brief case team meeting
                                                                                                                                                                                                                           was held for all defense
                                                                                                                                                                                                                           counsel weekly to confer
                                                                                                                                                                                                                           and strategize regarding the
                                                                                                                                                                                                                           case and its developments.
                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
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                                                                                                                                                                                                                           party ultimately wins on a
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                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
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                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                      ($119.28) [this                                                         many hours billed for each
                                                                                                                      is5/7s of the full                                                      claim; unable to determine
Connie L. Michaels   3/31/2022 Prepare for and confer with case team regarding   To protect content of attorney   0.3 $168 entry]            Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966      4/25/2022 case status REDACTED                              work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED
                               REDACTED.




                                                                                          Final Joint Statement_00047
                       Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 48 of 274 Page
                                                                                                    ID #:2187

                                                                                                                                                                                                                      A brief case team meeting
                                                                                                                                                                                                                      was held for all defense
                                                                                                                                                                                                                      counsel weekly to confer
                                                                                                                                                                                                                      and strategize regarding the
                                                                                                                                                                                                                      case and its developments.
                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unnecessary; vague;          billed for this entry.
                                                                                                                 ($79.52) [this is 5/7s                                                  unable to determine how
                                                                                                                 of the full $112                                                        many hours billed for each
Robert Conti      3/31/2022 Team teleconference re: case status, strategy                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5647966   4/25/2022 and tasks moving forward.

                                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                         unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                         argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                         frivolous or without merit would dismiss the claim in
                                                                                                                                                                                         and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                         state law/ADA claims);        amend their Complaint
                                                                                                                                                                                         unable to determine how following a ruling on the
                                                                                                                 ($1,471.12) [this is                                                    many hours billed for each motion.
                                                                                                                 5/7s of the full                                                        claim; unable to determine
Robert Conti      3/31/2022 Continue REDACTED review of potential medical   To protect content of attorney   3.7 $2072 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5647966   4/25/2022 experts REDACTED                                work product, attorney mental
                            REDACTED                                        impressions, and/or strategy.
                            REDACTED
                            REDACTED




                                                                                     Final Joint Statement_00048
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 49 of 274 Page
                                                                                                      ID #:2188

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       activity related to discovery.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                   ($729.17) [this is                                                     many hours billed for each
                                                                                                                   5/7s of the full                                                       claim; unable to determine
Donna Leung        4/1/2022 Further drafting of the District’s objections     To protect content of attorney   2.6 $1027 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 and responses to Plaintiff’s interrogatories,     work product, attorney mental
                            with particular attention to REDACTED             impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       activity related to discovery.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                   ($224.36) [this is                                                     many hours billed for each
                                                                                                                   5/7s of the full $316                                                  claim; unable to determine
Donna Leung        4/4/2022 Review and analysis of documents from client re   To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 discovery objections as they relate to REDACTED   work product, attorney mental
                            REDACTED                                          impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED.




                                                                                       Final Joint Statement_00049
                       Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                Page 50 of 274 Page
                                                                                                           ID #:2189

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            activity related to review of
                                                                                                                                                                                                                            documents related to this
                                                                                                                                                                                                                            matter. Attorney activity
                                                                                                                                                                                                                            was conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               unable to determine how      billed for this entry.
                                                                                                                        ($308.50) [this is                                                     many hours billed for each
                                                                                                                        5/7s of the full                                                       claim; unable to determine
Donna Leung        4/5/2022 Review and analysis of plaintiffs’ applicable          To protect content of attorney   1.1 $434.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 reasonable accommodations files in order to            work product, attorney mental
                            determine scope of the same with respect to REDACTED   impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            activity related to discovery.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               unable to determine how      billed for this entry.
                                                                                                                        ($420.68) [this is                                                     many hours billed for each
                                                                                                                        5/7s of full $592.5                                                    claim; unable to determine
Donna Leung        4/5/2022 Further revisions to the responses and                                                  1.5 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 objections to plaintiffs’ requests for                 To protect content of attorney
                            documents in order to REDACTED                         work product, attorney mental
                            REDACTED.                                              impressions, and/or strategy.




                                                                                            Final Joint Statement_00050
                           Case 2:21-cv-08688-DSF-PVC                                                       Document 95 Filed 01/19/23                                                Page 51 of 274 Page
                                                                                                                 ID #:2190

                                                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                                                  activity related to discovery.
                                                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                                                  conducted in light of all
                                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                     unable to determine how      billed for this entry.
                                                                                                                              ($140.23) [this is                                                     many hours billed for each
                                                                                                                              5/7s of the full                                                       claim; unable to determine
Donna Leung           4/6/2022 Further revisions to the proposed responses and          To protect content of attorney    0.5 $197.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 objections to plaintiff’s requests for                   work product, attorney mental
                               documents and interrogatories, with particular attention impressions, and/or strategy.
                               to REDACTED
                               REDACTED.

                                                                                                                                                                                                                                  This entry concerned a
                                                                                                                                                                                                                                  motion for an injunction
                                                                                                                                                                                                                                  which was anticipated to be
                                                                                                                                                                                                                                  filed early in the case as it
                                                                                                                                                                                                                                  was in the initial related
                                                                                                                                                                                                                                  lawsuit. Attorney work
                                                                                                                                                                                                                                  conducted on potential
                                                                                                                                                                                                                                  motion is recoverable in this
                                                                                                                                                                                                                                  context as the research and
                                                                                                                                                                                                                                  analysis done in
                                                                                                                                                                                                                                  preparation for this
                                                                                                                                                                                                                                  potential motion was later
                                                                                                                                                                                                                                  utilized in the preparing,
                                                                                                                                                                                                                                  filing and arguing of
                                                                                                                                                                                                                                  Defendants' Motion for
                                                                                                                                                                                                                                  Judgment on the Pleadings.
                                                                                                                                                                                                                                  If a prevailing party
                                                                                                                                                                                                                                  ultimately wins on a
                                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                     unnecessary; unable to       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     determine how many           F.2d 1050, 1053 (9th
                                                                                                                              ($420.68) [this is                                                     hours billed for each claim; Cir.1991). Moreover,
                                                                                                                              5/7s of full $592.5                                                    unable to determine          Defendants intend to seek
Donna Leung           4/6/2022 Continue drafting memorandum of points and               To protect content of attorney    1.5 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.             5/7 fraction of total
Invoice=5687235      6/29/2022 authorities of anticipated opposition to motion          work product, attorney mental
                               REDACTED, with particular attention to                   impressions, and/or strategy.
                               plaintiff’s claims of the
                               violation of due process under the Skelly v.
                               State Personnel Board case.


                                                                                                                              ($869.40) [this is
                                                                                                                              5/7s of the full
Nick McKinney         4/6/2022 Draft answer to second amended complaint.                                                  3.1 $1224.5 entry]
Invoice=5687235      6/29/2022


                                                                                                                              ($125.24) [this is
                                                                                                                              5/7s of the full
Connie L. Michaels    4/6/2022 Review and revise draft Answer to Second                 To protect content of attorney    0.3 $176.4 entry]
Invoice=5687235      6/29/2022 Amended Complaint REDACTED                               work product, attorney mental
                               REDACTED.                                                impressions, and/or strategy.
                                                                                        To protect content of attorney-
                                                                                        client communications.




                                                                                                 Final Joint Statement_00051
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 52 of 274 Page
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                                                                                                                   ($112.18) [this is
                                                                                                                   5/7s of full $158
Nick McKinney      4/7/2022 Complete preparation of answer to second                                           0.4 entry]
Invoice=5687235   6/29/2022 amended complaint.

                                                                                                                                                                                                                         A brief case team meeting
                                                                                                                                                                                                                         was held for all defense
                                                                                                                                                                                                                         counsel weekly to confer
                                                                                                                                                                                                                         and strategize regarding the
                                                                                                                                                                                                                         case and its developments.
                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                           unnecessary; unable to
                                                                                                                   ($56.09) [this is 5/7s                                                  determine how many
Nick McKinney      4/7/2022 Weekly litigation team conference call.                                            0.2 of full $79 entry]     Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235   6/29/2022

                                                                                                                                                                                                                        This entry concerned a
                                                                                                                                                                                                                        motion for an injunction
                                                                                                                                                                                                                        which was anticipated to be
                                                                                                                                                                                                                        filed early in the case as it
                                                                                                                                                                                                                        was in the initial related
                                                                                                                                                                                                                        lawsuit. Attorney work
                                                                                                                                                                                                                        conducted on potential
                                                                                                                                                                                                                        motion is recoverable in this
                                                                                                                                                                                                                        context as the research and
                                                                                                                                                                                                                        analysis done in
                                                                                                                                                                                                                        preparation for this
                                                                                                                                                                                                                        potential motion was later
                                                                                                                                                                                                                        utilized in the preparing,
                                                                                                                                                                                                                        filing and arguing of
                                                                                                                                                                                                                        Defendants' Motion for
                                                                                                                                                                                                                        Judgment on the Pleadings.
                                                                                                                                                                                                                        If a prevailing party
                                                                                                                                                                                                                        ultimately wins on a
                                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                           unnecessary; unable to       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                           determine how many           F.2d 1050, 1053 (9th
                                                                                                                   ($392.63) [this is                                                      hours billed for each claim; Cir.1991). Moreover,
                                                                                                                   5/7s of the full $553                                                   unable to determine          Defendants intend to seek
Donna Leung        4/7/2022 Continue drafting memorandum of points and        To protect content of attorney   1.4 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.             5/7 fraction of total
Invoice=5687235   6/29/2022 authorities of anticipated opposition to motion   work product, attorney mental
                            REDACTED, with particular                         impressions, and/or strategy.
                            attention to plaintiff’s claims of the
                            violation of due process under the Skelly v.
                            State Personnel Board case and declaratory
                            relief under the Americans with Disabilities
                            Act.




                                                                                       Final Joint Statement_00052
                       Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                               Page 53 of 274 Page
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                                                                                                                                                                                                                           This entry concerned a
                                                                                                                                                                                                                           motion for an injunction
                                                                                                                                                                                                                           which was anticipated to be
                                                                                                                                                                                                                           filed early in the case as it
                                                                                                                                                                                                                           was in the initial related
                                                                                                                                                                                                                           lawsuit. Attorney work
                                                                                                                                                                                                                           conducted on potential
                                                                                                                                                                                                                           motion is recoverable in this
                                                                                                                                                                                                                           context as the research and
                                                                                                                                                                                                                           analysis done in
                                                                                                                                                                                                                           preparation for this
                                                                                                                                                                                                                           potential motion was later
                                                                                                                                                                                                                           utilized in the preparing,
                                                                                                                                                                                                                           filing and arguing of
                                                                                                                                                                                                                           Defendants' Motion for
                                                                                                                                                                                                                           Judgment on the Pleadings.
                                                                                                                                                                                                                           If a prevailing party
                                                                                                                                                                                                                           ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                              unnecessary; unable to       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                              determine how many           F.2d 1050, 1053 (9th
                                                                                                                        ($140.23) [this is                                                    hours billed for each claim; Cir.1991). Moreover,
                                                                                                                        5/7s of the full                                                      unable to determine          Defendants intend to seek
Donna Leung        4/8/2022 Continue drafting memorandum of points and            To protect content of attorney    0.5 $197.5 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry.             5/7 fraction of total
Invoice=5687235   6/29/2022 authorities of anticipated opposition to motion       work product, attorney mental
                            REDACTED, with particular                             impressions, and/or strategy.
                            attention to revisions made by plaintiffs in their
                            second amended complaint in order to address the same
                            REDACTED.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           activity related to review of
                                                                                                                                                                                                                           documents related to this
                                                                                                                                                                                                                           matter. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Given Defendants
                                                                                                                                                                                                                           seek recovery of State and
                                                                                                                                                                                                                           ADA claim only, Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees.
                                                                                                                                                                                              unable to determine how
                                                                                                                        ($448.72) [this is                                                    many hours billed for each
                                                                                                                        5/7s of full $632                                                     claim; unable to determine
Donna Leung        4/8/2022 Review of personnel files and additional               To protect content of attorney   1.6 entry]               Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 personnel-related documents relating to each           work product, attorney mental
                            named plaintiff (over 400 pages), REDACTED             impressions, and/or strategy.
                            REDACTED                                               To protect proprietary
                            REDACTED                                               information.
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED




                                                                                            Final Joint Statement_00053
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 54 of 274 Page
                                                                                                      ID #:2193

                                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                                       and strategize regarding the
                                                                                                                                                                                                                       case and its developments.
                                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                   ($140.23) [this is                                                     many hours billed for each
                                                                                                                   5/7s of the full                                                       claim; unable to determine
Nick McKinney      4/8/2022 Litigation team conference call to discuss case   To protect proprietary           0.5 $197.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=          5/10/2022 handling REDACTED.                                information.
                            REDACTED

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       activity related to discovery.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                   ($112.18) [this is                                                     many hours billed for each
                                                                                                                   5/7s of the full $158                                                  claim; unable to determine
Donna Leung        4/8/2022 Review and analysis of written discovery          To protect content of attorney   0.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 propounded by Plaintiff Cal Educators to the      work product, attorney mental
                            LAUSD Board Members collectively by way to        impressions, and/or strategy.
                            interrogatories and requests for documents in
                            order to determine REDACTED.




                                                                                       Final Joint Statement_00054
                          Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                   Page 55 of 274 Page
                                                                                                       ID #:2194

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           attorney-client
                                                                                                                                                                                                                           communication regarding
                                                                                                                                                                                                                           discovery in this matter.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                    ($28.05) [this is 5/7s                                                    many hours billed for each
                                                                                                                    of the full $39.5                                                         claim; unable to determine
Donna Leung           4/8/2022 Email to Narmin Shahin of the LAUSD re          To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs     Object   nature of entry.
Invoice=5687235      6/29/2022 written discovery propounded by Plaintiff Cal   work product, attorney mental
                               Educators to the LAUSD board members            impressions, and/or strategy.
                               REDACTED.                                       To protect content of attorney
                                                                               client communications.



                                                                                                                    ($83.50) [this is 5/7s
                                                                                                                    of the full $117.60
Connie L. Michaels   4/10/2022 Revise draft responses to special                                                0.2 entry]
Invoice=5687235      6/29/2022 interrogatories and document requests.

                                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                                                                         be successful, that Plaintiffs
                                                                                                                                                                                                                         would dismiss the claim in
                                                                                                                                                                                                                         response or elect not to
                                                                                                                                                                                                                         amend their Complaint
                                                                                                                                                                                              unable to determine how following a ruling on the
                                                                                                                    ($375.73) [this is                                                        many hours billed for each motion.
                                                                                                                    5/7s of the full                                                          claim; unable to determine
Connie L. Michaels   4/11/2022 Interview REDACTED researchers REDACTED         To protect content of attorney   0.9 $529.2 entry]            Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 REDACTED COVID vaccination program.             work product, attorney mental
                                                                               impressions, and/or strategy.




                                                                                        Final Joint Statement_00055
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 56 of 274 Page
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                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                                                        motion to dismiss it would
                                                                                                                                                                                                                        be successful, that Plaintiffs
                                                                                                                                                                                                                        would dismiss the claim in
                                                                                                                                                                                                                        response or elect not to
                                                                                                                                                                                                                        amend their Complaint
                                                                                                                                                                                             unable to determine how following a ruling on the
                                                                                                                     ($375.73) [this is                                                      many hours billed for each motion.
                                                                                                                     5/7s of the full                                                        claim; unable to determine
Connie L. Michaels   4/11/2022 Draft summary of interview with REDACTED         To protect content of attorney   0.9 $529.2 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 researchers REDACTED                             work product, attorney mental
                               COVID vaccination program.                       impressions, and/or strategy.


                                                                                                                                                                                                                           This entry concerns case
                                                                                                                                                                                                                           experts. Defendants
                                                                                                                                                                                                                           retained experts regarding
                                                                                                                                                                                                                           the 14th amendment claims
                                                                                                                                                                                                                           and the ADA claim. Given
                                                                                                                                                                                                                           that Defendants seek
                                                                                                                                                                                                                           recovery solely on State law
                                                                                                                                                                                                                           claims and ADA claim,
                                                                                                                                                                                                                           Defendants intend to seek
                                                                                                                                                                                                                           1/3 of the amount of the
                                                                                                                                                                                                                           total attorneys' fees related
                                                                                                                                                                                                                           to experts. Defendants
                                                                                                                                                                                                                           retained the experts when
                                                                                                                                                                                                                           they did as they faced pre-
                                                                                                                                                                                                                           trial deadlines and, while
                                                                                                                                                                                                                           Defendants believed the
                                                                                                                                                                                                                           ADA claim was frivolous,
                                                                                                                                                                                                                           they had no guarantee their
                                                                                                                                                                                                                           motion to dismiss it would
                                                                                                                                                                                                                           be successful, that Plaintiffs
                                                                                                                                                                                             unnecessary (contradicts      would dismiss the claim in
                                                                                                                                                                                             argument that claims are response or elect not to
                                                                                                                                                                                             frivolous or without merit amend their Complaint
                                                                                                                                                                                             and irrelevant to Plaintiffs' following a ruling on the
                                                                                                                     ($41.75) [this is 5/7s                                                  state law/ADA claims);        motion.
                                                                                                                     of the full $58.8                                                       unable to determine which
Connie L. Michaels   4/11/2022 Conference with Mr. Conti re expert witnesses.                                    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claims being discussed.
Invoice=5687235      6/29/2022




                                                                                         Final Joint Statement_00056
                        Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 57 of 274 Page
                                                                                                       ID #:2196

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        activity related to discovery.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                    ($140.23) [this is                                                     many hours billed for each
                                                                                                                    5/7s of the full                                                       claim; unable to determine
Donna Leung       4/11/2022 Strategize re potential discovery objections to   To protect content of attorney    0.5 $197.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 the form interrogatories and requests for         work product, attorney mental
                            documents propounded by Plaintiff Cal Educators   impressions, and/or strategy.
                            to the LAUSD board members REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        activity related to discovery.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                    ($336.54) [this is                                                     many hours billed for each
                                                                                                                    5/7s of the full $474                                                  claim; unable to determine
Donna Leung       4/11/2022 Further revisions to draft responses to written   To protect content of attorney    1.2 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 discovery propounded by plaintiff to Ileana       work product, attorney mental
                            Davalos, REDACTED                                 impressions, and/or strategy.
                            REDACTED                                          To protect content of attorney-
                            REDACTED.                                         client communications.




                                                                                       Final Joint Statement_00057
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 58 of 274 Page
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                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        activity related to discovery.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                  ($112.18) [this is                                                       many hours billed for each
                                                                                                                  5/7s of the full $158                                                    claim; unable to determine
Donna Leung       4/11/2022 Further revisions to requests for documents to   To protect content of attorney   0.4 entry]                Reduced in its entirety by Plaintiffs     Object   nature of entry.
Invoice=5687235   6/29/2022 each plaintiff, with particular attention to     work product, attorney mental
                            REDACTED                                         impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        activity related to discovery.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                  ($196.32) [this is                                                       many hours billed for each
                                                                                                                  5/7s of the full                                                         claim; unable to determine
Donna Leung       4/11/2022 Review and analysis of applicable collective     To protect content of attorney   0.7 $276.5 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 bargaining agreements for each named plaintiff   work product, attorney mental
                            REDACTED                                         impressions, and/or strategy.
                            REDACTED


                                                                                                                  ($224.36) [this is
                                                                                                                  5/7s of the full $316
Nick McKinney     4/11/2022 Review client documents to be produced in                                         0.8 entry]
Invoice=5687235   6/29/2022 response to written discovery.


                                                                                                                  ($168.27) [this is
                                                                                                                  5/7s of the full $237
Nick McKinney     4/11/2022 Review initial discovery served by Plaintiffs.                                    0.6 entry]
Invoice=5687235   6/29/2022




                                                                                      Final Joint Statement_00058
                        Case 2:21-cv-08688-DSF-PVC                                             Document 95 Filed 01/19/23                                               Page 59 of 274 Page
                                                                                                    ID #:2198

                                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                                     activity related to discovery.
                                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                       unnecessary if defense        of total attorneys' fees
                                                                                                                                                                                       really believed claims are    billed for this entry.
                                                                                                                 ($308.50) [this is                                                    frivolous; unable to
                                                                                                                 5/7s of the full                                                      determine number of
Nick McKinney     4/11/2022 Research statutory and case las law regarding                                    1.1 $434.5 entry]        Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235   6/29/2022 Plaintiff's service of discovery on all
                            defendant's via a single request and strategy
                            re the same.

                                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                                     activity related to discovery.
                                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                       unable to determine how       billed for this entry.
                                                                                                                 ($616.99) [this                                                       many hours billed for each
                                                                                                                 is5/7s of the full                                                    claim; unable to determine
Donna Leung       4/12/2022 Further review and analysis of plaintiff’s      To protect content of attorney   2.2 $869 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 employee files, payroll roles and notices of    work product, attorney mental
                            suspensions REDACTED                            impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED
                            to comply with discovery obligations.




                                                                                     Final Joint Statement_00059
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                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      activity related to discovery.
                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                                                                                           many hours billed for each billed for this entry.
                                                                                                                   ($140.23) [this is                                                      claim; unable to determine
                                                                                                                   5/7s of full $197.5                                                     nature of entry;
Donna Leung       4/12/2022 Further revisions to the discovery responses      To protect content of attorney   0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   unnecessary if
Invoice=5687235   6/29/2022 drafted on behalf of Ileana Davalos in order to   work product, attorney mental
                            REDACTED                                          impressions, and/or strategy.
                            REDACTED.

                                                                                                                                                                                                                        Preparing for and advising
                                                                                                                                                                                                                       on the manner in which to
                                                                                                                                                                                                                       maintain potentially
                                                                                                                                                                                                                       privileged documents or
                                                                                                                                                                                                                       information is not an
                                                                                                                                                                                                                       administrative task.
                                                                                                                                                                                                                       Moreover, attorneys' fee
                                                                                                                                                                                                                       awards must account for
                                                                                                                                                                                                                       work of non-attorneys,
                                                                                                                                                                                                                       including paralegals and law
                                                                                                                                                                                                                       clerks “whose labor
                                                                                                                                                                                                                       contributes to the work
                                                                                                                                                                                                                       product for which an
                                                                                                                                                                                                                       attorney bills her client.”
                                                                                                                   ($127.80) [this is                                                                                  Missouri v. Jenkins, 491 U.S.
                                                                                                                   5/7s of the full $180                                                                               274, 285 (1989).
Suzy Richman      4/12/2022 Download additional plaintiff records from                                         0.8 entry]                Reduced in its entirety by Plaintiffs    Object   Admin task
Invoice=5687235   6/29/2022 client and upload to Extranet.

                                                                                                                                                                                                                       Preparing for and advising
                                                                                                                                                                                                                       on the manner in which to
                                                                                                                                                                                                                       maintain potentially
                                                                                                                                                                                                                       privileged documents or
                                                                                                                                                                                                                       information is not an
                                                                                                                                                                                                                       administrative task.
                                                                                                                                                                                                                       Moreover, attorneys' fee
                                                                                                                                                                                                                       awards must account for
                                                                                                                                                                                                                       work of non-attorneys,
                                                                                                                                                                                                                       including paralegals and law
                                                                                                                                                                                                                       clerks “whose labor
                                                                                                                                                                                                                       contributes to the work
                                                                                                                                                                                                                       product for which an
                                                                                                                                                                                                                       attorney bills her client.”
                                                                                                                   ($47.93) [this is 5/7s                                                                              Missouri v. Jenkins, 491 U.S.
                                                                                                                   of the full $67.5                                                                                   274, 285 (1989).
Suzy Richman      4/13/2022 Stage documents to R:Drive for upload to                                           0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5687235   6/29/2022 Relativity.




                                                                                       Final Joint Statement_00060
                        Case 2:21-cv-08688-DSF-PVC                                                          Document 95 Filed 01/19/23                                                 Page 61 of 274 Page
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                                                                                                                                                                                                                                   Preparing for and advising
                                                                                                                                                                                                                                   on the manner in which to
                                                                                                                                                                                                                                   maintain potentially
                                                                                                                                                                                                                                   privileged documents or
                                                                                                                                                                                                                                   information is not an
                                                                                                                                                                                                                                   administrative task.
                                                                                                                                                                                                                                   Moreover, attorneys' fee
                                                                                                                                                                                                                                   awards must account for
                                                                                                                                                                                                                                   work of non-attorneys,
                                                                                                                                                                                                                                   including paralegals and law
                                                                                                                                                                                                                                   clerks “whose labor
                                                                                                                                                                                                                                   contributes to the work
                                                                                                                                                                                                                                   product for which an
                                                                                                                                                                                                                                   attorney bills her client.”
                                                                                                                              ($79.88) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                              of the full $112.5                                                                                   274, 285 (1989).
Ajay A. Patel     4/13/2022 Conduct analysis of evidence in Relativity to                                                 0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=          9/22/2022 identify documents that may contain privileged
                            or protected content.

                                                                                                                                                                                                                                   This entry concerned a
                                                                                                                                                                                                                                   motion for an injunction
                                                                                                                                                                                                                                   which was anticipated to be
                                                                                                                                                                                                                                   filed early in the case as it
                                                                                                                                                                                                                                   was in the initial related
                                                                                                                                                                                                                                   lawsuit. Attorney work
                                                                                                                                                                                                                                   conducted on potential
                                                                                                                                                                                                                                   motion is recoverable in this
                                                                                                                                                                                                                                   context as the research and
                                                                                                                                                                                                                                   analysis done in
                                                                                                                                                                                                                                   preparation for this
                                                                                                                                                                                                                                   potential motion was later
                                                                                                                                                                                                                                   utilized in the preparing,
                                                                                                                                                                                                                                   filing and arguing of
                                                                                                                                                                                                                                   Defendants' Motion for
                                                                                                                                                                                                                                   Judgment on the Pleadings.
                                                                                                                                                                                                                                   If a prevailing party
                                                                                                                                                                                                                                   ultimately wins on a
                                                                                                                                                                                                                                   particular claim, it is
                                                                                                                                                                                                                                   entitled to all attorney's
                                                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                      unnecessary; unable to       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      determine how many           F.2d 1050, 1053 (9th
                                                                                                                              ($925.49) [this is                                                      hours billed for each claim; Cir.1991). Moreover,
                                                                                                                              5/7s of the full                                                        unable to determine          Defendants intend to seek
Donna Leung       4/13/2022 Continue drafting and revising anticipated                   To protect content of attorney   3.3 $1303.5 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.             5/7 fraction of total
Invoice=5687235   6/29/2022 opposition to REDACTED,                                      work product, attorney mental
                            with particular attention to                                 impressions, and/or strategy.
                            plaintiffs' lack of irreparable harm and the likelihood of
                            REDACTED
                            and state law claims.




                                                                                                  Final Joint Statement_00061
                       Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 62 of 274 Page
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                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       activity related to discovery.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                  ($168.27) [this is                                                      many hours billed for each
                                                                                                                  5/7s of the full $237                                                   claim; unable to determine
Donna Leung       4/14/2022 Begin drafting discovery objections and          To protect content of attorney   0.6 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5687235   6/29/2022 responses to the interrogatories propounded by   work product, attorney mental
                            plaintiffs to the District board members in      impressions, and/or strategy.
                            order to REDACTED

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       communication with client
                                                                                                                                                                                                                       re matter. Attorney activity
                                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                          unable to determine how      billed for this entry.
                                                                                                                  ($56.09) [this is 5/7s                                                  many hours billed for each
                                                                                                                  of the full $79                                                         claim; unable to determine
Donna Leung       4/14/2022 Communications with Narmin Shahin of the         To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 District re REDACTED                             work product, attorney mental
                            REDACTED                                         impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED in order to confer re the same.




                                                                                      Final Joint Statement_00062
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 63 of 274 Page
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                                                                                                                                                                                                                        A brief case team meeting
                                                                                                                                                                                                                        was held for all defense
                                                                                                                                                                                                                        counsel weekly to confer
                                                                                                                                                                                                                        and strategize regarding the
                                                                                                                                                                                                                        case and its developments.
                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                                        However, if a prevailing
                                                                                                                                                                                                                        party ultimately wins on a
                                                                                                                                                                                                                        particular claim, it is
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                                                                                                                                                                                                                        fees reasonably expended
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                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                                        billed for this entry.
                                                                                                                   ($84.14) [this is 5/7s                                                  unable to determine how
                                                                                                                   of the full $118.5                                                      many hours billed for each
Nick McKinney     4/14/2022 Weekly litigation team strategy call.                                              0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5687235   6/29/2022

                                                                                                                                                                                                                        Preparing for and advising
                                                                                                                                                                                                                        on the manner in which to
                                                                                                                                                                                                                        maintain potentially
                                                                                                                                                                                                                        privileged documents or
                                                                                                                                                                                                                        information is not an
                                                                                                                                                                                                                        administrative task.
                                                                                                                                                                                                                        Moreover, attorneys' fee
                                                                                                                                                                                                                        awards must account for
                                                                                                                                                                                                                        work of non-attorneys,
                                                                                                                                                                                                                        including paralegals and law
                                                                                                                                                                                                                        clerks “whose labor
                                                                                                                                                                                                                        contributes to the work
                                                                                                                                                                                                                        product for which an
                                                                                                                                                                                                                        attorney bills her client.”
                                                                                                                   ($271.58) [this is                                                                                   Missouri v. Jenkins, 491 U.S.
                                                                                                                   5/7s of the full                                                                                     274, 285 (1989).
Suzy Richman      4/14/2022 Redact Personally Identifiable Information from                                    1.7 $382.5 entry]          Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5687235   6/29/2022 Plaintiff Personnel files.

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
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                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
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                                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                                        is entitled to all attorney's
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                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                           unable to determine how      billed for this entry.
                                                                                                                   ($364.59) [this is                                                      many hours billed for each
                                                                                                                   5/7s of the full                                                        claim; unable to determine
Donna Leung       4/15/2022 Finalize document production (over 500 pages),    To protect content of attorney   1.3 $513.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 in response to plaintiff’s requests for           work product, attorney mental
                            production of documents (set 1) with particular   impressions, and/or strategy.
                            attention to REDACTED
                            REDACTED




                                                                                       Final Joint Statement_00063
                       Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 64 of 274 Page
                                                                                                           ID #:2203

                             REDACTED.

                                                                                                                                                                                                                             Nature of attorney work is
                                                                                                                                                                                                                             evident and clearly denotes
                                                                                                                                                                                                                             communication with client
                                                                                                                                                                                                                             re matter. Attorney activity
                                                                                                                                                                                                                             was conducted in light of all
                                                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                                                             Complaint. However, if a
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                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                unable to determine how      billed for this entry.
                                                                                                                        ($84.14) [this is 5/7s                                                  many hours billed for each
                                                                                                                        of the full $118.5                                                      claim; unable to determine
Donna Leung       4/15/2022 Communications with Narmin Shahin of the LAUSD         To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 re REDACTED                                            work product, attorney mental
                            REDACTED                                               impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED and finalize the District's
                            response to interrogatories propounded by Plaintiffs
                            to Ileana Davalos.

                                                                                                                                                                                                                             Attorneys' fee awards must
                                                                                                                                                                                                                             account for work of non-
                                                                                                                                                                                                                             attorneys, including
                                                                                                                                                                                                                             paralegals and law clerks
                                                                                                                                                                                                                             “whose labor contributes to
                                                                                                                                                                                                                             the work product for which
                                                                                                                                                                                                                             an attorney bills her client.”
                                                                                                                                                                                                                             Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                             274, 285 (1989). Preparing
                                                                                                                                                                                                                             for and advising on the
                                                                                                                                                                                                                             manner in which to
                                                                                                                                                                                                                             maintain potentially
                                                                                                                                                                                                                             privileged documents or
                                                                                                                                                                                                                             information is not an
                                                                                                                        ($31.95) [this is 5/7s                                                                               administrative task.
                                                                                                                        of the full $45
Suzy Richman      4/18/2022 Review documents loaded to Relativity and mark                                          0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   Admin task
Invoice=5687235   6/29/2022 additional documents Responsive for production.

                                                                                                                                                                                                                             Attorneys' fee awards must
                                                                                                                                                                                                                             account for work of non-
                                                                                                                                                                                                                             attorneys, including
                                                                                                                                                                                                                             paralegals and law clerks
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                                                                                                                                                                                                                             the work product for which
                                                                                                                                                                                                                             an attorney bills her client.”
                                                                                                                                                                                                                             Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                             274, 285 (1989). Preparing
                                                                                                                                                                                                                             for and advising on the
                                                                                                                                                                                                                             manner in which to
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                                                                                                                                                                                                                             information is not an
                                                                                                                        ($127.80) [this is                                                                                   administrative task.
                                                                                                                        5/7s of the full $180
Ajay A. Patel     4/18/2022 Prepare export of production set of evidence                                            0.8 entry]                Reduced in its entirety by Plaintiffs    Object   Admin task
Invoice=          9/22/2022 (13 documents/LAUSD_HFDF 000001 to LAUSD_HFDF
                            000586) to be produced to opposing counsel.




                                                                                            Final Joint Statement_00064
                       Case 2:21-cv-08688-DSF-PVC                                                 Document 95 Filed 01/19/23                                                  Page 65 of 274 Page
                                                                                                       ID #:2204

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          activity related to discovery.
                                                                                                                                                                                                                          Attorney activity was
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                                                                                                                                                                                                                          Complaint. However, if a
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                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                             unable to determine how      billed for this entry.
                                                                                                                    ($308.50) [this is                                                       many hours billed for each
                                                                                                                    5/7s of the full                                                         claim; unable to determine
Donna Leung       4/18/2022 Review additional proposed revisions to           To protect content of attorney    1.1 $434.50 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 responses to interrogatories proposed by Ileana   work product, attorney mental
                            Davalos (Chief of Human Resources at LAUSD) in    impressions, and/or strategy.
                            order to REDACTED
                            REDACTED

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          communication with client
                                                                                                                                                                                                                          re matter. Attorney activity
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                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                             unable to determine how      billed for this entry.
                                                                                                                    ($84.14) [this is 5/7s                                                   many hours billed for each
                                                                                                                    of the full $118.50                                                      claim; unable to determine
Donna Leung       4/18/2022 Communications with Narmin Shahin re REDACTED     To protect content of attorney    0.3 entry]                 Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5687235   6/29/2022 REDACTED                                          work product, attorney mental
                            REDACTED                                          impressions, and/or strategy.
                            REDACTED                                          To protect content of attorney-
                            REDACTED in order to confer re the same.          client communications.


                                                                                                                    ($112.18) [this is
                                                                                                                    5/7s of the full $158
Donna Leung       4/18/2022 Finalize document production (586 pages),                                           0.4 entry]
Invoice=5687235   6/29/2022 including collective bargaining agreements,
                            relevant District policies, and plaintiff’s
                            personnel files in order to comply with
                            Defendants’ discovery obligations in response
                            to Plaintiff’s requests for documents.




                                                                                       Final Joint Statement_00065
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                               Page 66 of 274 Page
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                                                                                                                                                                                                                      Attorney work conducted
                                                                                                                                                                                                                      on potential motion is
                                                                                                                                                                                                                      recoverable in this context
                                                                                                                                                                                                                      as the research and analysis
                                                                                                                                                                                                                      done in preparation for this
                                                                                                                                                                                                                      potential motion was later
                                                                                                                                                                                                                      utilized in the preparing,
                                                                                                                                                                                                                      filing and arguing of
                                                                                                                                                                                                                      Defendants' Motion for
                                                                                                                                                                                                                      Judgment on the Pleadings.
                                                                                                                                                                                                                      If a prevailing party
                                                                                                                                                                                                                      ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Moreover,
                                                                                                                                                                                                                      Defendants intend to seek
                                                                                                                                                                                                                      5/7 fraction of total
                                                                                                                                                                                                                      attorneys' fees billed for
                                                                                                                                                                                         unnecessary; unable to       this entry. Nature of the
                                                                                                                                                                                         determine how many           attorney work is evident,
                                                                                                                   ($252.41) [this is                                                    hours billed for each claim; and redactions have been
                                                                                                                   5/7s of the full                                                      unable to determine          made to protect attorney
Donna Leung       4/20/2022 Further drafting and revisions to anticipated     To protect content of attorney   0.9 $355.50 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.             work product, attorney
Invoice=5687235   6/29/2022 opposition to plaintiffs’ motion                  work product, attorney mental
                             REDACTED                                         impressions, and/or strategy.
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                      Nature of attorney work is
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                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
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                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                   ($308.50) [this is                                                    many hours billed for each
                                                                                                                   5/7s of the full                                                      claim; unable to determine
Donna Leung       4/21/2022 Drafting of responses and objections to the       To protect content of attorney   1.1 $434.50 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 requests for documents propounded by Plaintiff    work product, attorney mental
                            California Educators for Medical Freedom to the   impressions, and/or strategy.
                            LAUSD Board members, REDACTED
                            REDACTED
                            REDACTED
                            REDACTED
                            REDACTED




                                                                                       Final Joint Statement_00066
                          Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                               Page 67 of 274 Page
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                                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                          unnecessary; unable to       intend to seek 5/7 fraction
                                                                                                                                                                                          determine how many           of total attorneys' fees
                                                                                                                    ($125.24) [this is                                                    hours billed for each claim; billed for this entry.
                                                                                                                    5/7s of the full                                                      unable to determine
Connie L. Michaels   4/21/2022 Prepare for and strategize with case team re    To protect content of attorney   0.3 $176.4 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 REDACTED opposition to REDACTED motion,         work product, attorney mental
                               discovery and depositions.                      impressions, and/or strategy.


                                                                                                                                                                                                                        Nature of attorney work is
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                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
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                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                          unable to determine how       billed for this entry.
                                                                                                                    ($420.68) [this is                                                    many hours billed for each
                                                                                                                    5/7s of the full                                                      claim; unable to determine
Donna Leung          4/22/2022 Drafting of objections and responses to the     To protect content of attorney   1.5 $592.50 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 first set of interrogatories propounded by      work product, attorney mental
                               Plaintiff California Educators for Medical      impressions, and/or strategy.
                               Freedom to LAUSD Board member George McKenna,
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED




                                                                                        Final Joint Statement_00067
                            Case 2:21-cv-08688-DSF-PVC                                                  Document 95 Filed 01/19/23                                                Page 68 of 274 Page
                                                                                                             ID #:2207

                                                                                                                                                                                                                              Nature of attorney work is
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                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
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                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                                                                                                 unable to determine how      billed for this entry.
                                                                                                                          ($392.63) [this is                                                     many hours billed for each
                                                                                                                          5/7s of the full $553                                                  claim; unable to determine
Donna Leung           4/22/2022 Further drafting of objections and revisions to      To protect content of attorney   1.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 the requests for documents (set one) propounded      work product, attorney mental
                                by Plaintiffs to the LAUSD board members, REDACTED   impressions, and/or strategy.
                                REDACTED
                                REDACTED


                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
                                                                                                                                                                                                                              party ultimately wins on a
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                                                                                                                                                                                                                              fees reasonably expended
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                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                          ($616.99) [this is                                                     unable to determine how      billed for this entry.
                                                                                                                          5/7s of the full $869                                                  many hours billed for each
Carrie A. Stringham   4/22/2022 Review and analysis of file materials in order                                        2.2 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235       6/29/2022 to strategize further case handling.


                                                                                                                          ($112.18) [this is
                                                                                                                          5/7s of the full $158
Donna Leung           4/26/2022 Further revisions to draft discovery responses       To protect content of attorney   0.4 entry]
Invoice=5687235       6/29/2022 and objections to Plaintiff’s first request for      work product, attorney mental
                                documents propounded on the Board members in         impressions, and/or strategy.
                                order REDACTED




                                                                                              Final Joint Statement_00068
                        Case 2:21-cv-08688-DSF-PVC                                                        Document 95 Filed 01/19/23                                                 Page 69 of 274 Page
                                                                                                               ID #:2208

                                                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                                                               is evident and necessary in
                                                                                                                                                                                                                               the defense against
                                                                                                                                                                                                                               Plaintiffs' claims. Attorney
                                                                                                                                                                                                                               activity was conducted in
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                                                                                                                                                                                                                               Plaintiffs' Complaint.
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                                                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                                    unable to determine how of total attorneys' fees
                                                                                                                            ($84.14) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                            of the full $118.5                                                      claim; unable to determine
Donna Leung       4/28/2022 Communications with client Narmin Shahin of the           To protect content of attorney    0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 District re plaintiff's interrogatories and request for   work product, attorney mental
                            documents REDACTED                                        impressions, and/or strategy.
                            REDACTED                                                  To protect content of attorney-
                            REDACTED.                                                 client communications.


                                                                                                                                                                                                                                 A brief case team meeting
                                                                                                                                                                                                                                 was held for all defense
                                                                                                                                                                                                                                 counsel weekly to confer
                                                                                                                                                                                                                                 and strategize regarding the
                                                                                                                                                                                                                                 case and its developments.
                                                                                                                                                                                                                                 Nature of the attorney work
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                                                                                                                                                                                                                                 Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                 Cir.1991). Defendants
                                                                                                                                                                                                                                 intend to seek 5/7 fraction
                                                                                                                                                                                                                                 of total attorneys' fees
                                                                                                                                                                                                                                 billed for this entry.
                                                                                                                            ($28.05) [this is 5/7s                                                  unable to determine how
                                                                                                                            of the full $39.5                                                       many hours billed for each
Nick McKinney     4/28/2022 Weekly litigation team meeting.                                                             0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235   6/29/2022




                                                                                               Final Joint Statement_00069
                           Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 70 of 274 Page
                                                                                                               ID #:2209

                                                                                                                                                                                                                                   Nature of the attorney work
                                                                                                                                                                                                                                   is evident and necessary in
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                                                                                                                                                                                                                                   Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                   activity was conducted in
                                                                                                                                                                                                                                   light of all allegations within
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                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                            ($41.75) [this is 5/7s                                                  unnecessary; unable to         billed for this entry.
                                                                                                                            of the full $58.80                                                      determine how many
Connie L. Michaels   4/28/2022 Receive update on change to student vaccine                                              0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5687235      6/29/2022 mandate.

                                                                                                                                                                                                                                   A brief case team meeting
                                                                                                                                                                                                                                   was held for all defense
                                                                                                                                                                                                                                   counsel weekly to confer
                                                                                                                                                                                                                                   and strategize regarding the
                                                                                                                                                                                                                                   case and its developments.
                                                                                                                                                                                                                                   Nature of the attorney work
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                                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                                                   billed for this entry.
                                                                                                                            ($41.75) [this is 5/7s                                                  unable to determine how
                                                                                                                            of the full $58.80                                                      many hours billed for each
Connie L. Michaels   4/28/2022 Strategize with case team re status of case                                              0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235      6/29/2022 including discovery.


                                                                                                                           ($417.48) [this is
                                                                                                                           5/7s of the full $588
Connie L. Michaels   4/28/2022 Review and revise responses to special                                                    1 entry]
Invoice=5687235      6/29/2022 interrogatories and document demands.


                                                                                                                            ($41.75) [this is 5/7s
                                                                                                                            of the full $58.80
Connie L. Michaels   4/29/2022 Correspond with client re filing a motion to dismiss   To protect content of attorney    0.1 entry]
Invoice=5687235      6/29/2022 REDACTED.                                              work product, attorney mental
                                                                                      impressions, and/or strategy.
                                                                                      To protect content of attorney-
                                                                                      client communications.




                                                                                               Final Joint Statement_00070
                            Case 2:21-cv-08688-DSF-PVC                                             Document 95 Filed 01/19/23                                                Page 71 of 274 Page
                                                                                                        ID #:2210

                                                                                                                                                                                                                         Nature of the attorney work
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                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                     ($459.29) [this is                                                     unable to determine how      billed for this entry.
                                                                                                                     5/7s of the full                                                       many hours billed for each
Connie L. Michaels    4/29/2022 Draft meet and confer letter to plaintiffs'                                      1.1 $646.8 entry]         Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235       6/29/2022 counsel re defense motion to dismiss the
                                individual defendants.

                                                                                                                                                                                                                       Nature of the attorney work
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                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                            unable to determine how of total attorneys' fees
                                                                                                                     ($392.63) [this is                                                     many hours billed for each billed for this entry.
                                                                                                                     5/7s of the full $553                                                  claim; unable to determine
Carrie A. Stringham    5/2/2022 Review and stategize arguments to include in    To protect content of attorney   1.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 motion to dismiss individual defendants,        work product, attorney mental
                                REDACTED                                        impressions, and/or strategy.
                                REDACTED

                                                                                                                                                                                                                         Nature of the attorney work
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                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
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                                                                                                                     ($392.63) [this is                                                     unable to determine how      billed for this entry.
                                                                                                                     5/7s of the full $553                                                  many hours billed for each
Carrie A. Stringham    5/2/2022 Draft outline of procedural facts and history                                    1.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235       6/29/2022 and legal arguments in preparation to draft
                                Motion to Dismiss individual defendants.




                                                                                         Final Joint Statement_00071
                       Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 72 of 274 Page
                                                                                                      ID #:2211

                                                                                                                                                                                                                      Nature of the attorney work
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                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                   ($196.32) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                   5/7s of the full                                                        claim; unable to determine
Donna Leung        5/2/2022 Drafting of requests for documents as to          To protect content of attorney   0.7 $276.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 plaintiffs, with respect to REDACTED              work product, attorney mental    0.7                  276.5
                            REDACTED                                          impressions, and/or strategy.
                            REDACTED

                                                                                                                                                                                                                      Nature of the attorney work
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                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                           unable to determine how of total attorneys' fees
                                                                                                                   ($84.14) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                   of the full $118.5                                                      claim; unable to determine
Donna Leung        5/2/2022 Review of proposed meet and confer                To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 correspondence to plaintiffs’ counsel re          work product, attorney mental
                            anticipated motion to dismiss the Board members   impressions, and/or strategy.
                            from the Second Amended Complaint REDACTED
                            REDACTED
                            REDACTED

                                                                                                                                                                                                                        Nature of the attorney work
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                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
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                                                                                                                   ($168.27) [this is                                                      unable to determine how      billed for this entry.
                                                                                                                   5/7s of the full $237                                                   many hours billed for each
Donna Leung        5/3/2022 Further revisions to requests for documents to                                     0.6 entry]                Reduced in its entirety by Plaintiffs    Object   claim.




                                                                                       Final Joint Statement_00072
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                               Page 73 of 274 Page
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Invoice=5687235   6/29/2022 plaintiffs in order to further investigate
                            their claims.

                                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                                     Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                     Plaintiffs' never dismissed
                                                                                                                                                                                                                     any State law claims or ADA
                                                                                                                                                                                                                     claims, requiring
                                                                                                                                                                                                                     Defendants to incur
                                                                                                                                                                                                                     expenses in its defese
                                                                                                                                                                                                                     against said claims,
                                                                                                                                                                                                                     including expenses related
                                                                                                                                                                                                                     to Plaintiffs' depositions.
                                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                                     conducted in light of all
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                                                                                                                                                                                                                     Complaint. However, if a
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                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                  ($140.23) [this is                                                                                 intend to seek 5/7 fraction
                                                                                                                  5/7s of the full                                                                                   of total attorneys' fees
Donna Leung        5/3/2022 Draft deposition notices for named plaintiffs                                     0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   unnecessary.                 billed for this entry.
Invoice=5687235   6/29/2022 in order to further investigate plaintiffs’
                            claims.


                                                                                                                                                                                                                   Nature of the attorney work
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                                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                        unable to determine how of total attorneys' fees
                                                                                                                 ($280.45) [this is                                                     many hours billed for each billed for this entry.
                                                                                                                 5/7s of the full $395                                                  claim; unable to determine
Donna Leung        5/4/2022 Review of additional clarifying discovery       To protect content of attorney     1 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 responses from Narmin Shahin in response to     work product, attorney mental
                            prior responses to interrogatories propounded   impressions, and/or strategy.
                            by Plaintiff to Ileana Davalos REDACTED         To protect content of attorney-
                            REDACTED                                        client communications.
                            REDACTED
                            REDACTED




                                                                                     Final Joint Statement_00073
                           Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                               Page 74 of 274 Page
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                                                                                                                                                                                                          Nature of the attorney work
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                                                                                                                                                                                                          Plaintiffs' claims. Attorney
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                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
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                                                                                                   ($709.72) [this is                                                        unable to determine how      billed for this entry.
                                                                                                   5/7s of the full                                                          many hours billed for each
Connie L. Michaels    5/4/2022 Prepare and correspond with plaintiffs' counsel                 1.7 $999.60 entry]           Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235      6/29/2022 re grounds for defense motion to dismiss the
                               case.

                                                                                                                                                                                                          Nature of the attorney work
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                                                                                                                                                                                                          any State law claims or ADA
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                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                   ($83.50) [this is 5/7s                                                    unnecessary; unable to       intend to seek 5/7 fraction
                                                                                                   of the full $117.60                                                       determine how many           of total attorneys' fees
Connie L. Michaels    5/5/2022 Review and coordinate plaintiffs’ depositions.                  0.2 entry]                 Reduced in its entirety by Plaintiffs     Object   hours billed for each claim. billed for this entry.
Invoice=5687235      6/29/2022

                                                                                                   ($83.50) [this is 5/7s
                                                                                                   of the full $117.60
Connie L. Michaels    5/5/2022 Revise document requests.                                       0.2 entry]
Invoice=5687235      6/29/2022




                                                                                 Final Joint Statement_00074
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 75 of 274 Page
                                                                                                          ID #:2214

                                                                                                                                                                                                                            Nature of the attorney work
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                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                       ($83.50) [this is 5/7s                                                  unable to determine how      billed for this entry.
                                                                                                                       of the full $117.60                                                     many hours billed for each
Connie L. Michaels    5/5/2022 Prepare for and strategize with case team re                                        0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235      6/29/2022 status of discovery, pleadings and witness
                               interviews.

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                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine how of total attorneys' fees
                                                                                                                       ($112.18) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                       5/7s of the full $158                                                   claim; unable to determine
Donna Leung           5/5/2022 Communications with Narmin Shahin re              To protect content of attorney    0.4 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 verifications to responses to written discovery   work product, attorney mental     0.4                    158
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED.                                         To protect content of attorney-
                                                                                 client communications.

                                                                                                                       ($125.24) [this is
                                                                                                                       5/7s of the full
Robert Conti          5/6/2022 Receipt and review of meet and confer letter                                        0.3 $176.40 entry]
Invoice=5687235      6/29/2022 from plaintiffs' counsel regarding
                               interrogatory responses and document requests.


                                                                                                                       ($83.50) [this is 5/7s
                                                                                                                       of the full $117.60
Connie L. Michaels    5/6/2022 Initial review of meet and confer                                                   0.2 entry]
Invoice=5687235      6/29/2022 correspondence from plaintiffs’ counsel re
                               defense discovery responses.




                                                                                          Final Joint Statement_00075
                           Case 2:21-cv-08688-DSF-PVC                                                        Document 95 Filed 01/19/23                                                 Page 76 of 274 Page
                                                                                                                  ID #:2215

                                                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                                                  Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                  activity was conducted in
                                                                                                                                                                                                                                  light of all allegations within
                                                                                                                                                                                                                                  Plaintiffs' Complaint.
                                                                                                                                                                                                                                  However, if a prevailing
                                                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                       unable to determine how of total attorneys' fees
                                                                                                                               ($83.50) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                               of the full $117.60                                                     claim; unable to determine
Connie L. Michaels    5/9/2022 Draft correspondence to client re case status including   To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 REDACTED                                                  work product, attorney mental
                               REDACTED.                                                 impressions, and/or strategy.
                                                                                         To protect content of attorney-
                                                                                         client communications.

                                                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                                                    Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                    activity was conducted in
                                                                                                                                                                                                                                    light of all allegations within
                                                                                                                                                                                                                                    Plaintiffs' Complaint.
                                                                                                                                                                                                                                    However, if a prevailing
                                                                                                                                                                                                                                    party ultimately wins on a
                                                                                                                                                                                                                                    particular claim, it is
                                                                                                                                                                                                                                    entitled to all attorney's
                                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                       unnecessary; unable to       intend to seek 5/7 fraction
                                                                                                                                                                                                       determine how many           of total attorneys' fees
                                                                                                                               ($112.18) [this is                                                      hours billed for each claim; billed for this entry.
                                                                                                                               5/7s of the full $158                                                   unable to determine
Donna Leung           5/9/2022 Communications with client re REDACTED                    To protect content of attorney    0.4 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5687235      6/29/2022 REDACTED responses to                                     work product, attorney mental
                               interrogatories and requests for documents                impressions, and/or strategy.
                               propounded by Plaintiff California Educators              To protect content of attorney-
                               for Medical Freedom REDACTED.                             client communications.




                                                                                                                              ($560.90) [this is
                                                                                                                              5/7s of the full $790
Donna Leung           5/9/2022 Further revisions to interrogatory responses on           To protect content of attorney     2 entry]
Invoice=5687235      6/29/2022 behalf of the LAUSD Board Members in order to             work product, attorney mental
                               finalize the same, REDACTED                               impressions, and/or strategy.
                               REDACTED




                                                                                                  Final Joint Statement_00076
                        Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                            Page 77 of 274 Page
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                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Attorney
                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                     Plaintiffs' Complaint.
                                                                                                                                                                                                     However, if a prevailing
                                                                                                                                                                                                     party ultimately wins on a
                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                ($224.36) [this is                                                     unnecessary; unable to        billed for this entry.
                                                                                                5/7s of the full $316                                                  determine how many
Donna Leung        5/9/2022 Further revisions to the Board members’                         0.8 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235   6/29/2022 responses to document requests in order to
                            finalize the same, comply with discovery
                            obligations, and protect clients’ interests.

                                                                                                ($196.32) [this is
                                                                                                5/7s of the full
Donna Leung        5/9/2022 Review rules and regulations of the LAUSD Board                 0.7 $276.50 entry]
Invoice=5687235   6/29/2022 referenced in the Board member responses to
                            interrogatories and requests for documents in
                            order to prepare the same for production.

                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Attorney
                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                     Plaintiffs' Complaint.
                                                                                                                                                                                                     However, if a prevailing
                                                                                                                                                                                                     party ultimately wins on a
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                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                ($112.18) [this is                                                     unnecessary; unable to        billed for this entry.
                                                                                                5/7s of the full $158                                                  determine how many
Donna Leung        5/9/2022 Further revisions to requests for production of                 0.4 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235   6/29/2022 documents to plaintiffs in order to further
                            investigate plaintiff’s claims and supporting
                            documents re the same.




                                                                              Final Joint Statement_00077
                             Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 78 of 274 Page
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                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
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                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
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                                                                                                                                                                                                                              particular claim, it is
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                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                        ($56.09) [this is 5/7s                                                  unnecessary; unable to        billed for this entry.
                                                                                                                        of the full $79                                                         determine how many
Donna Leung             5/9/2022 Further revisions to deposition notices of each                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235        6/29/2022 individual plaintiff in order to further
                                 investigate plaintiffs’ claims.

                                                                                                                                                                                                                           Nature of work is evident
                                                                                                                                                                                                                           and clearly related to
                                                                                                                                                                                                                           discovery in this matter.
                                                                                                                                                                                                                           Attorneys' fee awards must
                                                                                                                                                                                                                           account for work of non-
                                                                                                                                                                                                                           attorneys, including
                                                                                                                                                                                                                           paralegals and law clerks
                                                                                                                                                                                                                           “whose labor contributes to
                                                                                                                                                                                                                           the work product for which
                                                                                                                                                                                                                           an attorney bills her client.”
                                                                                                                                                                                                                           Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                           274, 285 (1989). If a
                                                                                                                                                                                                                           prevailing party ultimately
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                                                                                                                                                                                                                           is entitled to all attorney's
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                                                                                                                                                                                                                           Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Preparing for and advising
                                                                                                                        ($47.93) [this is 5/7s                                                                             on the manner in which to
                                                                                                                        of the full $67.50                                                      admin task; unable to      maintain potentially
Christopher P. Wyatt    5/9/2022 Review, analyze electronic evidence and prepare   To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   determine nature of entry. privileged documents or
Invoice=               9/22/2022 specifications for processing and loading into    work product, attorney mental
                                 Relativity REDACTED                               impressions, and/or strategy.
                                 REDACTED                                          To protect proprietary
                                 REDACTED                                          information.
                                 REDACTED
                                 REDACTED
                                 REDACTED
                                 REDACTED




                                                                                            Final Joint Statement_00078
                       Case 2:21-cv-08688-DSF-PVC                                             Document 95 Filed 01/19/23                                           Page 79 of 274 Page
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                                                                                                                                                                                               Nature of work is evident
                                                                                                                                                                                               and clearly related to
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                                                                                                                                                                                               Attorneys' fee awards must
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                                                                                                                                                                                               the work product for which
                                                                                                                                                                                               an attorney bills her client.”
                                                                                                                                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                               274, 285 (1989). If a
                                                                                                                                                                                               prevailing party ultimately
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                                                                                                                                                                                               Cabrales v. Co. of L.A., 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                               of total attorneys' fees
                                                                                                                                                                                               billed for this entry.
                                                                                                                                                                                               Preparing for and advising
                                                                                                          ($79.88) [this is 5/7s                                                               on the manner in which to
                                                                                                          of the full $112.50                                                                  maintain potentially
Suzy Richman       5/9/2022 Stage document to R:Drive for upload to                                   0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task   privileged documents or
Invoice=5687235   6/29/2022 Relativity, review prior production in
                            Relativity, confirm it has been uploaded to
                            NetDocs and email D. Leung re same with next
                            starting Bates number.

                                                                                                                                                                                               Nature of work is evident
                                                                                                                                                                                               and clearly related to
                                                                                                                                                                                               discovery in this matter.
                                                                                                                                                                                               Attorneys' fee awards must
                                                                                                                                                                                               account for work of non-
                                                                                                                                                                                               attorneys, including
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                                                                                                                                                                                               “whose labor contributes to
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                                                                                                                                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                               274, 285 (1989). If a
                                                                                                                                                                                               prevailing party ultimately
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                                                                                                                                                                                               is entitled to all attorney's
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                                                                                                                                                                                               Cabrales v. Co. of L.A., 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                               of total attorneys' fees
                                                                                                                                                                                               billed for this entry.
                                                                                                                                                                                               Preparing for and advising
                                                                                                          ($15.98) [this is 5/7s                                                               on the manner in which to
                                                                                                          of the full $22.50                                                                   maintain potentially
Suzy Richman       5/9/2022 Upload documents to extranet REDACTED          To protect proprietary     0.1 entry]                 Reduced in its entirety by Plaintiffs   object   admin task   privileged documents or
Invoice=5687235   6/29/2022                                                information.




                                                                                    Final Joint Statement_00079
                            Case 2:21-cv-08688-DSF-PVC                                                  Document 95 Filed 01/19/23                                                 Page 80 of 274 Page
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                                                                                                                                                                                                                             Nature of work is evident
                                                                                                                                                                                                                             and clearly related to
                                                                                                                                                                                                                             discovery in this matter.
                                                                                                                                                                                                                             Attorneys' fee awards must
                                                                                                                                                                                                                             account for work of non-
                                                                                                                                                                                                                             attorneys, including
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                                                                                                                                                                                                                             “whose labor contributes to
                                                                                                                                                                                                                             the work product for which
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                                                                                                                                                                                                                             Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                             274, 285 (1989). If a
                                                                                                                                                                                                                             prevailing party ultimately
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                                                                             Preparing for and advising
                                                                                                                          ($31.95) [this is 5/7s                                                                             on the manner in which to
                                                                                                                          of the full $45                                                         admin task; unable to      maintain potentially
Suzy Richman           5/10/2022 Review documents uploaded to Relativity, REDACTED   To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   determine nature of entry. privileged documents or
Invoice=5687235        6/29/2022 REDACTED and email D. Leung re                      work product, attorney mental
                                 redline copy REDACTED to produce.                   impressions, and/or strategy.
                                                                                     To protect proprietary
                                                                                     information.

                                                                                                                                                                                                                              Preparing for and advising
                                                                                                                                                                                                                              on the manner in which to
                                                                                                                                                                                                                              maintain potentially
                                                                                                                                                                                                                              privileged documents or
                                                                                                                                                                                                                              information is not an
                                                                                                                                                                                                                              administrative task. Nature
                                                                                                                                                                                                                              of work is evident and
                                                                                                                                                                                                                              clearly related to discovery
                                                                                                                                                                                                                              in this matter. Attorneys'
                                                                                                                                                                                                                              fee awards must account
                                                                                                                                                                                                                              for work of non-attorneys,
                                                                                                                                                                                                                              including paralegals and law
                                                                                                                                                                                                                              clerks “whose labor
                                                                                                                                                                                                                              contributes to the work
                                                                                                                                                                                                                              product for which an
                                                                                                                                                                                                                              attorney bills her client.”
                                                                                                                                                                                                                              Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                              274, 285 (1989). If a
                                                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A., 935
                                                                                                                          ($31.95) [this is 5/7s                                                                              F.2d 1050, 1053 (9th
                                                                                                                          of the full $45                                                                                     Cir.1991). Defendants
Christopher P. Wyatt   5/10/2022 Conduct analysis of evidence in Relativity to                                        0.2 entry]                 Reduced in its entirety by Plaintiffs   object   admin task                  intend to seek 5/7 fraction
Invoice=               9/22/2022 identify documents that may contain privileged
                                 or protected content.

                                                                                                                          ($308.50) [this is
                                                                                                                          5/7s of the full
Donna Leung            5/10/2022 Review and analysis of Plaintiff’s meet and                                          1.1 $434.50 entry]
Invoice=5687235        6/29/2022 confer correspondence re discovery responses to
                                 interrogatories and document requests by Ileana
                                 Davalos, with particular attention to case law
                                 and authorities cited by Plaintiff in order to
                                 appropriately respond to the same.




                                                                                              Final Joint Statement_00080
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                                                                                                                      ($196.32) [this is
                                                                                                                      5/7s of the full
Donna Leung          5/10/2022 Begin strategizing re response to plaintiff’s     To protect content of attorney   0.7 $276.50 entry]
Invoice=5687235      6/29/2022 meet and confer correspondence as to Ileana       work product, attorney mental
                               Davalos’ discovery responses, REDACTED            impressions, and/or strategy.
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint.
                                                                                                                                                                                                                             However, if a prevailing
                                                                                                                                                                                                                             party ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
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                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                      ($84.14) [this is 5/7s                                                  unnecessary; unable to         billed for this entry.
                                                                                                                      of the full $118.50                                                     determine how many
Donna Leung          5/10/2022 Finalize requests for production of documents                                      0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5687235      6/29/2022 to plaintiffs in order to further investigate
                               plaintiff’s claims and supporting documents re
                               the same.

                                                                                                                      ($56.09) [this is 5/7s
                                                                                                                      of the full $79
Nick McKinney        5/10/2022 Correspondence from Plaintiff's counsel re                                         0.2 entry]
Invoice=5687235      6/29/2022 deposition dates.

                                                                                                                      ($83.50) [this is 5/7s
                                                                                                                      of the full $117.60
Connie L. Michaels   5/10/2022 Correspond with plaintiffs’ counsel re case                                        0.2 entry]
Invoice=5687235      6/29/2022 depositions.

                                                                                                                                                                                                                             Preparing for and advising
                                                                                                                                                                                                                             on the manner in which to
                                                                                                                                                                                                                             maintain potentially
                                                                                                                                                                                                                             privileged documents or
                                                                                                                                                                                                                             information is not an
                                                                                                                                                                                                                             administrative task.
                                                                                                                                                                                                                             Moreover, attorneys' fee
                                                                                                                                                                                                                             awards must account for
                                                                                                                                                                                                                             work of non-attorneys,
                                                                                                                                                                                                                             including paralegals and law
                                                                                                                                                                                                                             clerks “whose labor
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                                                                                                                                                                                                                             product for which an
                                                                                                                                                                                                                             attorney bills her client.”
                                                                                                                                                                                                                             Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                             274, 285 (1989). If a
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                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                      ($63.90) [this is 5/7s                                                                                 intend to seek 5/7 fraction
                                                                                                                      of the full $90                                                                                        of total attorneys' fees
Suzy Richman         5/11/2022 Review documents in Relativity for production,                                     0.4 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task                     billed for this entry.
Invoice=5687235      6/29/2022 confirm next Bates number and email Lit Support
                               re ready to produce.




                                                                                          Final Joint Statement_00081
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                                                                                                                                                                                                       Nature of work is evident
                                                                                                                                                                                                       and clearly related to
                                                                                                                                                                                                       discovery in this matter.
                                                                                                                                                                                                       Attorneys' fee awards must
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                                                                                                                                                                                                       paralegals and law clerks
                                                                                                                                                                                                       “whose labor contributes to
                                                                                                                                                                                                       the work product for which
                                                                                                                                                                                                       an attorney bills her client.”
                                                                                                                                                                                                       Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                       274, 285 (1989). If a
                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                       is entitled to all attorney's
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                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.

                                                                                                ($79.88) [this is 5/7s
                                                                                                of the full $112.50
Ajay A. Patel     5/11/2022 Prepare export of production set of evidence (1                 0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=          9/22/2022 document/LAUSD_HFDF 000587 to LAUSD_HFDF
                            000845) to be produced to opposing counsel.

                                                                                                                                                                                                       A brief case team meeting
                                                                                                                                                                                                       was held for all defense
                                                                                                                                                                                                       counsel weekly to confer
                                                                                                                                                                                                       and strategize regarding the
                                                                                                                                                                                                       case and its developments.
                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                       party ultimately wins on a
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                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                ($84.14) [this is 5/7s                                                  unnecessary; unable to
                                                                                                of the full $118.50                                                     determine how many
Nick McKinney     5/12/2022 Weekly litigation team status meeting.                          0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5687235   6/29/2022




                                                                              Final Joint Statement_00082
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                   Page 83 of 274 Page
                                                                                                         ID #:2222

                                                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                                                               is evident and necessary in
                                                                                                                                                                                                                               the defense against
                                                                                                                                                                                                                               Plaintiffs' claims. Attorney
                                                                                                                                                                                                                               activity was conducted in
                                                                                                                                                                                                                               light of all allegations within
                                                                                                                                                                                                                               Plaintiffs' Complaint.
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                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                                                               of total attorneys' fees
                                                                                                                      ($196.32) [this is                                                                                       billed for this entry.
                                                                                                                      5/7s of the full                                                          unable to determine
Donna Leung          5/12/2022 Further review of authorities and arguments       To protect content of attorney   0.7 $276.50 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 cited by Plaintiff in meet and confer letter as   work product, attorney mental
                               to Ileana Davalos’ discovery responses in order   impressions, and/or strategy.
                               to REDACTED
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                      ($83.50) [this is 5/7s
                                                                                                                      of the full $117.60
Connie L. Michaels   5/12/2022 Prepare correspondence to client re meet and                                       0.2 entry]
Invoice=5687235      6/29/2022 confer conference with plaintiffs’ counsel re
                               defense motion to dismiss.

                                                                                                                                                                                                                               A brief case team meeting
                                                                                                                                                                                                                               was held for all defense
                                                                                                                                                                                                                               counsel weekly to confer
                                                                                                                                                                                                                               and strategize regarding the
                                                                                                                                                                                                                               case and its developments.
                                                                                                                                                                                                                               Nature of the attorney work
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                                                                                                                                                                                                                               activity was conducted in
                                                                                                                                                                                                                               light of all allegations within
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                                                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                                                               of total attorneys' fees
                                                                                                                                                                                                                               billed for this entry.
                                                                                                                      ($83.50) [this is 5/7s                                                    unnecessary; unable to
                                                                                                                      of the full $117.60                                                       determine how many
Connie L. Michaels   5/12/2022 Confer with case team re status of case.                                           0.2 entry]                 Reduced in its entirety by Plaintiffs     Object   hours billed for each claim.
Invoice=5687235      6/29/2022

                                                                                                                      ($542.72) [this is
                                                                                                                      5/7s of the full
Connie L. Michaels   5/12/2022 Prepare for and meet and confer with                                               1.3 $764.40 entry]
Invoice=5687235      6/29/2022 plaintiffs' counsel re defense motion to
                               dismiss.

                                                                                                                      ($542.72) [this is
                                                                                                                      5/7s of the full
Connie L. Michaels   5/13/2022 Prepare for and meet and confer with                                               1.3 $764.40 entry]
Invoice=5687235      6/29/2022 plaintiffs' counsel re defense discovery                                                                764.4




                                                                                          Final Joint Statement_00083
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                   Page 84 of 274 Page
                                                                                                          ID #:2223

                                 responses.

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
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                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                       ($785.26) [this is                                                        unable to determine how      billed for this entry.
                                                                                                                       5/7s of the full                                                          many hours billed for each
Carrie A. Stringham   5/13/2022 Conduct comprehensive review and assessment of    To protect content of attorney   2.8 $1,106 entry]            Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5687235       6/29/2022 legal authority cited by Plaintiff's counsel      work product, attorney mental
                                regarding the applicability of Eleventh           impressions, and/or strategy.
                                Amendment Sovereign Immunity to the claims
                                alleged against the individual defendants as
                                part of ongoing meet and confer efforts
                                relating to a potential dispositive motion and
                                REDACTED
                                REDACTED
                                REDACTED.


                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
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                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                       ($448.72) [this is                                                        unable to determine how      billed for this entry.
                                                                                                                       5/7s of the full $632                                                     many hours billed for each
Carrie A. Stringham   5/13/2022 Draft analytical summary of research relating                                      1.6 entry]                Reduced in its entirety by Plaintiffs      Object   claim.
Invoice=5687235       6/29/2022 to the sovereign immunity defense to the claims
                                against the individual defendants for purposes
                                of drafting response to opposing counsel
                                regarding the same.

                                                                                                                       ($84.14) [this is 5/7s
                                                                                                                       of the full $118.50
Donna Leung           5/13/2022 Communications with opposing counsel re           To protect content of attorney   0.3 entry]
Invoice=5687235       6/29/2022 Defendants’ document production in connection     work product, attorney mental
                                with the Board members’ responses to document     impressions, and/or strategy.
                                requests propounded by California Educators for
                                Medical Freedom, bates range LAUSD_HFDF 000
                                587-000845 in order to REDACTED
                                REDACTED
                                REDACTED.




                                                                                           Final Joint Statement_00084
                        Case 2:21-cv-08688-DSF-PVC                                                        Document 95 Filed 01/19/23                                                   Page 85 of 274 Page
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                                                                                                                           ($280.45) [this is
                                                                                                                           5/7s of the full $395
Donna Leung       5/13/2022 Further preparation of key arguments and basis                                               1 entry]
Invoice=5687235   6/29/2022 of responses in response to plaintiff’s
                            correspondence re meet and confer as to Ileana
                            Davalos’ objections and responses in order to
                            protect client’s interests.

                                                                                                                            ($56.09) [this is 5/7s
                                                                                                                            of the full $79
Donna Leung       5/13/2022 Participate in meet and confer conference with                                              0.2 entry]
Invoice=5687235   6/29/2022 opposing counsel (Brant Hadaway, CJ Dimarco,
                            and Allen Shoff) re Ileana Davalos’ responses
                            to interrogatories and requests for documents
                            in order to put forth arguments in favor of the
                            responses and objections asserted and discuss
                            potential areas of clarification and
                            supplementation.

                                                                                                                                                                                                                                 Nature of the attorney work
                                                                                                                                                                                                                                 is evident and necessary in
                                                                                                                                                                                                                                 the defense against
                                                                                                                                                                                                                                 Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                 activity was conducted in
                                                                                                                                                                                                                                 light of all allegations within
                                                                                                                                                                                                                                 Plaintiffs' Complaint.
                                                                                                                                                                                                                                 However, if a prevailing
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                                                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                 Cir.1991). Defendants
                                                                                                                                                                                                                                 intend to seek 5/7 fraction
                                                                                                                                                                                                      unable to determine how of total attorneys' fees
                                                                                                                            ($308.50) [this is                                                        many hours billed for each billed for this entry.
                                                                                                                            5/7s of the full                                                          claim; unable to determine
Donna Leung       5/13/2022 Draft email to client Narmin Shahin re                    To protect content of attorney    1.1 $434.50 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 substance of meet and confer meeting with                 work product, attorney mental
                            opposing counsel re discovery responses on                impressions, and/or strategy.
                            behalf of Ileana Davalos, with particulart attention to   To protect content of attorney-
                            REDACTED                                                  client communications.
                            REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                                 Nature of the attorney work
                                                                                                                                                                                                                                 is evident and necessary in
                                                                                                                                                                                                                                 the defense against
                                                                                                                                                                                                                                 Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                 activity was conducted in
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                                                                                                                                                                                                                                 Plaintiffs' Complaint.
                                                                                                                                                                                                                                 However, if a prevailing
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                                                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                 Cir.1991). Defendants
                                                                                                                                                                                                                                 intend to seek 5/7 fraction
                                                                                                                                                                                                      unable to determine how of total attorneys' fees
                                                                                                                            ($140.23) [this is                                                        many hours billed for each billed for this entry.
                                                                                                                            5/7s of the full                                                          claim; unable to determine
Donna Leung       5/16/2022 Communications with Narmin Shahin re REDACTED             To protect content of attorney    0.5 $197.50 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 REDACTED                                                  work product, attorney mental
                            REDACTED                                                  impressions, and/or strategy.
                            REDACTED responses to the discovery by                    To protect content of attorney-
                            Ileana Davalos in order to further confer re              client communications.




                                                                                               Final Joint Statement_00085
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 86 of 274 Page
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                                 the same, with particular attention to the
                                 REDACTED.

                                                                                                                       ($224.36) [this is
                                                                                                                       5/7s of the full $316
Donna Leung           5/17/2022 Review REDACTED and REDACTED                      To protect content of attorney   0.8 entry]
Invoice=5687235       6/29/2022 REDACTED in order to determine                    work product, attorney mental
                                responsiveness to Plaintiff’s discovery           impressions, and/or strategy.
                                requests as to Ileana Davalos and evaluate need
                                REDACTED
                                REDACTED.

                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                              unable to determine how of total attorneys' fees
                                                                                                                       ($224.36) [this is                                                     many hours billed for each billed for this entry.
                                                                                                                       5/7s of the full $316                                                  claim; unable to determine
Carrie A. Stringham   5/17/2022 Prepare internal memorandum regarding             To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 REDACTED                                          work product, attorney mental
                                defense to Plaintiff's allegations in             impressions, and/or strategy.
                                furtherance REDACTED
                                motion to dismiss.

                                                                                                                       ($28.05) [this is 5/7s
                                                                                                                       of the full $39.50
Donna Leung           5/18/2022 Further communications with opposing counsel re                                    0.1 entry]
Invoice=5687235       6/29/2022 supplemental discovery responses on behalf of
                                Ileana Davalos to interrogatories and requests
                                for documents.

                                                                                                                       ($84.14) [this is 5/7s
                                                                                                                       of the full $118.50
Donna Leung           5/18/2022 Drafting of supplemental responses to             To protect content of attorney   0.3 entry]
Invoice=5687235       6/29/2022 interrogatories to plaintiffs’ discovery on       work product, attorney mental
                                behalf of Ileana Davalos in response to           impressions, and/or strategy.
                                plaintiffs’ meet and confer correspondence in
                                order to REDACTED
                                REDACTED.

                                                                                                                      ($280.45) [this is
                                                                                                                      5/7s of the full $395
Donna Leung           5/19/2022 Continue drafting of Supplemental responses to    To protect content of attorney    1 entry]
Invoice=5687235       6/29/2022 interrogatories to plaintiffs’ discovery on       work product, attorney mental
                                behalf of Ileana Davalos in response to           impressions, and/or strategy.
                                plaintiffs’ meet and confer correspondence in
                                order to REDACTED
                                REDACTED.




                                                                                           Final Joint Statement_00086
                            Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 87 of 274 Page
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                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
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                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                              unable to determine how of total attorneys' fees
                                                                                                                      ($729.17) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                      5/7s of the full                                                        claim; unable to determine
Carrie A. Stringham   5/19/2022 Continue comprehensive review and analysis of    To protect content of attorney   2.6 $1,027 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 applicable legal authority and viability of      work product, attorney mental
                                arguments in support of the Eleventh Amendment   impressions, and/or strategy.
                                sovereign immunity defense as well as
                                assessment of potential additional legal
                                challenges to each of the seven causes of
                                action in order to REDACTED
                                REDACTED

                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
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                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                      ($84.14) [this is 5/7s                                                  unnecessary; unable to         billed for this entry.
                                                                                                                      of the full $118.50                                                     determine how many
Nick McKinney         5/19/2022 Weekly litigation team strategy call.                                             0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5687235       6/29/2022

                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
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                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                              unable to determine how of total attorneys' fees
                                                                                                                      ($208.74) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                      5/7s of the full $294                                                   claim; unable to determine
Connie L. Michaels    5/19/2022 Confer with case team re matter status           To protect content of attorney   0.5 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.




                                                                                          Final Joint Statement_00087
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Invoice=5687235   6/29/2022 including motion to dismiss and REDACTED         work product, attorney mental
                            discovery.                                       impressions, and/or strategy.


                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      activity is related to
                                                                                                                                                                                                                      discovery. Attorney activity
                                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
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                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                  ($168.27) [this is                                                     many hours billed for each
                                                                                                                  5/7s of the full $237                                                  claim; unable to determine
Donna Leung       5/23/2022 Drafting of supplemental responses to            To protect content of attorney   0.6 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 interrogatories on behalf of Ileana Davalos      work product, attorney mental
                            pursuant to the parties’ meet and confer         impressions, and/or strategy.
                            efforts in order to REDACTED
                            REDACTED

                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      activity is related to
                                                                                                                                                                                                                      discovery. Attorney activity
                                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
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                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                  ($196.32) [this is                                                     many hours billed for each
                                                                                                                  5/7s of the full                                                       claim; unable to determine
Donna Leung       5/23/2022 Drafting of supplemental responses to requests   To protect content of attorney   0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 for documents on behalf of Ileana Davalos        work product, attorney mental
                            pursuant to the parties’ meet and confer         impressions, and/or strategy.
                            efforts in order to REDACTED
                            REDACTED




                                                                                      Final Joint Statement_00088
                        Case 2:21-cv-08688-DSF-PVC                                             Document 95 Filed 01/19/23                                               Page 89 of 274 Page
                                                                                                    ID #:2228

                                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                                    Plaintiffs' claims. Attorney
                                                                                                                                                                                                                    activity was conducted in
                                                                                                                                                                                                                    light of all allegations within
                                                                                                                                                                                                                    Plaintiffs' Complaint.
                                                                                                                                                                                                                    However, if a prevailing
                                                                                                                                                                                                                    party ultimately wins on a
                                                                                                                                                                                                                    particular claim, it is
                                                                                                                                                                                                                    entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                 ($196.32) [this is                                                                                 billed for this entry.
                                                                                                                 5/7s of the full                                                      unable to determine
Donna Leung       5/23/2022 Analysis of FRCP Rule 26 re privilege log       To protect content of attorney   0.7 $276.50 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 REDACTED                                        work product, attorney mental
                            REDACTED                                        impressions, and/or strategy.
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                                    activity is related to
                                                                                                                                                                                                                    discovery. Attorney activity
                                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                       unable to determine how      billed for this entry.
                                                                                                                 ($869.40) [this is                                                    many hours billed for each
                                                                                                                 5/7s of the full                                                      claim; unable to determine
Donna Leung       5/24/2022 Further drafting of supplemental responses to   To protect content of attorney   3.1 $1,224.50 entry]     Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 plaintiff’s interrogatories propounded to       work product, attorney mental
                            Ileana Davalos, in order to REDACTED            impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED




                                                                                     Final Joint Statement_00089
                       Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 90 of 274 Page
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                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      activity is related to
                                                                                                                                                                                                                      discovery. Attorney activity
                                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                 ($196.32) [this is                                                      many hours billed for each
                                                                                                                 5/7s of the full                                                        claim; unable to determine
Donna Leung       5/24/2022 Further drafting of supplemental responses to   To protect content of attorney   0.7 $276.50 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 plaintiff’s requests for documents propounded   work product, attorney mental
                            to Ileana Davalos, in order to REDACTED         impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED.

                                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                                      activity is related to
                                                                                                                                                                                                                      discovery. Attorney activity
                                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                         unable to determine how      billed for this entry.
                                                                                                                 ($84.14) [this is 5/7s                                                  many hours billed for each
                                                                                                                 of the full $118.50                                                     claim; unable to determine
Donna Leung       5/24/2022 Draft privilege log of internal REDACTED        To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 from the District re REDACTED                   work product, attorney mental
                            REDACTED                                        impressions, and/or strategy.
                            REDACTED
                            REDACTED
                            REDACTED.




                                                                                     Final Joint Statement_00090
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 91 of 274 Page
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                                                                                                                                                                                                                         Attorney work conducted
                                                                                                                                                                                                                         on potential motion is
                                                                                                                                                                                                                         recoverable in this context
                                                                                                                                                                                                                         as the research and analysis
                                                                                                                                                                                                                         done in preparation for this
                                                                                                                                                                                                                         potential motion was later
                                                                                                                                                                                                                         utilized in the preparing,
                                                                                                                                                                                                                         filing and arguing of
                                                                                                                                                                                                                         Defendants' Motion for
                                                                                                                                                                                                                         Judgment on the Pleadings.
                                                                                                                                                                                                                         If a prevailing party
                                                                                                                                                                                                                         ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Moreover,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                                         5/7 fraction of total
                                                                                                                                                                                                                         attorneys' fees billed for
                                                                                                                                                                                                                         this entry. Nature of the
                                                                                                                                                                                              unable to determine how attorney work is evident,
                                                                                                                      ($336.54) [this is                                                      many hours billed for each and redactions have been
                                                                                                                      5/7s of the full $474                                                   claim; unable to determine made to protect attorney
Nick McKinney        5/24/2022 Review of case law and authority regarding        To protect content of attorney   1.2 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.           work product, attorney
Invoice=5687235      6/29/2022 REDACTED                                          work product, attorney mental
                               REDACTED in preparation for further motions       impressions, and/or strategy.
                               REDACTED Plaintiff's pleadings.

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                          Plaintiffs' never dismissed
                                                                                                                                                                                                                          any State law claims or ADA
                                                                                                                                                                                                                          claims, requiring
                                                                                                                                                                                                                          Defendants to incur
                                                                                                                                                                                                                          expenses in its defese
                                                                                                                                                                                                                          against said claims,
                                                                                                                                                                                                                          including expenses related
                                                                                                                                                                                                                          to Plaintiffs' depositions.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                      ($41.75) [this is 5/7s                                                                              intend to seek 5/7 fraction
                                                                                                                      of the full $58.80                                                                                  of total attorneys' fees
Connie L. Michaels   5/24/2022 Prepare correspondence to client re plaintiffs'                                    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   unnecessary                 billed for this entry.
Invoice=5687235      6/29/2022 counsel's position regarding deposition
                               logistics.




                                                                                          Final Joint Statement_00091
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 92 of 274 Page
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                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                         the defense against
                                                                                                                                                                                         Plaintiffs' claims. Moreover,
                                                                                                                                                                                         Plaintiffs' never dismissed
                                                                                                                                                                                         any State law claims or ADA
                                                                                                                                                                                         claims, requiring
                                                                                                                                                                                         Defendants to incur
                                                                                                                                                                                         expenses in its defese
                                                                                                                                                                                         against said claims,
                                                                                                                                                                                         including expenses related
                                                                                                                                                                                         to Plaintiffs' depositions.
                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                   ($208.74) [this is                                                                    intend to seek 5/7 fraction
                                                                                                   5/7s of the full $294                                                                 of total attorneys' fees
Connie L. Michaels   5/25/2022 Prepare correspondence to plaintiffs’ counsel                   0.5 entry]                Reduced in its entirety by Plaintiffs    Object   unnecessary   billed for this entry.
Invoice=5687235      6/29/2022 as part of meet and confer process regarding
                               scheduling and location of depositions.

                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                         the defense against
                                                                                                                                                                                         Plaintiffs' claims. Moreover,
                                                                                                                                                                                         Plaintiffs' never dismissed
                                                                                                                                                                                         any State law claims or ADA
                                                                                                                                                                                         claims, requiring
                                                                                                                                                                                         Defendants to incur
                                                                                                                                                                                         expenses in its defese
                                                                                                                                                                                         against said claims,
                                                                                                                                                                                         including expenses related
                                                                                                                                                                                         to Plaintiffs' depositions.
                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                         Cir.1991). Given Defendants
                                                                                                   ($83.50) [this is 5/7s                                                                seek recovery of State and
                                                                                                   of the full $117.60                                                                   ADA claim only, Defendants
Connie L. Michaels   5/25/2022 Correspond with client regarding scheduling and                 0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   unnecessary   intend to seek 5/7 fraction
Invoice=5687235      6/29/2022 location of depositions.




                                                                                 Final Joint Statement_00092
                       Case 2:21-cv-08688-DSF-PVC                                                 Document 95 Filed 01/19/23                                                 Page 93 of 274 Page
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                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          activity related to discovery.
                                                                                                                                                                                                                          Attorney activity was
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                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                    ($84.14) [this is 5/7s                                                  unnecessary; unable to
                                                                                                                    of the full $118.50                                                     determine how many
Donna Leung       5/25/2022 Further revisions to the supplemental responses                                     0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235   6/29/2022 to interrogatories on behalf of Ileana Davalos.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          activity related to discovery.
                                                                                                                                                                                                                          Attorney activity was
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                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                    ($168.27) [this is                                                      unnecessary; unable to
                                                                                                                    5/7s of the full $237                                                   determine how many
Donna Leung       5/25/2022 Further revisions to the supplemental responses                                     0.6 entry]                Reduced in its entirety by Plaintiffs    Object   hours billed for each claim
Invoice=5687235   6/29/2022 to the requests for documents on behalf of
                            Ileana Davalos.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          activity related to discovery.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                            unable to determine how       billed for this entry.
                                                                                                                    ($56.09) [this is 5/7s                                                  many hours billed for each
                                                                                                                    of the full $79                                                         claim; unable to determine
Donna Leung       5/26/2022 Communications with Narmin Shahin re              To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235   6/29/2022 supplemental responses on behalf of Ileana        work product, attorney mental
                            Davalos, supplemental document to produce, and    impressions, and/or strategy.
                            privilege log REDACTED                            To protect content of attorney-
                            REDACTED.                                         client communications.




                                                                                       Final Joint Statement_00093
                          Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                               Page 94 of 274 Page
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                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                           unnecessary; unable to        billed for this entry.
                                                                                                                                                                           determine how many
Connie L. Michaels   5/26/2022 Prepare for and confer with case team re case                 0.5                      280 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235      6/29/2022 status including supplementing discovery                      0.5                      294
                               responses, depositions and 12c motion.

                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                         activity related to discovery.
                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.
                                                                                                 ($125.24) [this is                                                        unnecessary; unable to
                                                                                                 5/7s of the full                                                          determine how many
Connie L. Michaels   5/26/2022 Review and revises two sets of supplemental                   0.3 $176.40 entry]           Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5687235      6/29/2022 discovery responses.

                                                                                                 ($41.75) [this is 5/7s
                                                                                                 of the full $58.80
Connie L. Michaels   5/26/2022 Prepare further correspondence to client re                   0.1 entry]
Invoice=5687235      6/29/2022 plaintiffs' counsel's position regarding
                               deposition logistics.




                                                                               Final Joint Statement_00094
                            Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 95 of 274 Page
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                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident and necessary in
                                                                                                                                                                                                                            the defense against
                                                                                                                                                                                                                            Plaintiffs' claims. Attorney
                                                                                                                                                                                                                            activity was conducted in
                                                                                                                                                                                                                            light of all allegations within
                                                                                                                                                                                                                            Plaintiffs' Complaint.
                                                                                                                                                                                                                            However, if a prevailing
                                                                                                                                                                                                                            party ultimately wins on a
                                                                                                                                                                                                                            particular claim, it is
                                                                                                                                                                                                                            entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Given Defendants
                                                                                                                                                                                                                            seek recovery of State and
                                                                                                                                                                                                                            ADA claim only, Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine how      of total attorneys' fees.
                                                                                                                       ($448.72) [this is                                                      many hours billed for each
                                                                                                                       5/7s of the full $632                                                   claim; unable to determine
Carrie A. Stringham   5/26/2022 Conduct additional review and assessment of       To protect content of attorney   1.6 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5687235       6/29/2022 REDACTED                                          work product, attorney mental
                                motion to dismiss and the appropriate mechanism   impressions, and/or strategy.
                                for pursuing an early challenge to the
                                complaint, including REDACTED
                                REDACTED
                                REDACTED
                                REDACTED.

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine how of total attorneys' fees
                                                                                                                       ($83.50) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                       of the full $117.60                                                     claim; unable to determine
Connie L. Michaels    5/27/2022 Confer with case team re REDACTED                 To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 REDACTED                                          work product, attorney mental
                                REDACTED.                                         impressions, and/or strategy.

                                                                                                                       ($84.14) [this is 5/7s
                                                                                                                       of the full $118.50
Donna Leung           5/27/2022 Communications with plaintiffs’ counsel re                                         0.3 entry]
Invoice=5687235       6/29/2022 status of supplemental responses, objections,
                                and document production on behalf of Ileana
                                Davalos in order to confer re the same.

                                                                                                                       ($41.75) [this is 5/7s
                                                                                                                       of the full $58.80
Connie L. Michaels    5/29/2022 Prepare further correspondence to client re                                        0.1 entry]
Invoice=5687235       6/29/2022 plaintiffs' counsel's position regarding
                                deposition logistics.

                                                                                                                       ($41.75) [this is 5/7s
                                                                                                                       of the full $58.80
Connie L. Michaels    5/29/2022 Review correspondence from plaintiffs'                                             0.1 entry]
Invoice=5687235       6/29/2022 counsel's re positions regarding deposition
                                logistics and draft reply to same.




                                                                                           Final Joint Statement_00095
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                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                                        any State law claims or ADA
                                                                                                                                                                                                                        claims, requiring
                                                                                                                                                                                                                        Defendants to incur
                                                                                                                                                                                                                        expenses in its defese
                                                                                                                                                                                                                        against said claims,
                                                                                                                                                                                                                        including expenses related
                                                                                                                                                                                                                        to Plaintiffs' depositions.
                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                             Unable to determine        Cir.1991). Defendants
                                                                                                                     (.292.24$) [this is                                                     number of hours billed for intend to seek 5/7 fraction
                                                                                                                     5/7s of the full                                                        each claim; unable to      of total attorneys' fees
Connie L. Michaels   5/31/2022 Prepare for and strategize with client re       To protect content of attorney    0.7 $411.60 entry]         Reduced in its entirety by Plaintiffs   Object   determine nature of entry. billed for this entry.
Invoice=5687235      6/29/2022 deposition REDACTED                             work product, attorney mental
                               REDACTED.                                       impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                                                                                                                                                                          Attorneys' fee awards must
                                                                                                                                                                                                                          account for work of non-
                                                                                                                                                                                                                          attorneys, including
                                                                                                                                                                                                                          paralegals and law clerks
                                                                                                                                                                                                                          “whose labor contributes to
                                                                                                                                                                                                                          the work product for which
                                                                                                                                                                                                                          an attorney bills her client.”
                                                                                                                     ($31.95) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                     of the full $45                                                                                      274, 285 (1989).
Suzy Richman         5/31/2022 Stage document to R:Drive for upload to         client communications.            0.2 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5687235      6/29/2022 Relativity.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          activity related to discovery.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                             unable to determine how      billed for this entry.
                                                                                                                     ($308.50) [this is                                                      many hours billed for each
                                                                                                                     5/7s of the full                                                        claim; unable to determine
Donna Leung          5/31/2022 Finalize supplemental discovery responses to    To protect content of attorney    1.1 $434.50 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235      6/29/2022 interrogatories and requests for documents on   work product, attorney mental
                               behalf of Ileana Davalos REDACTED               impressions, and/or strategy.
                               REDACTED.




                                                                                        Final Joint Statement_00096
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                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            activity related to discovery.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               unable to determine how      billed for this entry.
                                                                                                                       ($56.09) [this is 5/7s                                                  many hours billed for each
                                                                                                                       of the full $79                                                         claim; unable to determine
Donna Leung           5/31/2022 Communications with Narmin Shahin re REDACTED    To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5687235       6/29/2022 REDACTED                                         work product, attorney mental
                                REDACTED                                         impressions, and/or strategy.
                                in order to comply with discovery obligations.   To protect content of attorney-
                                                                                 client communications.


                                                                                                                                                                                                                            Preparing for and advising
                                                                                                                                                                                                                            on the manner in which to
                                                                                                                                                                                                                            maintain potentially
                                                                                                                                                                                                                            privileged documents or
                                                                                                                                                                                                                            information is not an
                                                                                                                                                                                                                            administrative task.
                                                                                                                                                                                                                            Moreover, attorneys' fee
                                                                                                                                                                                                                            awards must account for
                                                                                                                                                                                                                            work of non-attorneys,
                                                                                                                                                                                                                            including paralegals and law
                                                                                                                                                                                                                            clerks “whose labor
                                                                                                                                                                                                                            contributes to the work
                                                                                                                                                                                                                            product for which an
                                                                                                                                                                                                                            attorney bills her client.”
                                                                                                                       ($79.88) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                       of the full $112.50                                                                                  274, 285 (1989).
Ajay A. Patel         5/31/2022 Review and analyze electronic evidence and                                         0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=              9/22/2022 prepare specifications for processing and
                                loading into Relativity for substantive case
                                team review.

                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident and necessary in
                                                                                                                                                                                                                            the defense against
                                                                                                                                                                                                                            Plaintiffs' state law claim.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               unable to determine how      billed for this entry.
                                                                                                                       ($504.81) [this is                                                      many hours billed for each
                                                                                                                       5/7s of the full $711                                                   claim; unable to determine
Carrie A. Stringham    6/1/2022 Conduct further review and assessment of         To protect content of attorney    1.8 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5706151       7/31/2022 Plaintiffs' Skelly/due process cause of action   work product, attorney mental
                                to REDACTED                                      impressions, and/or strategy.
                                REDACTED




                                                                                          Final Joint Statement_00097
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                                 REDACTED
                                 REDACTED.

                                                                                                                         ($41.75) [this is 5/7s
                                                                                                                         of the full $58.80
Connie L. Michaels     6/1/2022 Update client on meet and confer conference with                                     0.1 entry]
Invoice=5706151       7/31/2022 with opposing counsel re deposition
                                scheduling/length.

                                                                                                                        ($417.48) [this is
                                                                                                                        5/7s of the full $588
Connie L. Michaels     6/1/2022 Prepare for and call with opposing counsel re                                         1 entry]
Invoice=5706151       7/31/2022 deposition scheduling:location/length..

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
                                                                                                                                                                                                                              party ultimately wins on a
                                                                                                                                                                                                                              particular claim, it is
                                                                                                                                                                                                                              entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                   unable to determine how of total attorneys' fees
                                                                                                                         ($420.68) [this is                                                        many hours billed for each billed for this entry.
                                                                                                                         5/7s of the full                                                          claim; unable to determine
Carrie A. Stringham    6/1/2022 Continue to review and assess additional bases      To protect content of attorney   1.5 $592.50 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5706151       7/31/2022 to challenge the Complaint, including REDACTED      work product, attorney mental
                                REDACTED                                            impressions, and/or strategy.
                                REDACTED
                                REDACTED
                                REDACTED
                                REDACTED
                                REDACTED
                                in advance of filing a motion for judgment on the
                                pleadings.

                                                                                                                                                                                                                                Nature of the attorney work
                                                                                                                                                                                                                                is evident and necessary in
                                                                                                                                                                                                                                the defense against
                                                                                                                                                                                                                                Plaintiffs' claims. Attorney
                                                                                                                                                                                                                                activity was conducted in
                                                                                                                                                                                                                                light of all allegations within
                                                                                                                                                                                                                                Plaintiffs' Complaint.
                                                                                                                                                                                                                                However, if a prevailing
                                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                                                of total attorneys' fees
                                                                                                                         ($392.63) [this is                                                        unable to determine how      billed for this entry.
                                                                                                                         5/7s of the full $553                                                     many hours billed for each
Carrie A. Stringham    6/2/2022 Begin drafting detailed meet and confer                                              1.4 entry]                Reduced in its entirety by Plaintiffs      Object   claim.
Invoice=5706151       7/31/2022 correspondence to opposing counsel responding
                                to Plaintiffs' position regarding the sovereign
                                immunity defense and outlining additional bases
                                to challenge the Second Amended Complaint via a
                                Motion for Judgment on the Pleadings.




                                                                                             Final Joint Statement_00098
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                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                   ($83.50) [this is 5/7s                                                  unnecessary; unable to         billed for this entry.
                                                                                                   of the full $117.60                                                     determine how many
Connie L. Michaels    6/2/2022 Strategize with case team re depositions and                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5706151      7/31/2022 discovery.

                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                   ($84.14) [this is 5/7s                                                  unnecessary; unable to         billed for this entry.
                                                                                                   of the full $118.50                                                     determine how many
Nick McKinney         6/2/2022 Weekly litigation team strategy call.                           0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5706151      7/31/2022

                                                                                                   ($56.09) [this is 5/7s
                                                                                                   of the full $79
Donna Leung           6/3/2022 Communications with opposing counsel re Ms.                     0.2 entry]
Invoice=5706151      7/31/2022 Davalos’ supplemental document production in
                               order to confer re the same.

                                                                                                                                                                                                          Preparing for and advising
                                                                                                                                                                                                          on the manner in which to
                                                                                                                                                                                                          maintain potentially
                                                                                                                                                                                                          privileged documents or
                                                                                                                                                                                                          information is not an
                                                                                                                                                                                                          administrative task.
                                                                                                                                                                                                          Moreover, attorneys' fee
                                                                                                                                                                                                          awards must account for
                                                                                                                                                                                                          work of non-attorneys,
                                                                                                                                                                                                          including paralegals and law
                                                                                                                                                                                                          clerks “whose labor
                                                                                                                                                                                                          contributes to the work
                                                                                                                                                                                                          product for which an
                                                                                                                                                                                                          attorney bills her client.”
                                                                                                   ($79.88) [this is 5/7s                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                   of the full $112.50                                                                                    274, 285 (1989).
Ajay A. Patel         6/3/2022 Prepare export of production set of evidence (1                 0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=             9/22/2022 document/LAUSD_HFDF 000846 to LAUSD_HFDF
                               000848) to be produced to opposing counsel.




                                                                                 Final Joint Statement_00099
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                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                        However, if a prevailing
                                                                                                                                                                                                        party ultimately wins on a
                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                    ($336.54) [this is                                                     unable to determine how      billed for this entry.
                                                                                                    5/7s of the full $474                                                  many hours billed for each
Carrie A. Stringham    6/3/2022 Continue drafting detailed meet and confer                      1.2 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151       7/31/2022 correspondence to opposing counsel in
                                accordance with the requirements of Local Rule
                                7-3 regarding the deficiencies in the Complaint
                                and grounds for filing a motion for judgment on
                                the pleadings.

                                                                                                   ($280.45) [this is
                                                                                                   5/7s of the full $395
Joy C. Rosenquist      6/3/2022 Review/analyze Complaint for Damages.                            1 entry]
Invoice=5706151       7/31/2022

                                                                                                    ($166.99) [this is
                                                                                                    5/7s of the full
Connie L. Michaels     6/7/2022 Confer with client re deposition scheduling and                 0.4 $235.20 entry]
Invoice=5706151       7/31/2022 follow up re same including emails to client
                                with proposed schedule.

                                                                                                    ($41.75) [this is 5/7s
                                                                                                    of the full $58.80
Connie L. Michaels     6/7/2022 Prepare correspondence to plaintiffs’ counsel                   0.1 entry]
Invoice=5706151       7/31/2022 re deposition scheduling.

                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                           unreasonable block billing; of total attorneys' fees
                                                                                                    ($208.74) [this is                                                     unable to determine how billed for this entry.
                                                                                                    5/7s of the full $294                                                  many hours billed for each
Connie L. Michaels     6/9/2022 Prepare for and strategize with case team re                    0.5 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151       7/31/2022 deposition scheduling and logistics, motion to
                                dismiss, discovery and meet and confer re same.

                                                                                                    ($125.24) [this is
                                                                                                    5/7s of the full
Connie L. Michaels     6/9/2022 Initial review of plaintiff’s’ discovery                        0.3 $176.40 entry]
Invoice=5706151       7/31/2022 responses.




                                                                                  Final Joint Statement_00100
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                                                                                                                                                                                                      This is not block billing.
                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                      any State law claims or ADA
                                                                                                                                                                                                      claims, requiring
                                                                                                                                                                                                      Defendants to incur
                                                                                                                                                                                                      expenses in its defese
                                                                                                                                                                                                      against said claims,
                                                                                                                                                                                                      including expenses related
                                                                                                                                                                                                      to Plaintiffs' depositions.
                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                          unreasonable block billing; F.2d 1050, 1053 (9th
                                                                                                  ($208.74) [this is                                                      unable to determine how Cir.1991). Defendants
                                                                                                  5/7s of the full $294                                                   many hours billed for each intend to seek 5/7 fraction
Connie L. Michaels    6/9/2022 Prepare correspondence to client re deposition                 0.5 entry]                Reduced in its entirety by Plaintiffs    Object   claim.                      of total attorneys' fees
Invoice=5706151      7/31/2022 scheduling and logistics, responses to defense
                               written discovery, meet and confer
                               correspondence re defense supplemental
                               discovery responses.

                                                                                                                                                                                                         A brief case team meeting
                                                                                                                                                                                                         was held for all defense
                                                                                                                                                                                                         counsel weekly to confer
                                                                                                                                                                                                         and strategize regarding the
                                                                                                                                                                                                         case and its developments.
                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.
                                                                                                  ($84.14) [this is 5/7s                                                  unnecessary; unable to
                                                                                                  of the full $118.50                                                     determine how many
Nick McKinney         6/9/2022 Weekly case status call with litigation team.                  0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5706151      7/31/2022




                                                                                Final Joint Statement_00101
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 102 of 274 Page
                                                                                                         ID #:2241

                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                           Plaintiffs' never dismissed
                                                                                                                                                                                                                           any State law claims or ADA
                                                                                                                                                                                                                           claims, requiring
                                                                                                                                                                                                                           Defendants to incur
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                                                                                                                                                                                                                           including expenses related
                                                                                                                                                                                                                           to Plaintiffs' depositions.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
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                                                                                                                                                                                                                           Complaint. However, if a
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                                                                                                                                                                                                                           is entitled to all attorney's
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                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                              unnecessary; unable to       F.2d 1050, 1053 (9th
                                                                                                                                                                                              determine how many           Cir.1991). Defendants
                                                                                                                       ($448.72) [this is                                                     hours billed for each claim; intend to seek 5/7 fraction
                                                                                                                       5/7s of the full $632                                                  unable to determine          of total attorneys' fees
Nick McKinney          6/9/2022 Commence preparation of overall Plaintiff's       To protect content of attorney   1.6 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.             billed for this entry.
Invoice=5706151       7/31/2022 deposition outline REDACTED                       work product, attorney mental
                                REDACTED.                                         impressions, and/or strategy.

                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
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                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine how of total attorneys' fees
                                                                                                                      ($280.45) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                      5/7s of the full $395                                                   claim; unable to determine
Joy C. Rosenquist      6/9/2022 Strategy regarding meet and confer letter prior   To protect content of attorney    1 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5706151       7/31/2022 to Motion to Dismiss and provide feedback on      work product, attorney mental
                                possible REDACTED.                                impressions, and/or strategy.

                                                                                                                       ($336.54) [this is
                                                                                                                       5/7s of the full $474
Carrie A. Stringham    6/9/2022 Make additional revisions to draft meet and                                        1.2 entry]
Invoice=5706151       7/31/2022 confer letter to opposing counsel regarding
                                potential dispositive motion/motion for
                                judgment on the pleadings to include updated
                                assessment of the Skelley cause of action and
                                add additional arguments relating to
                                Plaintiff's state law claims.

                                                                                                                       ($41.75) [this is 5/7s
                                                                                                                       of the full $58.80
Connie L. Michaels    6/10/2022 Respond to correspondence from plaintiffs'                                         0.1 entry]
Invoice=5706151       7/31/2022 counsel re deposition scheduling.




                                                                                           Final Joint Statement_00102
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 103 of 274 Page
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                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                        However, if a prevailing
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                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                   ($333.987) [this is                                                      unable to determine how     billed for this entry.
                                                                                                   5/7s of the full                                                        many hours billed for each
Connie L. Michaels   6/12/2022 Review and revise meet and confer letter to                     0.8 $470.40 entry]         Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151      7/31/2022 plaintiffs re motion for judgment on the
                               pleadings.

                                                                                                                                                                                                        Nature of the attorney work
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                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                        activity was conducted in
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                                                                                                                                                                                                        However, if a prevailing
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                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                   ($41.75) [this is 5/7s                                                  unnecessary to extent        billed for this entry.
                                                                                                   of the full $58.80                                                      related to plaintiffs'
Connie L. Michaels   6/12/2022 Review correspondence from opposing counsel re                  0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions
Invoice=5706151      7/31/2022 changing the depositions to be conduct via Zoom
                               and forward same to client.

                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                        However, if a prevailing
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                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                  ($417.48) [this is                                                       unnecessary to extent        billed for this entry.
                                                                                                  5/7s of the full $588                                                    related to plaintiffs'
Connie L. Michaels   6/13/2022 Multiple emails and telephone call with                          1 entry]                Reduced in its entirety by Plaintiffs     Object   depositions
Invoice=5706151      7/31/2022 opposing counsel re deposition scheduling,
                               location and being in person.




                                                                                 Final Joint Statement_00103
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 104 of 274 Page
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                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Moreover,
                                                                                                                                                                                                         Plaintiffs' never dismissed
                                                                                                                                                                                                         any State law claims or ADA
                                                                                                                                                                                                         claims, requiring
                                                                                                                                                                                                         Defendants to incur
                                                                                                                                                                                                         expenses in its defese
                                                                                                                                                                                                         against said claims,
                                                                                                                                                                                                         including expenses related
                                                                                                                                                                                                         to Plaintiffs' depositions.
                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                  ($417.48) [this is                                                      unnecessary to extent          intend to seek 5/7 fraction
                                                                                                  5/7s of the full $588                                                   related to plaintiffs'         of total attorneys' fees
Connie L. Michaels   6/13/2022 Confer with client re setting of Dr. Maholtra’s                  1 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                    billed for this entry.
Invoice=5706151      7/31/2022 deposition, scheduling of plaintiffs’                            1                    588
                               depositions, and reasoning for their being in
                               person.

                                                                                                                                                                                                         Entry unredacted. Nature of
                                                                                                                                                                                                         the attorney work is evident
                                                                                                                                                                                                         and necessary in the
                                                                                                                                                                                                         defense against Plaintiffs'
                                                                                                                                                                                                         claims. Attorney activity
                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                          vague; unable to               of total attorneys' fees
                                                                                                                                                                          determine how many             billed for this entry.
                                                                                                   ($112.18) [this is                                                     hours billed for each claim;
                                                                                                   5/7s of the full $158                                                  unable to determine
Nick McKinney        6/13/2022 Review was of pending vaccine-related matter to                 0.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5706151      7/31/2022 see effect to Health Freedom case.




                                                                                 Final Joint Statement_00104
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                                                                                                                                                                                                   Nature of the attorney work
                                                                                                                                                                                                   is evident and necessary in
                                                                                                                                                                                                   the defense against
                                                                                                                                                                                                   Plaintiffs' claims. Moreover,
                                                                                                                                                                                                   Plaintiffs' never dismissed
                                                                                                                                                                                                   any State law claims or ADA
                                                                                                                                                                                                   claims, requiring
                                                                                                                                                                                                   Defendants to incur
                                                                                                                                                                                                   expenses in its defese
                                                                                                                                                                                                   against said claims,
                                                                                                                                                                                                   including expenses related
                                                                                                                                                                                                   to Plaintiffs' depositions.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
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                                                                                                                                                                                                   Complaint. However, if a
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                                                                                                                                                                                                   is entitled to all attorney's
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                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                ($84.14) [this is 5/7s                                                  unnecessary to extent      intend to seek 5/7 fraction
                                                                                                of the full $118.50                                                     related to plaintiffs'     of total attorneys' fees
Joy C. Rosenquist   6/13/2022 Review correspondence from opposing counsel                   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                billed for this entry.
Invoice=5706151     7/31/2022 regarding depositions, and regarding meet and
                              confer on supplemental discovery responses.

                                                                                                                                                                                                 Nature of the attorney work
                                                                                                                                                                                                 is evident and necessary in
                                                                                                                                                                                                 the defense against
                                                                                                                                                                                                 Plaintiffs' claims. Moreover,
                                                                                                                                                                                                 Plaintiffs' never dismissed
                                                                                                                                                                                                 any State law claims or ADA
                                                                                                                                                                                                 claims, requiring
                                                                                                                                                                                                 Defendants to incur
                                                                                                                                                                                                 expenses in its defese
                                                                                                                                                                                                 against said claims,
                                                                                                                                                                                                 including expenses related
                                                                                                                                                                                                 to Plaintiffs' depositions.
                                                                                                                                                                                                 Moreover, Plaintiffs'
                                                                                                                                                                                                 continuoulsy refused to
                                                                                                                                                                                                 participate in in-person
                                                                                                                                                                                                 depositions without legal
                                                                                                                                                                                                 basis. Attorney activity was
                                                                                                                                                                                                 conducted in light of all
                                                                                                                                                                                                 allegations within Plaintiffs'
                                                                                                                                                                                                 Complaint. However, if a
                                                                                                                                                                                                 prevailing party ultimately
                                                                                                                                                                                                 wins on a particular claim, it
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                                                                                                ($140.23) [this is                                                                               in pursuing that claim.
                                                                                                5/7s of the full                                                                                 Cabrales v. Co. of L.A. , 935
Joy C. Rosenquist   6/14/2022 Review pending Senate Bill 1037 regarding                     0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   Object   unnecessary/unreasonable F.2d 1050, 1053 (9th
Invoice=5706151     7/31/2022 compliance with masking during depositions.




                                                                              Final Joint Statement_00105
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 106 of 274 Page
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                                                                                                                                                                                                         Nature of the attorney work
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                                                                                                                                                                                                         Plaintiffs' claims. Attorney
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                                                                                                                                                                                                         However, if a prevailing
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                   ($280.45) [this is                                                        unable to determine how     billed for this entry.
                                                                                                   5/7s of the full $395                                                    many hours billed for each
Joy C. Rosenquist     6/14/2022 Review/analyze June 8, 2022 Letter demanding                     1 entry]                Reduced in its entirety by Plaintiffs     Object   claim.
Invoice=5706151       7/31/2022 conference of counsel and supplemental
                                responses.

                                                                                                                                                                                                         Nature of the attorney work
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                                                                                                                                                                                                         Plaintiffs' claims. Attorney
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                    ($476.77) [this is                                                       unable to determine how     billed for this entry.
                                                                                                    5/7s of the full                                                        many hours billed for each
Carrie A. Stringham   6/15/2022 Make additional substantive revisions to draft,                 1.7 $671.50 entry]         Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151       7/31/2022 comprehensive meet and confer letter to
                                opposing counsel regarding the deficiencies in
                                the claims and identifying the legal basis to
                                move for judgment on the pleadings.
                                                                                                                                                                                                         Nature of the attorney work
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                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
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                                                                                                                                                                                                         However, if a prevailing
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                                                                                                                                                                                                         particular claim, it is
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                    ($83.50) [this is 5/7s                                                   unable to determine how     billed for this entry.
                                                                                                    of the full $117.60                                                     many hours billed for each
                                                                                                0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Connie L. Michaels    6/15/2022 Prepare correspondence to counsel re case
Invoice=5706151       7/31/2022 status.




                                                                                  Final Joint Statement_00106
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                                                                                                                                                                                                     A brief case team meeting
                                                                                                                                                                                                     was held for all defense
                                                                                                                                                                                                     counsel weekly to confer
                                                                                                                                                                                                     and strategize regarding the
                                                                                                                                                                                                     case and its developments.
                                                                                                                                                                                                     Nature of the attorney work
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                                                                                                                                                                                                     Plaintiffs' claims. Attorney
                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                     Plaintiffs' Complaint.
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                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                ($41.75) [this is 5/7s                                                   unable to determine how
                                                                                                of the full $58.80                                                      many hours billed for each
Connie L. Michaels   6/16/2022 Prepare for and attend case status call with                 0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151      7/31/2022 team.

                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Moreover,
                                                                                                                                                                                                     Plaintiffs' never dismissed
                                                                                                                                                                                                     any State law claims or ADA
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                                                                                                                                                                                                     Defendants to incur
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                                                                                                                                                                                                     including expenses related
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                                                                                                                                                                                                     Attorney activity was
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                                                                                                                                                                                                     Complaint. However, if a
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                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                ($83.50) [this is 5/7s                                                  unnecessary to extent        intend to seek 5/7 fraction
                                                                                                of the full $117.60                                                     related to plaintiffs'       of total attorneys' fees
Connie L. Michaels   6/17/2022 Revise notices of three depositions.                         0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                  billed for this entry.
Invoice=5706151      7/31/2022




                                                                              Final Joint Statement_00107
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                           Page 108 of 274 Page
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                                                                                                                                                                                                      Nature of the attorney work
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                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                      any State law claims or ADA
                                                                                                                                                                                                      claims, requiring
                                                                                                                                                                                                      Defendants to incur
                                                                                                                                                                                                      expenses in its defese
                                                                                                                                                                                                      against said claims,
                                                                                                                                                                                                      including expenses related
                                                                                                                                                                                                      to Plaintiffs' depositions.
                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
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                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                ($83.50) [this is 5/7s                                                                intend to seek 5/7 fraction
                                                                                                                of the full $117.60                                                                   of total attorneys' fees
Connie L. Michaels   6/17/2022 Exchange correspondence with plaintiffs’                                     0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   unnecessary   billed for this entry.
Invoice=5706151      7/31/2022 counsel re depositions of plaintiffs.

                                                                                                                                                                                                      Preparing for and advising
                                                                                                                                                                                                      on the manner in which to
                                                                                                                                                                                                      maintain potentially
                                                                                                                                                                                                      privileged documents or
                                                                                                                                                                                                      information is not an
                                                                                                                                                                                                      administrative task.
                                                                                                                                                                                                      Moreover, attorneys' fee
                                                                                                                                                                                                      awards must account for
                                                                                                                                                                                                      work of non-attorneys,
                                                                                                                                                                                                      including paralegals and law
                                                                                                                                                                                                      clerks “whose labor
                                                                                                                                                                                                      contributes to the work
                                                                                                                                                                                                      product for which an
                                                                                                                                                                                                      attorney bills her client.”
                                                                                                                ($15.98) [this is 5/7s                                                                Missouri v. Jenkins, 491 U.S.
                                                                                                                of the full $22.50                                                                    274, 285 (1989).
Suzy Richman         6/17/2022 Upload related cases to extranet REDACTED.        To protect proprietary     0.1 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5706151      7/31/2022                                                   information.


                                                                                                                ($897.44) [this is
                                                                                                                5/7s of the full
Joy C. Rosenquist    6/17/2022 Review supplemental discovery responses (RFP                                 3.2 $1,264 entry]
Invoice=5706151      7/31/2022 and SROG) in preparation for meet and confer
                               with Plaintiff's counsel, in addition to review
                               of Letters dated May 6 and June 8 for
                               objections and reasoning (including review of
                               objections to Privilege Log and requirements of
                               FRCP 26(b)(5).).




                                                                                          Final Joint Statement_00108
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 109 of 274 Page
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                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                             Plaintiffs' never dismissed
                                                                                                                                                                                                                             any State law claims or ADA
                                                                                                                                                                                                                             claims, requiring
                                                                                                                                                                                                                             Defendants to incur
                                                                                                                                                                                                                             expenses in its defese
                                                                                                                                                                                                                             against said claims,
                                                                                                                                                                                                                             including expenses related
                                                                                                                                                                                                                             to Plaintiffs' depositions.
                                                                                                                                                                                                                             Attorney activity was
                                                                                                                                                                                                                             conducted in light of all
                                                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                              unnecessary to extent          Cir.1991). Defendants
                                                                                                                       ($140.23) [this is                                                     related to plaintiffs'         intend to seek 5/7 fraction
                                                                                                                       5/7s of the full                                                       depositions; unable to         of total attorneys' fees
Joy C. Rosenquist    6/21/2022 Review email correspondence to/from client        To protect content of attorney    0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   determine nature of entry      billed for this entry.
Invoice=5706151      7/31/2022 REDACTED                                          work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               depositions.                                      To protect content of attorney-
                                                                                 client communications.


                                                                                                                       ($1085.45) [this is
                                                                                                                       5/7s of the full
Connie L. Michaels   6/21/2022 Prepare for and engage in meeting with opposing                                     2.6 $1,528.80 entry]
Invoice=5706151      7/31/2022 counsel in response to June 8 meet and confer
                               letter re defense supplemental responses.

                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Attorney
                                                                                                                                                                                                                             activity was conducted in
                                                                                                                                                                                                                             light of all allegations within
                                                                                                                                                                                                                             Plaintiffs' Complaint.
                                                                                                                                                                                                                             However, if a prevailing
                                                                                                                                                                                                                             party ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
                                                                                                                                                                                                                             entitled to all attorney's
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                              unable to determine            of total attorneys' fees
                                                                                                                       ($208.74) [this is                                                     nature of entry; unable to     billed for this entry.
                                                                                                                       5/7s of the full $294                                                  determine how many
Connie L. Michaels   6/21/2022 Prepare correspondence to third party witness     To protect content of attorney    0.5 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5706151      7/31/2022 re REDACTED                                       work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED.                                         To protect content of attorney-
                                                                                 client communications.




                                                                                          Final Joint Statement_00109
                         Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                             Page 110 of 274 Page
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                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                       Plaintiffs' claims. Moreover,
                                                                                                                                                                                                       Plaintiffs' never dismissed
                                                                                                                                                                                                       any State law claims or ADA
                                                                                                                                                                                                       claims, requiring
                                                                                                                                                                                                       Defendants to incur
                                                                                                                                                                                                       expenses in its defese
                                                                                                                                                                                                       against said claims,
                                                                                                                                                                                                       including expenses related
                                                                                                                                                                                                       to Plaintiffs' depositions.
                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                       wins on a particular claim, it
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                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                  ($166.99) [this is                                                      Unnecessary to extent        intend to seek 5/7 fraction
                                                                                                  5/7s of the full                                                        related to Plaintiffs'       of total attorneys' fees
Connie L. Michaels   6/22/2022 Correspond (separately) with opposing counsel                  0.4 $235.20 entry]         Reduced in its entirety by Plaintiffs   Object   deposition.                  billed for this entry.
Invoice=5706151      7/31/2022 and client re deposition scheduling.

                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                       Plaintiffs' claims. Attorney
                                                                                                                                                                                                       activity was conducted in
                                                                                                                                                                                                       light of all allegations within
                                                                                                                                                                                                       Plaintiffs' Complaint.
                                                                                                                                                                                                       However, if a prevailing
                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                       entitled to all attorney's
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                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                  ($1,377.68) [this is                                                    unable to determine how      billed for this entry.
                                                                                                  5/7s of the full                                                        many hours billed for each
Connie L. Michaels   6/22/2022 Revise meet and confer correspondence re 12(c)                 3.3 $1,940.40 entry]       Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5706151      7/31/2022 motion.




                                                                                Final Joint Statement_00110
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                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
                                                                                                                                                                                                    claims, requiring
                                                                                                                                                                                                    Defendants to incur
                                                                                                                                                                                                    expenses in its defese
                                                                                                                                                                                                    against said claims.
                                                                                                                                                                                                    Attorney activity was
                                                                                                                                                                                                    conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
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                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                        unable to determine how in pursuing that claim.
                                                                                                                                                                        many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                        claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                        discovery expense - should Cir.1991). Defendants
                                                                                                                                                                        have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                        earlier in case rather than of total attorneys' fees
                                                                                                ($399.38) [this is                                                      continuing to incur         billed for this entry.
                                                                                                5/7s of the full                                                        expenses engaging in
Teresa J. Myers   6/22/2022 Analysis of state and federal primary resources                 2.5 $562.50 entry]         Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=          9/22/2022 re: discovery required by a corporate officer
                            sued in their official capacity.

                                                                                                                                                                                                      A brief case team meeting
                                                                                                                                                                                                      was held for all defense
                                                                                                                                                                                                      counsel weekly to confer
                                                                                                                                                                                                      and strategize regarding the
                                                                                                                                                                                                      case and its developments.
                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                ($84.14) [this is 5/7s                                                  unnecessary; unable to
                                                                                                of the full $118.50                                                     determine how many
Nick McKinney     6/23/2022 Weekly litigation team strategy meeting.                        0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5706151   7/31/2022




                                                                              Final Joint Statement_00111
                         Case 2:21-cv-08688-DSF-PVC                              Document 95 Filed 01/19/23                                           Page 112 of 274 Page
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                                                                                                                                                                                                  A brief case team meeting
                                                                                                                                                                                                  was held for all defense
                                                                                                                                                                                                  counsel weekly to confer
                                                                                                                                                                                                  and strategize regarding the
                                                                                                                                                                                                  case and its developments.
                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                  Plaintiffs' claims. Moreover,
                                                                                                                                                                                                  Plaintiffs' never dismissed
                                                                                                                                                                                                  any State law claims or ADA
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                                                                                                                                                                                                  Defendants to incur
                                                                                                                                                                                                  expenses in its defese
                                                                                                                                                                                                  against said claims,
                                                                                                                                                                                                  including expenses related
                                                                                                                                                                                                  to Plaintiffs' depositions.
                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                  conducted in light of all
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                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                      unnecessary to extent       wins on a particular claim, it
                                                                                                                                                                      related to plaintiffs'      is entitled to all attorney's
                                                                                                ($250.49) [this is                                                    depositions; unable to      fees reasonably expended
                                                                                                5/7s of the full                                                      determine how many          in pursuing that claim.
Connie L. Michaels   6/23/2022 Prepare for and strategize with case team re                 0.6 $352.80 entry]       Reduced in its entirety by Plaintiffs   Object   hours billed for each claim Cabrales v. Co. of L.A. , 935
Invoice=5706151      7/31/2022 deposition scheduling and motion to dismiss.

                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                  Plaintiffs' claims. Moreover,
                                                                                                                                                                                                  Plaintiffs' never dismissed
                                                                                                                                                                                                  any State law claims or ADA
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                                                                                                                                                                                                  Defendants to incur
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                                                                                                                                                                                                  including expenses related
                                                                                                                                                                                                  to Plaintiffs' depositions.
                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                  conducted in light of all
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                                                                                                                                                                                                  Complaint. However, if a
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                                                                                                                                                                                                  is entitled to all attorney's
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                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                      unnecessary to extent       F.2d 1050, 1053 (9th
                                                                                                                                                                      related to plaintiffs'      Cir.1991). Defendants
                                                                                                ($333.98) [this is                                                    depositions; unable to      intend to seek 5/7 fraction
                                                                                                5/7s of the full                                                      determine how many          of total attorneys' fees
Connie L. Michaels   6/23/2022 Coordinate information re deposition                         0.8 $470.40 entry]       Reduced in its entirety by Plaintiffs   Object   hours billed for each claim billed for this entry.
Invoice=5706151      7/31/2022 scheduling.




                                                                              Final Joint Statement_00112
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                  Page 113 of 274 Page
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                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
                                                                                                                                                                                                                              party ultimately wins on a
                                                                                                                                                                                                                              particular claim, it is
                                                                                                                                                                                                                              entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine            of total attorneys' fees
                                                                                                                       ($41.75) [this is 5/7s                                                  nature of entry; unable to     billed for this entry.
                                                                                                                       of the full $58.80                                                      determine how many
Connie L. Michaels   6/23/2022 Correspond with client re REDACTED                To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5706151      7/31/2022 meet and confer.                                  work product, attorney mental
                                                                                 impressions, and/or strategy.
                                                                                 To protect content of attorney-
                                                                                 client communications.

                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
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                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                               unreasonable block billing; of total attorneys' fees
                                                                                                                      ($280.45) [this is                                                       unable to determine how billed for this entry.
                                                                                                                      5/7s of the full $395                                                    many hours billed for each
Joy C. Rosenquist    6/23/2022 Strategy regarding meet and confer, and                                              1 entry]                Reduced in its entirety by Plaintiffs     Object   claim.
Invoice=5706151      7/31/2022 deposition scheduling. Discovery meet and
                               confer preparation: Coordinate review deadlines
                               and discovery items.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           activity related to discovery.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
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                                                                                                                                                                                                                           Complaint. However, if a
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                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                               unable to determine how Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               many hours billed for each F.2d 1050, 1053 (9th
                                                                                                                                                                                               claim; unnecessary          Cir.1991). Defendants
                                                                                                                                                                                               discovery expense - should intend to seek 5/7 fraction
                                                                                                                                                                                               have filed MTD or MJOP      of total attorneys' fees
                                                                                                                                                                                               earlier in case rather than billed for this entry.
                                                                                                                       ($2,212.64) [this is                                                    continuing to incur
                                                                                                                       5/7s of the full                                                        expenses engaging in
Connie L. Michaels   6/24/2022 Draft updated interrogatory and responses to                                        5.3 $3,116.40 entry]       Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151      7/31/2022 second set of interrogatories.




                                                                                          Final Joint Statement_00113
                       Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 114 of 274 Page
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                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                                        any State law claims or ADA
                                                                                                                                                                                                                        claims, requiring
                                                                                                                                                                                                                        Defendants to incur
                                                                                                                                                                                                                        expenses in its defese
                                                                                                                                                                                                                        against said claims.
                                                                                                                                                                                                                        Attorney activity was
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                                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                            unable to determine how fees reasonably expended
                                                                                                                                                                                            many hours billed for each in pursuing that claim.
                                                                                                                                                                                            claim; Unable to determine Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                            nature of entry;            F.2d 1050, 1053 (9th
                                                                                                                                                                                            unnecessary discovery       Cir.1991). Defendants
                                                                                                                                                                                            expense - should have filed intend to seek 5/7 fraction
                                                                                                                                                                                            MTD or MJOP earlier in      of total attorneys' fees
                                                                                                                    ($28.05) [this is 5/7s                                                  case rather than continuing billed for this entry.
                                                                                                                    of the full $39.50                                                      to incur expenses engaging
Susie Keshishyan   6/27/2022 Email correspondences to fact witnesses re        To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5706151    7/31/2022 REDACTED                                          work product, attorney mental
                             REDACTED                                          impressions, and/or strategy.

                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                                        any State law claims or ADA
                                                                                                                                                                                                                        claims, requiring
                                                                                                                                                                                                                        Defendants to incur
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                                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                                        conducted in light of all
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                                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                            unable to determine how in pursuing that claim.
                                                                                                                                                                                            many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                            claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                            discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                            have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                            earlier in case rather than of total attorneys' fees
                                                                                                                    ($112.18) [this is                                                      continuing to incur         billed for this entry.
                                                                                                                    5/7s of the full $158                                                   expenses engaging in
Susie Keshishyan   6/27/2022 Legal review and analysis of plaintiffs Freedom                                    0.4 entry]                Reduced in its entirety by Plaintiffs    Object   discovery.
Invoice=5706151    7/31/2022 Health Defense Fund, CA Educators for Medical
                             Freedom, Hovhannes Sapoghonian, and Sandra
                             Garcia's objection and responses to Request for
                             Production of Documents, Set One in preparation
                             for drafting meet and confer letter thereto.




                                                                                        Final Joint Statement_00114
                        Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 115 of 274 Page
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                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Moreover,
                                                                                                                                                                                                     Plaintiffs' never dismissed
                                                                                                                                                                                                     any State law claims or ADA
                                                                                                                                                                                                     claims, requiring
                                                                                                                                                                                                     Defendants to incur
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                                                                                                                                                                                                     against said claims.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
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                                                                                                                                                                                                     Complaint. However, if a
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                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                         unable to determine how in pursuing that claim.
                                                                                                                                                                         many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                         claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                         discovery expense - should Cir.1991). Defendants
                                                                                                                                                                         have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                         earlier in case rather than of total attorneys' fees
                                                                                                  ($224.36) [this is                                                     continuing to incur         billed for this entry.
                                                                                                  5/7s of the full $316                                                  expenses engaging in
Joy C. Rosenquist   6/27/2022 Commence review of discovery responses in order                 0.8 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 to determine whether a motion to compel is
                              needed.

                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Moreover,
                                                                                                                                                                                                     Plaintiffs' never dismissed
                                                                                                                                                                                                     any State law claims or ADA
                                                                                                                                                                                                     claims, requiring
                                                                                                                                                                                                     Defendants to incur
                                                                                                                                                                                                     expenses in its defese
                                                                                                                                                                                                     against said claims.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                         unable to determine how in pursuing that claim.
                                                                                                                                                                         many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                         claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                         discovery expense - should Cir.1991). Defendants
                                                                                                                                                                         have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                         earlier in case rather than of total attorneys' fees
                                                                                                 ($280.45) [this is                                                      continuing to incur         billed for this entry.
                                                                                                 5/7s of the full $395                                                   expenses engaging in
Joy C. Rosenquist   6/27/2022 Review of discovery responses of Sotelo,                         1 entry]                Reduced in its entirety by Plaintiffs    Object   discovery.
Invoice=5706151     7/31/2022 Fuentes, and Brambilla, to determine whether a
                              meet and confer letter is warranted.




                                                                                Final Joint Statement_00115
                        Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                           Page 116 of 274 Page
                                                                                        ID #:2255

                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
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                                                                                                                                                                                                    Defendants to incur
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                                                                                                                                                                                                    Attorney activity was
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                                                                                                                                                                                                    Complaint. However, if a
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                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                        unable to determine how in pursuing that claim.
                                                                                                                                                                        many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                        claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                        discovery expense - should Cir.1991). Defendants
                                                                                                                                                                        have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                        earlier in case rather than of total attorneys' fees
                                                                                                  ($140.23) [this is                                                    continuing to incur         billed for this entry.
                                                                                                  5/7s of the full                                                      expenses engaging in
Joy C. Rosenquist   6/28/2022 Review initial disclosures of Sotelo, Fuentes,                  0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 and Brambilla, to determine whether their
                              responses to the request for production of
                              documents merits a meet and confer letter.

                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
                                                                                                                                                                                                    claims, requiring
                                                                                                                                                                                                    Defendants to incur
                                                                                                                                                                                                    expenses in its defese
                                                                                                                                                                                                    against said claims.
                                                                                                                                                                                                    Attorney activity was
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                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
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                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                        unable to determine how in pursuing that claim.
                                                                                                                                                                        many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                        claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                        discovery expense - should Cir.1991). Defendants
                                                                                                                                                                        have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                        earlier in case rather than of total attorneys' fees
                                                                                                 ($280.45) [this is                                                     continuing to incur         billed for this entry.
                                                                                                 5/7s of the full $395                                                  expenses engaging in
Joy C. Rosenquist   6/28/2022 Review Requests for Production of Documents and                  1 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 Determine whether objections have merit
                              regarding work product of grouping responses.




                                                                                Final Joint Statement_00116
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                Page 117 of 274 Page
                                                                                                     ID #:2256

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                                      any State law claims or ADA
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                                                                                                                                                                                                                      Defendants to incur
                                                                                                                                                                                                                      expenses in its defese
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                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
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                                                                                                                                                                                                                      Complaint. However, if a
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                                                                                                                                                                                          unable to determine how in pursuing that claim.
                                                                                                                                                                                          many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                          claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                          discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                          have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                          earlier in case rather than of total attorneys' fees
                                                                                                                   ($140.23) [this is                                                     continuing to incur         billed for this entry.
                                                                                                                   5/7s of the full                                                       expenses engaging in
Joy C. Rosenquist   6/28/2022 Review case law cited by Plaintiffs regarding                                    0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 attorney work product objections.

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                                      any State law claims or ADA
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                                                                                                                                                                                          unable to determine how in pursuing that claim.
                                                                                                                                                                                          many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                          claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                          discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                          have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                          earlier in case rather than of total attorneys' fees
                                                                                                                   ($224.36) [this is                                                     continuing to incur         billed for this entry. .
                                                                                                                   5/7s of the full $316                                                  expenses engaging in
Joy C. Rosenquist   6/29/2022 Prepare outline of arguments in support of      To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 REDACTED Plaintiffs' discovery responses and    work product, attorney mental
                              REDACTED.                                       impressions, and/or strategy.




                                                                                       Final Joint Statement_00117
                        Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 118 of 274 Page
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                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                                        any State law claims or ADA
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                                                                                                                                                                                                                        expenses in its defese
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                                                                                                                                                                                                                        Attorney activity was
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                                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                            unable to determine how in pursuing that claim.
                                                                                                                                                                                            many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                            claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                            discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                            have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                            earlier in case rather than of total attorneys' fees
                                                                                                                     ($336.54) [this is                                                     continuing to incur         billed for this entry.
                                                                                                                     5/7s of the full $474                                                  expenses engaging in
Joy C. Rosenquist   6/29/2022 Complete review of discovery issues and draft     To protect content of attorney   1.2 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 strategy for response to Plaintiffs' discovery    work product, attorney mental
                              responses and meet with co-counsel to             impressions, and/or strategy.
                              coordinate efforts on strategy REDACTED
                              REDACTED.

                                                                                                                                                                                                                        Nature of the attorney work
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                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                                        any State law claims or ADA
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                                                                                                                                                                                            unable to determine how in pursuing that claim.
                                                                                                                                                                                            many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                            claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                            discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                            have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                            earlier in case rather than of total attorneys' fees
                                                                                                                     ($645.04) [this is                                                     continuing to incur         billed for this entry.
                                                                                                                     5/7s of the full                                                       expenses engaging in
Joy C. Rosenquist   6/30/2022 Draft lengthy meet and confer letter pertaining                                    2.3 $908.50 entry]        Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 to Plaintiffs' discovery responses and
                              objections.




                                                                                         Final Joint Statement_00118
                        Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                           Page 119 of 274 Page
                                                                                       ID #:2258

                                                                                                                                                                                                   Nature of the attorney work
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                                                                                                                                                                                                   Plaintiffs' claims. Moreover,
                                                                                                                                                                                                   Plaintiffs' never dismissed
                                                                                                                                                                                                   any State law claims or ADA
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                                                                                                                                                                                                   Defendants to incur
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                                                                                                                                                                                                   against said claims.
                                                                                                                                                                                                   Attorney activity was
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                                                                                                                                                                                                   Complaint. However, if a
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                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                       unable to determine how in pursuing that claim.
                                                                                                                                                                       many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                       claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                       discovery expense - should Cir.1991). Defendants
                                                                                                                                                                       have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                       earlier in case rather than of total attorneys' fees
                                                                                                 ($140.23) [this is                                                    continuing to incur         billed for this entry.
                                                                                                 5/7s of the full                                                      expenses engaging in
Joy C. Rosenquist   6/30/2022 Review all documents provided in Plaintiffs'                   0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 dropbox link as part of Initial Disclosures,
                              labeled "All documents cited and referenced in
                              plaintiffs complaint".

                                                                                                                                                                                                   Nature of the attorney work
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                                                                                                                                                                                                   the defense against
                                                                                                                                                                                                   Plaintiffs' claims. Moreover,
                                                                                                                                                                                                   Plaintiffs' never dismissed
                                                                                                                                                                                                   any State law claims or ADA
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                                                                                                                                                                                                   Defendants to incur
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                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
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                                                                                                                                                                                                   Complaint. However, if a
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                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                       unable to determine how in pursuing that claim.
                                                                                                                                                                       many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                       claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                       discovery expense - should Cir.1991). Defendants
                                                                                                                                                                       have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                       earlier in case rather than of total attorneys' fees
                                                                                                 ($364.59) [this is                                                    continuing to incur         billed for this entry.
                                                                                                 5/7s of the full                                                      expenses engaging in
Joy C. Rosenquist   6/30/2022 Review federal case law cited by Plaintiffs in                 1.3 $513.50 entry]       Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151     7/31/2022 their discovery objections and find legal
                              precedent that overturns or questions said
                              cases.




                                                                               Final Joint Statement_00119
                       Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 120 of 274 Page
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                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                                      any State law claims or ADA
                                                                                                                                                                                                                      claims, requiring
                                                                                                                                                                                                                      Defendants to incur
                                                                                                                                                                                                                      expenses in its defese
                                                                                                                                                                                                                      against said claims.
                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
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                                                                                                                                                                                          unable to determine how in pursuing that claim.
                                                                                                                                                                                          many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                          claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                          discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                          have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                          earlier in case rather than of total attorneys' fees
                                                                                                                   ($168.27) [this is                                                     continuing to incur         billed for this entry.
                                                                                                                   5/7s of the full $237                                                  expenses engaging in
Susie Keshishyan   6/30/2022 Draft meet and confer letter as to plaintiffs'                                    0.6 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5706151    7/31/2022 Health Freedom Defense Fund, CA Educators for
                             Medical Freedom, Hovhannes Saponghian, and
                             Sandra Garcia's deficient responses to
                             Defendants' Request for Production, Set One.

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                                      any State law claims or ADA
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                                                                                                                                                                                                                      Defendants to incur
                                                                                                                                                                                                                      expenses in its defese
                                                                                                                                                                                                                      against said claims.
                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                          unable to determine how fees reasonably expended
                                                                                                                                                                                          many hours billed for each in pursuing that claim.
                                                                                                                                                                                          claim; unable to determine Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                          nature of entry;            F.2d 1050, 1053 (9th
                                                                                                                                                                                          unnecessary discovery       Cir.1991). Defendants
                                                                                                                                                                                          expense - should have filed intend to seek 5/7 fraction
                                                                                                                                                                                          MTD or MJOP earlier in      of total attorneys' fees
                                                                                                                   ($196.32) [this is                                                     case rather than continuing billed for this entry.
                                                                                                                   5/7s of the full                                                       to incur expenses engaging
Susie Keshishyan   6/30/2022 Analyze case laws cited by plaintiffs Freedom    To protect content of attorney   0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5706151    7/31/2022 Health Defense Fund, CA Educators for Medical    work product, attorney mental
                             Freedom, Hovhaness Saponghian, and Sandra        impressions, and/or strategy.
                             Garcia's objections to defendants' Request for
                             Production of Documents, Set One, REDACTED
                             REDACTED
                             REDACTED
                             REDACTED.




                                                                                       Final Joint Statement_00120
                         Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 121 of 274 Page
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                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                                        Plaintiffs' claims. Attorney
                                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                                        However, if a prevailing
                                                                                                                                                                                                                        party ultimately wins on a
                                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                             unable to determine how of total attorneys' fees
                                                                                                                     ($28.05) [this is 5/7s                                                  many hours billed for each billed for this entry.
                                                                                                                     of the full $39.50                                                      claim; unable to
Susie Keshishyan     6/30/2022 Email correspondence to LAUSD general counsel   To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   determine nature of entry.
Invoice=5706151      7/31/2022 Narmin Shahin regarding REDACTED                work product, attorney mental
                               REDACTED                                        impressions, and/or strategy.
                               REDACTED                                        To protect content of attorney-
                               REDACTED depositions.                           client communications.

                                                                                                                     ($28.05) [this is 5/7s
                                                                                                                     of the full $39.50
Susie Keshishyan     6/30/2022 Email correspondences to fact witness Dr.                                         0.1 entry]
Invoice=5706151      7/31/2022 Staudenmayer regarding plaintiffs' intent to
                               depose witness and her availability.

                                                                                                                                                                                                                          A brief case team meeting
                                                                                                                                                                                                                          was held for all defense
                                                                                                                                                                                                                          counsel weekly to confer
                                                                                                                                                                                                                          and strategize regarding the
                                                                                                                                                                                                                          case and its developments.
                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                     ($56.09) [this is 5/7s                                                  unnecessary; unable to
                                                                                                                     of the full $79                                                         determine how much time
Nick McKinney        6/30/2022 Weekly litigation team strategy meeting.                                          0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5706151      7/31/2022


                                                                                                                     ($41.75) [this is 5/7s
                                                                                                                     of the full $58.80
Connie L. Michaels   6/30/2022 Review subpoena REDACTED                        To protect content of attorney    0.1 entry]
Invoice=5706151      7/31/2022 REDACTED.                                       work product, attorney mental
                                                                               impressions, and/or strategy.




                                                                                        Final Joint Statement_00121
                          Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 122 of 274 Page
                                                                                                       ID #:2261

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
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                                                                                                                                                                                                                          Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                          Plaintiffs' never dismissed
                                                                                                                                                                                                                          any State law claims or ADA
                                                                                                                                                                                                                          claims, requiring
                                                                                                                                                                                                                          Defendants to incur
                                                                                                                                                                                                                          expenses in its defese
                                                                                                                                                                                                                          against said claims,
                                                                                                                                                                                                                          including expenses related
                                                                                                                                                                                                                          to Plaintiffs' depositions.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                      ($41.75) [this is 5/7s                                                  unnecessary to extent       intend to seek 5/7 fraction
                                                                                                                      of the full $58.80                                                      related to plaintiffs'      of total attorneys' fees
Connie L. Michaels    6/30/2022 Determine status of deposition scheduling.      To protect content of attorney-   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                 billed for this entry.
Invoice=5706151       7/31/2022                                                 client communications.

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
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                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                      ($504.81) [this is                                                      unable to determine how     billed for this entry.
                                                                                                                      5/7s of the full $711                                                   much time billed for each
Carrie A. Stringham    7/1/2022 Begin drafting memorandum of points and                                           1.8 entry]                Reduced in its entirety by Plaintiffs    Object   claim.
Invoice=5723230       8/27/2022 authorities in support of motion for judgment
                                on the pleadings.




                                                                                         Final Joint Statement_00122
                         Case 2:21-cv-08688-DSF-PVC                                                       Document 95 Filed 01/19/23                                                Page 123 of 274 Page
                                                                                                               ID #:2262

                                                                                                                                                                                                                                Nature of the attorney work
                                                                                                                                                                                                                                is evident and necessary in
                                                                                                                                                                                                                                the defense against
                                                                                                                                                                                                                                Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                                Plaintiffs' never dismissed
                                                                                                                                                                                                                                any State law claims or ADA
                                                                                                                                                                                                                                claims, requiring
                                                                                                                                                                                                                                Defendants to incur
                                                                                                                                                                                                                                expenses in its defese
                                                                                                                                                                                                                                against said claims.
                                                                                                                                                                                                                                Attorney activity was
                                                                                                                                                                                                                                conducted in light of all
                                                                                                                                                                                                                                allegations within Plaintiffs'
                                                                                                                                                                                                                                Complaint. However, if a
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                                                                                                                                                                                                                                is entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                    unable to determine how in pursuing that claim.
                                                                                                                                                                                                    many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                                    discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                                    have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                                    earlier in case rather than of total attorneys' fees
                                                                                                                             ($834.96) [this is                                                     continuing to incur         billed for this entry.
                                                                                                                             5/7s of the full                                                       expenses engaging in
Connie L. Michaels    7/5/2022 Revise lengthy meet and confer letter re                                                    2 $1,176 entry]         Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5723230      8/27/2022 plaintiffs’ discovery responses.

                                                                                                                                                                                                                                Nature of the attorney work
                                                                                                                                                                                                                                is evident and necessary in
                                                                                                                                                                                                                                the defense against
                                                                                                                                                                                                                                Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                                Plaintiffs' never dismissed
                                                                                                                                                                                                                                any State law claims or ADA
                                                                                                                                                                                                                                claims, requiring
                                                                                                                                                                                                                                Defendants to incur
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                                                                                                                                                                                                                                Attorney activity was
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                                                                                                                                                                                                                                Complaint. However, if a
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                                                                                                                                                                                                                                is entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     unnecessary discovery      F.2d 1050, 1053 (9th
                                                                                                                                                                                                    expense - should have filed Cir.1991). Defendants
                                                                                                                                                                                                    MTD or MJOP earlier in      intend to seek 5/7 fraction
                                                                                                                                                                                                    case rather than continuing of total attorneys' fees
                                                                                                                              ($125.24) [this is                                                    to incur expenses engaging billed for this entry.
                                                                                                                              5/7s of the full                                                      in discovery; unable to
Connie L. Michaels    7/6/2022 Confer with client re Plaintiffs' change of              To protect content of attorney    0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs   Object   determine nature of entry.
Invoice=5723230      8/27/2022 deposition date, ojbection to discovery responses, and   work product, attorney mental
                               REDACTED.                                                impressions, and/or strategy.
                                                                                        To protect content of attorney-
                                                                                        client communications.




                                                                                                 Final Joint Statement_00123
                         Case 2:21-cv-08688-DSF-PVC                                                   Document 95 Filed 01/19/23                                                 Page 124 of 274 Page
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                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                              Plaintiffs' never dismissed
                                                                                                                                                                                                                              any State law claims or ADA
                                                                                                                                                                                                                              claims, requiring
                                                                                                                                                                                                                              Defendants to incur
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                                                                                                                                                                                                                              against said claims,
                                                                                                                                                                                                                              including expenses related
                                                                                                                                                                                                                              to Plaintiffs' depositions.
                                                                                                                                                                                                                              Attorney activity was
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                                                                                                                                                                                                                              Complaint. However, if a
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                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                         ($41.75) [this is 5/7s                                                  unnecessary to extent        intend to seek 5/7 fraction
                                                                                                                         of the full $58.80                                                      related to plaintiffs'       of total attorneys' fees
Connie L. Michaels    7/6/2022 Correspond with plaintiffs’ counsel re his                                            0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                  billed for this entry.
Invoice=5723230      8/27/2022 unilateral scheduling of a deposition.

                                                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                                                              the defense against
                                                                                                                                                                                                                              Plaintiffs' claims. Attorney
                                                                                                                                                                                                                              activity was conducted in
                                                                                                                                                                                                                              light of all allegations within
                                                                                                                                                                                                                              Plaintiffs' Complaint.
                                                                                                                                                                                                                              However, if a prevailing
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                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                 unable to determine how      of total attorneys' fees
                                                                                                                         ($196.32) [this is                                                      much time billed for each    billed for this entry.
                                                                                                                         5/7s of the full                                                        claim; unable to determine
Susie Keshishyan      7/6/2022 Continue legal analysis of case law of               To protect content of attorney   0.7 $276.5 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5723230      8/27/2022 REDACTED                                             work product, attorney mental
                               in preparation for further analysis                  impressions, and/or strategy.
                               within defendants' meet and confer letter REDACTED
                               REDACTED
                               Response to Request to Production, Set One.




                                                                                             Final Joint Statement_00124
                       Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 125 of 274 Page
                                                                                       ID #:2264

                                                                                                                                                                                                    Nature of the attorney work
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                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
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                                                                                                                                                                                                    including expenses related
                                                                                                                                                                                                    to Plaintiffs' depositions.
                                                                                                                                                                                                    Attorney activity was
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                                                                                                                                                                        unable to determine how is entitled to all attorney's
                                                                                                                                                                        many hours billed for each fees reasonably expended
                                                                                                                                                                        claim; unnecessary          in pursuing that claim.
                                                                                                                                                                        discovery expense - should Cabrales v. Co. of L.A. , 935
                                                                                                                                                                        have filed MTD or MJOP      F.2d 1050, 1053 (9th
                                                                                                                                                                        earlier in case rather than Cir.1991). Defendants
                                                                                                 ($168.27) [this is                                                     continuing to incur         intend to seek 5/7 fraction
                                                                                                 5/7s of the full $237                                                  expenses engaging in        of total attorneys' fees
Susie Keshishyan    7/6/2022 Legal analysis of plaintiffs' meet and confer                   0.6 entry]                Reduced in its entirety by Plaintiffs   Object   discovery.                  billed for this entry.
Invoice=5723230    8/27/2022 letter to defendant Davalos re her response to
                             production request to identify case law and/or
                             arguments to be used against plaintiffs' within
                             defendants' meet and confer letter re
                             plaintiffs' deficient responses to Request for
                             Production, Set One.

                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
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                                                                                                                                                                                                    Attorney activity was
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                                                                                                                                                                                                    Complaint. However, if a
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                                                                                                                                                                        unable to determine how is entitled to all attorney's
                                                                                                                                                                        many hours billed for each fees reasonably expended
                                                                                                                                                                        claim; unnecessary          in pursuing that claim.
                                                                                                                                                                        discovery expense - should Cabrales v. Co. of L.A. , 935
                                                                                                                                                                        have filed MTD or MJOP      F.2d 1050, 1053 (9th
                                                                                                                                                                        earlier in case rather than Cir.1991). Defendants
                                                                                                 ($140.23) [this is                                                     continuing to incur         intend to seek 5/7 fraction
                                                                                                 5/7s of the full                                                       expenses engaging in        of total attorneys' fees
Susie Keshishyan    7/6/2022 Continue drafting meet and confer letter re                     0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   discovery.                  billed for this entry.
Invoice=5723230    8/27/2022 plaintiffs' deficient response to defendants'
                             Request for Production, Set One re plaintiffs'
                             failure to abide by Local Rule 34-2.




                                                                               Final Joint Statement_00125
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 126 of 274 Page
                                                                                                         ID #:2265

                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
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                                                                                                                                                                                                                           Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                           Plaintiffs' never dismissed
                                                                                                                                                                                                                           any State law claims or ADA
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                                                                                                                                                                                                                           Defendants to incur
                                                                                                                                                                                                                           expenses in its defese
                                                                                                                                                                                                                           against said claims,
                                                                                                                                                                                                                           including expenses related
                                                                                                                                                                                                                           to Plaintiffs' depositions.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
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                                                                                                                                                                                               unable to determine how is entitled to all attorney's
                                                                                                                                                                                               many hours billed for each fees reasonably expended
                                                                                                                                                                                               claim; unnecessary          in pursuing that claim.
                                                                                                                                                                                               discovery expense - should Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               have filed MTD or MJOP      F.2d 1050, 1053 (9th
                                                                                                                                                                                               earlier in case rather than Cir.1991). Defendants
                                                                                                                       ($196.32) [this is                                                      continuing to incur         intend to seek 5/7 fraction
                                                                                                                       5/7s of the full                                                        expenses engaging in        of total attorneys' fees
Susie Keshishyan       7/6/2022 Continue drafting meet and confer letter re       To protect content of attorney   0.7 $276.50 entry]         Reduced in its entirety by Plaintiffs   Object   discovery.                  billed for this entry.
Invoice=5723230       8/27/2022 plaintiffs' deficient response to Request for     work product, attorney mental
                                Production, Set One to include further legal      impressions, and/or strategy.
                                analysis as to case law cited in REDACTED.


                                                                                                                                                                                                                            Attorneys' fee awards must
                                                                                                                                                                                                                            account for work of non-
                                                                                                                                                                                                                            attorneys, including
                                                                                                                                                                                                                            paralegals and law clerks
                                                                                                                                                                                                                            “whose labor contributes to
                                                                                                                                                                                                                            the work product for which
                                                                                                                                                                                                                            an attorney bills her client.”
                                                                                                                       ($31.95) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                       of the full $45                                                                                      274, 285 (1989).
Suzy Richman           7/6/2022 Submit request for trial calendar.                                                 0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=5723230       8/27/2022

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Attorney
                                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                                          Plaintiffs' Complaint.
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                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
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                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                               unable to determine how of total attorneys' fees
                                                                                                                       ($504.81) [this is                                                      many hours billed for each billed for this entry.
                                                                                                                       5/7s of the full $711                                                   claim; unable to determine
Carrie A. Stringham    7/7/2022 Review and analysis of arguments and legal        To protect content of attorney   1.8 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5723230       8/27/2022 authority referenced in lengthy meet and confer   work product, attorney mental
                                correspondence with opposing counsel regarding    impressions, and/or strategy.
                                the deficiencies in the Complaint and our
                                intent to file a motion for judgment on the
                                pleadings and anticipate potential counter
                                arguments REDACTED
                                REDACTED




                                                                                           Final Joint Statement_00126
                      Case 2:21-cv-08688-DSF-PVC                              Document 95 Filed 01/19/23                                             Page 127 of 274 Page
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                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                               is evident and necessary in
                                                                                                                                                                                               the defense against
                                                                                                                                                                                               Plaintiffs' claims. Attorney
                                                                                                                                                                                               activity was conducted in
                                                                                                                                                                                               light of all allegations within
                                                                                                                                                                                               Plaintiffs' Complaint.
                                                                                                                                                                                               However, if a prevailing
                                                                                                                                                                                               party ultimately wins on a
                                                                                                                                                                                               particular claim, it is
                                                                                                                                                                                               entitled to all attorney's
                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                               of total attorneys' fees
                                                                                             ($476.77) [this is                                                      unnecessary; unable to    billed for this entry.
                                                                                             5/7s of the full                                                        determine how much time
Nick McKinney      7/7/2022 Continue preparation of overall template for                 1.7 $671.50 entry]         Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5723230   8/27/2022 Plaintiffs' deposition outlines.

                                                                                                                                                                                               A brief case team meeting
                                                                                                                                                                                               was held for all defense
                                                                                                                                                                                               counsel weekly to confer
                                                                                                                                                                                               and strategize regarding the
                                                                                                                                                                                               case and its developments.
                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                               is evident and necessary in
                                                                                                                                                                                               the defense against
                                                                                                                                                                                               Plaintiffs' claims. Attorney
                                                                                                                                                                                               activity was conducted in
                                                                                                                                                                                               light of all allegations within
                                                                                                                                                                                               Plaintiffs' Complaint.
                                                                                                                                                                                               However, if a prevailing
                                                                                                                                                                                               party ultimately wins on a
                                                                                                                                                                                               particular claim, it is
                                                                                                                                                                                               entitled to all attorney's
                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Defendants
                                                                                                                                                                                               intend to seek 5/7 fraction
                                                                                                                                                                                               of total attorneys' fees
                                                                                                                                                                                               billed for this entry.
                                                                                             ($84.14) [this is 5/7s                                                  unnecessary; unable to
                                                                                             of the full $118.50                                                     determine how much time
Nick McKinney      7/7/2022 Weekly litigation team status meeting.                       0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5723230   8/27/2022




                                                                           Final Joint Statement_00127
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                               Page 128 of 274 Page
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                                                                                                                                                                                                                          Partially unredacted.
                                                                                                                                                                                                                          Review was of a case
                                                                                                                                                                                                                          decision to determine
                                                                                                                                                                                                                          whether its holding had an
                                                                                                                                                                                                                          effect on Health Freedom
                                                                                                                                                                                                                          case. Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                             unable to determine how      billed for this entry.
                                                                                                                       ($140.23) [this is                                                    many hours billed for each
                                                                                                                       5/7s of the full                                                      claim; unable to determine
Joy C. Rosenquist      7/7/2022 Review REDACTED Writ Decision to determine        To protect content of attorney   0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5723230       8/27/2022 whether holding has an effect on Health Freedom   work product, attorney mental
                                case.                                             impressions, and/or strategy.


                                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                                        is evident and necessary in
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                                                                                                                                                                                                                        Plaintiffs' claims. Attorney
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                                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
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                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                             unable to determine how intend to seek 5/7 fraction
                                                                                                                                                                                             many hours billed for each of total attorneys' fees
                                                                                                                       ($196.32) [this is                                                    claim; unable to determine billed for this entry.
                                                                                                                       5/7s of the full                                                      nature of redacted portion
Carrie A. Stringham    7/8/2022 Attend and participate in conference call with    To protect content of attorney   0.7 $276.50 entry]       Reduced in its entirety by Plaintiffs   Object   of entry.
Invoice=5723230       8/27/2022 opposing counsel in regards to ongoing meet and   work product, attorney mental
                                confer efforts relating to the deficiencies in    impressions, and/or strategy.
                                the Second Amended Complaint and the filing of
                                a motion for judgment on the pleadings and
                                assess counsel's arguments and strategize
                                REDACTED.




                                                                                           Final Joint Statement_00128
                         Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 129 of 274 Page
                                                                                                       ID #:2268

                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                          Plaintiffs' never dismissed
                                                                                                                                                                                                                          any State law claims or ADA
                                                                                                                                                                                                                          claims, requiring
                                                                                                                                                                                                                          Defendants to incur
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                                                                                                                                                                                                                          against said claims,
                                                                                                                                                                                                                          including expenses related
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                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                     ($83.50) [this is 5/7s                                                  unnecessary to extent        intend to seek 5/7 fraction
                                                                                                                     of the full $117.60                                                     related to plaintiffs'       of total attorneys' fees
Connie L. Michaels    7/8/2022 Revise objection to deposition unilaterally                                       0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                  billed for this entry.
Invoice=5723230      8/27/2022 set.

                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                             unreasonable block billing; Cir.1991). Defendants
                                                                                                                                                                                             unable to determine how intend to seek 5/7 fraction
                                                                                                                                                                                             many hours billed for each of total attorneys' fees
                                                                                                                     ($751.46) [this is                                                      claim; unable to determine billed for this entry.
                                                                                                                     5/7s of the full                                                        nature of redacted portion
Connie L. Michaels    7/8/2022 Prepare for and participate in meet and confer   To protect content of attorney   1.8 $1,058.40 entry]       Reduced in its entirety by Plaintiffs   Object   of entry.
Invoice=5723230      8/27/2022 conference with plaintiffs’ counsel re defense   work product, attorney mental
                               motion for judgment on the pleading, prepare     impressions, and/or strategy.
                               summary of same for client, correpsond with
                               client and opposing counsel REDACTED
                               REDACTED.

                                                                                                                                                                                                                          Attorneys' fee awards must
                                                                                                                                                                                                                          account for work of non-
                                                                                                                                                                                                                          attorneys, including
                                                                                                                                                                                                                          paralegals and law clerks
                                                                                                                                                                                                                          “whose labor contributes to
                                                                                                                                                                                                                          the work product for which
                                                                                                                                                                                                                          an attorney bills her client.”
                                                                                                                     ($15.98) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                     of the full $22.50                                                                                   274, 285 (1989).
Suzy Richman         7/11/2022 Email C. Michaels Trial Calendar received from                                    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=5723230      8/27/2022 E. Peterson and upload same to NetDocs.




                                                                                         Final Joint Statement_00129
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 130 of 274 Page
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                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
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                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                                                                                              many hours billed for each
                                                                                                                       ($392.63) [this is                                                     claim; unable to determine
                                                                                                                       5/7s of the full $553                                                  nature of redacted portion
Carrie A. Stringham   7/11/2022 Review and assess opposing counsel's argument     To protect content of attorney   1.4 entry]                Reduced in its entirety by Plaintiffs   Object   of entry.
Invoice=5723230       8/27/2022 during meet and confer process regarding          work product, attorney mental
                                pleading standards relating to individuals sued   impressions, and/or strategy.
                                in their official capacities in order to
                                REDACTED
                                REDACTED.

                                                                                                                                                                                                                           Nature of the attorney work
                                                                                                                                                                                                                           is evident and necessary in
                                                                                                                                                                                                                           the defense against
                                                                                                                                                                                                                           Plaintiffs' claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                       ($673.08) [this is                                                     unable to determine how      billed for this entry.
                                                                                                                       5/7s of the full $948                                                  many hours billed for each
Carrie A. Stringham   7/11/2022 Begin drafting memorandum of points and                                            2.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5723230       8/27/2022 authorities in support of motion for judgment
                                on the pleadings as to each of Plaintiff's
                                seven causes of action to include detailed
                                introduction and outline for each section of
                                the motion.

                                                                                                                       ($112.18) [this is
                                                                                                                       5/7s of the full $158
Carrie A. Stringham   7/12/2022 Draft Notice of Motion for Judgment on the                                         0.4 entry]
Invoice=5723230       8/27/2022 Pleadings seeking dismisal of all seven causes
                                of action in the Second Amended Complaint.




                                                                                           Final Joint Statement_00130
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                                                                                                                                                                                                    Entry unredacted. Nature of
                                                                                                                                                                                                    the attorney work is evident
                                                                                                                                                                                                    and necessary in the
                                                                                                                                                                                                    defense against Plaintiffs'
                                                                                                                                                                                                    claims. Attorney activity
                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
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                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                       unable to determine how      billed for this entry.
                                                                                               ($28.05) [this is 5/7s                                                  many hours billed for each
                                                                                               of the full $39.50                                                      claim; unable to determine
Susie Keshishyan   7/12/2022 Email correspondences with fact witness Dr.                   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759    9/30/2022 Vladimir Manuel regarding his personal
                             preference for in person deposition in
                             preparation for providing said information to
                             opposing counsel for scheduling.

                                                                                                                                                                                                    Entry unredacted. Nature of
                                                                                                                                                                                                    the attorney work is evident
                                                                                                                                                                                                    and necessary in the
                                                                                                                                                                                                    defense against Plaintiffs'
                                                                                                                                                                                                    claims. Attorney activity
                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                       unable to determine how      billed for this entry.
                                                                                               ($28.05) [this is 5/7s                                                  many hours billed for each
                                                                                               of the full $39.50                                                      claim; unable to determine
Susie Keshishyan   7/12/2022 Email correspondences with client regarding                   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759    9/30/2022 availability of fact witness, Dr. Kristan
                             Staudenmayer's availability for deposition in
                             preparation for providing information to
                             opposing counsel.




                                                                             Final Joint Statement_00131
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                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                 ($84.14) [this is 5/7s                                                  unable to determine how      billed for this entry.
                                                                                                 of the full $118.50                                                     many hours billed for each
Nick McKinney      7/12/2022 Review Health Freedom blast email regarding                     0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5723230    8/27/2022 LAUSD matter.

                                                                                                                                                                                                      Defendants were entitled to
                                                                                                                                                                                                      depose Plaintiffs and to do
                                                                                                                                                                                                      so in person. Defendants
                                                                                                                                                                                                      proceeded when they did as
                                                                                                                                                                                                      they faced pre-trial
                                                                                                                                                                                                      deadlines and had no
                                                                                                                                                                                                      guarantee their motion to
                                                                                                                                                                                                      dismiss would be fully
                                                                                                                                                                                                      successful.If a prevailing
                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Moreover,
                                                                                                                                                                                                      Defendants intend to seek
                                                                                                                                                                                                      5/7 fraction of total
                                                                                                                                                                                                      attorneys' fees billed for
                                                                                                                                                                                                      this entry. Nature of the
                                                                                                                                                                                                      attorney work is evident,
                                                                                                                                                                                                      and necessary given the
                                                                                                                                                                                                      claims made against
                                                                                                 ($140.23) [this is                                                                                   Defendants. Moreover,
                                                                                                 5/7s of the full                                                                                     Defendants are entitled to
Susie Keshishyan   7/13/2022 Draft amended notice of deposition of                           0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   Object   unnecessary                  recovery of litigation costs,
Invoice=5746759    9/30/2022 plaintiffs Norma Brambila, Jeffrey Fuentes, and
                             Sandra Garcia.




                                                                               Final Joint Statement_00132
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                                                                                                                                                                                                        Nature of the attorney work
                                                                                                                                                                                                        is evident and necessary in
                                                                                                                                                                                                        the defense against
                                                                                                                                                                                                        Plaintiffs' claims. Moreover,
                                                                                                                                                                                                        Plaintiffs' never dismissed
                                                                                                                                                                                                        any State law claims or ADA
                                                                                                                                                                                                        claims, requiring
                                                                                                                                                                                                        Defendants to incur
                                                                                                                                                                                                        expenses in its defese
                                                                                                                                                                                                        against said claims,
                                                                                                                                                                                                        including expenses related
                                                                                                                                                                                                        to Plaintiffs' depositions.
                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                            unable to determine how is entitled to all attorney's
                                                                                                                                                                            many hours billed for each fees reasonably expended
                                                                                                                                                                            claim; unnecessary          in pursuing that claim.
                                                                                                                                                                            discovery expense - should Cabrales v. Co. of L.A. , 935
                                                                                                                                                                            have filed MTD or MJOP      F.2d 1050, 1053 (9th
                                                                                                                                                                            earlier in case rather than Cir.1991). Defendants
                                                                                                  ($112.18) [this is                                                        continuing to incur         intend to seek 5/7 fraction
                                                                                                  5/7s of the full $158                                                     expenses engaging in        of total attorneys' fees
Susie Keshishyan     7/13/2022 Continue to revise meet and confer letter re                   0.4 entry]                Reduced in its entirety by Plaintiffs      Object   discovery.                  billed for this entry.
Invoice=5746759      9/30/2022 plaintiffs' deficient responses to Request for
                               Production of Documents Set One, addressing
                               plaintiffs' inaccurately relied upon case law
                               as to the requests seeking counsel's mental
                               impressions.

                                                                                                                                                                                                        Entry unredacted. Nature of
                                                                                                                                                                                                        the attorney work is evident
                                                                                                                                                                                                        and necessary in the
                                                                                                                                                                                                        defense against Plaintiffs'
                                                                                                                                                                                                        claims. Moreover, Plaintiffs'
                                                                                                                                                                                                        never dismissed any State
                                                                                                                                                                                                        law claims or ADA claims,
                                                                                                                                                                                                        requiring Defendants to
                                                                                                                                                                                                        incur expenses in its defese
                                                                                                                                                                                                        against said claims.
                                                                                                                                                                                                        Attorney activity was
                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
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                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                            unable to determine how in pursuing that claim.
                                                                                                                                                                            many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                            claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                            discovery expense - should Cir.1991). Defendants
                                                                                                                                                                            have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                            earlier in case rather than of total attorneys' fees
                                                                                                  ($140.23) [this is                                                        continuing to incur         billed for this entry.
                                                                                                  5/7s of the full                                                          expenses engaging in
Susie Keshishyan     7/13/2022 Email correspondences (x7) with fact witnesses                 0.5 $197.50 entry]           Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5746759      9/30/2022 and client regarding scheduled deposition and
                               plaintiffs' notice of deposition.

                                                                                                  ($56.09) [this is 5/7s
                                                                                                  of the full $79
Susie Keshishyan     7/13/2022 Email correspondences (x3) with opposing                       0.2 entry]
Invoice=5746759      9/30/2022 counsel re plaintiffs' notices of depositions
                               for individual defendant and fact witnesses.

                                                                                                  ($41.75) [this is 5/7s
                                                                                                  of the full $58.80
Connie L. Michaels   7/13/2022 Review Plaintiff's meet and confer letter re                   0.1 entry]
Invoice=5723230      8/27/2022 Davalos' second set of discovery response and




                                                                                Final Joint Statement_00133
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                                 forward same to client.

                                                                                                                                                                                                     Nature of the attorney work
                                                                                                                                                                                                     is evident and necessary in
                                                                                                                                                                                                     the defense against
                                                                                                                                                                                                     Plaintiffs' claims. Moreover,
                                                                                                                                                                                                     Plaintiffs' never dismissed
                                                                                                                                                                                                     any State law claims or ADA
                                                                                                                                                                                                     claims, requiring
                                                                                                                                                                                                     Defendants to incur
                                                                                                                                                                                                     expenses in its defese
                                                                                                                                                                                                     against said claims.
                                                                                                                                                                                                     Attorney activity was
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                                                                                                                                                                                                     Complaint. However, if a
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                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                         unable to determine how in pursuing that claim.
                                                                                                                                                                         many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                         claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                         discovery expense - should Cir.1991). Defendants
                                                                                                                                                                         have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                         earlier in case rather than of total attorneys' fees
                                                                                                  ($333.98) [this is                                                     continuing to incur         billed for this entry.
                                                                                                  5/7s of the full                                                       expenses engaging in
Connie L. Michaels    7/13/2022 Further revise meet and confer letter re                      0.8 $470.40 entry]        Reduced in its entirety by Plaintiffs   Object   discovery.
Invoice=5723230       8/27/2022 plaintiffs' discovery responses.

                                                                                                                                                                                                      Nature of the attorney work
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                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Moreover,
                                                                                                                                                                                                      Plaintiffs' never dismissed
                                                                                                                                                                                                      any State law claims or ADA
                                                                                                                                                                                                      claims, requiring
                                                                                                                                                                                                      Defendants to incur
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                                                                                                                                                                                                      Attorney activity was
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                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                  ($504.81) [this is                                                     unable to determine how      billed for this entry.
                                                                                                  5/7s of the full $711                                                  many hours billed for each
Carrie A. Stringham   7/13/2022 Continue drafting memorandum of points and                    1.8 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5723230       8/27/2022 authorities in support of Motion for Judgment
                                on the Pleadings to include statement of
                                relevant facts and procedural history with
                                citations to specific portions of the record.




                                                                                Final Joint Statement_00134
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                    Page 135 of 274 Page
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                                                                                                                                                                                                                             Nature of the attorney work
                                                                                                                                                                                                                             is evident and necessary in
                                                                                                                                                                                                                             the defense against
                                                                                                                                                                                                                             Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                             Plaintiffs' never dismissed
                                                                                                                                                                                                                             any State law claims or ADA
                                                                                                                                                                                                                             claims, requiring
                                                                                                                                                                                                                             Defendants to incur
                                                                                                                                                                                                                             expenses in its defese
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                                                                                                                                                                                                                             Attorney activity was
                                                                                                                                                                                                                             conducted in light of all
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                                                                                                                                                                                                                             Complaint. However, if a
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                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                 unable to determine how in pursuing that claim.
                                                                                                                                                                                                 many hours billed for each Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                 claim; unnecessary          F.2d 1050, 1053 (9th
                                                                                                                                                                                                 discovery expense - should Cir.1991). Defendants
                                                                                                                                                                                                 have filed MTD or MJOP      intend to seek 5/7 fraction
                                                                                                                                                                                                 earlier in case rather than of total attorneys' fees
                                                                                                                       ($224.36) [this is                                                        continuing to incur         billed for this entry.
                                                                                                                       5/7s of the full $316                                                     expenses engaging in
Joy C. Rosenquist     7/13/2022 Review and edit meet and confer letter                                             0.8 entry]                Reduced in its entirety by Plaintiffs      Object   discovery.
Invoice=5723230       8/27/2022 regarding Plaintiffs' discovery responses.

                                                                                                                       ($56.09) [this is 5/7s
                                                                                                                       of the full $79
Joy C. Rosenquist     7/13/2022 Correspondence to Narmin regarding REDACTED      To protect content of attorney-   0.2 entry]
Invoice=5723230       8/27/2022 meet and confer letter to Plaintiffs' counsel.   client communications.


                                                                                                                       ($28.05) [this is 5/7s
                                                                                                                       of the full $39.50
Joy C. Rosenquist     7/13/2022 Read correspondence from Plaintiff's attorney                                      0.1 entry]
Invoice=5723230       8/27/2022 requesting a conference to discuss Davalos
                                response to Request for production no.2.

                                                                                                                                                                                                                              Nature of attorney work is
                                                                                                                                                                                                                              evident and clearly denotes
                                                                                                                                                                                                                              drafting of the MJOP.
                                                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
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                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                       ($532.86) [this is                                                        unable to determine how      billed for this entry.
                                                                                                                       5/7s of the full                                                          many hours billed for each
Carrie A. Stringham   7/14/2022 Continue drafting memorandum of points and                                         1.9 $750.50 entry]           Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5723230       8/27/2022 authorities in support of Motion for Judgment
                                on the Pleadings, including legal analysis
                                section addressing Plaintiffs' due process and
                                equal protection claims.




                                                                                          Final Joint Statement_00135
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                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                           drafting of the MJOP.
                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                           of total attorneys' fees
                                                                                                    ($729.17) [this is                                                        unable to determine how      billed for this entry.
                                                                                                    5/7s of the full                                                          many hours billed for each
Carrie A. Stringham   7/14/2022 Continue drafting memorandum of points and                      2.6 $1,027 entry]            Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5723230       8/27/2022 authorities in support of Motion for Judgment
                                on the Pleadings, including legal analysis
                                section addressing Plaintiff's state-law
                                claims.

                                                                                                    ($56.09) [this is 5/7s
                                                                                                    of the full $79
Joy C. Rosenquist     7/14/2022 Send meet and confer correspondence to                          0.2 entry]
Invoice=5723230       8/27/2022 Plaintiff's counsel.

                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                           drafting of the MJOP.
                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                           of total attorneys' fees
                                                                                                    ($785.26) [this is                                                        unable to determine how      billed for this entry.
                                                                                                    5/7s of the full                                                          many hours billed for each
Carrie A. Stringham   7/15/2022 Continue drafting and finalizing memorandum of                  2.8 $1,106 entry]            Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5723230       8/27/2022 points and authorities in support of Motion for
                                Judgment on the Pleadings to include additional
                                legal analysis and assessment of applicable
                                legal authority and ensure accuracy of all
                                citations.

                                                                                                    ($83.50) [this is 5/7s
                                                                                                    of the full $117.60
Connie L. Michaels    7/15/2022 Review and analyze plaintiffs’ correspondence                   0.2 entry]
Invoice=5723230       8/27/2022 re dismissing claims from lawsuit.




                                                                                  Final Joint Statement_00136
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                                                                                                                                                                                                          If a prevailing party
                                                                                                                                                                                                          ultimately wins on a
                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Moreover,
                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                          5/7 fraction of total
                                                                                                                                                                                                          attorneys' fees billed for
                                                                                                                                                                                                          this entry. Nature of the
                                                                                                                                                                                                          attorney work is evident,
                                                                                                                                                                                                          and necessary given the
                                                                                                                                                                                                          claims made against
                                                                                                                                                                                                          Defendants. Moreover,
                                                                                                                                                                                                          Defendants are entitled to
                                                                                                                                                                                                          recovery of litigation costs,
                                                                                                                                                                                                          including expert fees, and
                                                                                                                                                                                                          attorneys' fee based on ADA
                                                                                                                                                                                                          statute if they are the
                                                                                                                                                                                                          prevailing party, as is the
                                                                                                    ($56.09) [this is 5/7s                                                                                case here.
                                                                                                    of the full $79
Susie Keshishyan      7/15/2022 Revised notices of depositions of plaintiffs                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   unnecessary
Invoice=5746759       9/30/2022 Sandra Garcia, Norma Brambila, and Jeffery
                                Fuentes.

                                                                                                    ($56.09) [this is 5/7s
                                                                                                    of the full $79
Carrie A. Stringham   7/18/2022 Exchange email correspondence with opposing                     0.2 entry]
Invoice=5723230       8/27/2022 counsel regarding recent deposition subpoena to
                                LA County Health Department.

                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                          retained the experts when
                                                                                                                                                                                                          they did as they faced pre-
                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                                          motion to dismiss it would
                                                                                                                                                                            unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                            argument that claims are would dismiss the claim in
                                                                                                                                                                            frivolous or without merit response or elect not to
                                                                                                                                                                            and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                            state law/ADA claims);        following a ruling on the
                                                                                                    ($41.75) [this is 5/7s                                                  unable to determine how motion.
                                                                                                    of the full $58.80                                                      much time billed for each
Connie L. Michaels    7/18/2022 Correspond with client re expert witness                        0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5723230       8/27/2022 disclosures.




                                                                                  Final Joint Statement_00137
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                                                                                                                                                                                                    If a prevailing party
                                                                                                                                                                                                    ultimately wins on a
                                                                                                                                                                                                    particular claim, it is
                                                                                                                                                                                                    entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Moreover,
                                                                                                                                                                                                    Defendants intend to seek
                                                                                                                                                                                                    5/7 fraction of total
                                                                                                                                                                                                    attorneys' fees billed for
                                                                                                                                                                                                    this entry. Nature of the
                                                                                                                                                                                                    attorney work is evident,
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                                                                                                                                                                                                    claims made against
                                                                                                                                                                                                    Defendants. Moreover,
                                                                                                                                                                                                    Defendants are entitled to
                                                                                                                                                                                                    recovery of litigation costs,
                                                                                                                                                                                                    including expert fees, and
                                                                                                                                                                        unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                        expense - should have filed statute if they are the
                                                                                                                                                                        MTD or MJOP earlier in      prevailing party, as is the
                                                                                                 ($140.23) [this is                                                     case rather than continuing case here.
                                                                                                 5/7s of the full                                                       to incur expenses engaging
Joy C. Rosenquist   7/18/2022 Multiple meet and confer correspondence with                   0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5723230     8/27/2022 Allen Shoff and Brent Hadaway regarding
                              Plaintiffs' responses to document demands, and
                              scheduling of meeting.

                                                                                                                                                                                                    If a prevailing party
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                                                                                                                                                                                                    particular claim, it is
                                                                                                                                                                                                    entitled to all attorney's
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                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Moreover,
                                                                                                                                                                                                    Defendants intend to seek
                                                                                                                                                                                                    5/7 fraction of total
                                                                                                                                                                                                    attorneys' fees billed for
                                                                                                                                                                                                    this entry. Nature of the
                                                                                                                                                                                                    attorney work is evident,
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                                                                                                                                                                                                    claims made against
                                                                                                                                                                                                    Defendants. Moreover,
                                                                                                                                                                                                    Defendants are entitled to
                                                                                                                                                                                                    recovery of litigation costs,
                                                                                                                                                                                                    including expert fees, and
                                                                                                                                                                        unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                        expense - should have filed statute if they are the
                                                                                                                                                                        MTD or MJOP earlier in      prevailing party, as is the
                                                                                                 ($224.36) [this is                                                     case rather than continuing case here.
                                                                                                 5/7s of the full $316                                                  to incur expenses engaging
Joy C. Rosenquist   7/18/2022 Preparation for Meet and confer meeting with                   0.8 entry]                Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5723230     8/27/2022 Plaintiff's counsel.




                                                                               Final Joint Statement_00138
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                                                                                                                                                                                                 If a prevailing party
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                                                                                                                                                                                                 entitled to all attorney's
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                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                 Cir.1991). Moreover,
                                                                                                                                                                                                 Defendants intend to seek
                                                                                                                                                                                                 5/7 fraction of total
                                                                                                                                                                                                 attorneys' fees billed for
                                                                                                                                                                                                 this entry. Nature of the
                                                                                                                                                                                                 attorney work is evident,
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                                                                                                                                                                                                 Defendants. Moreover,
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                                                                                                                                                                                                 including expert fees, and
                                                                                                                                                                     unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                     expense - should have filed statute if they are the
                                                                                                                                                                     MTD or MJOP earlier in      prevailing party, as is the
                                                                                             ($140.23) [this is                                                      case rather than continuing case here.
                                                                                             5/7s of the full                                                        to incur expenses engaging
Joy C. Rosenquist   7/19/2022 Meet and Confer meeting with Plaintiff's                   0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5723230     8/27/2022 counsel regarding Plaintiffs' responses to
                              document demands.

                                                                                                                                                                                                 If a prevailing party
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                                                                                                                                                                                                 particular claim, it is
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                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                 Cir.1991). Moreover,
                                                                                                                                                                                                 Defendants intend to seek
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                                                                                                                                                                                                 Defendants. Moreover,
                                                                                                                                                                                                 Defendants are entitled to
                                                                                                                                                                                                 recovery of litigation costs,
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                                                                                                                                                                     unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                     expense - should have filed statute if they are the
                                                                                                                                                                     MTD or MJOP earlier in      prevailing party, as is the
                                                                                             ($84.14) [this is 5/7s                                                  case rather than continuing case here.
                                                                                             of the full $118.50                                                     to incur expenses engaging
Susie Keshishyan    7/19/2022 Meet and confer call re discovery with                     0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5746759     9/30/2022 plaintiff's counsel.




                                                                           Final Joint Statement_00139
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                                                                                                                                                                                                                              If a prevailing party
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                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Moreover,
                                                                                                                                                                                                                              Defendants intend to seek
                                                                                                                                                                                                                              5/7 fraction of total
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                                                                                                                                                                                                                              attorney work is evident,
                                                                                                                                                                                                                              and necessary given the
                                                                                                                                                                                                                              claims made against
                                                                                                                                                                                                                              Defendants, and redactions
                                                                                                                                                                                                                              have been made to protect
                                                                                                                                                                                                                              attorney work product,
                                                                                                                                                                                                                              attorney mental
                                                                                                                                                                                                                              impressions and strategy.
                                                                                                                                                                                                                              Moreover, Defendants are
                                                                                                                                                                                                                              entitled to recovery of
                                                                                                                                                                                                   unable to determine how litigation costs, including
                                                                                                                           ($84.14) [this is 5/7s                                                  many hours billed for each expert fees, and attorneys'
                                                                                                                           of the full $118.50                                                     claim; unable to determine fee based on ADA statute if
Susie Keshishyan   7/20/2022 Legal review of local rules re whether                   To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.           they are the prevailing
Invoice=5746759    9/30/2022 plaintiffs will meet requirement for filing motion for   work product, attorney mental
                             leave to amend as REDACTED                               impressions, and/or strategy.
                             REDACTED
                             REDACTED
                             REDACTED.

                                                                                                                                                                                                                                   This entry concerns case
                                                                                                                                                                                                                                   experts. Defendants
                                                                                                                                                                                                                                   retained experts regarding
                                                                                                                                                                                                                                   the 14th amendment claims
                                                                                                                                                                                                                                   and the ADA claim. Given
                                                                                                                                                                                                                                   that Defendants seek
                                                                                                                                                                                                                                   recovery solely on State law
                                                                                                                                                                                                                                   claims and ADA claim,
                                                                                                                                                                                                                                   Defendants intend to seek
                                                                                                                                                                                                                                   1/3 of the amount of the
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                                                                                                                                                                                                                                   to experts. Defendants
                                                                                                                                                                                                                                   retained the experts when
                                                                                                                                                                                                                                   they did as they faced pre-
                                                                                                                                                                                                                                   trial deadlines and, while
                                                                                                                                                                                                                                   Defendants believed the
                                                                                                                                                                                                                                   ADA claim was frivolous,
                                                                                                                                                                                                                                   they had no guarantee their
                                                                                                                                                                                                                                   motion to dismiss it would
                                                                                                                                                                                                                                   be successful, that Plaintiffs
                                                                                                                                                                                                                                   would dismiss the claim in
                                                                                                                                                                                                                                   response or elect not to
                                                                                                                                                                                                   unnecessary (contradicts        amend their Complaint
                                                                                                                                                                                                   argument that claims are        following a ruling on the
                                                                                                                           ($196.32) [this is                                                      frivolous or without merit      motion.
                                                                                                                           5/7s of the full                                                        and irrelevant to Plaintiffs'
Susie Keshishyan   7/21/2022 Analyze options for trial experts in                                                      0.7 $276.50 entry]         Reduced in its entirety by Plaintiffs   Object   state law/ADA claims);
Invoice=5746759    9/30/2022 anticipation for upcoming deadline to exchange
                             experts.




                                                                                               Final Joint Statement_00140
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                                                                                                                                                                                                     If a prevailing party
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                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Moreover,
                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                     5/7 fraction of total
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                                                                                                                                                                                                     attorney work is evident,
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                                                                                                                                                                                                     Defendants are entitled to
                                                                                                                                                                                                     recovery of litigation costs,
                                                                                                                                                                                                     including expert fees, and
                                                                                                                                                                         unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                         expense - should have filed statute if they are the
                                                                                                                                                                         MTD or MJOP earlier in      prevailing party, as is the
                                                                                                 ($28.05) [this is 5/7s                                                  case rather than continuing case here.
                                                                                                 of the full $39.50                                                      to incur expenses engaging
Susie Keshishyan   7/21/2022 Review of opposing counsel's email                              0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5746759    9/30/2022 correspondence post meet and confer call as to
                             plaintiffs' deficient responses to Request for
                             Production of Documents, Set One in preparation
                             for response thereto.

                                                                                                                                                                                                     If a prevailing party
                                                                                                                                                                                                     ultimately wins on a
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                                                                                                                                                                                                     entitled to all attorney's
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                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Moreover,
                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                     5/7 fraction of total
                                                                                                                                                                                                     attorneys' fees billed for
                                                                                                                                                                                                     this entry. Nature of the
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                                                                                                                                                                                                     Defendants. Moreover,
                                                                                                                                                                                                     Defendants are entitled to
                                                                                                                                                                                                     recovery of litigation costs,
                                                                                                                                                                                                     including expert fees, and
                                                                                                                                                                         unnecessary discovery       attorneys' fee based on ADA
                                                                                                                                                                         expense - should have filed statute if they are the
                                                                                                                                                                         MTD or MJOP earlier in      prevailing party, as is the
                                                                                                 ($84.14) [this is 5/7s                                                  case rather than continuing case here.
                                                                                                 of the full $118.50                                                     to incur expenses engaging
Susie Keshishyan   7/21/2022 Draft correspondence to opposing counsel in                     0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   in discovery.
Invoice=5746759    9/30/2022 response to counsel's meet and confer email
                             post meet and confer call as to plaintiffs'
                             deficient responses to Request for Production
                             of Documents, Set One.




                                                                               Final Joint Statement_00141
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                                                                                                                                                                                                                             If a prevailing party
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                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Moreover,
                                                                                                                                                                                                                             Defendants intend to seek
                                                                                                                                                                                                                             5/7 fraction of total
                                                                                                                                                                                                                             attorneys' fees billed for
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                                                                                                                                                                                                                             attorney work is evident,
                                                                                                                                                                                                                             and necessary given the
                                                                                                                                                                                                                             claims made against
                                                                                                                                                                                                                             Defendants, and redactions
                                                                                                                                                                                                                             have been made to protect
                                                                                                                                                                                                                             attorney work product,
                                                                                                                                                                                                                             attorney mental
                                                                                                                                                                                               unnecessary (contradicts      impressions and strategy.
                                                                                                                                                                                               argument that claims are Moreover, Defendants are
                                                                                                                                                                                               frivolous or without merit entitled to recovery of
                                                                                                                                                                                               and irrelevant to Plaintiffs' litigation costs, including
                                                                                                                     ($83.50) [this is 5/7s                                                    state law/ADA claims);        expert fees, and attorneys'
                                                                                                                     of the full $117.60                                                       unable to determine           fee based on ADA statute if
Connie L. Michaels   7/21/2022 Confer with client re expert REDACTED           To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs     Object   nature of entry               they are the prevailing
Invoice=5723230      8/27/2022 responding to request to compel discovery and   work product, attorney mental
                               REDACTED.                                       impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communications.

                                                                                                                                                                                                                          A brief case team meeting
                                                                                                                                                                                                                          was held for all defense
                                                                                                                                                                                                                          counsel weekly to confer
                                                                                                                                                                                                                          and strategize regarding the
                                                                                                                                                                                                                          case and its developments.
                                                                                                                                                                                                                          If a prevailing party
                                                                                                                                                                                                                          ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Moreover,
                                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                                          5/7 fraction of total
                                                                                                                                                                                                                          attorneys' fees billed for
                                                                                                                                                                                                                          this entry. Nature of the
                                                                                                                                                                                                                          attorney work is evident,
                                                                                                                                                                                                                          and necessary given the
                                                                                                                                                                                                                          claims made against
                                                                                                                                                                                                                          Defendants, and redactions
                                                                                                                                                                                                                          have been made to protect
                                                                                                                                                                                               unable to determine how attorney work product,
                                                                                                                     ($125.24) [this is                                                        many hours billed for each attorney mental
                                                                                                                     5/7s of the full                                                          claim; unable to determine impressions and strategy.
Connie L. Michaels   7/21/2022 Prepare for and strategize with case team re    To protect content of attorney    0.3 $176.40 entry]           Reduced in its entirety by Plaintiffs   Object   nature of entry.           Moreover, Defendants are
Invoice=5723230      8/27/2022 REDACTED                                        work product, attorney mental
                               REDACTED                                        impressions, and/or strategy.
                               REDACTED.

                                                                                                                     ($84.14) [this is 5/7s
                                                                                                                     of the full $118.50
Joy C. Rosenquist    7/21/2022 Receive and review communications from                                            0.3 entry]
Invoice=5723230      8/27/2022 Plaintiff's counsel regarding discovery and
                               strategize on response to counsel.




                                                                                        Final Joint Statement_00142
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                                                                                                                                                                                                        If a prevailing party
                                                                                                                                                                                                        ultimately wins on a
                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Moreover,
                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                        5/7 fraction of total
                                                                                                                                                                                                        attorneys' fees billed for
                                                                                                                                                                                                        this entry. Nature of the
                                                                                                                                                                                                        attorney work is evident,
                                                                                                                                                                                                        and necessary given the
                                                                                                                                                                                                        claims made against
                                                                                                                                                                                                        Defendants. Moreover,
                                                                                                                                                                                                        Defendants are entitled to
                                                                                                                                                                                                        recovery of litigation costs,
                                                                                                                                                                                                        including expert fees, and
                                                                                                                                                                                                        attorneys' fee based on ADA
                                                                                                                                                                                                        statute if they are the
                                                                                                                                                                                                        prevailing party, as is the
                                                                                                   ($392.63) [this is                                                      unable to determine how      case here.
                                                                                                   5/7s of the full $553                                                   many hours billed for each
Carrie A. Stringham   7/21/2022 Review and analysis of Plaintiffs' proposed                    1.4 entry]                Reduced in its entirety by Plaintiffs    Object   claim
Invoice=5723230       8/27/2022 Third Amended Complaint and compare to Second
                                Amended Complaint and strategize further
                                handling, including assess Plaintiffs' request
                                to stipulate to the filing of the TAC and the
                                addition of new parties.

                                                                                                                                                                                                      If a prevailing party
                                                                                                                                                                                                      ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Moreover,
                                                                                                                                                                                                      Defendants intend to seek
                                                                                                                                                                                                      5/7 fraction of total
                                                                                                                                                                                                      attorneys' fees billed for
                                                                                                                                                                                                      this entry. Nature of the
                                                                                                                                                                                                      attorney work is evident,
                                                                                                                                                                                                      and necessary given the
                                                                                                                                                                                                      claims made against
                                                                                                                                                                                                      Defendants. Moreover,
                                                                                                                                                                                                      Defendants are entitled to
                                                                                                                                                                                                      recovery of litigation costs,
                                                                                                                                                                                                      including expert fees, and
                                                                                                                                                                           unable to determine how attorneys' fee based on ADA
                                                                                                                                                                           many hours billed for each statute if they are the
                                                                                                                                                                           claim; unnecessary to      prevailing party, as is the
                                                                                                   ($56.09) [this is 5/7s                                                  extent related to          case here.
                                                                                                   of the full $79                                                         defendants' discovery
Joy C. Rosenquist     7/21/2022 Receive and review correspondence from Allen                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   requests
Invoice=5723230       8/27/2022 Shoff regarding responses to request for
                                production of documents.


                                                                                                   ($208.74) [this is
                                                                                                   5/7s of the full $294
Connie L. Michaels    7/22/2022 Draft correspondence to opposing counsel re                    0.5 entry]
Invoice=5723230       8/27/2022 their request to amend the complaint for a
                                third time (.3), and motion to compel further
                                supplemental discovery of Ms. Davalos (.2).




                                                                                 Final Joint Statement_00143
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                                                                                                                                                                                                       Defendants were entitled to
                                                                                                                                                                                                       depose Plaintiffs and to do
                                                                                                                                                                                                       so in person. Defendants
                                                                                                                                                                                                       proceeded when they did as
                                                                                                                                                                                                       they faced pre-trial
                                                                                                                                                                                                       deadlines and had no
                                                                                                                                                                                                       guarantee their motion to
                                                                                                                                                                                                       dismiss would be fully
                                                                                                                                                                                                       successful.If a prevailing
                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Moreover,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       5/7 fraction of total
                                                                                                                                                                                                       attorneys' fees billed for
                                                                                                                                                                                                       this entry. Nature of the
                                                                                                                                                                                                       attorney work is evident,
                                                                                                                                                                                                       and necessary given the
                                                                                                                                                                                                       claims made against
                                                                                                   ($616.99) [this is                                                                                  Defendants. Moreover,
                                                                                                   5/7s of the full $869                                                                               Defendants are entitled to
Nick McKinney        7/24/2022 Prepare deposition outline and exhibits for                     2.2 entry]                Reduced in its entirety by Plaintiffs    object   unnecessary                 recovery of litigation costs,
Invoice=5723230      8/27/2022 deposition of Jeffrey Fuentes.


                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                       review of client
                                                                                                                                                                                                       communications related to
                                                                                                                                                                                                       Plaintiffs' stated intent to
                                                                                                                                                                                                       amended complaint again.
                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                   ($41.75) [this is 5/7s                                                  unable to determine how
                                                                                                   of the full $58.80                                                      much time billed for each
Connie L. Michaels   7/25/2022 Review correspondence from client re arguments                  0.1 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5723230      8/27/2022 opposing motion to amend the complaint.


                                                                                                   ($208.74) [this is
                                                                                                   5/7s of the full $294
Connie L. Michaels   7/25/2022 Prepare for and meet and confer conference with                 0.5 entry]
Invoice=5723230      8/27/2022 plaintiffs’ counsel re plaintiffs’ third
                               amended complaint.




                                                                                 Final Joint Statement_00144
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                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        review of Plaintiffs' stated
                                                                                                                                                                                                        intent to amended
                                                                                                                                                                                                        complaint again. Attorney
                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                        light of all allegations within
                                                                                                                                                                                                        Plaintiffs' Complaint.
                                                                                                                                                                                                        However, if a prevailing
                                                                                                                                                                                                        party ultimately wins on a
                                                                                                                                                                                                        particular claim, it is
                                                                                                                                                                                                        entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                  ($252.41) [this is                                                      unable to determine how       billed for this entry.
                                                                                                  5/7s of the full                                                        much time billed for each
Carrie A. Stringham   7/25/2022 Review and analysis of Plaintiffs' proposed                   0.9 $355.50 entry]         Reduced in its entirety by Plaintiffs   object   claim
Invoice=5723230       8/27/2022 Third Amended Complaint and assess impact on
                                anticipated Motion for Judgment on the
                                Pleadings and strategize options for further
                                handling both as to the proposed amended
                                pleading and the Motion.

                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                                        motion to dismiss it would
                                                                                                                                                                          unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                          argument that claims are would dismiss the claim in
                                                                                                                                                                          frivolous or without merit response or elect not to
                                                                                                                                                                          and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                          state law/ADA claims);        following a ruling on the
                                                                                                  ($56.09) [this is 5/7s                                                  unable to determine how motion.
                                                                                                  of the full $79                                                         much time billed for each
Joy C. Rosenquist     7/26/2022 Review rules regarding disclosure of experts.                 0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5723230       8/27/2022




                                                                                Final Joint Statement_00145
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                                                                                                                                                                                                                         Defendants were entitled to
                                                                                                                                                                                                                         depose Plaintiffs and to do
                                                                                                                                                                                                                         so in person. Defendants
                                                                                                                                                                                                                         proceeded when they did as
                                                                                                                                                                                                                         they faced pre-trial
                                                                                                                                                                                                                         deadlines and had no
                                                                                                                                                                                                                         guarantee their motion to
                                                                                                                                                                                                                         dismiss would be fully
                                                                                                                                                                                                                         successful. Nature of the
                                                                                                                                                                                                                         attorney work is evident
                                                                                                                                                                                                                         and necessary in the
                                                                                                                                                                                                                         defense against Plaintiffs'
                                                                                                                                                                                                                         claims. Moreover, Plaintiffs'
                                                                                                                                                                                                                         never dismissed any State
                                                                                                                                                                                                                         law claims or ADA claim,
                                                                                                                                                                                                                         requiring Defendants to
                                                                                                                                                                                                                         incur expenses in its defese
                                                                                                                                                                                                                         against said claims,
                                                                                                                                                                                                                         including expenses related
                                                                                                                                                                                              unnecessary discovery      to Plaintiffs' depositions.
                                                                                                                                                                                              expense (especially if     Attorney activity was
                                                                                                                                                                                              related to plaintiffs'     conducted in light of all
                                                                                                                                                                                              depos); unable to          allegations within Plaintiffs'
                                                                                                                                                                                              determine nature of entry; Complaint. However, if a
                                                                                                                    ($196.32) [this is                                                        unable to determine how prevailing party ultimately
                                                                                                                    5/7s of the full                                                          much time billed for each wins on a particular claim, it
Joy C. Rosenquist    7/26/2022 Review extensive deposition outline and         To protect content of attorney   0.7 $276.50 entry]           Reduced in its entirety by Plaintiffs   object   claim                      is entitled to all attorney's
Invoice=5723230      8/27/2022 determine whether it needs to be edited in      work product, attorney mental
                               light REDACTED                                  impressions, and/or strategy.
                               REDACTED.

                                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                                                            motion to dismiss it would
                                                                                                                                                                                              unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                              argument that claims are would dismiss the claim in
                                                                                                                                                                                              frivolous or without merit response or elect not to
                                                                                                                                                                                              and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                              state law/ADA claims);        following a ruling on the
                                                                                                                    ($83.50) [this is 5/7s                                                    unable to determine how motion.
                                                                                                                    of the full $117.60                                                       much time billed for each
Connie L. Michaels   7/26/2022 Brief research re type of expert that is                                         0.2 entry]                 Reduced in its entirety by Plaintiffs     object   claim
Invoice=5723230      8/27/2022 required to produce a report.




                                                                                                                    ($83.50) [this is 5/7s
                                                                                                                    of the full $117.60
Connie L. Michaels   7/26/2022 Confer re approach for motion to dismiss in                                      0.2 entry]
Invoice=5723230      8/27/2022 view of counsel’s failure to formally dismiss
                               claims and expert designation.




                                                                                        Final Joint Statement_00146
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                                                                                                                                                                                                       Defendants were entitled to
                                                                                                                                                                                                       depose Plaintiffs and to do
                                                                                                                                                                                                       so in person. Defendants
                                                                                                                                                                                                       proceeded when they did as
                                                                                                                                                                                                       they faced pre-trial
                                                                                                                                                                                                       deadlines and had no
                                                                                                                                                                                                       guarantee their motion to
                                                                                                                                                                                                       dismiss would be fully
                                                                                                                                                                                                       successful. If a prevailing
                                                                                                                                                                                                       party ultimately wins on a
                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Moreover,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       5/7 fraction of total
                                                                                                                                                                                                       attorneys' fees billed for
                                                                                                                                                                                                       this entry. Nature of the
                                                                                                                                                                                                       attorney work is evident,
                                                                                                                                                                                                       and necessary given the
                                                                                                                                                                                                       claims brought against
                                                                                                   ($28.05) [this is 5/7s                                                                              Defendants. Moreover,
                                                                                                   of the full $39.50                                                                                  Defendants are entitled to
Susie Keshishyan      7/27/2022 Email correspondence to client seeking                         0.1 entry]                 Reduced in its entirety by Plaintiffs   object   unnecessary                 recovery of litigation costs,
Invoice=5746759       9/30/2022 authorization to video record deposition of
                                plaintiff Norma Brambila, Sandra Garcia, and
                                Jeffrey Fuentes.

                                                                                                                                                                                                       If a prevailing party
                                                                                                                                                                                                       ultimately wins on a
                                                                                                                                                                                                       particular claim, it is
                                                                                                                                                                                                       entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Moreover,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       5/7 fraction of total
                                                                                                                                                                                                       attorneys' fees billed for
                                                                                                                                                                                                       this entry. Nature of the
                                                                                                                                                                                                       attorney work is evident,
                                                                                                                                                                                                       and necessary given the
                                                                                                                                                                                                       claims brought against
                                                                                                                                                                                                       Defendants. Moreover,
                                                                                                                                                                                                       Defendants are entitled to
                                                                                                                                                                                                       recovery of litigation costs,
                                                                                                                                                                                                       including expert fees, and
                                                                                                                                                                                                       attorneys' fee based on ADA
                                                                                                                                                                                                       statute if they are the
                                                                                                                                                                                                       prevailing party, as is the
                                                                                                                                                                                                       case here. Plaintiffs' never
                                                                                                   ($224.36) [this is                                                      unable to determine how     dismissed the state law and
                                                                                                   5/7s of the full $316                                                   much time billed for each   ADA claims despite
Carrie A. Stringham   7/27/2022 Review and incorporate revisions by client                     0.8 entry]                Reduced in its entirety by Plaintiffs    Object   claim.                      numerous representations
Invoice=5723230       8/27/2022 representative to draft Motion for Judgment on
                                the Pleadings.


                                                                                                   ($84.14) [this is 5/7s
                                                                                                   of the full $118.50
Joy C. Rosenquist     7/27/2022 Receive and review amended deposition notices.                 0.3 entry]
Invoice=5723230       8/27/2022




                                                                                 Final Joint Statement_00147
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                                                                                                                                                                                                                  Defendants were entitled to
                                                                                                                                                                                                                  depose Plaintiffs and to do
                                                                                                                                                                                                                  so in person. Defendants
                                                                                                                                                                                                                  proceeded when they did as
                                                                                                                                                                                                                  they faced pre-trial
                                                                                                                                                                                                                  deadlines and had no
                                                                                                                                                                                                                  guarantee their motion to
                                                                                                                                                                                                                  dismiss would be fully
                                                                                                                                                                                                                  successful. If a prevailing
                                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Moreover,
                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                  5/7 fraction of total
                                                                                                                                                                                                                  attorneys' fees billed for
                                                                                                                                                                                                                  this entry. Nature of the
                                                                                                                                                                                                                  attorney work is evident,
                                                                                                                                                                                                                  and necessary given the
                                                                                                                                                                                          unnecessary discovery   claims brought against
                                                                                                                   ($280.45) [this is                                                     expense; unable to      Defendants. Moreover,
                                                                                                                   5/7s of the full $395                                                  determine how much time Defendants are entitled to
Joy C. Rosenquist   7/28/2022 Continue review/revision of Deposition Outline                                     1 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim.  recovery of litigation costs,
Invoice=5723230     8/27/2022 for the Plaintiffs in light of possible amended
                              complaint.

                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                          unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                          argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                          frivolous or without merit would dismiss the claim in
                                                                                                                                                                                          and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                          state law/ADA claims);        amend their Complaint
                                                                                                                                                                                          unable to determine how following a ruling on the
                                                                                                                   ($280.45) [this is                                                     much time billed for each motion.
                                                                                                                   5/7s of the full $395                                                  claim; unable to determine
Joy C. Rosenquist   7/28/2022 Review CV's of recommended experts REDACTED       To protect content of attorney   1 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5723230     8/27/2022 REDACTED                                          work product, attorney mental
                              REDACTED.                                         impressions, and/or strategy.




                                                                                         Final Joint Statement_00148
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                                                                                                                                                                                                      Defendants were entitled to
                                                                                                                                                                                                      depose Plaintiffs and to do
                                                                                                                                                                                                      so in person. Defendants
                                                                                                                                                                                                      proceeded when they did as
                                                                                                                                                                                                      they faced pre-trial
                                                                                                                                                                                                      deadlines and had no
                                                                                                                                                                                                      guarantee their motion to
                                                                                                                                                                                                      dismiss would be fully
                                                                                                                                                                                                      successful. If a prevailing
                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Moreover,
                                                                                                                                                                                                      Defendants intend to seek
                                                                                                                                                                                                      5/7 fraction of total
                                                                                                                                                                                                      attorneys' fees billed for
                                                                                                                                                                                                      this entry. Nature of the
                                                                                                                                                                                                      attorney work is evident,
                                                                                                                                                                                                      and necessary given the
                                                                                                                                                                              Unnecessary discovery   claims brought against
                                                                                                    ($196.32) [this is                                                        expenses; unable to     Defendants. Moreover,
                                                                                                    5/7s of the full                                                          determine how much time Defendants are entitled to
Joy C. Rosenquist     7/28/2022 Strategy regarding depositions and written                      0.7 $276.50 entry]           Reduced in its entirety by Plaintiffs   Object   billed for each claim.  recovery of litigation costs,
Invoice=5723230       8/27/2022 discovery to Plaintiffs.

                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                                            motion to dismiss it would
                                                                                                                                                                              unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                              argument that claims are would dismiss the claim in
                                                                                                                                                                              frivolous or without merit response or elect not to
                                                                                                                                                                              and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                              state law/ADA claims);        following a ruling on the
                                                                                                   ($280.45) [this is                                                         unable to determine how motion.
                                                                                                   5/7s of the full $395                                                      much time billed for each
Joy C. Rosenquist     7/28/2022 Obtain Immunology and infectious disease expert                  1 entry]                Reduced in its entirety by Plaintiffs       Object   claim
Invoice=5723230       8/27/2022 recommendations and research possible experts.

                                                                                                    ($224.36) [this is
                                                                                                    5/7s of the full $316
Carrie A. Stringham   7/28/2022 Draft attorney declaration in support of Motion                 0.8 entry]
Invoice=5723230       8/27/2022 for Judgment on the Pleadings as evidence of
                                required meet and confer efforts.

                                                                                                    ($84.14) [this is 5/7s
                                                                                                    of the full $118.50
Carrie A. Stringham   7/28/2022 Draft proposed Order granting Motion for                        0.3 entry]
Invoice=5723230       8/27/2022 Judgment on the Pleadings to file concurrently
                                with motion.




                                                                                  Final Joint Statement_00149
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                                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                                                                       be successful, that Plaintiffs
                                                                                                                                                                                                                       would dismiss the claim in
                                                                                                                                                                                                                       response or elect not to
                                                                                                                                                                                                                       amend their Complaint
                                                                                                                                                                                          unable to determine          following a ruling on the
                                                                                                                  ($28.05) [this is 5/7s                                                  nature of entry; unable to   motion.
                                                                                                                  of the full $39.50                                                      determine how much time
Susie Keshishyan   7/28/2022 Teleconference with office of REDACTED          To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5746759    9/30/2022 re REDACTED.                                    work product, attorney mental
                                                                             impressions, and/or strategy.
                                                                                                                                                                                                                  If a prevailing party
                                                                                                                                                                                                                  ultimately wins on a
                                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Moreover,
                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                  5/7 fraction of total
                                                                                                                                                                                                                  attorneys' fees billed for
                                                                                                                                                                                                                  this entry. Nature of the
                                                                                                                                                                                                                  attorney work is evident,
                                                                                                                                                                                                                  and necessary given the
                                                                                                                                                                                                                  claims brought against
                                                                                                                                                                                                                  Defendants. Moreover,
                                                                                                                                                                                                                  Defendants are entitled to
                                                                                                                                                                                                                  recovery of litigation costs,
                                                                                                                                                                                                                  including expert fees, and
                                                                                                                                                                                                                  attorneys' fee based on ADA
                                                                                                                                                                                                                  statute if they are the
                                                                                                                                                                                                                  prevailing party, as is the
                                                                                                                                                                                          unnecessary discovery   case here. Plaintiffs' never
                                                                                                                  ($140.23) [this is                                                      expense; unable to      dismissed the state law and
                                                                                                                  5/7s of the full                                                        determine how much time ADA claims despite
Susie Keshishyan   7/28/2022 Commence review of facts alleged in Second                                       0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   Object   billed for each claim.  numerous representations
Invoice=5746759    9/30/2022 Amended Complaint in preparation for drafting
                             Request for Production, Set Two.




                                                                                      Final Joint Statement_00150
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                                                                                                                                                                                               If a prevailing party
                                                                                                                                                                                               ultimately wins on a
                                                                                                                                                                                               particular claim, it is
                                                                                                                                                                                               entitled to all attorney's
                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Moreover,
                                                                                                                                                                                               Defendants intend to seek
                                                                                                                                                                                               5/7 fraction of total
                                                                                                                                                                                               attorneys' fees billed for
                                                                                                                                                                                               this entry. Nature of the
                                                                                                                                                                                               attorney work is evident,
                                                                                                                                                                                               and necessary given the
                                                                                                                                                                                               claims brought against
                                                                                                                                                                                               Defendants. Moreover,
                                                                                                                                                                                               Defendants are entitled to
                                                                                                                                                                                               recovery of litigation costs,
                                                                                                                                                                                               including expert fees, and
                                                                                                                                                                                               attorneys' fee based on ADA
                                                                                                                                                                                               statute if they are the
                                                                                                                                                                                               prevailing party, as is the
                                                                                                                                                                       unnecessary discovery   case here. Plaintiffs never
                                                                                                ($168.27) [this is                                                     expense; unable to      dismissed the state law and
                                                                                                5/7s of the full $237                                                  determine how much time ADA claims despite
Susie Keshishyan   7/28/2022 Commence drafting Request for Production, Set                  0.6 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim.  numerous representations
Invoice=5746759    9/30/2022 Two re factual allegations within Second
                             Amended Complaint.

                                                                                                                                                                                                     If a prevailing party
                                                                                                                                                                                                     ultimately wins on a
                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Moreover,
                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                     5/7 fraction of total
                                                                                                                                                                                                     attorneys' fees billed for
                                                                                                                                                                                                     this entry. Nature of the
                                                                                                                                                                                                     attorney work is evident,
                                                                                                                                                                                                     and necessary given the
                                                                                                                                                                                                     claims brought against
                                                                                                                                                                                                     Defendants. Moreover,
                                                                                                                                                                                                     Defendants are entitled to
                                                                                                                                                                                                     recovery of litigation costs,
                                                                                                                                                                       unnecessary (contradicts      including expert fees, and
                                                                                                                                                                       argument that claims are attorneys' fee based on ADA
                                                                                                                                                                       frivolous or without merit statute if they are the
                                                                                                                                                                       and irrelevant to Plaintiffs' prevailing party, as is the
                                                                                                                                                                       state law/ADA claims);        case here. Plaintiffs never
                                                                                                ($224.36) [this is                                                     unable to determine how dismissed the state law and
                                                                                                5/7s of the full $316                                                  much time billed for each ADA claims despite
Susie Keshishyan   7/28/2022 Legal strategy as to upcoming expert exchange,                 0.8 entry]                Reduced in its entirety by Plaintiffs   Object   claim.                        numerous representations
Invoice=5746759    9/30/2022 discovery meet and confer and further drafting
                             of discovery, and deposition outlines.




                                                                              Final Joint Statement_00151
                       Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 152 of 274 Page
                                                                                                      ID #:2291

                                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                                                                         be successful, that Plaintiffs
                                                                                                                                                                                                                         would dismiss the claim in
                                                                                                                                                                                                                         response or elect not to
                                                                                                                                                                                                                         amend their Complaint
                                                                                                                                                                                            unable to determine          following a ruling on the
                                                                                                                    ($28.05) [this is 5/7s                                                  nature of entry; unable to   motion.
                                                                                                                    of the full $39.50                                                      determine how much time
Susie Keshishyan   7/28/2022 Email correspondence to Dr. Andrea Kim re         To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5746759    9/30/2022 REDACTED.                                         work product, attorney mental
                                                                               impressions, and/or strategy.

                                                                                                                                                                                                                         Entry unredacted. Nature of
                                                                                                                                                                                                                         attorney work is evident
                                                                                                                                                                                                                         and clearly denotes remail
                                                                                                                                                                                                                         correspondences with
                                                                                                                                                                                                                         potential expert. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protect attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                            unable to determine          impressions and strategy
                                                                                                                    ($56.09) [this is 5/7s                                                  nature of entry; unable to
                                                                                                                    of the full $79                                                         determine how much time
Susie Keshishyan   7/28/2022 Email correspondences to fact witness Dr. Smita                                    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim.
Invoice=5746759    9/30/2022 Malhotra re her upcoming deposition and
                             preparation meeting.

                                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                                         clients and witnesses as to
                                                                                                                                                                                                                         upcoming depositions is not
                                                                                                                    ($56.09) [this is 5/7s                                                                               an administrative task.
                                                                                                                    of the full $79
Susie Keshishyan   7/28/2022 Update deposition and deposition preparation                                       0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=5746759    9/30/2022 scheduling chart re client and fact witnesses.


                                                                                                                    ($56.09) [this is 5/7s
                                                                                                                    of the full $79
Susie Keshishyan   7/28/2022 Email correspondences with client re upcoming                                      0.2 entry]
Invoice=5746759    9/30/2022 depositions and preparation meetings.




                                                                                        Final Joint Statement_00152
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                                                                                                      ID #:2292

                                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                                          retained the experts when
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                                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                            unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                            argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                            frivolous or without merit would dismiss the claim in
                                                                                                                                                                                            and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                            state law/ADA claims);        amend their Complaint
                                                                                                                                                                                            unable to determine how following a ruling on the
                                                                                                                    ($84.14) [this is 5/7s                                                  much time billed for each motion.
                                                                                                                    of the full $118.50                                                     claim; unable to determine
Susie Keshishyan   7/28/2022 Email correspondences to potential experts Drs.                                    0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759    9/30/2022 REDACTED re
                             possibly retaining them as experts for trial.

                                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                                          recovery solely on State law
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                                                                                                                                                                                                                          Defendants intend to seek
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                                                                                                                                                                                                                          retained the experts when
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                                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                            unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                            argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                            frivolous or without merit would dismiss the claim in
                                                                                                                                                                                            and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                            state law/ADA claims);        amend their Complaint
                                                                                                                                                                                            unable to determine how following a ruling on the
                                                                                                                    ($41.75) [this is 5/7s                                                  much time billed for each motion.
                                                                                                                    of the full $58.80                                                      claim; unable to determine
Judy M. Iriye      7/28/2022 Evaluate potential experts re REDACTED            To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5723230    8/27/2022 REDACTED                                          work product, attorney mental
                             REDACTED.                                         impressions, and/or strategy.




                                                                                        Final Joint Statement_00153
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                                                                                                                                                                                                     A brief case team meeting
                                                                                                                                                                                                     was held for all defense
                                                                                                                                                                                                     counsel weekly to confer
                                                                                                                                                                                                     and strategize regarding the
                                                                                                                                                                                                     case and its developments.
                                                                                                                                                                                                     If a prevailing party
                                                                                                                                                                                                     ultimately wins on a
                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Moreover,
                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                     5/7 fraction of total
                                                                                                                                                                                                     attorneys' fees billed for
                                                                                                                                                                                                     this entry. Nature of the
                                                                                                                                                                                                     attorney work is evident,
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                                                                                                                                                                                                     claims brought against
                                                                                                                                                                                                     Defendants. Moreover,
                                                                                                                                                                                                     Defendants are entitled to
                                                                                                                                                                             unnecessary discovery   recovery of litigation costs,
                                                                                                   ($375.73) [this is                                                        expenses; unable to     including expert fees, and
                                                                                                   5/7s of the full                                                          determine how much time attorneys' fee based on ADA
Connie L. Michaels   7/28/2022 Prepare for and strategize with litigation team                 0.9 $529.20 entry]           Reduced in its entirety by Plaintiffs   Object   billed for each claim   statute if they are the
Invoice=5723230      8/27/2022 re experts, depositions, discovery and motion
                               to dismiss.

                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                       Defendants intend to seek
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                                                                                                                                                                                                       retained the experts when
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                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                       they had no guarantee their
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                                                                                                                                                                                                       would dismiss the claim in
                                                                                                                                                                                                       response or elect not to
                                                                                                                                                                                                       amend their Complaint
                                                                                                                                                                                                       following a ruling on the
                                                                                                   ($41.75) [this is 5/7s                                                                              motion.
                                                                                                   of the full $58.80
Connie L. Michaels   7/28/2022 Correspond with opposing counsel re agreement                   0.1 entry]
Invoice=5723230      8/27/2022 to extend expert disclosure date by 1 month.




                                                                                 Final Joint Statement_00154
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                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
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                                                                                                                                                                                                         retained the experts when
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                                                                                                                                                                                                         they had no guarantee their
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                                                                                                                                                                           unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                           argument that claims are would dismiss the claim in
                                                                                                                                                                           frivolous or without merit response or elect not to
                                                                                                                                                                           and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                           state law/ADA claims);        following a ruling on the
                                                                                                   ($41.75) [this is 5/7s                                                  unable to determine how motion.
                                                                                                   of the full $58.80                                                      much time billed for each
Connie L. Michaels   7/28/2022 Correspond with client re expert witness                        0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5723230      8/27/2022 disclosures.


                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
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                                                                                                                                                                                                         Defendants intend to seek
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                                                                                                                                                                                                         Defendants believed the
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                                                                                                                                                                                                         they had no guarantee their
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                                                                                                                                                                           frivolous or without merit response or elect not to
                                                                                                                                                                           and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                           state law/ADA claims);        following a ruling on the
                                                                                                   ($166.99) [this is                                                      unable to determine how motion.
                                                                                                   5/7s of the full                                                        much time billed for each
Connie L. Michaels   7/29/2022 Consider qualifications of additional experts                   0.4 $235.20 entry]         Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5723230      8/27/2022 and documents to provide to selected experts to
                               review.




                                                                                 Final Joint Statement_00155
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                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
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                                                                                                                                                                                                       following a ruling on the
                                                                                                  ($166.99) [this is                                                       unable to determine how     motion.
                                                                                                  5/7s of the full                                                         much time billed for each
Connie L. Michaels   7/29/2022 Revise declaration supporting 12(c) motion and                 0.4 $235.20 entry]          Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5723230      8/27/2022 stipulation to continue expert designation
                               date.

                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
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                                                                                                                                                                                                       response or elect not to
                                                                                                                                                                                                       amend their Complaint
                                                                                                                                                                                                       following a ruling on the
                                                                                                  ($112.18) [this is                                                                                   motion.
                                                                                                  5/7s of the full $158
Susie Keshishyan     7/29/2022 Draft proposed Joint Stipulation to Modify                     0.4 entry]
Invoice=5746759      9/30/2022 Scheduling Order re Expert Exchange Dates.




                                                                                Final Joint Statement_00156
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                                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                              unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                              argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                              frivolous or without merit would dismiss the claim in
                                                                                                                                                                                              and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                              state law/ADA claims);        amend their Complaint
                                                                                                                                                                                              unable to determine how following a ruling on the
                                                                                                                       ($224.36) [this is                                                     much time billed for each motion. Redaction have
                                                                                                                       5/7s of the full $316                                                  claim; unable to determine been made to protect
Susie Keshishyan      7/29/2022 Review and legal analysis of documents provided   To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry               attorney work product,
Invoice=5746759       9/30/2022 by client, including REDACTED                     work product, attorney mental
                                REDACTED                                          impressions, and/or strategy.
                                REDACTED
                                for expert review.

                                                                                                                       ($224.36) [this is
                                                                                                                       5/7s of the full $316
Carrie A. Stringham   7/29/2022 Conduct final quality review of all moving and                                     0.8 entry]
Invoice=5723230       8/27/2022 supporting papers and finalize documents for
                                filing.

                                                                                                                      ($280.45) [this is
                                                                                                                      5/7s of the full $395
Joy C. Rosenquist      8/1/2022 Determine whether proposed order is needed with                                     1 entry]
Invoice=              9/30/2022 stipulation and review proposed stipulation.

                                                                                                                                                                                                                      Defendants were entitled to
                                                                                                                                                                                                                      depose Plaintiffs and to do
                                                                                                                                                                                                                      so in person. Defendants
                                                                                                                                                                                                                      proceeded when they did as
                                                                                                                                                                                                                      they faced pre-trial
                                                                                                                                                                                                                      deadlines and had no
                                                                                                                                                                                                                      guarantee their motion to
                                                                                                                                                                                                                      dismiss would be fully
                                                                                                                                                                                                                      successful. Nature of the
                                                                                                                                                                                                                      attorney work is evident
                                                                                                                                                                                                                      and necessary in the
                                                                                                                                                                                                                      defense against Plaintiffs'
                                                                                                                                                                                                                      claims. Moreover, Plaintiffs'
                                                                                                                                                                                                                      never dismissed any State
                                                                                                                                                                                                                      law claims or ADA claims,
                                                                                                                                                                                                                      requiring Defendants to
                                                                                                                                                                                                                      incur expenses in its defese
                                                                                                                                                                                                                      against said claims,
                                                                                                                                                                                                                      including expenses related
                                                                                                                                                                                                                      to Plaintiffs' depositions.
                                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                              unnecessary discovery   Complaint. However, if a
                                                                                                                       ($504.81) [this is                                                     expense; unable to      prevailing party ultimately
                                                                                                                       5/7s of the full $711                                                  determine how much time wins on a particular claim, it
Susie Keshishyan       8/1/2022 Commence draft of deposition outline re                                            1.8 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim.  is entitled to all attorney's
Invoice=5746759       9/30/2022 plaintiff Sandra Garcia.




                                                                                           Final Joint Statement_00157
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                                                                                                                                                                                                   Defendants were entitled to
                                                                                                                                                                                                   depose Plaintiffs and to do
                                                                                                                                                                                                   so in person. Defendants
                                                                                                                                                                                                   proceeded when they did as
                                                                                                                                                                                                   they faced pre-trial
                                                                                                                                                                                                   deadlines and had no
                                                                                                                                                                                                   guarantee their motion to
                                                                                                                                                                                                   dismiss would be fully
                                                                                                                                                                                                   successful. Nature of the
                                                                                                                                                                                                   attorney work is evident
                                                                                                                                                                                                   and necessary in the
                                                                                                                                                                                                   defense against Plaintiffs'
                                                                                                                                                                                                   claims. Moreover, Plaintiffs'
                                                                                                                                                                                                   never dismissed any State
                                                                                                                                                                                                   law claims or ADA claims,
                                                                                                                                                                                                   requiring Defendants to
                                                                                                                                                                                                   incur expenses in its defese
                                                                                                                                                                                                   against said claims,
                                                                                                                                                                                                   including expenses related
                                                                                                                                                                                                   to Plaintiffs' depositions.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                           unnecessary discovery   Complaint. However, if a
                                                                                                   ($168.27) [this is                                                      expense; unable to      prevailing party ultimately
                                                                                                   5/7s of the full $237                                                   determine how much time wins on a particular claim, it
Susie Keshishyan      8/1/2022 Comprehensive review and legal analysis of                      0.6 entry]                Reduced in its entirety by Plaintiffs    object   billed for each claim.  is entitled to all attorney's
Invoice=5746759      9/30/2022 factual allegations alleged by plaintiff Sandra
                               Garcia in preparation for drafting deposition
                               outline.

                                                                                                   ($56.09) [this is 5/7s
                                                                                                   of the full $79
Susie Keshishyan      8/1/2022 Revise Joint Stipulation to Modify Scheduling                   0.2 entry]
Invoice=5746759      9/30/2022 Order pursuant to opposing counsel's request to
                               extend discovery deadline along with expert
                               change deadlines.

                                                                                                   ($83.50) [this is 5/7s
                                                                                                   of the full $117.60
Connie L. Michaels    8/2/2022 Draft correspondence to client re plaintiffs'                   0.2 entry]
Invoice=5746759      9/30/2022 document requests and deposition scheduling.

                                                                                                                                                                                                      Defendants were entitled to
                                                                                                                                                                                                      depose Plaintiffs and to do
                                                                                                                                                                                                      so in person. Defendants
                                                                                                                                                                                                      proceeded when they did as
                                                                                                                                                                                                      they faced pre-trial
                                                                                                                                                                                                      deadlines and had no
                                                                                                                                                                                                      guarantee their motion to
                                                                                                                                                                                                      dismiss would be fully
                                                                                                                                                                                                      successful. Nature of the
                                                                                                                                                                                                      attorney work is evident
                                                                                                                                                                                                      and necessary in the
                                                                                                                                                                                                      defense against Plaintiffs'
                                                                                                                                                                                                      claims. Moreover, Plaintiffs'
                                                                                                                                                                                                      never dismissed any State
                                                                                                                                                                                                      law claims or ADA claims,
                                                                                                                                                                                                      requiring Defendants to
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                                                                                                                                                                                                      including expenses related
                                                                                                                                                                                                      to Plaintiffs' depositions.
                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                           unnecessary to extent      Complaint. However, if a
                                                                                                   ($41.75) [this is 5/7s                                                  related to plaintiffs'     prevailing party ultimately
                                                                                                   of the full $58.80                                                      depositions or defendants' wins on a particular claim, it
Connie L. Michaels    8/2/2022 Review letter from opposing counsel re                          0.1 entry]                 Reduced in its entirety by Plaintiffs   object   discovery requests         is entitled to all attorney's
Invoice=5746759      9/30/2022 deposition scheduling and supplemental document
                               production.




                                                                                 Final Joint Statement_00158
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                                                                                                  ($41.75) [this is 5/7s
                                                                                                  of the full $58.80
Connie L. Michaels    8/2/2022 Prepare correspondence to Ms. Davalos re                       0.1 entry]
Invoice=5746759      9/30/2022 scheduling her deposition.

                                                                                                                                                                                                     Defendants were entitled to
                                                                                                                                                                                                     depose Plaintiffs and to do
                                                                                                                                                                                                     so in person. Defendants
                                                                                                                                                                                                     proceeded when they did as
                                                                                                                                                                                                     they faced pre-trial
                                                                                                                                                                                                     deadlines and had no
                                                                                                                                                                                                     guarantee their motion to
                                                                                                                                                                                                     dismiss would be fully
                                                                                                                                                                                                     successful. Nature of the
                                                                                                                                                                                                     attorney work is evident
                                                                                                                                                                                                     and necessary in the
                                                                                                                                                                                                     defense against Plaintiffs'
                                                                                                                                                                                                     claims. Moreover, Plaintiffs'
                                                                                                                                                                                                     never dismissed any State
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                                                                                                                                                                                                     against said claims,
                                                                                                                                                                                                     including expenses related
                                                                                                                                                                                                     to Plaintiffs' depositions.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                  ($140.23) [this is                                                        unnecessary to extent    prevailing party ultimately
                                                                                                  5/7s of the full                                                          related to plaintiffs'   wins on a particular claim, it
Joy C. Rosenquist     8/2/2022 Correspondences to/from Plaintiff's counsel                    0.5 $197.50 entry]           Reduced in its entirety by Plaintiffs   object   depositions              is entitled to all attorney's
Invoice=5746759      9/30/2022 regarding depositions and review schedule of
                               depositions and preparation.

                                                                                                                                                                                                     Defendants were entitled to
                                                                                                                                                                                                     depose Plaintiffs and to do
                                                                                                                                                                                                     so in person. Defendants
                                                                                                                                                                                                     proceeded when they did as
                                                                                                                                                                                                     they faced pre-trial
                                                                                                                                                                                                     deadlines and had no
                                                                                                                                                                                                     guarantee their motion to
                                                                                                                                                                                                     dismiss would be fully
                                                                                                                                                                                                     successful. Nature of the
                                                                                                                                                                                                     attorney work is evident
                                                                                                                                                                                                     and necessary in the
                                                                                                                                                                                                     defense against Plaintiffs'
                                                                                                                                                                                                     claims. Moreover, Plaintiffs'
                                                                                                                                                                                                     never dismissed any State
                                                                                                                                                                                                     law claims or ADA claims,
                                                                                                                                                                                                     requiring Defendants to
                                                                                                                                                                                                     incur expenses in its defese
                                                                                                                                                                                                     against said claims,
                                                                                                                                                                                                     including expenses related
                                                                                                                                                                                                     to Plaintiffs' depositions.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                  ($140.23) [this is                                                        unnecessary to extent    prevailing party ultimately
                                                                                                  5/7s of the full                                                          related to plaintiffs'   wins on a particular claim, it
Joy C. Rosenquist     8/3/2022 Handle issues pertaining to deposition                         0.5 $197.50 entry]           Reduced in its entirety by Plaintiffs   object   depositions              is entitled to all attorney's
Invoice=5746759      9/30/2022 scheduling and review correspondence regarding
                               same from Davilier law offices.




                                                                                Final Joint Statement_00159
                         Case 2:21-cv-08688-DSF-PVC                                                 Document 95 Filed 01/19/23                                                Page 160 of 274 Page
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                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           client communication re
                                                                                                                                                                                                                           case status. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                              unable to determine          of total attorneys' fees
                                                                                                                        ($250.49) [this is                                                    nature of entry; unable to   billed for this entry.
                                                                                                                        5/7s of the full                                                      determine how much time
Connie L. Michaels    8/3/2022 Prepare for, call with client re case status and   To protect content of attorney    0.6 $352.80 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5746759      9/30/2022 REDACTED                                           work product, attorney mental
                               REDACTED.                                          impressions, and/or strategy.
                                                                                  To protect content of attorney-
                                                                                  client communications.


                                                                                                                                                                                                                           Defendants were entitled to
                                                                                                                                                                                                                           depose Plaintiffs and to do
                                                                                                                                                                                                                           so in person. Defendants
                                                                                                                                                                                                                           proceeded when they did as
                                                                                                                                                                                                                           they faced pre-trial
                                                                                                                                                                                                                           deadlines and had no
                                                                                                                                                                                                                           guarantee their motion to
                                                                                                                                                                                                                           dismiss would be fully
                                                                                                                                                                                                                           successful. Plaintiffs' never
                                                                                                                                                                                                                           dismissed any State law
                                                                                                                                                                                                                           claims or ADA claims,
                                                                                                                                                                                                                           requiring Defendants to
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                                                                                                                                                                                                                           including expenses related
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                                                                                                                                                                                                                           Attorney activity was
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                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                        ($125.24) [this is                                                    unnecessary to extent        in pursuing that claim.
                                                                                                                        5/7s of the full                                                      related to plaintiffs'       Cabrales v. Co. of L.A. , 935
Connie L. Michaels    8/3/2022 Prepare correspondence to plaintiffs' counsel                                        0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs   Object   depositions.                 F.2d 1050, 1053 (9th
Invoice=5746759      9/30/2022 re depositions of plaintiffs, of LAUSD
                               witnesses and Davalos document production.




                                                                                           Final Joint Statement_00160
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                                                                                                                                                                                                    Defendants were entitled to
                                                                                                                                                                                                    depose Plaintiffs and to do
                                                                                                                                                                                                    so in person. Defendants
                                                                                                                                                                                                    proceeded when they did as
                                                                                                                                                                                                    they faced pre-trial
                                                                                                                                                                                                    deadlines and had no
                                                                                                                                                                                                    guarantee their motion to
                                                                                                                                                                                                    dismiss would be fully
                                                                                                                                                                                                    successful. Plaintiffs' never
                                                                                                                                                                                                    dismissed any State law
                                                                                                                                                                                                    claims or ADA claims,
                                                                                                                                                                                                    requiring Defendants to
                                                                                                                                                                                                    incur expenses in its defese
                                                                                                                                                                                                    against said claims,
                                                                                                                                                                                                    including expenses related
                                                                                                                                                                                                    to Plaintiffs' depositions.
                                                                                                                                                                                                    Attorney activity was
                                                                                                                                                                                                    conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                 ($125.24) [this is                                                        unnecessary to extent    in pursuing that claim.
                                                                                                 5/7s of the full                                                          related to plaintiffs'   Cabrales v. Co. of L.A. , 935
Connie L. Michaels    8/4/2022 Correspondence with opposing counsel re                       0.3 $176.40 entry]           Reduced in its entirety by Plaintiffs   Object   depositions.             F.2d 1050, 1053 (9th
Invoice=5746759      9/30/2022 deposition scheduling.

                                                                                                                                                                                                    Defendants were entitled to
                                                                                                                                                                                                    depose Plaintiffs and to do
                                                                                                                                                                                                    so in person. Defendants
                                                                                                                                                                                                    proceeded when they did as
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                                                                                                                                                                                                    deadlines and had no
                                                                                                                                                                                                    guarantee their motion to
                                                                                                                                                                                                    dismiss would be fully
                                                                                                                                                                                                    successful. Plaintiffs' never
                                                                                                                                                                                                    dismissed any State law
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                                                                                                                                                                                                    incur expenses in its defese
                                                                                                                                                                                                    against said claims,
                                                                                                                                                                                                    including expenses related
                                                                                                                                                                                                    to Plaintiffs' depositions.
                                                                                                                                                                                                    Attorney activity was
                                                                                                                                                                                                    conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                 ($41.75) [this is 5/7s                                                    unnecessary to extent    in pursuing that claim.
                                                                                                 of the full $58.80                                                        related to plaintiffs'   Cabrales v. Co. of L.A. , 935
Connie L. Michaels    8/4/2022 Correspond with client re deposition                          0.1 entry]                 Reduced in its entirety by Plaintiffs     Object   depositions.             F.2d 1050, 1053 (9th
Invoice=5746759      9/30/2022 scheduling.

                                                                                                 ($41.75) [this is 5/7s
                                                                                                 of the full $58.80
Connie L. Michaels    8/4/2022 Update client request postponement of 30(b)6)                 0.1 entry]
Invoice=5746759      9/30/2022 deposition.

                                                                                                                                                                                                    Strategizing between
                                                                                                                                                                                                    defense counsel on status
                                                                                                 ($41.75) [this is 5/7s                                                                             of case and plan of action is
                                                                                                 of the full $58.80                                                                                 not administrative task.
Connie L. Michaels    8/4/2022 Update case team re postpone the of 30(b)(6)                  0.1 entry]                 Reduced in its entirety by Plaintiffs     Object   admin task
Invoice=5746759      9/30/2022 deposition.




                                                                               Final Joint Statement_00161
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                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
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                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                             unable to determine how      of total attorneys' fees
                                                                                                                      ($208.74) [this is                                                     much time billed for each    billed for this entry.
                                                                                                                      5/7s of the full $294                                                  claim; unable to determine
Connie L. Michaels    8/4/2022 Confer with counsel for LA County department of   To protect content of attorney   0.5 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759      9/30/2022 public health re REDACTED                         work product, attorney mental
                                                                                 impressions, and/or strategy.

                                                                                                                                                                                                                          A brief case team meeting
                                                                                                                                                                                                                          was held for all defense
                                                                                                                                                                                                                          counsel weekly to confer
                                                                                                                                                                                                                          and strategize regarding the
                                                                                                                                                                                                                          case and its developments.
                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          review and analysis of email
                                                                                                                                                                                                                          correspondences related to
                                                                                                                                                                                                                          this matter. Attorney
                                                                                                                                                                                                                          activity was conducted in
                                                                                                                                                                                                                          light of all allegations within
                                                                                                                                                                                                                          Plaintiffs' Complaint.
                                                                                                                                                                                                                          However, if a prevailing
                                                                                                                                                                                                                          party ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                             unable to determine how      of total attorneys' fees
                                                                                                                      ($125.42) [this is                                                     much time billed for each    billed for this entry.
                                                                                                                      5/7s of the full                                                       claim; unable to determine
Connie L. Michaels    8/4/2022 Prepare for and conduct status/strategy meeting   To protect content of attorney   0.3 $176.40 entry]        Reduced in its entirety by Plaintiffs   object   nature of entry.
Invoice=5746759      9/30/2022 with case team including re REDACTED              work product, attorney mental
                               REDACTED.                                         impressions, and/or strategy.




                                                                                          Final Joint Statement_00162
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                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                         unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                         argument that claims are would dismiss the claim in
                                                                                                                                                                         frivolous or without merit response or elect not to
                                                                                                                                                                         and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                         state law/ADA claims);        following a ruling on the
                                                                                                 ($56.09) [this is 5/7s                                                  unable to determine how motion.
                                                                                                 of the full $79                                                         much time billed for each
Susie Keshishyan    8/4/2022 Email correspondence with expert Art Reingold                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759    9/30/2022 providing necessary memorandums, pleadings, and
                             agreements in anticipation for his expert
                             report.

                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                         unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                         argument that claims are would dismiss the claim in
                                                                                                                                                                         frivolous or without merit response or elect not to
                                                                                                                                                                         and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                         state law/ADA claims);        following a ruling on the
                                                                                                 ($196.32) [this is                                                      unable to determine how motion.
                                                                                                 5/7s of the full                                                        much time billed for each
Susie Keshishyan    8/4/2022 Email correspondences to thirteen potential                     0.7 $276.50 entry]         Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759    9/30/2022 experts inquiring as to availability to provide
                             expertise/report during trial re immunology.




                                                                               Final Joint Statement_00163
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                               Page 164 of 274 Page
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                                                                                                                                                                                                           A brief case team meeting
                                                                                                                                                                                                           was held for all defense
                                                                                                                                                                                                           counsel weekly to confer
                                                                                                                                                                                                           and strategize regarding the
                                                                                                                                                                                                           case and its developments.
                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                           evident and clear. Attorney
                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                           billed for this entry.
                                                                                                   ($84.14) [this is 5/7s                                                    unable to determine how
                                                                                                   of the full $118.50                                                       much time billed for each
Nick McKinney         8/4/2022 Weekly litigation team conference call to                       0.3 entry]                 Reduced in its entirety by Plaintiffs     Object   claim
Invoice=5746759      9/30/2022 discuss case strategy and analysis.


                                                                                                   ($56.09) [this is 5/7s
                                                                                                   of the full $79
Joy C. Rosenquist     8/5/2022 Review meet and confer letter from Plaintiff's                  0.2 entry]
Invoice=5746759      9/30/2022 counsel regarding Davalos response to document
                               demand.

                                                                                                                                                                                                           This entry concerns case
                                                                                                                                                                                                           experts. Defendants
                                                                                                                                                                                                           retained experts regarding
                                                                                                                                                                                                           the 14th amendment claims
                                                                                                                                                                                                           and the ADA claim. Given
                                                                                                                                                                                                           that Defendants seek
                                                                                                                                                                                                           recovery solely on State law
                                                                                                                                                                                                           claims and ADA claim,
                                                                                                                                                                                                           Defendants intend to seek
                                                                                                                                                                                                           1/3 of the amount of the
                                                                                                                                                                                                           total attorneys' fees related
                                                                                                                                                                                                           to experts. Defendants
                                                                                                                                                                                                           retained the experts when
                                                                                                                                                                                                           they did as they faced pre-
                                                                                                                                                                                                           trial deadlines and, while
                                                                                                                                                                                                           Defendants believed the
                                                                                                                                                                                                           ADA claim was frivolous,
                                                                                                                                                                                                           they had no guarantee their
                                                                                                                                                                                                           motion to dismiss it would
                                                                                                                                                                             unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                             argument that claims are would dismiss the claim in
                                                                                                                                                                             frivolous or without merit response or elect not to
                                                                                                                                                                             and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                             state law/ADA claims);        following a ruling on the
                                                                                                   ($333.98) [this is                                                        unable to determine how motion.
                                                                                                   5/7s of the full                                                          much time billed for each
Connie L. Michaels    8/8/2022 Prepare for and call with expert epidemiologist                 0.8 $470.40 entry]           Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759      9/30/2022 re assignment.




                                                                                 Final Joint Statement_00164
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                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                           unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                           argument that claims are would dismiss the claim in
                                                                                                                                                                           frivolous or without merit response or elect not to
                                                                                                                                                                           and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                           state law/ADA claims);        following a ruling on the
                                                                                                   ($41.75) [this is 5/7s                                                  unable to determine how motion.
                                                                                                   of the full $58.80                                                      much time billed for each
Connie L. Michaels    8/8/2022 Initiate legal research re experts used in                      0.1 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759      9/30/2022 other litigation involving plaintiffs' counsel.

                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                           unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                           argument that claims are would dismiss the claim in
                                                                                                                                                                           frivolous or without merit response or elect not to
                                                                                                                                                                           and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                           state law/ADA claims);        following a ruling on the
                                                                                                   ($83.50) [this is 5/7s                                                  unable to determine how motion.
                                                                                                   of the full $117.60                                                     much time billed for each
Connie L. Michaels    8/8/2022 Prepare correspondence to client re gathering                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759      9/30/2022 information requested by expert.


                                                                                                   ($41.75) [this is 5/7s
                                                                                                   of the full $58.80
Connie L. Michaels    8/8/2022 Correspond with client re accepting service of                  0.1 entry]
Invoice=5746759      9/30/2022 Rule 45 subpoena.




                                                                                 Final Joint Statement_00165
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                                                                                                                                                                                                                              Entry unredacted. Nature of
                                                                                                                                                                                                                              attorney work is evident
                                                                                                                                                                                                                              and clearly denotes client
                                                                                                                                                                                                                              communication. Redaction
                                                                                                                                                                                                                              have been made to protect
                                                                                                                                                                                                                              attorney-client
                                                                                                                                                                                                                              commuications, attorney
                                                                                                                                                                                                                              work product, mental
                                                                                                                                                                                                                              impressions and strategy.
                                                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991).Defendants intend
                                                                                                                                                                                                                              to seek 5/7 fraction of total
                                                                                                                                                                                                                              attorneys' fees billed for
                                                                                                                                                                                                 unable to determine          this entry.
                                                                                                                       ($41.75) [this is 5/7s                                                    nature of entry; unable to
                                                                                                                       of the full $58.80                                                        determine how much time
Connie L. Michaels    8/9/2022 Correspond with client re preparing witness for   To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs     Object   billed for each claim
Invoice=5746759      9/30/2022 deposition.                                       work product, attorney mental
                                                                                 impressions, and/or strategy.
                                                                                 To protect content of attorney-
                                                                                 client communications.


                                                                                                                       ($83.50) [this is 5/7s
                                                                                                                       of the full $117.60
Connie L. Michaels    8/9/2022 Correspond with plaintiffs' counsel re Rule 45                                      0.2 entry]
Invoice=5746759      9/30/2022 subpoena to LAUSD.


                                                                                                                                                                                                                             If a prevailing party
                                                                                                                                                                                                                             ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
                                                                                                                                                                                                                             entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Moreover,
                                                                                                                                                                                                                             Defendants intend to seek
                                                                                                                                                                                                                             5/7 fraction of total
                                                                                                                                                                                                                             attorneys' fees billed for
                                                                                                                                                                                                                             this entry. Nature of the
                                                                                                                                                                                                                             attorney work is evident,
                                                                                                                                                                                                                             and necessary given the
                                                                                                                                                                                                 unnecessary discovery       claims brought against
                                                                                                                                                                                                 generally, and fees         Defendants. Moreover,
                                                                                                                                                                                                 associated with experts     Defendants are entitled to
                                                                                                                                                                                                 contradict argument that recovery of litigation costs,
                                                                                                                                                                                                 claims are frivolous or     including expert fees, and
                                                                                                                                                                                                 without merit and are       attorneys' fee based on ADA
                                                                                                                                                                                                 irrelevant to Plaintiffs'   statute if they are the
                                                                                                                                                                                                 state law/ADA claims;       prevailing party, as is the
                                                                                                                                                                                                 unreasonable block billing; case here. Plaintiffs never
                                                                                                                       ($1,294.19) [this is                                                      unable to determine how dismissed the state law and
                                                                                                                       5/7s of the full                                                          much time billed for each ADA claims despite
Connie L. Michaels    8/9/2022 Review case file with particular attention to                                       3.1 $1,822.80 entry]         Reduced in its entirety by Plaintiffs   Object   claim                       numerous representations
Invoice=5746759      9/30/2022 responding to document demands, producing
                               additional documents, addressing plaintiffs'
                               request for a continuance of hearing on defense
                               motion to dismiss, subpoena to LAUSD,
                               supplementing witness list in initial
                               disclosures, providing data to and selection of
                               experts.




                                                                                          Final Joint Statement_00166
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                                                                                                                                                                                          Preparing for and advising
                                                                                                                                                                                          on the manner in which to
                                                                                                                                                                                          maintain potentially
                                                                                                                                                                                          privileged documents or
                                                                                                                                                                                          information is not an
                                                                                                                                                                                          administrative task.
                                                                                                                                                                                          Moreover, attorneys' fee
                                                                                                                                                                                          awards must account for
                                                                                                                                                                                          work of non-attorneys,
                                                                                                                                                                                          including paralegals and law
                                                                                                                                                                                          clerks “whose labor
                                                                                                                                                                                          contributes to the work
                                                                                                                                                                                          product for which an
                                                                                                                                                                                          attorney bills her client.”
                                                                                                     ($175.73) [this is                                                                   Missouri v. Jenkins, 491 U.S.
                                                                                                     5/7s of the full                                                                     274, 285 (1989).
Suzy Richman            8/9/2022 Review Relativity for all productions and add                   1.1 $247.50 entry]         Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759        9/30/2022 Production 003 to NetDocs, create folder in
                                 Netdocs for Defendant productions, review
                                 extranet for additional personnel files,
                                 download personnel file for Howswepian -
                                 Rodriguez and stage on R:drive for upload to
                                 Relativity.

                                                                                                                                                                                          Preparing for and advising
                                                                                                                                                                                          on the manner in which to
                                                                                                                                                                                          maintain potentially
                                                                                                                                                                                          privileged documents or
                                                                                                                                                                                          information is not an
                                                                                                                                                                                          administrative task.
                                                                                                                                                                                          Moreover, attorneys' fee
                                                                                                                                                                                          awards must account for
                                                                                                                                                                                          work of non-attorneys,
                                                                                                                                                                                          including paralegals and law
                                                                                                                                                                                          clerks “whose labor
                                                                                                                                                                                          contributes to the work
                                                                                                                                                                                          product for which an
                                                                                                                                                                                          attorney bills her client.”
                                                                                                     ($47.93) [this is 5/7s                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                     of the full $67.50                                                                   274, 285 (1989).
Christopher P. Wyatt    8/9/2022 Review, analyze electronic evidence and prepare                 0.3 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759        9/30/2022 specifications for processing and loading into
                                 Relativity consisting of quality assurance
                                 measures to ensure specifications align with
                                 case team objectives associated with requested
                                 form of production, i.e. ensuring metadata is
                                 unaltered, the appropriate custodian is
                                 attached, and that the proper level of
                                 deduplication is applied.




                                                                                   Final Joint Statement_00167
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                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         client communications re
                                                                                                                                                                                                                         subpoenas (served by
                                                                                                                                                                                                                         Plaintiffs). Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                            unable to determine how
                                                                                                                    ($84.14) [this is 5/7s                                                  much time billed for each
                                                                                                                    of the full $118.50                                                     claim; unable to determine
Joy C. Rosenquist    8/9/2022 Review correspondences to/from client at        To protect content of attorney    0.3 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759     9/30/2022 regarding subpoena REDACTED                     work product, attorney mental
                              REDACTED.                                       impressions, and/or strategy.
                                                                              To protect content of attorney-
                                                                              client communications.

                                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                                         privileged documents or
                                                                                                                                                                                                                         information is not an
                                                                                                                                                                                                                         administrative task.
                                                                                                                                                                                                                         Moreover, attorneys' fee
                                                                                                                                                                                                                         awards must account for
                                                                                                                                                                                                                         work of non-attorneys,
                                                                                                                                                                                                                         including paralegals and law
                                                                                                                                                                                                                         clerks “whose labor
                                                                                                                                                                                                                         contributes to the work
                                                                                                                                                                                                                         product for which an
                                                                                                                                                                                                                         attorney bills her client.”
                                                                                                                    ($79.88) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                    of the full $112.50                                                                                  274, 285 (1989).
Suzy Richman        8/10/2022 Review Personnel file of M.                                                       0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759     9/30/2022 Howswepian-Rodriguez upload to Relativity and
                              mark Responsive for production and redact
                              personally identifiable information.




                                                                                       Final Joint Statement_00168
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                            Page 169 of 274 Page
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                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                          retained the experts when
                                                                                                                                                                                                          they did as they faced pre-
                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                                          motion to dismiss it would
                                                                                                                                                                                                          be successful, that Plaintiffs
                                                                                                                                                                                                          would dismiss the claim in
                                                                                                                                                                                                          response or elect not to
                                                                                                                                                                          unnecessary (contradicts        amend their Complaint
                                                                                                                                                                          argument that claims are        following a ruling on the
                                                                                                   ($111.83) [this is                                                     frivolous or without merit      motion.
                                                                                                   5/7s of the full                                                       and irrelevant to Plaintiffs'
Teresa J. Myers       8/10/2022 Analysis of federal primary resources re:                      0.7 $157.50 entry]        Reduced in its entirety by Plaintiffs   object   state law/ADA claims);
Invoice=5746759       9/30/2022 background information on opposing counsel's
                                COVID vaccination experts.

                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                          legal analysis in preparation
                                                                                                                                                                                                          for drafting Defendants'
                                                                                                                                                                                                          Reply Brief. Attorney activity
                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                          billed for this entry.
                                                                                                   ($673.08) [this is                                                     unable to determine how
                                                                                                   5/7s of the full $948                                                  much time billed for each
Carrie A. Stringham   8/11/2022 Review and analysis of all available federal                   2.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5746759       9/30/2022 court cases addressing vaccine mandates in
                                order to assess potential application to case
                                and prepare to draft Reply Brief in support of
                                Motion for Judgment on the Pleadings.




                                                                                 Final Joint Statement_00169
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                                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                                         privileged documents or
                                                                                                                                                                                                                         information is not an
                                                                                                                                                                                                                         administrative task.
                                                                                                                                                                                                                         Moreover, attorneys' fee
                                                                                                                                                                                                                         awards must account for
                                                                                                                                                                                                                         work of non-attorneys,
                                                                                                                                                                                                                         including paralegals and law
                                                                                                                                                                                                                         clerks “whose labor
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                                                                                                                                                                                                                         product for which an
                                                                                                                                                                                                                         attorney bills her client.”
                                                                                                                    ($63.90) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                    of the full $90                                                                                      274, 285 (1989).
Suzy Richman         8/11/2022 Stage various documents on R:Drive for upload                                    0.4 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=5746759      9/30/2022 to Relativity.

                                                                                                                                                                                                                         Attorneys' fee awards must
                                                                                                                                                                                                                         account for work of non-
                                                                                                                                                                                                                         attorneys, including
                                                                                                                                                                                                                         paralegals and law clerks
                                                                                                                                                                                                                         “whose labor contributes to
                                                                                                                                                                                                                         the work product for which
                                                                                                                                                                                                                         an attorney bills her client.”
                                                                                                                    ($63.90) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                    of the full $90                                                                                      274, 285 (1989).
Ajay A. Patel        8/11/2022 Review and analyze electronic evidence and                                       0.4 entry]                 Reduced in its entirety by Plaintiffs   Object   admin task
Invoice=5746759      9/30/2022 prepare specifications for processing and                                        0.4                     90
                               loading into Relativity for substantive case
                               team review.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         strategy re Plaintiffs' meet
                                                                                                                                                                                                                         and confer letters.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protect attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.
                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                            unable to determine how
                                                                                                                    ($250.49) [this is                                                      much time billed for each
                                                                                                                    5/7s of the full                                                        claim; unable to determine
Connie L. Michaels   8/11/2022 Prepare for and strategize with case team re    To protect content of attorney   0.6 $352.80 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759      9/30/2022 several meet and confer letters from            work product, attorney mental
                               Plaintiffs' counnsel, REDACTED,                 impressions, and/or strategy.
                               REDACTED,
                               REDACTED,
                               REDACTED,
                               REDACTED
                               REDACTED,
                               REDACTED
                               REDACTED,
                               REDACTED.




                                                                                        Final Joint Statement_00170
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 171 of 274 Page
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                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           strategy for client
                                                                                                                                                                                                                           communication re case
                                                                                                                                                                                                                           status. Redactions have
                                                                                                                                                                                                                           been made to protect
                                                                                                                                                                                                                           attorney work product,
                                                                                                                                                                                                                           attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                       ($1836.91) [this is                                                    much time billed for each
                                                                                                                       5/7s of the full                                                       claim; unable to determine
Connie L. Michaels   8/11/2022 Review case file re and draft agenda for and      To protect content of attorney    4.4 $2,587.20 entry]      Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759      9/30/2022 discussion with client re REDACTED                work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED                                          To protect content of attorney-
                               REDACTED                                          client communications.
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED
                               REDACTED.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           strategy re discovery issues.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                              unable to determine how      billed for this entry.
                                                                                                                       ($140.23) [this is                                                     much time billed for each
                                                                                                                       5/7s of the full                                                       claim; unnecessary
Joy C. Rosenquist    8/11/2022 Strategy conference regarding discovery issues.                                     0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   discovery expense
Invoice=5746759      9/30/2022




                                                                                          Final Joint Statement_00171
                        Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                           Page 172 of 274 Page
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                                                                                                                                                                                               Plaintiffs served numerous
                                                                                                                                                                                               subpoenas on Defendants.
                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                               is evident, and necessary
                                                                                                                                                                                               given the extensive number
                                                                                                                                                                                               of subpoenas served by
                                                                                                                                                                                               Plaintiffs. Plaintiffs never
                                                                                                                                                                                               dismissed the state law and
                                                                                                                                                                                               ADA claims despite
                                                                                                                                                                                               numerous representations
                                                                                                                                                                                               that these claims would be
                                                                                                                                                                                               dismissed. If a prevailing
                                                                                                                                                                                               party ultimately wins on a
                                                                                                                                                                                               particular claim, it is
                                                                                                                                                                                               entitled to all attorney's
                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Moreover,
                                                                                                                                                                                               Defendants intend to seek
                                                                                                                                                                                               5/7 fraction of total
                                                                                                                                                                                               attorneys' fees billed for
                                                                                                                                                                                               this entry. Moreover,
                                                                                                 ($140.23) [this is                                                                            Defendants are entitled to
                                                                                                 5/7s of the full                                                      unnecessary discovery   recovery of litigation costs,
Joy C. Rosenquist   8/11/2022 Commence research of Rule 45 Subpoenas and                     0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   expense                 including expert fees, and
Invoice=5746759     9/30/2022 Motions to Quash for third party recipients of
                              subpoenas.

                                                                                                                                                                                               Plaintiffs served numerous
                                                                                                                                                                                               subpoenas on Defendants.
                                                                                                                                                                                               Nature of the attorney work
                                                                                                                                                                                               is evident, and necessary
                                                                                                                                                                                               given the extensive number
                                                                                                                                                                                               of subpoenas served by
                                                                                                                                                                                               Plaintiffs. Plaintiffs never
                                                                                                                                                                                               dismissed the state law and
                                                                                                                                                                                               ADA claims despite
                                                                                                                                                                                               numerous representations
                                                                                                                                                                                               that these claims would be
                                                                                                                                                                                               dismissed. If a prevailing
                                                                                                                                                                                               party ultimately wins on a
                                                                                                                                                                                               particular claim, it is
                                                                                                                                                                                               entitled to all attorney's
                                                                                                                                                                                               fees reasonably expended
                                                                                                                                                                                               in pursuing that claim.
                                                                                                                                                                                               Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               F.2d 1050, 1053 (9th
                                                                                                                                                                                               Cir.1991). Moreover,
                                                                                                                                                                                               Defendants intend to seek
                                                                                                                                                                                               5/7 fraction of total
                                                                                                                                                                                               attorneys' fees billed for
                                                                                                                                                                                               this entry. . Moreover,
                                                                                                ($280.45) [this is                                                                             Defendants are entitled to
                                                                                                5/7s of the full $395                                                  unnecessary discovery   recovery of litigation costs,
Joy C. Rosenquist   8/12/2022 Continue research of Rule 45 Subpoenas and                      1 entry]                Reduced in its entirety by Plaintiffs   Object   expense                 including expert fees, and
Invoice=5746759     9/30/2022 Motions to Quash for third party recipients of
                              subpoenas.




                                                                               Final Joint Statement_00172
                         Case 2:21-cv-08688-DSF-PVC                                                  Document 95 Filed 01/19/23                                                  Page 173 of 274 Page
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                                                                                                                                                                                                                         Plaintiffs served numerous
                                                                                                                                                                                                                         subpoenas on Defendants.
                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident, and necessary
                                                                                                                                                                                                                         given the extensive number
                                                                                                                                                                                                                         of subpoenas served by
                                                                                                                                                                                                                         Plaintiffs. Plaintiffs never
                                                                                                                                                                                                                         dismissed the state law and
                                                                                                                                                                                                                         ADA claims despite
                                                                                                                                                                                                                         numerous representations
                                                                                                                                                                                                                         that these claims would be
                                                                                                                                                                                                                         dismissed. If a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Moreover,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                 unnecessary discovery   5/7 fraction of total
                                                                                                                                                                                                 expense; unable to      attorneys' fees billed for
                                                                                                                                                                                                 determine how much time this entry. Moreover,
                                                                                                                        ($280.45) [this is                                                       billed for each claim;  Defendants are entitled to
                                                                                                                        5/7s of the full $395                                                    unable to determine     recovery of litigation costs,
Joy C. Rosenquist    8/12/2022 Receive and review email correspondences from       To protect content of attorney     1 entry]                 Reduced in its entirety by Plaintiffs    Object   nature of entry.        including expert fees, and
Invoice=5746759      9/30/2022 client and opposing counsel regarding response to   work product, attorney mental      1                    395
                               production of documents, subpoenas, REDACTED        impressions, and/or strategy.
                               REDACTED                                            To protect content of attorney-
                               REDACTED.                                           client communications.

                                                                                                                                                                                                                         Plaintiffs served numerous
                                                                                                                                                                                                                         subpoenas on Defendants.
                                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                                         is evident, and necessary
                                                                                                                                                                                                                         given the extensive number
                                                                                                                                                                                                                         of subpoenas served by
                                                                                                                                                                                                                         Plaintiffs. Plaintiffs never
                                                                                                                                                                                                                         dismissed the state law and
                                                                                                                                                                                                                         ADA claims despite
                                                                                                                                                                                                                         numerous representations
                                                                                                                                                                                                                         that these claims would be
                                                                                                                                                                                                                         dismissed. If a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Moreover,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                 unnecessary discovery   5/7 fraction of total
                                                                                                                                                                                                 expense; unable to      attorneys' fees billed for
                                                                                                                                                                                                 determine how much time this entry. Moreover,
                                                                                                                         ($41.75) [this is 5/7s                                                  billed for each claim;  Defendants are entitled to
                                                                                                                         of the full $58.80                                                      unable to determine     recovery of litigation costs,
Connie L. Michaels   8/12/2022 Correspond with client re REDACTED                  To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.        including expert fees, and
Invoice=5746759      9/30/2022 document review.                                    work product, attorney mental
                                                                                   impressions, and/or strategy.
                                                                                   To protect content of attorney-
                                                                                   client communications.


                                                                                                                         ($83.50) [this is 5/7s
                                                                                                                         of the full $117.60
Connie L. Michaels   8/12/2022 Draft correspondence to opposing counsel                                              0.2 entry]
Invoice=5746759      9/30/2022 responding to meet and confer correspondence re
                               Davalos document production.




                                                                                            Final Joint Statement_00173
                         Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                             Page 174 of 274 Page
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                                                                                                                                                                                                  Plaintiffs served discovery
                                                                                                                                                                                                  on Defendants. Nature of
                                                                                                                                                                                                  the attorney work is
                                                                                                                                                                                                  evident, and necessary
                                                                                                                                                                                                  given the numerous sets of
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Plaintiffs never
                                                                                                                                                                                                  dismissed the state law and
                                                                                                                                                                                                  ADA claims despite
                                                                                                                                                                                                  numerous representations
                                                                                                                                                                                                  that these claims would be
                                                                                                                                                                                                  dismissed. If a prevailing
                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Moreover,
                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                  5/7 fraction of total
                                                                                                                                                                                                  attorneys' fees billed for
                                                                                                                                                                          unnecessary discovery   this entry. Moreover,
                                                                                                  ($166.99) [this is                                                      expense; unable to      Defendants are entitled to
                                                                                                  5/7s of the full                                                        determine how much time recovery of litigation costs,
Connie L. Michaels   8/12/2022 Revise responses to second set of document                     0.4 $235.20 entry]         Reduced in its entirety by Plaintiffs   Object   billed for each claim   including expert fees, and
Invoice=5746759      9/30/2022 requests.


                                                                                                 ($417.48) [this is
                                                                                                 5/7s of the full $588
Connie L. Michaels   8/12/2022 Draft correspondence responding to plaintiffs’                  1 entry]
Invoice=5746759      9/30/2022 counsel’s request to continue the hearing date
                               on defendants’ motion to dismiss.

                                                                                                                                                                                                  Plaintiffs served discovery
                                                                                                                                                                                                  on Defendants. Nature of
                                                                                                                                                                                                  the attorney work is
                                                                                                                                                                                                  evident, and necessary
                                                                                                                                                                                                  given the numerous sets of
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Plaintiffs never
                                                                                                                                                                                                  dismissed the state law and
                                                                                                                                                                                                  ADA claims despite
                                                                                                                                                                                                  numerous representations
                                                                                                                                                                                                  that these claims would be
                                                                                                                                                                                                  dismissed. If a prevailing
                                                                                                                                                                                                  party ultimately wins on a
                                                                                                                                                                                                  particular claim, it is
                                                                                                                                                                                                  entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Moreover,
                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                  5/7 fraction of total
                                                                                                                                                                                                  attorneys' fees billed for
                                                                                                                                                                          unnecessary discovery   this entry. Moreover,
                                                                                                  ($208.74) [this is                                                      expense; unable to      Defendants are entitled to
                                                                                                  5/7s of the full $294                                                   determine how much time recovery of litigation costs,
Connie L. Michaels   8/12/2022 Prepare, review and oversee defense                            0.5 entry]                Reduced in its entirety by Plaintiffs    Object   billed for each claim   including expert fees, and
Invoice=5746759      9/30/2022 supplemental document production.




                                                                                Final Joint Statement_00174
                         Case 2:21-cv-08688-DSF-PVC                                                      Document 95 Filed 01/19/23                                                 Page 175 of 274 Page
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                                                                                                                                                                                                                                 Preparing for and advising
                                                                                                                                                                                                                                 on the manner in which to
                                                                                                                                                                                                                                 maintain potentially
                                                                                                                                                                                                                                 privileged documents or
                                                                                                                                                                                                                                 information is not an
                                                                                                                                                                                                                                 administrative task.
                                                                                                                                                                                                                                 Moreover, attorneys' fee
                                                                                                                                                                                                                                 awards must account for
                                                                                                                                                                                                                                 work of non-attorneys,
                                                                                                                                                                                                                                 including paralegals and law
                                                                                                                                                                                                                                 clerks “whose labor
                                                                                                                                                                                                                                 contributes to the work
                                                                                                                                                                                                                                 product for which an
                                                                                                                                                                                                                                 attorney bills her client.”
                                                                                                                            ($175.73) [this is                                                                                   Missouri v. Jenkins, 491 U.S.
                                                                                                                            5/7s of the full                                                                                     274, 285 (1989).
Suzy Richman         8/12/2022 Review documents that have been loaded to               To protect content of attorney   1.1 $247.50 entry]         Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759      9/30/2022 Relativity, mark same for REDACTED,                     work product, attorney mental
                               emails with C. Michaels re production, emails           impressions, and/or strategy.
                               with Lit support reproduction, coordinate production,
                               production, prepare POS and upload to Biscom to
                               send to Opposing Counsel.

                                                                                                                                                                                                                                 Preparing for and advising
                                                                                                                                                                                                                                 on the manner in which to
                                                                                                                                                                                                                                 maintain potentially
                                                                                                                                                                                                                                 privileged documents or
                                                                                                                                                                                                                                 information is not an
                                                                                                                                                                                                                                 administrative task.
                                                                                                                                                                                                                                 Moreover, attorneys' fee
                                                                                                                                                                                                                                 awards must account for
                                                                                                                                                                                                                                 work of non-attorneys,
                                                                                                                                                                                                                                 including paralegals and law
                                                                                                                                                                                                                                 clerks “whose labor
                                                                                                                                                                                                                                 contributes to the work
                                                                                                                                                                                                                                 product for which an
                                                                                                                                                                                                                                 attorney bills her client.”
                                                                                                                            ($95.85) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                            of the full $135                                                                                     274, 285 (1989).
Ajay A. Patel        8/12/2022 Prepare export of production set of evidence (3                                          0.6 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759      9/30/2022 documents/LAUSD_HFDF 000849 to LAUSD_HFDF
                               000982) to be produced to opposing counsel.

                                                                                                                                                                                                                                  This entry concerns case
                                                                                                                                                                                                                                  experts. Defendants
                                                                                                                                                                                                                                  retained experts regarding
                                                                                                                                                                                                                                  the 14th amendment claims
                                                                                                                                                                                                                                  and the ADA claim. Given
                                                                                                                                                                                                                                  that Defendants seek
                                                                                                                                                                                                                                  recovery solely on State law
                                                                                                                                                                                                                                  claims and ADA claim,
                                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                                  1/3 of the amount of the
                                                                                                                                                                                                                                  total attorneys' fees related
                                                                                                                                                                                                                                  to experts. Defendants
                                                                                                                                                                                                                                  retained the experts when
                                                                                                                                                                                                                                  they did as they faced pre-
                                                                                                                                                                                                                                  trial deadlines and, while
                                                                                                                                                                                                                                  Defendants believed the
                                                                                                                                                                                                                                  ADA claim was frivolous,
                                                                                                                                                                                                                                  they had no guarantee their
                                                                                                                                                                                                    unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                    argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                    frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                    and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                    state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                    unable to determine how following a ruling on the
                                                                                                                            ($333.98) [this is                                                      much time billed for each motion.
                                                                                                                            5/7s of the full                                                        claim; unable to determine
Connie L. Michaels   8/13/2022 Draft factual summary for expert REDACTED               To protect content of attorney   0.8 $470.40 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759      9/30/2022 REDACTED                                                work product, attorney mental
                                                                                       impressions, and/or strategy.




                                                                                                Final Joint Statement_00175
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                                                                                                                                                                                                                  This entry concerns case
                                                                                                                                                                                                                  experts. Defendants
                                                                                                                                                                                                                  retained experts regarding
                                                                                                                                                                                                                  the 14th amendment claims
                                                                                                                                                                                                                  and the ADA claim. Given
                                                                                                                                                                                                                  that Defendants seek
                                                                                                                                                                                                                  recovery solely on State law
                                                                                                                                                                                                                  claims and ADA claim,
                                                                                                                                                                                                                  Defendants intend to seek
                                                                                                                                                                                                                  1/3 of the amount of the
                                                                                                                                                                                                                  total attorneys' fees related
                                                                                                                                                                                                                  to experts. Defendants
                                                                                                                                                                                                                  retained the experts when
                                                                                                                                                                                                                  they did as they faced pre-
                                                                                                                                                                                                                  trial deadlines and, while
                                                                                                                                                                                                                  Defendants believed the
                                                                                                                                                                                                                  ADA claim was frivolous,
                                                                                                                                                                                                                  they had no guarantee their
                                                                                                                                                                                                                  motion to dismiss it would
                                                                                                                                                                                    unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                    argument that claims are would dismiss the claim in
                                                                                                                                                                                    frivolous or without merit response or elect not to
                                                                                                                                                                                    and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                    state law/ADA claims);        following a ruling on the
                                                                                                            ($41.75) [this is 5/7s                                                  unable to determine how motion.
                                                                                                            of the full $58.80                                                      much time billed for each
Connie L. Michaels   8/14/2022 Call with Dr. Reingold re report.                                        0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759      9/30/2022


                                                                                                            ($41.75) [this is 5/7s
                                                                                                            of the full $58.80
Connie L. Michaels   8/14/2022 Update client on deposition schedule.                                    0.1 entry]
Invoice=5746759      9/30/2022


                                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                                  client correspondence
                                                                                                                                                                                                                  related to this matter.
                                                                                                                                                                                                                  Redactions have been made
                                                                                                                                                                                                                  to protect attorney-client
                                                                                                                                                                                                                  communications, attorney
                                                                                                                                                                                                                  work product, mental
                                                                                                                                                                                                                  impressions and strategy.
                                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                                  conducted in light of all
                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                  prevailing party ultimately
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                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                    unable to determine how       billed for this entry.
                                                                                                            ($41.75) [this is 5/7s                                                  much time billed for each
                                                                                                            of the full $58.80                                                      claim; unable to determine
Connie L. Michaels   8/15/2022 Correspond with client re REDACTED      To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759      9/30/2022 decisions made REDACTED.                work product, attorney mental
                                                                       impressions, and/or strategy.




                                                                                Final Joint Statement_00176
                         Case 2:21-cv-08688-DSF-PVC                                      Document 95 Filed 01/19/23                                                  Page 177 of 274 Page
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                                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                                  client correspondence
                                                                                                                                                                                                                  related to this matter.
                                                                                                                                                                                                                  Redactions have been made
                                                                                                                                                                                                                  to protect attorney-client
                                                                                                                                                                                                                  communications, attorney
                                                                                                                                                                                                                  work product, mental
                                                                                                                                                                                                                  impressions and strategy.
                                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                                  conducted in light of all
                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                     unable to determine how      billed for this entry.
                                                                                                             ($83.50) [this is 5/7s                                                  much time billed for each
                                                                                                             of the full $117.60                                                     claim; unable to determine
Connie L. Michaels   8/15/2022 Correspond with client re REDACTED      To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759      9/30/2022 REDACTED related emails.                work product, attorney mental
                                                                       impressions, and/or strategy.
                                                                       To protect content of attorney-
                                                                       client communications.


                                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                                  review Defendant Davalos'
                                                                                                                                                                                                                  emails in preparation for
                                                                                                                                                                                                                  production in response to
                                                                                                                                                                                                                  Plaintiffs' discovery
                                                                                                                                                                                                                  requests. Attorney activity
                                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                                  billed for this entry.

                                                                                                             ($166.99) [this is
                                                                                                             5/7s of the full                                                        unable to determine
Connie L. Michaels   8/15/2022 Commence review Ms. Davalos' REDACTED   To protect content of attorney    0.4 $235.20 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759      9/30/2022 related emails and REDACTED             work product, attorney mental
                               for production.                         impressions, and/or strategy.




                                                                                Final Joint Statement_00177
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                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                  Plaintiffs' claims. Moreover,
                                                                                                                                                                                                  Plaintiffs' never dismissed
                                                                                                                                                                                                  any State law claims or ADA
                                                                                                                                                                                                  claims, requiring
                                                                                                                                                                                                  Defendants to incur
                                                                                                                                                                                                  expenses in its defese
                                                                                                                                                                                                  against said claims,
                                                                                                                                                                                                  including expenses related
                                                                                                                                                                                                  to discovery re several
                                                                                                                                                                                                  subpoenas served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                  ($83.50) [this is 5/7s                                                                          Cir.1991). Defendants
                                                                                                  of the full $117.60                                                     unnecessary discovery   intend to seek 5/7 fraction
Connie L. Michaels   8/15/2022 Review research re timing and format of motion                 0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   expense                 of total attorneys' fees
Invoice=5746759      9/30/2022 to quash.

                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                  is evident and necessary in
                                                                                                                                                                                                  the defense against
                                                                                                                                                                                                  Plaintiffs' claims. Moreover,
                                                                                                                                                                                                  Plaintiffs' never dismissed
                                                                                                                                                                                                  any State law claims or ADA
                                                                                                                                                                                                  claims, requiring
                                                                                                                                                                                                  Defendants to incur
                                                                                                                                                                                                  expenses in its defese
                                                                                                                                                                                                  against said claims,
                                                                                                                                                                                                  including expenses related
                                                                                                                                                                                                  to discovery re several
                                                                                                                                                                                                  subpoenas served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                  ($1,711.69) [this is                                                                            Cir.1991). Defendants
                                                                                                  5/7s of the full                                                        unnecessary/excessive   intend to seek 5/7 fraction
Connie L. Michaels   8/15/2022 Draft supplemental responses to interrogatory                  4.1 $2,410.80 entry]       Reduced in its entirety by Plaintiffs   Object   discovery expense       of total attorneys' fees
Invoice=5746759      9/30/2022 and document requests, and forward same to
                               client for review.




                                                                                Final Joint Statement_00178
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 179 of 274 Page
                                                                                         ID #:2318

                                                                                                                                                                                                         Defendants were entitled to
                                                                                                                                                                                                         depose Plaintiffs and to do
                                                                                                                                                                                                         so in person. Defendants
                                                                                                                                                                                                         proceeded when they did as
                                                                                                                                                                                                         they faced pre-trial
                                                                                                                                                                                                         deadlines and had no
                                                                                                                                                                                                         guarantee their motion to
                                                                                                                                                                                                         dismiss would be fully
                                                                                                                                                                                                         successful. Plaintiffs' never
                                                                                                                                                                                                         dismissed any State law
                                                                                                                                                                                                         claims or ADA claims,
                                                                                                                                                                                                         requiring Defendants to
                                                                                                                                                                                                         incur expenses in its defese
                                                                                                                                                                                                         against said claims,
                                                                                                                                                                                                         including expenses related
                                                                                                                                                                                                         to Plaintiffs' depositions.
                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                   ($41.75) [this is 5/7s                                                  unnecessary to extent         in pursuing that claim.
                                                                                                   of the full $58.80                                                      related to plaintiffs'        Cabrales v. Co. of L.A. , 935
Connie L. Michaels   8/15/2022 Draft three amended deposition notices.                         0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   depositions                   F.2d 1050, 1053 (9th
Invoice=5746759      9/30/2022

                                                                                                                                                                                                         Preparing for and advising
                                                                                                                                                                                                         on the manner in which to
                                                                                                                                                                                                         maintain potentially
                                                                                                                                                                                                         privileged documents or
                                                                                                                                                                                                         information is not an
                                                                                                                                                                                                         administrative task.
                                                                                                                                                                                                         Moreover, attorneys' fee
                                                                                                                                                                                                         awards must account for
                                                                                                                                                                                                         work of non-attorneys,
                                                                                                                                                                                                         including paralegals and law
                                                                                                                                                                                                         clerks “whose labor
                                                                                                                                                                                                         contributes to the work
                                                                                                                                                                                                         product for which an
                                                                                                                                                                                                         attorney bills her client.”
                                                                                                                                                                                                         Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                         274, 285 (1989). Moreover,
                                                                                                                                                                                                         this is not block billing. This
                                                                                                                                                                                                         task was done in
                                                                                                                                                                                                         antiicpation of
                                                                                                                                                                                                         supplemental production of
                                                                                                                                                                                                         documents in response to
                                                                                                                                                                                                         discovery and subpoenas
                                                                                                                                                                                                         propounded by Plaintiffs.
                                                                                                   ($79.88) [this is 5/7s
                                                                                                   of the full $112.50                                                     unreasonable block billing;
Ajay A. Patel        8/15/2022 Review and analyze electronic evidence and                      0.5 entry]                 Reduced in its entirety by Plaintiffs   Object   administrative tasks
Invoice=5746759      9/30/2022 prepare specifications for processing and
                               loading into Relativity for substantive case
                               team review.

                                                                                                   ($31.95) [this is 5/7s
                                                                                                   of the full $45
Suzy Richman         8/15/2022 Review email from opossing counsel to C.                        0.2 entry]
Invoice=5746759      9/30/2022 Michaels re recent production, review documents
                               produced and email C. Michaels re the documents
                               we intended to produce were produced.




                                                                                 Final Joint Statement_00179
                        Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 180 of 274 Page
                                                                                                       ID #:2319

                                                                                                                                                                                                                            Preparing for and advising
                                                                                                                                                                                                                            on the manner in which to
                                                                                                                                                                                                                            maintain potentially
                                                                                                                                                                                                                            privileged documents or
                                                                                                                                                                                                                            information is not an
                                                                                                                                                                                                                            administrative task.
                                                                                                                                                                                                                            Moreover, attorneys' fee
                                                                                                                                                                                                                            awards must account for
                                                                                                                                                                                                                            work of non-attorneys,
                                                                                                                                                                                                                            including paralegals and law
                                                                                                                                                                                                                            clerks “whose labor
                                                                                                                                                                                                                            contributes to the work
                                                                                                                                                                                                                            product for which an
                                                                                                                                                                                                                            attorney bills her client.”
                                                                                                                     ($79.88) [this is 5/7s                                                                                 Missouri v. Jenkins , 491
                                                                                                                     of the full $112.50                                                                                    U.S. 274, 285 (1989).
Suzy Richman        8/15/2022 Stage R:Drive with documents recently for                                          0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759     9/30/2022 upload to Relativity.

                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident and necessary in
                                                                                                                                                                                                                            the defense against
                                                                                                                                                                                                                            Plaintiffs' claims. Moreover,
                                                                                                                                                                                                                            Plaintiffs' never dismissed
                                                                                                                                                                                                                            any State law claims or ADA
                                                                                                                                                                                                                            claims, requiring
                                                                                                                                                                                                                            Defendants to incur
                                                                                                                                                                                                                            expenses in its defese
                                                                                                                                                                                                                            against said claims,
                                                                                                                                                                                                                            including expenses related
                                                                                                                                                                                                                            to discovery served by
                                                                                                                                                                                                                            Plaintiffs. Attorney activity
                                                                                                                                                                                                                            was conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                    ($841.35) [this is                                                                                      intend to seek 5/7 fraction
                                                                                                                    5/7s of the full                                                         unnecessary discovery          of total attorneys' fees
Joy C. Rosenquist   8/15/2022 Complete research into motion to quash deadline                                     3 $1,185 entry]           Reduced in its entirety by Plaintiffs   object   expense                        billed for this entry.
Invoice=5746759     9/30/2022 and prepare summary of research on Rule 45
                              subpoenas and strategy for handling.

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            client correspondences
                                                                                                                                                                                                                            related to discovery served
                                                                                                                                                                                                                            by Plaintiffs. Attorney
                                                                                                                                                                                                                            activity was conducted in
                                                                                                                                                                                                                            light of all allegations within
                                                                                                                                                                                                                            Plaintiffs' Complaint.
                                                                                                                                                                                                                            However, if a prevailing
                                                                                                                                                                                                                            party ultimately wins on a
                                                                                                                                                                                                                            particular claim, it is
                                                                                                                                                                                                                            entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                             unable to determine            billed for this entry.
                                                                                                                     ($140.23) [this is                                                      nature of entry; unable to
                                                                                                                     5/7s of the full                                                        determine number of
Joy C. Rosenquist   8/15/2022 Multiple correspondences to/from client           To protect content of attorney   0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   object   hours billed for each claim.
Invoice=5746759     9/30/2022 REDACTED production.                              work product, attorney mental




                                                                                         Final Joint Statement_00180
                          Case 2:21-cv-08688-DSF-PVC                                                    Document 95 Filed 01/19/23                                                 Page 181 of 274 Page
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                                                                                      impressions, and/or strategy.
                                                                                      To protect content of attorney-
                                                                                      client communications.

                                                                                                                                                                                                                                Nature of attorney work is
                                                                                                                                                                                                                                evident and clearly denotes
                                                                                                                                                                                                                                client correspondences
                                                                                                                                                                                                                                related to discovery served
                                                                                                                                                                                                                                by Plaintiffs. Attorney
                                                                                                                                                                                                                                activity was conducted in
                                                                                                                                                                                                                                light of all allegations within
                                                                                                                                                                                                                                Plaintiffs' Complaint.
                                                                                                                                                                                                                                However, if a prevailing
                                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                Cir.1991). Given Defendants
                                                                                                                                                                                                                                seek recovery of State and
                                                                                                                                                                                                                                ADA claim only, Defendants
                                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                                                of total attorneys' fees.
                                                                                                                                                                                                   unable to determine
                                                                                                                            ($504.81) [this is                                                     number of hours billed for
                                                                                                                            5/7s of the full $711                                                  each claim; unnecessary
Carrie A. Stringham   8/15/2022 Review and assess relevant file materials,                                              1.8 entry]                Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759       9/30/2022 including Plaintiffs' Second Amended Complaint,
                                proposed Third Amended Complaint, discovery
                                responses, and factors analyzed by court's in
                                recent vaccine mandate cases in order to
                                prepare carefully tailored written discovery to
                                Plaintiffs.

                                                                                                                                                                                                                                Nature of attorney work is
                                                                                                                                                                                                                                evident and clearly denotes
                                                                                                                                                                                                                                client correspondences
                                                                                                                                                                                                                                related to discovery served
                                                                                                                                                                                                                                by Plaintiffs. Attorney
                                                                                                                                                                                                                                activity was conducted in
                                                                                                                                                                                                                                light of all allegations within
                                                                                                                                                                                                                                Plaintiffs' Complaint.
                                                                                                                                                                                                                                However, if a prevailing
                                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                                                of total attorneys' fees
                                                                                                                                                                                                   unable to determine          billed for this entry.
                                                                                                                            ($766.80) [this is                                                     number of hours billed for
                                                                                                                            5/7s of the full                                                       each claim; unable to
Al LeBrun             8/15/2022 Begin review of board meeting agenda items REDACTED   To protect content of attorney    4.8 $1,080 entry]         Reduced in its entirety by Plaintiffs   object   determine nature of entry
Invoice=5746759       9/30/2022 REDACTED                                              work product, attorney mental
                                REDACTED                                              impressions, and/or strategy.
                                REDACTED




                                                                                               Final Joint Statement_00181
                      Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                             Page 182 of 274 Page
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                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                   correspondences related to
                                                                                                                                                                                                   discovery served by
                                                                                                                                                                                                   Plaintiffs. Attorney activity
                                                                                                                                                                                                   was conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Given Defendants
                                                                                                                                                                                                   seek recovery of State and
                                                                                                                                                                                                   ADA claim only, Defendants
                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                   of total attorneys' fees.


                                                                                              ($47.93) [this is 5/7s                                                  unable to determine
                                                                                              of the full $67.50                                                      number of hours billed for
Al LeBrun         8/16/2022 Draft correspondence re shared repository for                 0.3 entry]                 Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5746759   9/30/2022 responsive board meeting agendas with
                            references to Covid, vaccine and mandate.

                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                   task related to discovery
                                                                                                                                                                                                   served by Plaintiffs.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                   prevailing party ultimately
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                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                   billed for this entry.
                                                                                              ($63.90) [this is 5/7s                                                  unable to determine
                                                                                              of the full $90                                                         number of hours billed for
Al LeBrun         8/16/2022 Conference with Mr. Rousseau re completion of                 0.4 entry]                 Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5746759   9/30/2022 initial review of board meeting agendas for
                            references to Covid, vaccine and mandate.




                                                                            Final Joint Statement_00182
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                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     document review related to
                                                                                                                                                                                                     discovery served by
                                                                                                                                                                                                     Plaintiffs. Attorney activity
                                                                                                                                                                                                     was conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.

                                                                                                 ($575.10) [this is                                                     unable to determine
                                                                                                 5/7s of the full $810                                                  number of hours billed for
Al LeBrun           8/16/2022 Continue review of board meeting agenda items                  3.6 entry]                Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5746759     9/30/2022 for references to Covid, vaccine and mandate
                              and download responsive items.


                                                                                                                                                                                                     Preparing for and advising
                                                                                                                                                                                                     on the manner in which to
                                                                                                                                                                                                     maintain potentially
                                                                                                                                                                                                     privileged documents or
                                                                                                                                                                                                     information is not an
                                                                                                                                                                                                     administrative task. Nature
                                                                                                                                                                                                     of attorney work is evident
                                                                                                                                                                                                     and is clearly related to
                                                                                                                                                                                                     discovery served by
                                                                                                                                                                                                     Plaintiffs. Attorney activity
                                                                                                                                                                                                     was conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
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                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                 ($168.27) [this is
                                                                                                 5/7s of the full $237
Joy C. Rosenquist   8/16/2022 Upload discovery documents to NetDocs for use                  0.6 entry]                Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759     9/30/2022 in responses to subpoena and document demands.




                                                                               Final Joint Statement_00183
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                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                      document review related to
                                                                                                                                                                                                      discovery served by
                                                                                                                                                                                                      Plaintiffs. Attorney activity
                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                         unable to determine
                                                                                                   ($308.50) [this is                                                    number of hours billed for
                                                                                                   5/7s of the full                                                      each claim; unnecessary
Carrie A. Stringham   8/16/2022 Draft comprehensive and targeted Special                       1.1 $434.50 entry]       Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759       9/30/2022 Interrogatories, Set One, on behalf of
                                Plaintiff Carvalho to Defendant Health Freedom
                                Defense Fund, Inc. addressing Plaintiffs'
                                specific factual allegations and seeking
                                specific information relating to this entity
                                Plaintiff.

                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                      document review related to
                                                                                                                                                                                                      discovery served by
                                                                                                                                                                                                      Plaintiffs. Attorney activity
                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                         unable to determine
                                                                                                   ($252.41) [this is                                                    number of hours billed for
                                                                                                   5/7s of the full                                                      each claim; unnecessary
Carrie A. Stringham   8/16/2022 Draft comprehensive and targeted Special                       0.9 $355.50 entry]       Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759       9/30/2022 Interrogatories, Set One, on behalf of
                                Plaintiff Davalos to Defendant Health Freedom
                                Defense Fund, Inc. addressing Plaintiffs'
                                specific factual allegations and seeking
                                details relating to the specific factual
                                allegations against the individual defendants.




                                                                                 Final Joint Statement_00184
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 185 of 274 Page
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                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                           unable to determine
                                                                                                    ($336.54) [this is                                                     number of hours billed for
                                                                                                    5/7s of the full $474                                                  each claim; unnecessary
Carrie A. Stringham   8/16/2022 Draft comprehensive and targeted Special                        1.2 entry]                Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759       9/30/2022 Interrogatories, Set One, on behalf of
                                Plaintiff Carvalho to Defendant California
                                Educators for Medical Freedom. addressing
                                Plaintiffs' specific factual allegations and
                                seeking specific information relating to this
                                entity Plaintiff.

                                                                                                                                                                                                        Nature of attorney work is
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                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                           unable to determine
                                                                                                    ($616.99) [this is                                                     number of hours billed for
                                                                                                    5/7s of the full $869                                                  each claim; unnecessary
Carrie A. Stringham   8/16/2022 Draft Special Interrogatories, Set One, on                      2.2 entry]                Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759       9/30/2022 behalf of Defendant Carvalho, directed at each
                                of the individual Plaintiffs seeking specific
                                information relating to the facts, witnesses,
                                and documents supporting the allegations in the
                                complaint.




                                                                                  Final Joint Statement_00185
                        Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                           Page 186 of 274 Page
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                                                                                                                                                                                                     Nature of attorney work is
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                                                                                                                                                                                                     discovery served by
                                                                                                                                                                                                     Plaintiffs. Attorney activity
                                                                                                                                                                                                     was conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                        unable to determine
                                                                                                 ($280.45) [this is                                                     number of hours billed for
                                                                                                 5/7s of the full $395                                                  each claim; unnecessary
Joy C. Rosenquist   8/16/2022 Commence determination of whether all subpoenas                  1 entry]                Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5746759     9/30/2022 served on LAUSD employees are subject to a
                              motion to quash.

                                                                                                                                                                                                     Preparing for and advising
                                                                                                                                                                                                     on the manner in which to
                                                                                                                                                                                                     maintain potentially
                                                                                                                                                                                                     privileged documents or
                                                                                                                                                                                                     information is not an
                                                                                                                                                                                                     administrative task.
                                                                                                                                                                                                     Moreover, attorneys' fee
                                                                                                                                                                                                     awards must account for
                                                                                                                                                                                                     work of non-attorneys,
                                                                                                                                                                                                     including paralegals and law
                                                                                                                                                                                                     clerks “whose labor
                                                                                                                                                                                                     contributes to the work
                                                                                                                                                                                                     product for which an
                                                                                                                                                                                                     attorney bills her client.”
                                                                                                  ($111.83) [this is                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                  5/7s of the full                                                                                   274, 285 (1989).
Suzy Richman        8/16/2022 Redact personally identifiable information from                 0.7 $157.50 entry]       Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759     9/30/2022 emails to AskHR in Relativity and mark
                              Responsive.

                                                                                                                                                                                                     Preparing for and advising
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                                                                                                                                                                                                     privileged documents or
                                                                                                                                                                                                     information is not an
                                                                                                                                                                                                     administrative task.
                                                                                                                                                                                                     Moreover, attorneys' fee
                                                                                                                                                                                                     awards must account for
                                                                                                                                                                                                     work of non-attorneys,
                                                                                                                                                                                                     including paralegals and law
                                                                                                                                                                                                     clerks “whose labor
                                                                                                                                                                                                     contributes to the work
                                                                                                                                                                                                     product for which an
                                                                                                                                                                                                     attorney bills her client.”
                                                                                                  ($111.83) [this is                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                  5/7s of the full                                                                                   274, 285 (1989).
Ajay A. Patel       8/16/2022 Prepare export of production set of evidence                    0.7 $157.50 entry]       Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759     9/30/2022 (19 documents/LAUSD_HFDF 000983 to LAUSD_HFDF
                              001035) to be produced to opposing counsel.




                                                                                Final Joint Statement_00186
                       Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 187 of 274 Page
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                                                                                                                                                                                                       Nature of attorney work is
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                                                                                                                                                                                                       document review related to
                                                                                                                                                                                                       discovery served by
                                                                                                                                                                                                       Plaintiffs. Attorney activity
                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                         unable to determine
                                                                                                 ($1,006.43) [this is                                                    number of hours billed for
                                                                                                 5/7s of the full                                                        each claim; excessive block
Robert Rousseau    8/16/2022 Review public meeting agendas for Covid related                 6.3 $1,417.50 entry]       Reduced in its entirety by Plaintiffs   object   billing.
Invoice=5746759    9/30/2022 topics.

                                                                                                                                                                                                       Nature of the attorney work
                                                                                                                                                                                                       is evident and necessary in
                                                                                                                                                                                                       the defense against
                                                                                                                                                                                                       Plaintiffs' claims. Moreover,
                                                                                                                                                                                                       Plaintiffs' never dismissed
                                                                                                                                                                                                       any State law claims or ADA
                                                                                                                                                                                                       claims, requiring
                                                                                                                                                                                                       Defendants to incur
                                                                                                                                                                                                       expenses in its defese
                                                                                                                                                                                                       against said claims,
                                                                                                                                                                                                       including expenses related
                                                                                                                                                                                                       to Plaintiffs' depositions.
                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                       is entitled to all attorney's
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                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                 ($224.36) [this is                                                                                    intend to seek 5/7 fraction
                                                                                                 5/7s of the full $316                                                   unnecessary discovery         of total attorneys' fees
Susie Keshishyan   8/16/2022 Continue drafting deposition outline in                         0.8 entry]                Reduced in its entirety by Plaintiffs    object   expense                       billed for this entry.
Invoice=5746759    9/30/2022 preparation for Plaintiff Sandra Garcia's
                             deposition.




                                                                               Final Joint Statement_00187
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                                                                                                                                                                                                    Nature of the attorney work
                                                                                                                                                                                                    is evident and necessary in
                                                                                                                                                                                                    the defense against
                                                                                                                                                                                                    Plaintiffs' claims. Moreover,
                                                                                                                                                                                                    Plaintiffs' never dismissed
                                                                                                                                                                                                    any State law claims or ADA
                                                                                                                                                                                                    claims, requiring
                                                                                                                                                                                                    Defendants to incur
                                                                                                                                                                                                    expenses in its defese
                                                                                                                                                                                                    against said claims,
                                                                                                                                                                                                    including expenses related
                                                                                                                                                                                                    to Plaintiffs' depositions.
                                                                                                                                                                                                    Attorney activity was
                                                                                                                                                                                                    conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Given Defendants
                                                                                                  ($1,711.69) [this is                                                                              seek recovery of State and
                                                                                                  5/7s of the full                                                          unnecessary discovery   ADA claim only, Defendants
Connie L. Michaels   8/16/2022 Revise deposition outline for Plaintiffs.                      4.1 $2,410.80 entry]         Reduced in its entirety by Plaintiffs   object   expense                 intend to seek 5/7 fraction
Invoice=5746759      9/30/2022

                                                                                                  ($250.49) [this is
                                                                                                  5/7s of the full
Connie L. Michaels   8/16/2022 Review and approve for production of Davalos                   0.6 $352.80 entry]
Invoice=5746759      9/30/2022 emails.

                                                                                                  ($83.50) [this is 5/7s
                                                                                                  of the full $117.60
Connie L. Michaels   8/16/2022 Draft privilege log to accompany production re                 0.2 entry]
Invoice=5746759      9/30/2022 reactions for privacy reasons.

                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                    document review related to
                                                                                                                                                                                                    discovery served by
                                                                                                                                                                                                    Plaintiffs. Attorney activity
                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
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                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                    billed for this entry.

                                                                                                  ($125.24) [this is
                                                                                                  5/7s of the full                                                          unnecessary discovery
Connie L. Michaels   8/16/2022 Strategize re basis and timing for motion to                   0.3 $176.40 entry]           Reduced in its entirety by Plaintiffs   object   expense
Invoice=5746759      9/30/2022 quash.




                                                                                Final Joint Statement_00188
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                    Page 189 of 274 Page
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                                                                                                                                                                                                                          Preparing for and advising
                                                                                                                                                                                                                          on the manner in which to
                                                                                                                                                                                                                          maintain potentially
                                                                                                                                                                                                                          privileged documents or
                                                                                                                                                                                                                          information is not an
                                                                                                                                                                                                                          administrative task.
                                                                                                                                                                                                                          Moreover, attorneys' fee
                                                                                                                                                                                                                          awards must account for
                                                                                                                                                                                                                          work of non-attorneys,
                                                                                                                                                                                                                          including paralegals and law
                                                                                                                                                                                                                          clerks “whose labor
                                                                                                                                                                                                                          contributes to the work
                                                                                                                                                                                                                          product for which an
                                                                                                                                                                                                                          attorney bills her client.”
                                                                                                                       ($175.73) [this is                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                                       5/7s of the full                                                                                   274, 285 (1989).
Suzy Richman         8/17/2022 Review redacted documents and fill in Privilege                                     1.1 $247.50 entry]           Reduced in its entirety by Plaintiffs   object   admin tasks
Invoice=5746759      9/30/2022 Log with Bates numbers of redacted documents,
                               coordinate production and prepare POS, and
                               upload documents to Biscom to send to OPC.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          document review related to
                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                 unnecessary discovery
                                                                                                                       ($2,588.38) [this is                                                      expense;
                                                                                                                       5/7s of the full                                                          unreasonable/excessive
Connie L. Michaels   8/17/2022 Continue to prepare for plaintiffs’ depositions                                     6.2 $3,645.60 entry]         Reduced in its entirety by Plaintiffs   object   block billing
Invoice=5746759      9/30/2022 and responding to Rule 45 subpoenas including
                               review of defense document productions,
                               plaintiffs’ document productions and unproduced
                               documents provided by client, and revise
                               deposition outline.


                                                                                                                       ($41.75) [this is 5/7s
                                                                                                                       of the full $58.80
Connie L. Michaels   8/17/2022 Correspond with client re REDACTED                To protect content of attorney    0.1 entry]
Invoice=5746759      9/30/2022 to produce supplemental discovery on behalf of    work product, attorney mental
                               Board.                                            impressions, and/or strategy.
                                                                                 To protect content of attorney-
                                                                                 client communications.

                                                                                                                       ($41.75) [this is 5/7s
                                                                                                                       of the full $58.80
Connie L. Michaels   8/17/2022 Correspond with plaintiffs’ counsel responding                                      0.1 entry]
Invoice=5746759      9/30/2022 to two meet and confer letters re further
                               document production.




                                                                                          Final Joint Statement_00189
                         Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                             Page 190 of 274 Page
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                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                                                         be successful, that Plaintiffs
                                                                                                                                                                                                         would dismiss the claim in
                                                                                                                                                                                                         response or elect not to
                                                                                                                                                                         unnecessary (contradicts        amend their Complaint
                                                                                                                                                                         argument that claims are        following a ruling on the
                                                                                                 ($83.50) [this is 5/7s                                                  frivolous or without merit      motion.
                                                                                                 of the full $117.60                                                     and irrelevant to Plaintiffs'
Connie L. Michaels   8/17/2022 Confer with expert witness.                                   0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   state law/ADA claims);
Invoice=5746759      9/30/2022

                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.

                                                                                                 ($83.50) [this is 5/7s
                                                                                                 of the full $117.60                                                     unnecessary discovery
Connie L. Michaels   8/17/2022 Strategize re timing and basis for motion to                  0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   expense
Invoice=5746759      9/30/2022 quash.


                                                                                                 ($41.75) [this is 5/7s
                                                                                                 of the full $58.80
Connie L. Michaels   8/17/2022 Correspond with plaintiffs’ counsel re change                 0.1 entry]
Invoice=5746759      9/30/2022 in deposition order.




                                                                               Final Joint Statement_00190
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                                                                                                                                                                                                 Defendants were entitled to
                                                                                                                                                                                                 depose Plaintiffs and to do
                                                                                                                                                                                                 so in person. Defendants
                                                                                                                                                                                                 proceeded when they did as
                                                                                                                                                                                                 they faced pre-trial
                                                                                                                                                                                                 deadlines and had no
                                                                                                                                                                                                 guarantee their motion to
                                                                                                                                                                                                 dismiss would be fully
                                                                                                                                                                                                 successful. Attorney activity
                                                                                                                                                                                                 was conducted in light of all
                                                                                                                                                                                                 allegations within Plaintiffs'
                                                                                                                                                                                                 Complaint. However, if a
                                                                                                                                                                                                 prevailing party ultimately
                                                                                                                                                                                                 wins on a particular claim, it
                                                                                                                                                                                                 is entitled to all attorney's
                                                                                                                                                                                                 fees reasonably expended
                                                                                                                                                                                                 in pursuing that claim.
                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                 Cir.1991). Defendants
                                                                                                                                                                                                 intend to seek 5/7 fraction
                                                                                                                                                                                                 of total attorneys' fees
                                                                                                                                                                                                 billed for this entry.
                                                                                                                                                                       unnecessary discovery
                                                                                               ($308.50) [this is                                                      expense; unable to
                                                                                               5/7s of the full                                                        determine how much time
Nick McKinney     8/17/2022 Review and analysis of additional records                      1.1 $434.50 entry]         Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759   9/30/2022 relating to Jeffrey Fuentes in preparation for
                            deposition.

                                                                                                                                                                                                 Preparing for and advising
                                                                                                                                                                                                 on the manner in which to
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                                                                                                                                                                                                 privileged documents or
                                                                                                                                                                                                 information is not an
                                                                                                                                                                                                 administrative task.
                                                                                                                                                                                                 Moreover, attorneys' fee
                                                                                                                                                                                                 awards must account for
                                                                                                                                                                                                 work of non-attorneys,
                                                                                                                                                                                                 including paralegals and law
                                                                                                                                                                                                 clerks “whose labor
                                                                                                                                                                                                 contributes to the work
                                                                                                                                                                                                 product for which an
                                                                                                                                                                                                 attorney bills her client.”
                                                                                               ($79.88) [this is 5/7s                                                                            Missouri v. Jenkins, 491 U.S.
                                                                                               of the full $112.50                                                                               274, 285 (1989).
Ajay A. Patel     8/17/2022 Review and analyze electronic evidence and                     0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759   9/30/2022 prepare specifications for processing and
                            loading into Relativity for substantive case
                            team review.




                                                                             Final Joint Statement_00191
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                                                                                         ID #:2331

                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.

                                                                                                   ($718.88) [this is                                                    excessive; unable to
                                                                                                   5/7s of the full                                                      determine number of
Robert Rousseau       8/17/2022 Continue to process and prepare public meeting                 4.5 $1,012.50 entry]     Reduced in its entirety by Plaintiffs   object   hours billed for each claim.
Invoice=5746759       9/30/2022 agendas for production and produce same.

                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                         unnecessary discovery
                                                                                                   ($729.17) [this is                                                    expense; unable to
                                                                                                   5/7s of the full                                                      determine number of
Carrie A. Stringham   8/17/2022 Draft comprehensive Requests for Production of                 2.6 $1,027 entry]        Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5746759       9/30/2022 Documents, Set One, by defendant Carvahlo to
                                Plaintiff Health Freedom Defense Fund, Inc.
                                seeking production of all documents referenced
                                in the Complaint as well as all documents
                                supporting or evidencing each of the
                                Complaint's extensive factual allegations.




                                                                                 Final Joint Statement_00192
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 193 of 274 Page
                                                                                                        ID #:2332

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            document review related to
                                                                                                                                                                                                                            discovery served by
                                                                                                                                                                                                                            Plaintiffs. Attorney activity
                                                                                                                                                                                                                            was conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                             unnecessary discovery
                                                                                                                      ($616.99) [this is                                                     expense; unable to
                                                                                                                      5/7s of the full $869                                                  determine number of
Carrie A. Stringham   8/17/2022 Draft comprehensive Requests for Production of                                    2.2 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim.
Invoice=5746759       9/30/2022 Documents, Set One, by Defendant Carvalho to
                                each of the individual Defendants addressing
                                their specific claims, employment status, and
                                contentions relating to the mandate.

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            document review related to
                                                                                                                                                                                                                            discovery served by
                                                                                                                                                                                                                            Plaintiffs. Attorney activity
                                                                                                                                                                                                                            was conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.

                                                                                                                     ($841.35) [this is
                                                                                                                     5/7s of the full                                                        unnecessary discovery
Joy C. Rosenquist     8/17/2022 Analysis of Subpoena sent to LAUSD August 5,     To protect content of attorney    3 $1,185 entry]          Reduced in its entirety by Plaintiffs   Object   expense
Invoice=5746759       9/30/2022 2022 to determine grounds for Motion to Quash,   work product, attorney mental
                                REDACTED                                         impressions, and/or strategy.
                                REDACTED




                                                                                          Final Joint Statement_00193
                        Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 194 of 274 Page
                                                                                                      ID #:2333

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.

                                                                                                                    ($1,121.80) [this is                                                    unable to determine
                                                                                                                    5/7s of the full                                                        number of hours billed for
Joy C. Rosenquist   8/17/2022 Preparation of objections to Rule 45 subpoena                                       4 $1,580 entry]          Reduced in its entirety by Plaintiffs   Object   each claim.
Invoice=5746759     9/30/2022 for custodian of records for LAUSD, for all 24
                              categories of documents.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         client communications
                                                                                                                                                                                                                         related to the case.
                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                            unable to determine          billed for this entry.
                                                                                                                     ($112.18) [this is                                                     number of hours billed for
                                                                                                                     5/7s of the full $158                                                  each claim; unable to
Joy C. Rosenquist   8/18/2022 Correspondence to/from client and Francisco      To protect content of attorney    0.4 entry]                Reduced in its entirety by Plaintiffs   Object   determine nature of entry.
Invoice=5746759     9/30/2022 regarding motion REDACTED and objections         work product, attorney mental
                              REDACTED                                         impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communications.




                                                                                        Final Joint Statement_00194
                        Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                            Page 195 of 274 Page
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                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                      document review related to
                                                                                                                                                                                                      discovery served by
                                                                                                                                                                                                      Plaintiffs. Attorney activity
                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                       unnecessary discovery
                                                                                                ($112.18) [this is                                                     expense; unable to
                                                                                                5/7s of the full $158                                                  determine number of
Joy C. Rosenquist   8/18/2022 Review draft requests for production of                       0.4 entry]                Reduced in its entirety by Plaintiffs   Object   hours billed for each claim
Invoice=5746759     9/30/2022 documents to Plaintiffs and provide edits.

                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                      document review related to
                                                                                                                                                                                                      discovery served by
                                                                                                                                                                                                      Plaintiffs. Attorney activity
                                                                                                                                                                                                      was conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                       excessive (already billed      billed for this entry.
                                                                                                                                                                       4.0 hours above) - these
                                                                                                ($981.58) [this is                                                     objections to Plaintiffs'
                                                                                                5/7s of the full                                                       recollection were nearly all
Joy C. Rosenquist   8/18/2022 Continue preparation of objections to Rule 45                 3.5 $1,382.50 entry]      Reduced in its entirety by Plaintiffs   Object   copied and pasted.
Invoice=5746759     9/30/2022 subpoena for custodian of records for LAUSD,
                              for all 24 categories of documents.




                                                                              Final Joint Statement_00195
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                           Page 196 of 274 Page
                                                                                          ID #:2335

                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                    document review related to
                                                                                                                                                                                                    discovery served by
                                                                                                                                                                                                    Plaintiffs. Attorney activity
                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                    billed for this entry.
                                                                                                                                                                          unnecessary discovery
                                                                                                   ($280.45) [this is                                                     expense; unable to
                                                                                                   5/7s of the full $395                                                  determine how much time
Joy C. Rosenquist     8/18/2022 Commence preparation of Objections to Rule 45                    1 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5746759       9/30/2022 subpoena for Kristen Murphy.

                                                                                                                                                                                                    Defendants were entitled to
                                                                                                                                                                                                    depose Plaintiffs and to do
                                                                                                                                                                                                    so in person. Defendants
                                                                                                                                                                                                    proceeded when they did as
                                                                                                                                                                                                    they faced pre-trial
                                                                                                                                                                                                    deadlines and had no
                                                                                                                                                                                                    guarantee their motion to
                                                                                                                                                                                                    dismiss would be fully
                                                                                                                                                                                                    successful. Attorney activity
                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                    billed for this entry.
                                                                                                                                                                          unnecessary discovery
                                                                                                    ($532.86) [this is                                                    expense; unable to
                                                                                                    5/7s of the full                                                      determine how much time
Carrie A. Stringham   8/18/2022 Review and revise draft master deposition                       1.9 $750.50 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5746759       9/30/2022 outline for use in the depositions of
                                Plaintiffs to include additional questions
                                targeted directly at Plaintiffs' substantive
                                due process and equal protection claims as well
                                as additional questions relating to Plaintiffs'
                                other five causes of action.




                                                                                  Final Joint Statement_00196
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 197 of 274 Page
                                                                                                         ID #:2336

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          document review related to
                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                              unnecessary discovery
                                                                                                                       ($673.08) [this is                                                     expense; unable to
                                                                                                                       5/7s of the full $948                                                  determine how much time
Carrie A. Stringham   8/18/2022 Continue drafting and revising comprehensive                                       2.4 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5746759       9/30/2022 Special Interrogatories, Set One, to Plaintiffs
                                to ensure all key factual allegations are
                                addressed across each of the 8 sets of
                                interrogatories.

                                                                                                                                                                                                                         This entry involved a review
                                                                                                                                                                                                                         of documents related to
                                                                                                                                                                                                                         another lawsuit alleging
                                                                                                                                                                                                                         similar claims as in the
                                                                                                                                                                                                                         Heath Freedom case.
                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         review and analysis of
                                                                                                                                                                                                                         Court's order re Defendants'
                                                                                                                                                                                                                         MJOP and a review of
                                                                                                                                                                                                                         documents related to
                                                                                                                                                                                                                         another lawsuit alleging
                                                                                                                                                                                                                         similar claims as in the
                                                                                                                                                                                                                         Health Freedom case.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protect attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.
                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                              unable to determine how wins on a particular claim, it
                                                                                                                       ($504.81) [this is                                                     much time billed for each is entitled to all attorney's
                                                                                                                       5/7s of the full $711                                                  claim; unable to determine fees reasonably expended
Carrie A. Stringham   8/18/2022 Review and analysis of recent Order by the        To protect content of attorney   1.8 entry]                Reduced in its entirety by Plaintiffs   object   nature of entry.           in pursuing that claim.
Invoice=5746759       9/30/2022 REDACTED                                          work product, attorney mental
                                REDACTED                                          impressions, and/or strategy.
                                motion to dismiss a lawsuit challenging the
                                 vaccine mandate, and related briefing,
                                in REDACTED
                                REDACTED
                                REDACTED




                                                                                           Final Joint Statement_00197
                      Case 2:21-cv-08688-DSF-PVC                            Document 95 Filed 01/19/23                                           Page 198 of 274 Page
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                                                                                                                                                                                             Nature of attorney work is
                                                                                                                                                                                             evident and clearly denotes
                                                                                                                                                                                             document review related to
                                                                                                                                                                                             discovery served by
                                                                                                                                                                                             Plaintiffs. Attorney activity
                                                                                                                                                                                             was conducted in light of all
                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                 excessive and vague;
                                                                                           ($878.63) [this is                                                    unable to determine how
                                                                                           5/7s of the full                                                      much time billed for each
Robert Rousseau   8/18/2022 Review database of previous document                       5.5 $1,237.50 entry]     Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759   9/30/2022 productions to compare to documents for
                            possible production.

                                                                                                                                                                                             Nature of attorney work is
                                                                                                                                                                                             evident and clearly denotes
                                                                                                                                                                                             document review related to
                                                                                                                                                                                             discovery served by
                                                                                                                                                                                             Plaintiffs. Attorney activity
                                                                                                                                                                                             was conducted in light of all
                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                 unnecessary discovery
                                                                                           ($239.63) [this is                                                    expense; unable to
                                                                                           5/7s of the full                                                      determine how much time
Teresa J. Myers   8/18/2022 Analysis of federal primary resources re:                  1.5 $337.50 entry]       Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759   9/30/2022 motions to quash subpoenas issued on third
                            parties.




                                                                         Final Joint Statement_00198
                      Case 2:21-cv-08688-DSF-PVC                          Document 95 Filed 01/19/23                                             Page 199 of 274 Page
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                                                                                                                                                                                         Defendants were entitled to
                                                                                                                                                                                         depose Plaintiffs and to do
                                                                                                                                                                                         so in person. Defendants
                                                                                                                                                                                         proceeded when they did as
                                                                                                                                                                                         they faced pre-trial
                                                                                                                                                                                         deadlines and had no
                                                                                                                                                                                         guarantee their motion to
                                                                                                                                                                                         dismiss would be fully
                                                                                                                                                                                         successful. Plaintiffs' never
                                                                                                                                                                                         dismissed any State law
                                                                                                                                                                                         claims or ADA claims,
                                                                                                                                                                                         requiring Defendants to
                                                                                                                                                                                         incur expenses in its defese
                                                                                                                                                                                         against said claims,
                                                                                                                                                                                         including expenses related
                                                                                                                                                                                         to Plaintiffs' depositions.
                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                 unnecessary discovery   fees reasonably expended
                                                                                         ($1,009.62) [this is                                                    expense; unable to      in pursuing that claim.
                                                                                         5/7s of the full                                                        determine how much time Cabrales v. Co. of L.A. , 935
Nick McKinney     8/18/2022 Prepare deposition outline for Brambila.                 3.6 $1,422 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim.  F.2d 1050, 1053 (9th
Invoice=5746759   9/30/2022

                                                                                                                                                                                            A brief case team meeting
                                                                                                                                                                                            was held for all defense
                                                                                                                                                                                            counsel weekly to confer
                                                                                                                                                                                            and strategize regarding the
                                                                                                                                                                                            case and its developments.
                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                            is evident and necessary in
                                                                                                                                                                                            the defense against
                                                                                                                                                                                            Plaintiffs' claims. Attorney
                                                                                                                                                                                            activity was conducted in
                                                                                                                                                                                            light of all allegations within
                                                                                                                                                                                            Plaintiffs' Complaint.
                                                                                                                                                                                            However, if a prevailing
                                                                                                                                                                                            party ultimately wins on a
                                                                                                                                                                                            particular claim, it is
                                                                                                                                                                                            entitled to all attorney's
                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                            billed for this entry.
                                                                                         ($112.18) [this is                                                      unnecessary; unable to
                                                                                         5/7s of the full $158                                                   determine how much time
Nick McKinney     8/18/2022 Weekly litigation team conference call.                  0.4 entry]                Reduced in its entirety by Plaintiffs    object   billed for each claim.
Invoice=5746759   9/30/2022




                                                                       Final Joint Statement_00199
                         Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                  Page 200 of 274 Page
                                                                                                        ID #:2339

                                                                                                                                                                                                                          A brief case team meeting
                                                                                                                                                                                                                          was held for all defense
                                                                                                                                                                                                                          counsel weekly to confer
                                                                                                                                                                                                                          and strategize regarding the
                                                                                                                                                                                                                          case and its developments.
                                                                                                                                                                                                                          Nature of the attorney work
                                                                                                                                                                                                                          is evident and necessary in
                                                                                                                                                                                                                          the defense against
                                                                                                                                                                                                                          Plaintiffs' claims. Redactions
                                                                                                                                                                                                                          have been made to protect
                                                                                                                                                                                                                          attorney work product,
                                                                                                                                                                                                                          attorney mental
                                                                                                                                                                                                                          impressions and strategy.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                               unable to determine how F.2d 1050, 1053 (9th
                                                                                                                      ($375.73) [this is                                                       much time billed for each Cir.1991). Defendants
                                                                                                                      5/7s of the full                                                         claim; unable to determine intend to seek 5/7 fraction
Connie L. Michaels   8/18/2022 Prepare for, follow up from and conference with   To protect content of attorney   0.9 $529.20 entry]          Reduced in its entirety by Plaintiffs   object   nature of entry.           of total attorneys' fees
Invoice=5746759      9/30/2022 case team re REDACTED                             work product, attorney mental
                               REDACTED                                          impressions, and/or strategy.
                               REDACTED
                               REDACTED

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           document review related to
                                                                                                                                                                                                                           discovery served by
                                                                                                                                                                                                                           Plaintiffs. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                               unnecessary discovery
                                                                                                                      ($208.74) [this is                                                       expense; unable to
                                                                                                                      5/7s of the full $294                                                    determine how much time
Connie L. Michaels   8/18/2022 Review and revise extensive set of objections                                      0.5 entry]                                                                   billed for each claim
Invoice=5746759      9/30/2022 to document Rule 45 document subpoena.


                                                                                                                      ($127.80) [this is
                                                                                                                      5/7s of the full $180
Suzy Richman         8/18/2022 Telephone call with R. Rousseau re reviewing      To protect content of attorney   0.8 entry]
Invoice=5746759      9/30/2022 additional docs for productions vs documents      work product, attorney mental
                               already produced and review 8/16/22 production    impressions, and/or strategy.
                               to confirm docs to be produced REDACTED
                               REDACTED.




                                                                                          Final Joint Statement_00200
                         Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 201 of 274 Page
                                                                                                      ID #:2340

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         meeting with client.
                                                                                                                                                                                                                         Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                             unable to determine how     of total attorneys' fees
                                                                                                                     ($626.22) [this is                                                     much time billed for each    billed for this entry.
                                                                                                                     5/7s of the full $882                                                  claim; unable to determine
Connie L. Michaels   8/19/2022 Prepare to meet with Ms. Davalos re REDACTED    To protect content of attorney    1.5 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759      9/30/2022 REDACTED                                        work product, attorney mental
                                                                               impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communications.




Connie L. Michaels   8/19/2022 Travel to/from and attend meeting with Ms.      To protect content of attorney    3.5 5/7s of the full      Reduced in its entirety by Plaintiffs   Object   much time billed for each    Nature of attorney work is
Invoice=5746759      9/30/2022 Davalos and Mr. Hernandez REDACTED              work product, attorney mental
                               REDACTED                                        impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communications.


                                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                                          retained the experts when
                                                                                                                                                                                                                          they did as they faced pre-
                                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                            unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                            argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                            frivolous or without merit would dismiss the claim in
                                                                                                                                                                                            and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                            state law/ADA claims);        amend their Complaint
                                                                                                                                                                                            unable to determine how following a ruling on the
                                                                                                                     ($626.22) [this is                                                     much time billed for each motion.
                                                                                                                     5/7s of the full $882                                                  claim; unable to determine
Connie L. Michaels   8/19/2022 Confer with expert epidemiologist re REDACTED   To protect content of attorney    1.5 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759      9/30/2022 REDACTED                                        work product, attorney mental
                                                                               impressions, and/or strategy.




                                                                                        Final Joint Statement_00201
                         Case 2:21-cv-08688-DSF-PVC                                                     Document 95 Filed 01/19/23                                                 Page 202 of 274 Page
                                                                                                             ID #:2341

                                                                                                                                                                                                                                Nature of attorney work is
                                                                                                                                                                                                                                evident and clearly denotes
                                                                                                                                                                                                                                meeting with client.
                                                                                                                                                                                                                                Attorney activity was
                                                                                                                                                                                                                                conducted in light of all
                                                                                                                                                                                                                                allegations within Plaintiffs'
                                                                                                                                                                                                                                Complaint. However, if a
                                                                                                                                                                                                                                prevailing party ultimately
                                                                                                                                                                                                                                wins on a particular claim, it
                                                                                                                                                                                                                                is entitled to all attorney's
                                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                    unable to determine how     of total attorneys' fees
                                                                                                                            ($500.98) [this is                                                     much time billed for each    billed for this entry.
                                                                                                                            5/7s of the full                                                       claim; unable to determine
Connie L. Michaels   8/19/2022 Prepare to meet with Ms. Davalos to prepare REDACTED   To protect content of attorney    1.2 $705.60 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759      9/30/2022 REDACTED                                               work product, attorney mental
                               REDACTED                                               impressions, and/or strategy.
                               REDACTED                                               To protect content of attorney-
                                                                                      client communications.

                                                                                                                                                                                                                           Defendants were entitled to
                                                                                                                                                                                                                           depose Plaintiffs and to do
                                                                                                                                                                                                                           so in person. Defendants
                                                                                                                                                                                                                           proceeded when they did as
                                                                                                                                                                                                                           they faced pre-trial
                                                                                                                                                                                                                           deadlines and had no
                                                                                                                                                                                                                           guarantee their motion to
                                                                                                                                                                                                                           dismiss would be fully
                                                                                                                                                                                                                           successful. Plaintiffs never
                                                                                                                                                                                                                           dismissed the State law and
                                                                                                                                                                                                                           ADA claims. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                   unnecessary discovery   intend to seek 5/7 fraction
                                                                                                                            ($336.54) [this is                                                     expense; unable to      of total attorneys' fees
                                                                                                                            5/7s of the full $474                                                  determine how much time billed for this entry.
Nick McKinney        8/19/2022 Prepare exhibits for deposition of Brambila.                                             1.2 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759      9/30/2022




                                                                                               Final Joint Statement_00202
                        Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                           Page 203 of 274 Page
                                                                                      ID #:2342

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                  document review related to
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.
                                                                                                                                                                      unnecessary discovery
                                                                                               ($159.75) [this is                                                     expense; unable to
                                                                                               5/7s of the full $225                                                  determine how much time
Robert Rousseau     8/19/2022 Prepare revised production of documents.                       1 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759     9/30/2022

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                  document review related to
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
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                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
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                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.

                                                                                               ($280.45) [this is                                                      unable to determine how
                                                                                               5/7s of the full $395                                                  much time billed for each
Joy C. Rosenquist   8/19/2022 Commence preparation of Objections to Rule 45                  1 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759     9/30/2022 subpoena for Gifty Beets.

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                  document review related to
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.

                                                                                               ($280.45) [this is                                                      unable to determine how
                                                                                               5/7s of the full $395                                                  much time billed for each
Joy C. Rosenquist   8/19/2022 Commence preparation of Objections to Rule 45                  1 entry]                Reduced in its entirety by Plaintiffs   Object   claim




                                                                              Final Joint Statement_00203
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 204 of 274 Page
                                                                                         ID #:2343

Invoice=5746759      9/30/2022 subpoena for Dr. Malhotra.

                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.

                                                                                                  ($280.45) [this is                                                        unable to determine how
                                                                                                  5/7s of the full $395                                                    much time billed for each
Joy C. Rosenquist    8/19/2022 Commence preparation of objections to Rule 45                    1 entry]                Reduced in its entirety by Plaintiffs     Object   claim
Invoice=5746759      9/30/2022 subpoena for Karla Gould.

                                                                                                                                                                                                       Defendants were entitled to
                                                                                                                                                                                                       depose Plaintiffs and to do
                                                                                                                                                                                                       so in person. Defendants
                                                                                                                                                                                                       proceeded when they did as
                                                                                                                                                                                                       they faced pre-trial
                                                                                                                                                                                                       deadlines and had no
                                                                                                                                                                                                       guarantee their motion to
                                                                                                                                                                                                       dismiss would be fully
                                                                                                                                                                                                       successful. Moreover,
                                                                                                                                                                                                       Plaintiffs' never dismissed
                                                                                                                                                                                                       any State law claims or ADA
                                                                                                                                                                                                       claims, requiring
                                                                                                                                                                                                       Defendants to incur
                                                                                                                                                                                                       expenses in its defese
                                                                                                                                                                                                       against said claims,
                                                                                                                                                                                                       including expenses related
                                                                                                                                                                                                       to Plaintiffs' depositions.
                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                           excessive and               prevailing party ultimately
                                                                                                                                                                           unreasonable block billing; wins on a particular claim, it
                                                                                                                                                                           unnecessary discovery       is entitled to all attorney's
                                                                                                   ($3,882.56) [this is                                                    expense; unable to          fees reasonably expended
                                                                                                   5/7s of the full                                                        determine how much time in pursuing that claim.
Connie L. Michaels   8/20/2022 Prepare to conduct three plaintiffs'                            9.3 $5,468.40 entry]       Reduced in its entirety by Plaintiffs   Object   billed for each claim       Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022 depositions, including revision of query
                               outlines and review of case documents to select
                               exhibits.




                                                                                 Final Joint Statement_00204
                         Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                           Page 205 of 274 Page
                                                                                       ID #:2344

                                                                                                                                                                                                   Nature of attorney work is
                                                                                                                                                                                                   evident and clearly denotes
                                                                                                                                                                                                   document review related to
                                                                                                                                                                                                   discovery served by
                                                                                                                                                                                                   Plaintiffs. Attorney activity
                                                                                                                                                                                                   was conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                   billed for this entry.

                                                                                                 ($667.97) [this is                                                    unable to determine how
                                                                                                 5/7s of the full                                                      much time billed for each
Connie L. Michaels   8/21/2022 Review and revise 6 sets of document demands                  1.6 $940.80 entry]       Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759      9/30/2022 and 8 sets of interrogatories.

                                                                                                                                                                                               Defendants were entitled to
                                                                                                                                                                                               depose Plaintiffs and to do
                                                                                                                                                                                               so in person. Defendants
                                                                                                                                                                                               proceeded when they did as
                                                                                                                                                                                               they faced pre-trial
                                                                                                                                                                                               deadlines and had no
                                                                                                                                                                                               guarantee their motion to
                                                                                                                                                                                               dismiss would be fully
                                                                                                                                                                                               successful. Moreover,
                                                                                                                                                                                               Plaintiffs' never dismissed
                                                                                                                                                                                               any State law claims or ADA
                                                                                                                                                                                               claims, requiring
                                                                                                                                                                                               Defendants to incur
                                                                                                                                                                                               expenses in its defese
                                                                                                                                                                                               against said claims,
                                                                                                                                                                                               including expenses related
                                                                                                                                                                                               to Plaintiffs' depositions.
                                                                                                                                                                                               Attorney activity was
                                                                                                                                                                                               conducted in light of all
                                                                                                                                                                                               allegations within Plaintiffs'
                                                                                                                                                                                               Complaint. However, if a
                                                                                                                                                                                               prevailing party ultimately
                                                                                                                                                                                               wins on a particular claim, it
                                                                                                                                                                       unnecessary discovery   is entitled to all attorney's
                                                                                                 ($459.23) [this is                                                    expense; unable to      fees reasonably expended
                                                                                                 5/7s of the full                                                      determine how much time in pursuing that claim.
Connie L. Michaels   8/22/2022 Revise deposition outline of Sandra Garcia in                 1.1 $646.80 entry]       Reduced in its entirety by Plaintiffs   Object   billed for each claim   Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022 view of dismissal of 5 causes of actions.




                                                                               Final Joint Statement_00205
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 206 of 274 Page
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                                                                                                                                                                                                   Nature of the attorney work
                                                                                                                                                                                                   is evident and necessary in
                                                                                                                                                                                                   the defense against
                                                                                                                                                                                                   Plaintiffs' claims. Moreover,
                                                                                                                                                                                                   Plaintiffs' never dismissed
                                                                                                                                                                                                   any State law claims or ADA
                                                                                                                                                                                                   claims, requiring
                                                                                                                                                                                                   Defendants to incur
                                                                                                                                                                                                   expenses in its defese
                                                                                                                                                                                                   against said claims,
                                                                                                                                                                                                   including expenses related
                                                                                                                                                                                                   to Plaintiffs' depositions.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                           unnecessary discovery   of total attorneys' fees
Connie L. Michaels   8/22/2022 Travel to/from deposition of plaintiff Norma                    1.6                  896 Reduced in its entirety by Plaintiffs     object   expense                 billed for this entry.
Invoice=5746759      9/30/2022 Bramila. (Only 1/2 of the total time billed.).                  0.8                 448.5

                                                                                                                                                                                                   Defendants were entitled to
                                                                                                                                                                                                   depose Plaintiffs and to do
                                                                                                                                                                                                   so in person. Defendants
                                                                                                                                                                                                   proceeded when they did as
                                                                                                                                                                                                   they faced pre-trial
                                                                                                                                                                                                   deadlines and had no
                                                                                                                                                                                                   guarantee their motion to
                                                                                                                                                                                                   dismiss would be fully
                                                                                                                                                                                                   successful. Moreover,
                                                                                                                                                                                                   Plaintiffs' never dismissed
                                                                                                                                                                                                   any State law claims or ADA
                                                                                                                                                                                                   claims, requiring
                                                                                                                                                                                                   Defendants to incur
                                                                                                                                                                                                   expenses in its defese
                                                                                                                                                                                                   against said claims,
                                                                                                                                                                                                   including expenses related
                                                                                                                                                                                                   to Plaintiffs' depositions.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
                                                                                                                                                                                                   allegations within Plaintiffs'
                                                                                                                                                                                                   Complaint. However, if a
                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                   ($1,836.91) [this is                                                                            fees reasonably expended
                                                                                                   5/7s of the full                                                        unnecessary discovery   in pursuing that claim.
Connie L. Michaels   8/22/2022 Conduct deposition of Norma Bramila.                            4.4 $2,587.20 entry]       Reduced in its entirety by Plaintiffs   object   expense                 Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022

                                                                                                                                                                                                   Attorneys' fee awards must
                                                                                                                                                                                                   account for work of non-
                                                                                                                                                                                                   attorneys, including
                                                                                                                                                                                                   paralegals and law clerks
                                                                                                                                                                                                   “whose labor contributes to
                                                                                                                                                                                                   the work product for which
                                                                                                                                                                                                   an attorney bills her client.”
                                                                                                   ($271.58) [this is                                                                              Missouri v. Jenkins, 491 U.S.
                                                                                                   5/7s of the full                                                                                274, 285 (1989).
Robert Rousseau      8/22/2022 Process additional case documents for database.                 1.7 $382.50 entry]         Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5746759      9/30/2022




                                                                                 Final Joint Statement_00206
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 207 of 274 Page
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                                                                                                                   ($127.80) [this is
                                                                                                                   5/7s of the full $180
Robert Rousseau     8/22/2022 Finalize and produce additional client                                           0.8 entry]
Invoice=5746759     9/30/2022 documents.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.

                                                                                                                   ($981.58) [this is                                                        unable to determine how
                                                                                                                   5/7s of the full                                                         much time billed for each
Joy C. Rosenquist   8/22/2022 Continue preparation of Objections to Rule 45                                    3.5 $1,382.50 entry]        Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759     9/30/2022 Subpoenas issued to Beets, Gould and Murphy.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.
                                                                                                                                                                                             unable to determine how
                                                                                                                   ($271.58) [this is                                                       much time billed for each
                                                                                                                   5/7s of the full                                                         claim; unable to determine
Janice A. Jones     8/22/2022 Compile articles since March 1, 2020 re Los     To protect content of attorney   1.7 $382.50 entry]          Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759     9/30/2022 Angeles Unified School District's response to   work product, attorney mental
                              COVID, REDACTED                                 impressions, and/or strategy.
                              REDACTED.




                                                                                       Final Joint Statement_00207
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                               Page 208 of 274 Page
                                                                                                        ID #:2347

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Given Defendants
                                                                                                                                                                                                                         seek recovery of State and
                                                                                                                                                                                                                         ADA claim only, Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                             unable to determine how     impressions and strategy.
                                                                                                                      ($813.31) [this is                                                    much time billed for each
                                                                                                                      5/7s of the full                                                      claim; unable to determine
Carrie A. Stringham   8/22/2022 Review and analysis of multiple exhibits (31     To protect content of attorney   2.9 $1,145.50 entry]     Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759       9/30/2022 total exhibits, many multi-page scientific       work product, attorney mental
                                journal articles) in order to REDACTED           impressions, and/or strategy.
                                REDACTED
                                REDACTED

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                            unnecessary discovery        product, attorney mental
                                                                                                                                                                                            expense; unable to           impressions and strategy.
                                                                                                                                                                                            determine how much time
                                                                                                                      ($785.26) [this is                                                    billed for each claim;
                                                                                                                      5/7s of the full                                                      unable to determine
Carrie A. Stringham   8/22/2022 Make additional revisions to and finalize        To protect content of attorney   2.8 $1,106 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759       9/30/2022 written discovery requests to Plaintiffs (15     work product, attorney mental
                                sets in total) to ensure all claims and causes   impressions, and/or strategy.
                                REDACTED
                                REDACTED




                                                                                          Final Joint Statement_00208
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 209 of 274 Page
                                                                                                         ID #:2348

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review and analysis of
                                                                                                                                                                                                                           Plaintiffs' opposition to
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                       ($673.08) [this is                                                      unable to determine how
                                                                                                                       5/7s of the full $948                                                  much time billed for each
Carrie A. Stringham   8/22/2022 Comprehensive review and analysis of                                               2.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim.
Invoice=5746759       9/30/2022 Plaintiffs' Memorandum of Points and
                                Authorities in Opposition to Defendants' Motion
                                for Judgment on the Pleadings and assess
                                arguments and cases cited by Plaintiffs in
                                order to strategize response thereto.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review and legal analysis in
                                                                                                                                                                                                                           prepration for Reply to
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                               unable to determine how
                                                                                                                       ($785.26) [this is                                                     much time billed for each
                                                                                                                       5/7s of the full                                                       claim; unable to determine
Carrie A. Stringham   8/23/2022 Comprehensive review and assessment of a          To protect content of attorney   2.8 $1,106 entry]         Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759       9/30/2022 handful of federal court cases address COVID-19   work product, attorney mental
                                vaccine mandates adopted by various public        impressions, and/or strategy.
                                entties throughout the country in order to
                                REDACTED
                                to cite in Reply Brief in support of Motion for
                                Judgment on the Pleadings.




                                                                                           Final Joint Statement_00209
                        Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                           Page 210 of 274 Page
                                                                                      ID #:2349

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                  document review related to
                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.
                                                                                                                                                                                                  Redactions have been made
                                                                                                                                                                                                  to protected attorney work
                                                                                                                                                                                                  product, attorney mental
                                                                                                                                                                                                  impressions and strategy.

                                                                                               ($560.90) [this is                                                      unable to determine how
                                                                                               5/7s of the full $790                                                  much time billed for each
Joy C. Rosenquist   8/23/2022 Continue preparation of Objections to Rule 45                  2 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759     9/30/2022 Subpoena issued to Dr. Malhotra.

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
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                                                                                                                                                                                                  discovery served by
                                                                                                                                                                                                  Plaintiffs. Attorney activity
                                                                                                                                                                                                  was conducted in light of all
                                                                                                                                                                                                  allegations within Plaintiffs'
                                                                                                                                                                                                  Complaint. However, if a
                                                                                                                                                                                                  prevailing party ultimately
                                                                                                                                                                                                  wins on a particular claim, it
                                                                                                                                                                                                  is entitled to all attorney's
                                                                                                                                                                                                  fees reasonably expended
                                                                                                                                                                                                  in pursuing that claim.
                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.
                                                                                                                                                                                                  Redactions have been made
                                                                                                                                                                                                  to protected attorney work
                                                                                                                                                                                                  product, attorney mental
                                                                                                                                                                                                  impressions and strategy.

                                                                                                ($140.23) [this is                                                     unable to determine how
                                                                                                5/7s of the full                                                      much time billed for each
Joy C. Rosenquist   8/23/2022 Review lengthy meet and confer correspondence                 0.5 $197.50 entry]       Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759     9/30/2022 from CJ Dimarco regarding Objections to
                              Subpoena served on Custodian of Records for
                              LAUSD.




                                                                              Final Joint Statement_00210
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 211 of 274 Page
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                                                                                                                                                                                                                           Nature of attorney work is
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                                                                                                                                                                                                                           discovery served by
                                                                                                                                                                                                                           Plaintiffs. Attorney activity
                                                                                                                                                                                                                           was conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protected attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                              unnecessary discovery
                                                                                                                       ($140.23) [this is                                                     expenses; unable to
                                                                                                                       5/7s of the full                                                       determine how much time
Joy C. Rosenquist     8/23/2022 Commence preparation of meet and confer                                            0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759       9/30/2022 correspondence to CJ Dimarco regarding Motions
                                to Quash and his objections to Defendant's
                                LAUSD Custodian Objections to Rule 45 subpoena.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review and legal analysis in
                                                                                                                                                                                                                           prepration for Reply to
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                               unable to determine how
                                                                                                                       ($673.08) [this is                                                     much time billed for each
                                                                                                                       5/7s of the full $948                                                  claim; unable to determine
Carrie A. Stringham   8/23/2022 Begin drafting Memorandum of Points and           To protect content of attorney   2.4 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759       9/30/2022 Authorities for Reply Brief in support of         work product, attorney mental
                                Motion for Judgment on the pleadings to include   impressions, and/or strategy.
                                REDACTED
                                REDACTED
                                REDACTED




                                                                                           Final Joint Statement_00211
                         Case 2:21-cv-08688-DSF-PVC                            Document 95 Filed 01/19/23                                             Page 212 of 274 Page
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                                                                                                                                                                                              Defendants were entitled to
                                                                                                                                                                                              depose Plaintiffs and to do
                                                                                                                                                                                              so in person. Defendants
                                                                                                                                                                                              proceeded when they did as
                                                                                                                                                                                              they faced pre-trial
                                                                                                                                                                                              deadlines and had no
                                                                                                                                                                                              guarantee their motion to
                                                                                                                                                                                              dismiss would be fully
                                                                                                                                                                                              successful. Moreover,
                                                                                                                                                                                              Plaintiffs' never dismissed
                                                                                                                                                                                              any State law claims or ADA
                                                                                                                                                                                              claims, requiring
                                                                                                                                                                                              Defendants to incur
                                                                                                                                                                                              expenses in its defese
                                                                                                                                                                                              against said claims,
                                                                                                                                                                                              including expenses related
                                                                                                                                                                                              to Plaintiffs' depositions.
                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                              is entitled to all attorney's
                                                                                              ($1,461.18) [this is                                                                            fees reasonably expended
                                                                                              5/7s of the full                                                        unnecessary discovery   in pursuing that claim.
Connie L. Michaels   8/23/2022 Conduct deposition of Sandra Garcia.                       3.5 $2,058 entry]          Reduced in its entirety by Plaintiffs   Object   expenses                Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022

                                                                                                                                                                                              Nature of the attorney work
                                                                                                                                                                                              is evident and necessary in
                                                                                                                                                                                              the defense against
                                                                                                                                                                                              Plaintiffs' claims. Moreover,
                                                                                                                                                                                              Plaintiffs' never dismissed
                                                                                                                                                                                              any State law claims or ADA
                                                                                                                                                                                              claims, requiring
                                                                                                                                                                                              Defendants to incur
                                                                                                                                                                                              expenses in its defese
                                                                                                                                                                                              against said claims,
                                                                                                                                                                                              including expenses related
                                                                                                                                                                                              to Plaintiffs' depositions.
                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                              Cir.1991). Defendants
                                                                                              ($542.72) [this is                                                                              intend to seek 5/7 fraction
                                                                                              5/7s of the full                                                        unnecessary discovery   of total attorneys' fees
Connie L. Michaels   8/23/2022 REVISE Travel to/from deposition of Sandra                 1.3 $764.4 entry]          Reduced in its entirety by Plaintiffs   Object   expenses                billed for this entry.
Invoice=5746759      9/30/2022 Garcia. (Only half time billed).




                                                                            Final Joint Statement_00212
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                           Page 213 of 274 Page
                                                                                         ID #:2352

                                                                                                                                                                                                          Defendants were entitled to
                                                                                                                                                                                                          depose Plaintiffs and to do
                                                                                                                                                                                                          so in person. Defendants
                                                                                                                                                                                                          proceeded when they did as
                                                                                                                                                                                                          they faced pre-trial
                                                                                                                                                                                                          deadlines and had no
                                                                                                                                                                                                          guarantee their motion to
                                                                                                                                                                                                          dismiss would be fully
                                                                                                                                                                                                          successful. Moreover,
                                                                                                                                                                                                          Plaintiffs' never dismissed
                                                                                                                                                                                                          any State law claims or ADA
                                                                                                                                                                                                          claims, requiring
                                                                                                                                                                                                          Defendants to incur
                                                                                                                                                                                                          expenses in its defese
                                                                                                                                                                                                          against said claims,
                                                                                                                                                                                                          including expenses related
                                                                                                                                                                                                          to Plaintiffs' depositions.
                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                              unnecessary discovery       is entitled to all attorney's
                                                                                                   ($459.23) [this is                                                         expenses; unable to         fees reasonably expended
                                                                                                   5/7s of the full                                                           determine total time billed in pursuing that claim.
Connie L. Michaels   8/23/2022 Further prepare for taking deposition of                        1.1 $646.80 entry]       Reduced in its entirety by Plaintiffs        Object   for each claim.             Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022 plaintiff Fuentes.


                                                                                                   ($333.98) [this is
                                                                                                   5/7s of the full
Connie L. Michaels   8/24/2022 Research re helpful 9th circuit decisions                       0.8 $470.40 entry]       Reduced in its entirety (.8) by Defendants
Invoice=5746759      9/30/2022 regarding 14th amendment arguments re
                               vaccinations.

                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                            document review related to
                                                                                                                                                                                                            discovery served by
                                                                                                                                                                                                            Plaintiffs. Attorney activity
                                                                                                                                                                                                            was conducted in light of all
                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                                            Redactions have been made
                                                                                                                                                                                                            to protected attorney work
                                                                                                                                                                                                            product, attorney mental
                                                                                                                                                                                                            impressions and strategy.
                                                                                                                                                                              unnecessary discovery
                                                                                                   ($125.24) [this is                                                         expenses; unable to
                                                                                                   5/7s of the full                                                           determine total time billed
Connie L. Michaels   8/24/2022 Strategize re objections and motion to quash re                 0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs        Object   for each claim.
Invoice=5746759      9/30/2022 rule 45 subpoenas.




                                                                                 Final Joint Statement_00213
                         Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                             Page 214 of 274 Page
                                                                                       ID #:2353

                                                                                                                                                                                                 Defendants were entitled to
                                                                                                                                                                                                 depose Plaintiffs and to do
                                                                                                                                                                                                 so in person. Defendants
                                                                                                                                                                                                 proceeded when they did as
                                                                                                                                                                                                 they faced pre-trial
                                                                                                                                                                                                 deadlines and had no
                                                                                                                                                                                                 guarantee their motion to
                                                                                                                                                                                                 dismiss would be fully
                                                                                                                                                                                                 successful. Moreover,
                                                                                                                                                                                                 Plaintiffs' never dismissed
                                                                                                                                                                                                 any State law claims or ADA
                                                                                                                                                                                                 claims, requiring
                                                                                                                                                                                                 Defendants to incur
                                                                                                                                                                                                 expenses in its defese
                                                                                                                                                                                                 against said claims,
                                                                                                                                                                                                 including expenses related
                                                                                                                                                                                                 to Plaintiffs' depositions.
                                                                                                                                                                                                 Attorney activity was
                                                                                                                                                                                                 conducted in light of all
                                                                                                                                                                                                 allegations within Plaintiffs'
                                                                                                                                                                                                 Complaint. However, if a
                                                                                                                                                                                                 prevailing party ultimately
                                                                                                                                                                                                 wins on a particular claim, it
                                                                                                                                                                                                 is entitled to all attorney's
                                                                                                 ($349.88) [this is                                                                              fees reasonably expended
                                                                                                 5/7s of the full                                                        unnecessary discovery   in pursuing that claim.
Connie L. Michaels   8/24/2022 Travel to/from deposition of Jeffrey Fuentes.                 1.6 $492.8 entry]          Reduced in its entirety by Plaintiffs   Object   expense                 Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022 (Only half time billed).

                                                                                                                                                                                                 Defendants were entitled to
                                                                                                                                                                                                 depose Plaintiffs and to do
                                                                                                                                                                                                 so in person. Defendants
                                                                                                                                                                                                 proceeded when they did as
                                                                                                                                                                                                 they faced pre-trial
                                                                                                                                                                                                 deadlines and had no
                                                                                                                                                                                                 guarantee their motion to
                                                                                                                                                                                                 dismiss would be fully
                                                                                                                                                                                                 successful. Moreover,
                                                                                                                                                                                                 Plaintiffs' never dismissed
                                                                                                                                                                                                 any State law claims or ADA
                                                                                                                                                                                                 claims, requiring
                                                                                                                                                                                                 Defendants to incur
                                                                                                                                                                                                 expenses in its defese
                                                                                                                                                                                                 against said claims,
                                                                                                                                                                                                 including expenses related
                                                                                                                                                                                                 to Plaintiffs' depositions.
                                                                                                                                                                                                 Attorney activity was
                                                                                                                                                                                                 conducted in light of all
                                                                                                                                                                                                 allegations within Plaintiffs'
                                                                                                                                                                                                 Complaint. However, if a
                                                                                                                                                                                                 prevailing party ultimately
                                                                                                                                                                                                 wins on a particular claim, it
                                                                                                                                                                                                 is entitled to all attorney's
                                                                                                 ($1,168.94) [this is                                                                            fees reasonably expended
                                                                                                 5/7s of the full                                                        unnecessary discovery   in pursuing that claim.
Connie L. Michaels   8/24/2022 Conduct deposition of Jeffrey Fuentes.                        2.8 $1,646.40 entry]       Reduced in its entirety by Plaintiffs   Object   expense                 Cabrales v. Co. of L.A. , 935
Invoice=5746759      9/30/2022




                                                                               Final Joint Statement_00214
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                  Page 215 of 274 Page
                                                                                                         ID #:2354

                                                                                                                                                                                                                             Nature of attorney work is
                                                                                                                                                                                                                             evident and clearly denotes
                                                                                                                                                                                                                             communication with client
                                                                                                                                                                                                                             related to this matter.
                                                                                                                                                                                                                             Attorney activity was
                                                                                                                                                                                                                             conducted in light of all
                                                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                                                                             Redactions have been made
                                                                                                                                                                                                                             to protect attorney-client
                                                                                                                                                                                                                             communications, attorney
                                                                                                                                                                                                                             mental impressions and
                                                                                                                                                                                                 unable to determine how     strategy.
                                                                                                                        ($41.75) [this is 5/7s                                                  much time billed for each
                                                                                                                        of the full $58.80                                                      claim; unable to determine
Connie L. Michaels    8/24/2022 Confer with Ms. Davallos re REDACTED              To protect content of attorney    0.1 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759       9/30/2022 REDACTED.                                         work product, attorney mental
                                                                                  impressions, and/or strategy.
                                                                                  To protect content of attorney-
                                                                                  client communications.


                                                                                                                        ($41.75) [this is 5/7s
                                                                                                                        of the full $58.80
Connie L. Michaels    8/24/2022 Correspond with client re plaintiffs’ request                                       0.1 entry]
Invoice=5746759       9/30/2022 to reschedule defense motion to dismiss.


                                                                                                                        ($41.75) [this is 5/7s
                                                                                                                        of the full $58.80
Connie L. Michaels    8/24/2022 Correspond with opposing counsel re his request                                     0.1 entry]
Invoice=5746759       9/30/2022 to reschedule defense motion to dismiss.

                                                                                                                                                                                                                             Nature of attorney work is
                                                                                                                                                                                                                             evident and clearly denotes
                                                                                                                                                                                                                             review and legal analysis in
                                                                                                                                                                                                                             prepration for Reply to
                                                                                                                                                                                                                             MJOP. Attorney activity was
                                                                                                                                                                                                                             conducted in light of all
                                                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                                                             is entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                                                                             Redactions have been made
                                                                                                                                                                                                                             to protect attorney work
                                                                                                                                                                                                                             product, attorney mental
                                                                                                                                                                                                                             impressions and strategy.
                                                                                                                                                                                                 unable to determine how
                                                                                                                        ($224.36) [this is                                                      much time billed for each
                                                                                                                        5/7s of the full $316                                                   claim; unable to determine
Carrie A. Stringham   8/24/2022 Review and analysis of potential sources for      To protect content of attorney    0.8 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry.
Invoice=5746759       9/30/2022 data regarding COVID-19 cases and deaths in Los   work product, attorney mental
                                Angeles County, including REDACTED                impressions, and/or strategy.




                                                                                           Final Joint Statement_00215
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 216 of 274 Page
                                                                                                        ID #:2355

                                 REDACTED
                                 REDACTED



                                                                                                                                                                                                                          Nature of attorney work is
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                                                                                                                                                                                                                          prepration for Reply to
                                                                                                                                                                                                                          MJOP. Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redactions have been made
                                                                                                                                                                                                                          to protect attorney work
                                                                                                                                                                                                                          product, attorney mental
                                                                                                                                                                                                                          impressions and strategy.
                                                                                                                                                                                              unable to determine how
                                                                                                                      ($252.41) [this is                                                     much time billed for each
                                                                                                                      5/7s of the full                                                       claim; unable to determine
Carrie A. Stringham   8/24/2022 Review and analysis of World Health              To protect content of attorney   0.9 $355.50 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry.
Invoice=5746759       9/30/2022 Organization and Centers for Disease Control     work product, attorney mental
                                websites in order to REDACTED                    impressions, and/or strategy.
                                REDACTED                         Reply
                                Brief to Motion for Judgment on the Pleadings.

                                                                                                                                                                                                                      Attorneys' fee awards must
                                                                                                                                                                                                                      account for work of non-
                                                                                                                                                                                                                      attorneys, including
                                                                                                                                                                                                                      paralegals and law clerks
                                                                                                                                                                                                                      “whose labor contributes to
                                                                                                                                                                                                                      the work product for which
                                                                                                                                                                                             excessive; unreasonable  an attorney bills her client.”
                                                                                                                      ($702.90) [this is                                                     block billing; unable to Missouri v. Jenkins, 491 U.S.
                                                                                                                      5/7s of the full $990                                                  determine how much time 274, 285 (1989).
Robert Rousseau       8/24/2022 Continue to review LAUSD meeting agendas and                                      4.4 entry]                Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759       9/30/2022 supporting documents re Covid matters.




                                                                                          Final Joint Statement_00216
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 217 of 274 Page
                                                                                                     ID #:2356

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.
                                                                                                                                                                                            excessive; unreasonable
                                                                                                                    ($1,907.06) [this is                                                    block billing; unable to
                                                                                                                    5/7s of the full                                                        determine how much time
Joy C. Rosenquist   8/24/2022 Continue preparation of objections to Rule 45                                     6.8 $2,686 entry]          Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759     9/30/2022 Subpoenas for Gifty Beets, Kristen Murphy and
                              Karla Gould.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.
                                                                                                                                                                                            unable to determine how
                                                                                                                    ($112.18) [this is                                                      much time billed for each
                                                                                                                    5/7s of the full $158                                                   claim; unable to determine
Joy C. Rosenquist   8/24/2022 Correspondence to/from client regarding edits   To protect content of attorney    0.4 entry]                Reduced in its entirety by Plaintiffs    Object   nature of entry
Invoice=5746759     9/30/2022 and approval of draft objections to rule 45     work product, attorney mental
                              subpoena to Gifty Beets, and REDACTED           impressions, and/or strategy.
                              REDACTED                                        To protect content of attorney-
                              REDACTED                                        client communications.




                                                                                       Final Joint Statement_00217
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 218 of 274 Page
                                                                                                        ID #:2357

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review and legal analysis in
                                                                                                                                                                                                                           prepration for Reply to
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                              unable to determine how
                                                                                                                       ($504.81) [this is                                                     much time billed for each
                                                                                                                       5/7s of the full $711                                                  claim; unable to determine
Carrie A. Stringham   8/24/2022 Review and analysis of recent COVID-19 mandate                                     1.8 entry]                Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759       9/30/2022 case from the Central District of California,
                                REDACTED and related briefing in
                                order to address the same in Reply Brief in
                                support of Motion for Judgment on the
                                Pleadings.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           client correspondences
                                                                                                                                                                                                                           related to this matter.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney-client
                                                                                                                                                                                                                           communications, attorney
                                                                                                                                                                                                                           work product, mental
                                                                                                                                                                                              unable to determine how      impressions and strategy.
                                                                                                                       ($196.32) [this is                                                     much time billed for each
                                                                                                                       5/7s of the full                                                       claim; unable to determine
Carrie A. Stringham   8/24/2022 Review and analysis of email correspondence      To protect content of attorney    0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759       9/30/2022 from client relating to REDACTED                 work product, attorney mental
                                REDACTED                                         impressions, and/or strategy.
                                REDACTED                         in Reply        To protect content of attorney-
                                Brief in support of Motion for Judgment on the   client communications.
                                Pleadings.




                                                                                          Final Joint Statement_00218
                        Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                  Page 219 of 274 Page
                                                                                                     ID #:2358

                                                                                                                                                                                                                         Nature of attorney work is
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                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
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                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protected attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                                         impressions and strategy.

                                                                                                                    ($813.31) [this is                                                      unable to determine how
                                                                                                                    5/7s of the full                                                        much time billed for each
Joy C. Rosenquist   8/25/2022 Complete preparation of objections to Rule 45                                     2.9 $1,1450.50 entry]      Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759     9/30/2022 Subpoenas for Smita Malhotra.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         review and analysis of email
                                                                                                                                                                                                                         correspondences related to
                                                                                                                                                                                                                         this matter. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                            unable to determine how      billed for this entry.
                                                                                                                    ($56.09) [this is 5/7s                                                  much time billed for each
                                                                                                                    of the full $79                                                         claim; unable to determine
Joy C. Rosenquist   8/25/2022 Correspondence to Narmin regarding REDACTED     To protect content of attorney    0.2 entry]                 Reduced in its entirety by Plaintiffs   Object   nature of entry
Invoice=5746759     9/30/2022 REDACTED                                        work product, attorney mental
                                                                              impressions, and/or strategy.
                                                                              To protect content of attorney-
                                                                              client communications.




                                                                                       Final Joint Statement_00219
                          Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                            Page 220 of 274 Page
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                                                                                                                                                                                                       Nature of attorney work is
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                                                                                                                                                                                                       document review related to
                                                                                                                                                                                                       discovery served by
                                                                                                                                                                                                       Plaintiffs. Attorney activity
                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                       Redactions have been made
                                                                                                                                                                                                       to protected attorney work
                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                       impressions and strategy.

                                                                                                  ($364.59) [this is                                                     unable to determine how
                                                                                                  5/7s of the full                                                       much time billed for each
Joy C. Rosenquist     8/25/2022 Revise and finalize objections to subpoenas                   1.3 $513.50 entry]        Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759       9/30/2022 issued to Gould, Beets and Murphy.

                                                                                                                                                                                                  Attorneys' fee awards must
                                                                                                                                                                                                  account for work of non-
                                                                                                                                                                                                  attorneys, including
                                                                                                                                                                                                  paralegals and law clerks
                                                                                                                                                                                                  “whose labor contributes to
                                                                                                                                                                                                  the work product for which
                                                                                                                                                                         excessive; unreasonable  an attorney bills her client.”
                                                                                                 ($639) [this is 5/7s                                                    block billing; unable to Missouri v. Jenkins, 491 U.S.
                                                                                                 of the full $900                                                        determine how much time 274, 285 (1989).
Robert Rousseau       8/25/2022 Continue to review LAUSD meeting agendas and                   4 entry]                 Reduced in its entirety by Plaintiffs   Object   billed for each claim
Invoice=5746759       9/30/2022 supporting documents re Covid matters.

                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                       review and legal analysis in
                                                                                                                                                                                                       prepration for Reply to
                                                                                                                                                                                                       MJOP. Attorney activity was
                                                                                                                                                                                                       conducted in light of all
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                                                                                                                                                                                                       Complaint. However, if a
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                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                       Redactions have been made
                                                                                                                                                                                                       to protect attorney work
                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                       impressions and strategy.
                                                                                                                                                                         unreasonable block billing;
                                                                                                  ($504.81) [this is                                                     unable to determine how
                                                                                                  5/7s of the full $711                                                  much time billed for each
Carrie A. Stringham   8/25/2022 Continue to review and assess Plaintiffs' 25                  1.8 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759       9/30/2022 page Opposition to Defendants' Motion for
                                Judgment on the Pleadings to ensure each of
                                Plaintiffs' arguments are identified and
                                addressed in Reply Brief and to identify
                                documents referenced that were not referenced




                                                                                Final Joint Statement_00220
                          Case 2:21-cv-08688-DSF-PVC                                  Document 95 Filed 01/19/23                                            Page 221 of 274 Page
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                                 in the Complaint in order to prepare objections
                                 thereto.

                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                          review and legal analysis in
                                                                                                                                                                                                          prepration for Reply to
                                                                                                                                                                                                          MJOP. Attorney activity was
                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                          is entitled to all attorney's
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                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                          billed for this entry. .
                                                                                                                                                                                                          Redactions have been made
                                                                                                                                                                                                          to protect attorney work
                                                                                                                                                                                                          product, attorney mental
                                                                                                                                                                                                          impressions and strategy.
                                                                                                                                                                            unreasonable block billing;
                                                                                                     ($673.08) [this is                                                     unable to determine how
                                                                                                     5/7s of the full $948                                                  much time billed for each
Carrie A. Stringham   8/25/2022 Continue drafting Memorandum of Points and                       2.4 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759       9/30/2022 Authorities in support of Reply Brief to Motion
                                for Judgment on the Pleadings to include
                                arguments relating to Plaintiff's failure to
                                dismiss the third through seventh causes of
                                action and Plaintiff's Eleventh Amendment
                                Immunity challenge.

                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                          review and legal analysis in
                                                                                                                                                                                                          prepration for Reply to
                                                                                                                                                                                                          MJOP. Attorney activity was
                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                          prevailing party ultimately
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                                                                                                                                                                                                          is entitled to all attorney's
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                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                          Redactions have been made
                                                                                                                                                                                                          to protect attorney work
                                                                                                                                                                                                          product, attorney mental
                                                                                                                                                                                                          impressions and strategy.
                                                                                                                                                                            unreasonable block billing;
                                                                                                     ($504.81) [this is                                                     unable to determine how
                                                                                                     5/7s of the full $711                                                  much time billed for each
Carrie A. Stringham   8/25/2022 Continue drafting legal argument section of                      1.8 entry]                Reduced in its entirety by Plaintiffs   Object   claim
Invoice=5746759       9/30/2022 Memorandum of Points and authorities to include
                                key case citations and language from similar
                                cases and ensure accurate case citations.

                                                                                                     ($480.10) [this is
                                                                                                     5/7s of the full
Connie L. Michaels    8/25/2022 Travel to/from deposition of Ms. Davalos. (Only                  2.3 $676.20 entry]
Invoice=5746759       9/30/2022 half time billed).




                                                                                   Final Joint Statement_00221
                         Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 222 of 274 Page
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                                                                                                                                                                                                                             Entry unredacted. Nature of
                                                                                                                                                                                                                             the attorney work is evident
                                                                                                                                                                                                                             and necessary in the
                                                                                                                                                                                                                             defense against Plaintiffs'
                                                                                                                                                                                                                             claims. Attorney activity
                                                                                                                                                                                                                             was conducted in light of all
                                                                                                                                                                                                                             allegations within Plaintiffs'
                                                                                                                                                                                                                             Complaint. However, if a
                                                                                                                                                                                                                             prevailing party ultimately
                                                                                                                                                                                                                             wins on a particular claim, it
                                                                                                                                                                                                                             is entitled to all attorney's
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                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Defendants
                                                                                                                                                                                                                             intend to seek 5/7 fraction
                                                                                                                                                                                                                             of total attorneys' fees
                                                                                                                                                                                                                             billed for this entry.
                                                                                                                                                                                                                             Redactions have been made
                                                                                                                                                                                                                             to protect attorney work
                                                                                                                                                                                                                             product, attorney mental
                                                                                                                                                                                                                             impressions and strategy.
                                                                                                                                                                                             unable to determine how
                                                                                                                      ($208.74) [this is                                                     much time billed for each
                                                                                                                      5/7s of the full $294                                                  claim; unable to determine
Connie L. Michaels   8/25/2022 Prepare for and strategize with case team re                                       0.5 entry]                Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5746759      9/30/2022 motion to quash, objections to Rule 45
                               subpoenas, and reply brief re motion to
                               dismiss.

                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                             unable to determine how motion to dismiss it would
                                                                                                                                                                                             much time billed for each be successful, that Plaintiffs
                                                                                                                                                                                             claim; unable to determine would dismiss the claim in
                                                                                                                                                                                             nature of entry;           response or elect not to
                                                                                                                                                                                             unnecessary (contradicts   amend their Complaint
                                                                                                                                                                                             argument that claims are following a ruling on the
                                                                                                                      ($208.74) [this is                                                     frivolous or without merit motion.
                                                                                                                      5/7s of the full $294                                                  and irrelevant to Plaintiffs'
Connie L. Michaels   8/25/2022 Confer with Dr. Reingold with Ms. Shahin re      To protect content of attorney    0.5 entry]                Reduced in its entirety by Plaintiffs   object   state law/ADA claims);
Invoice=5746759      9/30/2022 REDACTED                                         work product, attorney mental
                                                                                impressions, and/or strategy.
                                                                                To protect content of attorney-
                                                                                client communications.



                                                                                                                      ($1,878.66) [this is
                                                                                                                      5/7s of the full
Connie L. Michaels   8/25/2022 Defend deposition of Ms. Davalos, and confer     To protect content of attorney    4.5 $2,646 entry]
Invoice=5746759      9/30/2022 with her and Ms. Shamin before/during/after re   work product, attorney mental
                               REDACTED                                         impressions, and/or strategy.
                                                                                To protect content of attorney-
                                                                                client communications.




                                                                                         Final Joint Statement_00222
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 223 of 274 Page
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                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                        review and legal analysis in
                                                                                                                                                                                                        prepration for Reply to
                                                                                                                                                                                                        MJOP. Attorney activity was
                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                                        Redactions have been made
                                                                                                                                                                                                        to protect attorney work
                                                                                                                                                                                                        product, attorney mental
                                                                                                                                                                                                        impressions and strategy.

                                                                                                    ($2,588.38) [this is                                                    unable to determine how
                                                                                                    5/7s of the full                                                        much time billed for each
Connie L. Michaels    8/26/2022 Revise reply memorandum re defense motion to                    6.2 $3,645.60 entry]       Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 dismiss.

                                                                                                                                                                                                        Nature of attorney work is
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                                                                                                                                                                                                        MJOP. Attorney activity was
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                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                                        Redactions have been made
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                                                                                                                                                                                                        product, attorney mental
                                                                                                                                                                                                        impressions and strategy.

                                                                                                    ($785.26) [this is                                                      unable to determine how
                                                                                                    5/7s of the full                                                        much time billed for each
Carrie A. Stringham   8/26/2022 Continue to revise draft Reply Brief to Motion                  2.8 $1,106 entry]          Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 for Judgment on the Pleadings to enhance legal
                                arguments and improve organization of brief and
                                conform brief to Court's page limit
                                requirements.




                                                                                  Final Joint Statement_00223
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 224 of 274 Page
                                                                                          ID #:2363

                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                       review and legal analysis in
                                                                                                                                                                                                       prepration for Reply to
                                                                                                                                                                                                       MJOP. Attorney activity was
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                                                                                                                                                                                                       Complaint. However, if a
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                                                                                                                                                                                                       fees reasonably expended
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                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                       Redactions have been made
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                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                       impressions and strategy.

                                                                                                    ($196.32) [this is                                                     unable to determine how
                                                                                                    5/7s of the full                                                       much time billed for each
Carrie A. Stringham   8/26/2022 Review and assess requirements under Federal                    0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 Rule of Evidence Section 201 and Court's rules
                                to determine if Plaintiffs met requirements for
                                taking judicial notice of the exhibits in order
                                to continue to draft objections to Plaintiffs'
                                evidence submitted with Opposition.

                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                       review and legal analysis in
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                                                                                                                                                                                                       MJOP. Attorney activity was
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                                                                                                                                                                                                       Complaint. However, if a
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                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                       Redactions have been made
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                                                                                                                                                                                                       impressions and strategy.

                                                                                                    ($448.72) [this is                                                     unable to determine how
                                                                                                    5/7s of the full $632                                                  much time billed for each
Carrie A. Stringham   8/26/2022 Begin drafting objections to Plaintiffs' 31                     1.6 entry]                Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 Exhibits attached to their Opposition to
                                Defendants' Motion for Judgment on the
                                Pleadings to file concurrently with Reply
                                Brief.




                                                                                  Final Joint Statement_00224
                          Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                             Page 225 of 274 Page
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                                                                                                                                                                                                      Nature of attorney work is
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                                                                                                                                                                                                      MJOP. Attorney activity was
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                                                                                                                                                                                                      Complaint. However, if a
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                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry. .
                                                                                                                                                                                                      Redactions have been made
                                                                                                                                                                                                      to protect attorney work
                                                                                                                                                                                                      product, attorney mental
                                                                                                                                                                                                      impressions and strategy.

                                                                                                  ($673.08) [this is                                                      unable to determine how
                                                                                                  5/7s of the full $948                                                   much time billed for each
Carrie A. Stringham   8/27/2022 Continue drafting objections to Plaintiffs'                   2.4 entry]                Reduced in its entirety by Plaintiffs    object   claim
Invoice=5746759       9/30/2022 evidence filed in support of their Opposition
                                to Defendants' Motion for Judgment on the
                                Pleadings, including a summary of arguments.

                                                                                                                                                                                                      Nature of attorney work is
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                                                                                                                                                                                                      MJOP. Attorney activity was
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                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
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                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                                                      Redactions have been made
                                                                                                                                                                                                      to protect attorney work
                                                                                                                                                                                                      product, attorney mental
                                                                                                                                                                                                      impressions and strategy.

                                                                                                  ($1,085.45) [this is                                                    unable to determine how
                                                                                                  5/7s of the full                                                        much time billed for each
Connie L. Michaels    8/27/2022 Continue to revise reply brief supporting                     2.6 $1,528.80 entry]       Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 motion to dismiss.




                                                                                Final Joint Statement_00225
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                                                                                                                                                                                                        Nature of attorney work is
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                                                                                                                                                                                                        MJOP. Attorney activity was
                                                                                                                                                                                                        conducted in light of all
                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                        prevailing party ultimately
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                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                                        Redactions have been made
                                                                                                                                                                                                        to protect attorney work
                                                                                                                                                                                                        product, attorney mental
                                                                                                                                                                                                        impressions and strategy.

                                                                                                    ($83.50) [this is 5/7s                                                  unable to determine how
                                                                                                    of the full $117.60                                                     much time billed for each
Connie L. Michaels    8/28/2022 Review and revise objections to plaintiffs’                     0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 evidence submitted in opposition to defense
                                motion to dismiss.

                                                                                                                                                                                                        Nature of attorney work is
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                                                                                                                                                                                                        review and legal analysis in
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                                                                                                                                                                                                        MJOP. Attorney activity was
                                                                                                                                                                                                        conducted in light of all
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                                                                                                                                                                                                        Complaint. However, if a
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                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                                        Redactions have been made
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                                                                                                                                                                                                        product, attorney mental
                                                                                                                                                                                                        impressions and strategy.

                                                                                                    ($757.22) [this is                                                      unable to determine how
                                                                                                    5/7s of the full                                                        much time billed for each
Carrie A. Stringham   8/28/2022 Draft Request for Judicial Notice in support of                 2.7 $1,066.50 entry]       Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 Reply Brief to Motion for Judgment on the
                                Pleadings, including citation to authority
                                supporting the request to judicially notice
                                information published by government agencies.




                                                                                  Final Joint Statement_00226
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                             Page 227 of 274 Page
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                                                                                                                                                                                                       Nature of attorney work is
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                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
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                                                                                                                                                                                                       Redactions have been made
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                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                       impressions and strategy.

                                                                                                   ($336.54) [this is                                                      unable to determine how
                                                                                                   5/7s of the full $474                                                   much time billed for each
Carrie A. Stringham   8/28/2022 Revise and finalize draft Objections to                        1.2 entry]                Reduced in its entirety by Plaintiffs    object   claim
Invoice=5746759       9/30/2022 Plaintiff's evidence submitted in support of
                                Opposition to Motion for Judgment on the
                                Pleadings (31 documents) in advance of filing.
                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                       review and legal analysis in
                                                                                                                                                                                                       prepration for Reply to
                                                                                                                                                                                                       MJOP. Attorney activity was
                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                       Redactions have been made
                                                                                                                                                                                                       to protect attorney work
                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                       impressions and strategy.

                                                                                                   ($83.50) [this is 5/7s                                                  unable to determine how
                                                                                                   of the full $117.60                                                     much time billed for each
                                                                                               0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Connie L. Michaels    8/29/2022 Review and revise request for judicial notice
Invoice=5746759       9/30/2022 and revised objections to plaintiffs' evidence
                                both re defense motion to dismiss.

                                                                                                  ($834.96) [this is
                                                                                                  5/7s of the full
Connie L. Michaels    8/29/2022 Draft supplemental Rule 26 disclosures.                         2 $1,176 entry]
Invoice=5746759       9/30/2022




                                                                                 Final Joint Statement_00227
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                             Page 228 of 274 Page
                                                                                         ID #:2367

                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                                         motion to dismiss it would
                                                                                                                                                                           unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                           argument that claims are would dismiss the claim in
                                                                                                                                                                           frivolous or without merit response or elect not to
                                                                                                                                                                           and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                           state law/ADA claims);        following a ruling on the
                                                                                                   ($1,085.45) [this is                                                    unable to determine how motion.
                                                                                                   5/7s of the full                                                        much time billed for each
Connie L. Michaels    8/29/2022 Draft expert disclosures.                                      2.6 $1,528.80 entry]       Reduced in its entirety by Plaintiffs   object   claim.
Invoice=5746759       9/30/2022

                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                         review and legal analysis in
                                                                                                                                                                                                         prepration for Reply to
                                                                                                                                                                                                         MJOP. Attorney activity was
                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                         to protect attorney work
                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                                         impressions and strategy.

                                                                                                   ($392.63) [this is                                                      unable to determine how
                                                                                                   5/7s of the full $553                                                   much time billed for each
Carrie A. Stringham   8/29/2022 Continue to revise and finalize all moving                     1.4 entry]                Reduced in its entirety by Plaintiffs    object   claim
Invoice=5746759       9/30/2022 papers, including memorandum of points and
                                authorities, to ensure accuracy of citations
                                and cogency of legal arguments, in preparation
                                for filing.




                                                                                 Final Joint Statement_00228
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                             Page 229 of 274 Page
                                                                                         ID #:2368

                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     document review related to
                                                                                                                                                                                                     discovery served by
                                                                                                                                                                                                     Plaintiffs. Attorney activity
                                                                                                                                                                                                     was conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                           unnecessary discovery
                                                                                                   ($1,177.89) [this is                                                    expenses; unable to
                                                                                                   5/7s of the full                                                        determine how much time
Joy C. Rosenquist     8/29/2022 Commence preparation of motions to quash for                   4.2 $1,659 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5746759       9/30/2022 Gould, Beets, Custodian of LAUSD, Malhotra and
                                Murphy: memorandum of points and authorities
                                (legal standards), including research FRCP 45
                                cases to include.

                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     document review related to
                                                                                                                                                                                                     discovery served by
                                                                                                                                                                                                     Plaintiffs. Attorney activity
                                                                                                                                                                                                     was conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                           unnecessary discovery
                                                                                                   ($308.98) [this is                                                      expenses; unable to
                                                                                                   5/7s of the full                                                        determine how much time
Carrie A. Stringham   8/30/2022 Review and assess legal standard underlying                    1.1 $434.50 entry]         Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5746759       9/30/2022 motions to quash and protective orders for
                                third party subpoenas in order to assist in
                                responding to Plaintiffs' multiple third party
                                subpoenas.




                                                                                 Final Joint Statement_00229
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                            Page 230 of 274 Page
                                                                                         ID #:2369

                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                          retained the experts when
                                                                                                                                                                                                          they did as they faced pre-
                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                                          motion to dismiss it would
                                                                                                                                                                                                          be successful, that Plaintiffs
                                                                                                                                                                                                          would dismiss the claim in
                                                                                                                                                                                                          response or elect not to
                                                                                                                                                                          unnecessary (contradicts        amend their Complaint
                                                                                                                                                                          argument that claims are        following a ruling on the
                                                                                                   ($333.98) [this is                                                     frivolous or without merit      motion.
                                                                                                   5/7s of the full                                                       and irrelevant to Plaintiffs'
Connie L. Michaels   8/30/2022 Review redrafted expert report.                                 0.8 $470.40 entry]        Reduced in its entirety by Plaintiffs   object   state law/ADA claims);
Invoice=5746759      9/30/2022

                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                                        motion to dismiss it would
                                                                                                                                                                          unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                          argument that claims are would dismiss the claim in
                                                                                                                                                                          frivolous or without merit response or elect not to
                                                                                                                                                                          and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                          state law/ADA claims);        following a ruling on the
                                                                                                   ($208.74) [this is                                                     unable to determine how motion.
                                                                                                   5/7s of the full $294                                                  much time billed for each
Connie L. Michaels   8/30/2022 Confer with expert and client re export report.                 0.5 entry]                Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759      9/30/2022




                                                                                 Final Joint Statement_00230
                         Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 231 of 274 Page
                                                                                                      ID #:2370

                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                                    document review related to
                                                                                                                                                                                                                    discovery served by
                                                                                                                                                                                                                    Plaintiffs. Attorney activity
                                                                                                                                                                                                                    was conducted in light of all
                                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                                    billed for this entry.
                                                                                                                                                                                                                    Redacations have been
                                                                                                                                                                                                                    made to protect attorney-
                                                                                                                                                                                            unnecessary discovery   client communications,
                                                                                                                                                                                            expense; unable to      attorney work product,
                                                                                                                                                                                            determine how much time attorney mental
                                                                                                                     ($333.98) [this is                                                     billed for each claim;  impressions and strategy.
                                                                                                                     5/7s of the full                                                       unable to determine
Connie L. Michaels   8/30/2022 Prepare correspondence to client request        To protect content of attorney    0.8 $470.40 entry]        Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5746759      9/30/2022 searches for REDACTED                           work product, attorney mental
                               REDACTED                                        impressions, and/or strategy.
                               REDACTED re motion to quash.                    To protect content of attorney-
                                                                               client communications.

                                                                                                                                                                                                                       Entry partially unredacted.
                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       document review related to
                                                                                                                                                                                                                       discovery served by
                                                                                                                                                                                                                       Plaintiffs. Attorney activity
                                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                                       Redacations have been
                                                                                                                                                                                                                       made to protect attorney-
                                                                                                                                                                                                                       client communications,
                                                                                                                                                                                            unable to determine how attorney work product,
                                                                                                                     ($208.74) [this is                                                     much time billed for each attorney mental
                                                                                                                     5/7s of the full $294                                                  claim; unable to determine impressions and strategy.
Connie L. Michaels   8/31/2022 Call and correspond with client REDACTED        To protect content of attorney    0.5 entry]                Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5746759      9/30/2022 REDACTED responsive to subpoenas and document   work product, attorney mental
                               request, and witness interview.                 impressions, and/or strategy.
                                                                               To protect content of attorney-
                                                                               client communications.




                                                                                        Final Joint Statement_00231
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                               Page 232 of 274 Page
                                                                                         ID #:2371

                                                                                                                                                                                                           This entry concerns case
                                                                                                                                                                                                           experts. Defendants
                                                                                                                                                                                                           retained experts regarding
                                                                                                                                                                                                           the 14th amendment claims
                                                                                                                                                                                                           and the ADA claim. Given
                                                                                                                                                                                                           that Defendants seek
                                                                                                                                                                                                           recovery solely on State law
                                                                                                                                                                                                           claims and ADA claim,
                                                                                                                                                                                                           Defendants intend to seek
                                                                                                                                                                                                           1/3 of the amount of the
                                                                                                                                                                                                           total attorneys' fees related
                                                                                                                                                                                                           to experts. Defendants
                                                                                                                                                                                                           retained the experts when
                                                                                                                                                                                                           they did as they faced pre-
                                                                                                                                                                                                           trial deadlines and, while
                                                                                                                                                                                                           Defendants believed the
                                                                                                                                                                                                           ADA claim was frivolous,
                                                                                                                                                                                                           they had no guarantee their
                                                                                                                                                                                                           motion to dismiss it would
                                                                                                                                                                             unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                             argument that claims are would dismiss the claim in
                                                                                                                                                                             frivolous or without merit response or elect not to
                                                                                                                                                                             and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                             state law/ADA claims);        following a ruling on the
                                                                                                   ($166.99) [this is                                                        unable to determine how motion.
                                                                                                   5/7s of the full                                                          much time billed for each
Connie L. Michaels    8/31/2022 Correspond (separately) with expert and client                 0.4 $235.20 entry]           Reduced in its entirety by Plaintiffs   object   claim
Invoice=5746759       9/30/2022 re export report.

                                                                                                   ($41.75) [this is 5/7s
                                                                                                   of the full $58.80
Connie L. Michaels    8/31/2022 Correspond with counsel for the county re                      0.1 entry]
Invoice=5746759       9/30/2022 status of plaintiffs’ subpoena.

                                                                                                   ($140.23) [this is
                                                                                                   5/7s of the full
Joy C. Rosenquist     8/31/2022 Communications to/from Brent Hathaway and CJ                   0.5 $197.50 entry]
Invoice=5746759       9/30/2022 Dimarco regarding meet and confer on subpoena
                                objections.

                                                                                                                                                                                                           If a prevailing party
                                                                                                                                                                                                           ultimately wins on a
                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                           Cir.1991). Moreover,
                                                                                                                                                                                                           Defendants intend to seek
                                                                                                                                                                                                           5/7 fraction of total
                                                                                                                                                                                                           attorneys' fees billed for
                                                                                                                                                                                                           this entry. Nature of the
                                                                                                                                                                                                           attorney work is evident.
                                                                                                                                                                                                           Moreover, Defendants are
                                                                                                                                                                                                           entitled to recovery of
                                                                                                                                                                             unnecessary (contradicts      litigation costs, including
                                                                                                                                                                             argument that claims are expert fees, and attorneys'
                                                                                                                                                                             frivolous or without merit fee based on ADA statute if
                                                                                                                                                                             and irrelevant to Plaintiffs' they are the prevailing
                                                                                                                                                                             state law/ADA claims);        party, as is the case here.
                                                                                                   ($166.99) [this is                                                        unable to determine how
                                                                                                   5/7s of the full                                                          much time billed for each
Connie L. Michaels     9/1/2022 Revise defense expert disclosure.                              0.4 $235.20 entry]           Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022




                                                                                 Final Joint Statement_00232
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                 Page 233 of 274 Page
                                                                                                          ID #:2372

                                                                                                                                                                                                                              Nature of attorney work is
                                                                                                                                                                                                                              evident and clearly denotes
                                                                                                                                                                                                                              review and legal analysis in
                                                                                                                                                                                                                              prepration for Reply to
                                                                                                                                                                                                                              MJOP. Attorney activity was
                                                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                                                                                                                              billed for this entry.
                                                                                                                                                                                                                              Redactions have been made
                                                                                                                                                                                                                              to protect attorney work
                                                                                                                                                                                                                              product, attorney mental
                                                                                                                                                                                                                              impressions and strategy.
                                                                                                                                                                                                unable to determine how
                                                                                                                        ($196.32) [this is                                                      much time billed for each
                                                                                                                        5/7s of the full                                                        claim; unable to determine
Carrie A. Stringham     9/1/2022 Review and analysis of Response by Plaintiffs     To protect content of attorney   0.7 $276.50 entry]         Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467       10/10/2022 to Defendants' Request for Judicial Notice and    work product, attorney mental
                                 Objections to Plaintiff's Evidence submitted in   impressions, and/or strategy.
                                 opposition to Defendants' Motion for Judgment
                                 on the Pleadings in order to assess REDACTED
                                 REDACTED
                                 REDACTED

                                                                                                                                                                                                                              This entry concerns case
                                                                                                                                                                                                                              experts. Defendants
                                                                                                                                                                                                                              retained experts regarding
                                                                                                                                                                                                                              the 14th amendment claims
                                                                                                                                                                                                                              and the ADA claim. Given
                                                                                                                                                                                                                              that Defendants seek
                                                                                                                                                                                                                              recovery solely on State law
                                                                                                                                                                                                                              claims and ADA claim,
                                                                                                                                                                                                                              Defendants intend to seek
                                                                                                                                                                                                                              1/3 of the amount of the
                                                                                                                                                                                                                              total attorneys' fees related
                                                                                                                                                                                                                              to experts. Defendants
                                                                                                                                                                                                                              retained the experts when
                                                                                                                                                                                                                              they did as they faced pre-
                                                                                                                                                                                                                              trial deadlines and, while
                                                                                                                                                                                                                              Defendants believed the
                                                                                                                                                                                                                              ADA claim was frivolous,
                                                                                                                                                                                                                              they had no guarantee their
                                                                                                                                                                                                                              motion to dismiss it would
                                                                                                                                                                                                unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                                argument that claims are would dismiss the claim in
                                                                                                                                                                                                frivolous or without merit response or elect not to
                                                                                                                                                                                                and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                                state law/ADA claims);        following a ruling on the
                                                                                                                        ($83.50) [this is 5/7s                                                  unable to determine how motion.
                                                                                                                        of the full $117.60                                                     much time billed for each
Connie L. Michaels      9/1/2022 Correspond with Dr. Reingold re plaintiffs’                                        0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467       10/10/2022 expert designations.




                                                                                            Final Joint Statement_00233
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                               Page 234 of 274 Page
                                                                                                         ID #:2373

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          document review related to
                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redacations have been
                                                                                                                                                                                                                          made to protect attorney-
                                                                                                                                                                                                                          client communications,
                                                                                                                                                                                                                          attorney work product,
                                                                                                                                                                                             unnecessary discovery        attorney mental
                                                                                                                       ($250.49) [this is                                                    expense; unable to           impressions and strategy.
                                                                                                                       5/7s of the full                                                      determine how much time
Connie L. Michaels     9/1/2022 Review, revises and finalize 12 sets of                                            0.6 $352.80 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 supplemental discovery responses
                                (interrogatories and document requests) to
                                board members.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          document review related to
                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redacations have been
                                                                                                                                                                                                                          made to protect attorney-
                                                                                                                                                                                                                          client communications,
                                                                                                                                                                                                                          attorney work product,
                                                                                                                                                                                             unable to determine          attorney mental
                                                                                                                       ($500.98) [this is                                                    nature of entry; unable to   impressions and strategy.
                                                                                                                       5/7s of the full                                                      determine how much time
Connie L. Michaels     9/1/2022 Draft responses to requests for production sent   To protect content of attorney   1.2 $705.60 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 to Ms. Davalos and Superintendent Carvalho, and   work product, attorney mental
                                REDACTED                                          impressions, and/or strategy.




                                                                                           Final Joint Statement_00234
                         Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 235 of 274 Page
                                                                                                      ID #:2374

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        document review related to
                                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991). Defendants
                                                                                                                                                                                                                        intend to seek 5/7 fraction
                                                                                                                                                                                                                        of total attorneys' fees
                                                                                                                                                                                                                        billed for this entry.
                                                                                                                                                                                                                        Redacations have been
                                                                                                                                                                                                                        made to protect attorney-
                                                                                                                                                                                                                        client communications,
                                                                                                                                                                                            unable to determine         attorney work product,
                                                                                                                                                                                            nature of redacted entry;   attorney mental
                                                                                                                   ($560.90) [this is                                                       unable to determine how     impressions and strategy.
                                                                                                                   5/7s of the full $790                                                    much time billed for each
Joy C. Rosenquist     9/1/2022 Plan and prepare for meet and confer meeting    To protect content of attorney    2 entry]                Reduced in its entirety by Plaintiffs     object   claim
Invoice=5749467     10/10/2022 regarding subpoenas: Review subpoena and        work product, attorney mental
                               objections, prepare itemized list of meet and   impressions, and/or strategy.
                               confer topics, and determine REDACTED
                               REDACTED

                                                                                                                                                                                                                        Nature of attorney work is
                                                                                                                                                                                                                        evident and clearly denotes
                                                                                                                                                                                                                        client communications re
                                                                                                                                                                                                                        discovery served by
                                                                                                                                                                                                                        Plaintiffs. Attorney activity
                                                                                                                                                                                                                        was conducted in light of all
                                                                                                                                                                                                                        allegations within Plaintiffs'
                                                                                                                                                                                                                        Complaint. However, if a
                                                                                                                                                                                                                        prevailing party ultimately
                                                                                                                                                                                                                        wins on a particular claim, it
                                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                                        Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                                                                                                                                        Cir.1991).Defendants intend
                                                                                                                                                                                                                        to seek 5/7 fraction of total
                                                                                                                                                                                                                        attorneys' fees billed for
                                                                                                                                                                                                                        this entry. Redacations
                                                                                                                                                                                                                        have been made to protect
                                                                                                                                                                                                                        attorney-client
                                                                                                                                                                                                                        communications, attorney
                                                                                                                                                                                                                        work product, attorney
                                                                                                                                                                                                                        mental impressions and
                                                                                                                    ($56.09) [this is 5/7s                                                  unable to determine how     strategy.
                                                                                                                    of the full $79                                                         much time billed for each
Joy C. Rosenquist     9/1/2022 Correspondence to/from client regarding                                          0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467     10/10/2022 subpoenas and witness fees.




                                                                                        Final Joint Statement_00235
                         Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                  Page 236 of 274 Page
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                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
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                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
                                                                                                                                                                                                                          wins on a particular claim, it
                                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redacations have been
                                                                                                                                                                                                                          made to protect attorney-
                                                                                                                                                                                                                          client communications,
                                                                                                                                                                                                                          attorney work product,
                                                                                                                                                                                              unnecessary discovery       attorney mental
                                                                                                                     ($420.68) [this is                                                       expense; unable to          impressions and strategy.
                                                                                                                     5/7s of the full                                                         determine how much time
Joy C. Rosenquist     9/1/2022 Continue preparation of motion to quash for                                       1.5 $592.50 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467     10/10/2022 Custodian of LAUSD.

                                                                                                                                                                                                                          If a prevailing party
                                                                                                                                                                                                                          ultimately wins on a
                                                                                                                                                                                                                          particular claim, it is
                                                                                                                                                                                                                          entitled to all attorney's
                                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Moreover,
                                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                                          5/7 fraction of total
                                                                                                                                                                                                                          attorneys' fees billed for
                                                                                                                                                                                                                          this entry. Nature of the
                                                                                                                                                                                                                          attorney work is evident,
                                                                                                                                                                                                                          and redactions have been
                                                                                                                                                                                                                          made to protect attorney
                                                                                                                                                                                                                          work product, attorney
                                                                                                                                                                                                                          mental impressions and
                                                                                                                                                                                                                          strategy. Moreover,
                                                                                                                                                                                                                          Defendants are entitled to
                                                                                                                                                                                                                          recovery of litigation costs,
                                                                                                                                                                                              unreasonable block billing; including expert fees, and
                                                                                                                                                                                              unable to determine         attorneys' fee based on ADA
                                                                                                                                                                                              nature of redacted entry; statute if they are the
                                                                                                                     ($645.68) [this is                                                       unable to determine how prevailing party, as is the
                                                                                                                     5/7s of the full                                                         much time billed for each case here.
Joy C. Rosenquist     9/2/2022 Review witness fee requirement and case law                                       2.3 $908.50 entry]          Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467     10/10/2022 regarding application of fee to depositions or   To protect content of attorney
                               document production review scope of subpoena     work product, attorney mental
                               and prepare REDACTED                             impressions, and/or strategy.
                               REDACTED.


                                                                                                                     ($140.23) [this is
                                                                                                                     5/7s of the full
Joy C. Rosenquist     9/2/2022 Review correspondence from Plaintiff's counsel                                    0.5 $197.50 entry]
Invoice=5749467     10/10/2022 regarding depositions, 30(b)(6) witnesses and
                               further discovery, and expert designations.


                                                                                                                     ($168.27) [this is
                                                                                                                     5/7s of the full $237
Joy C. Rosenquist     9/2/2022 Multiple correspondences to/from CJ DiMarco                                       0.6 entry]
Invoice=5749467     10/10/2022 regarding conferral on subpoenas.




                                                                                         Final Joint Statement_00236
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                Page 237 of 274 Page
                                                                                                         ID #:2376


                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review Court's order re
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                              unable to determine
                                                                                                                       ($140.23) [this is                                                     nature of entry; unable to
                                                                                                                       5/7s of the full                                                       determine how much time
Joy C. Rosenquist       9/2/2022 Review Court's ruling on Motion to Dismiss and   To protect content of attorney   0.5 $197.50 entry]        Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467       10/10/2022 determine REDACTED.                              work product, attorney mental
                                                                                  impressions, and/or strategy.


                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review Court's order re
                                                                                                                                                                                                                           MJOP. Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney work
                                                                                                                                                                                                                           product, attorney mental
                                                                                                                                                                                                                           impressions and strategy.
                                                                                                                                                                                              unable to determine
                                                                                                                       ($224.36) [this is                                                     nature of entry; unable to
                                                                                                                       5/7s of the full $316                                                  determine how much time
Carrie A. Stringham     9/2/2022 Review and analysis of Court's Order granting    To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467       10/10/2022 Defendants' Motion for Judgment on the           work product, attorney mental
                                 Pleadings and strategize REDACTED                impressions, and/or strategy.
                                 REDACTED




                                                                                           Final Joint Statement_00237
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                               Page 238 of 274 Page
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                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          legal analysis of next steps
                                                                                                                                                                                                                          given Court's ruling re
                                                                                                                                                                                                                          MJOP, including possibility
                                                                                                                                                                                                                          of an amended complaint.
                                                                                                                                                                                                                          Attorney activity was
                                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
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                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redactions have been made
                                                                                                                                                                                                                          to protect attorney work
                                                                                                                                                                                             unable to determine          product, attorney mental
                                                                                                                       ($292.24) [this is                                                    nature of entry; unable to   impressions and strategy.
                                                                                                                       5/7s of the full                                                      determine how much time
Connie L. Michaels     9/2/2022 Evaluate best responsive pleading should a        To protect content of attorney   0.7 $411.60 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 third amended complaint be filed, REDACTED        work product, attorney mental
                                REDACTED                                          impressions, and/or strategy.
                                REDACTED
                                REDACTED.

                                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                                          document review related to
                                                                                                                                                                                                                          discovery served by
                                                                                                                                                                                                                          Plaintiffs. Attorney activity
                                                                                                                                                                                                                          was conducted in light of all
                                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                                          prevailing party ultimately
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                                                                                                                                                                                                                          is entitled to all attorney's
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                                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                                          Redacations have been
                                                                                                                                                                                                                          made to protect attorney-
                                                                                                                                                                                                                          client communications,
                                                                                                                                                                                                                          attorney work product,
                                                                                                                                                                                             unnecessary discovery        attorney mental
                                                                                                                       ($125.24) [this is                                                    expense; unable to           impressions and strategy.
                                                                                                                       5/7s of the full                                                      determine how much time
Connie L. Michaels     9/2/2022 Assist in preparation of arguments to raise in                                     0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 meet and confer conference motion to quash Rule
                                45 subpoenas.




                                                                                           Final Joint Statement_00238
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 239 of 274 Page
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                                                                                                                                                                                                          This entry concerns case
                                                                                                                                                                                                          experts. Defendants
                                                                                                                                                                                                          retained experts regarding
                                                                                                                                                                                                          the 14th amendment claims
                                                                                                                                                                                                          and the ADA claim. Given
                                                                                                                                                                                                          that Defendants seek
                                                                                                                                                                                                          recovery solely on State law
                                                                                                                                                                                                          claims and ADA claim,
                                                                                                                                                                                                          Defendants intend to seek
                                                                                                                                                                                                          1/3 of the amount of the
                                                                                                                                                                                                          total attorneys' fees related
                                                                                                                                                                                                          to experts. Defendants
                                                                                                                                                                                                          retained the experts when
                                                                                                                                                                                                          they did as they faced pre-
                                                                                                                                                                                                          trial deadlines and, while
                                                                                                                                                                                                          Defendants believed the
                                                                                                                                                                                                          ADA claim was frivolous,
                                                                                                                                                                                                          they had no guarantee their
                                                                                                                                                                                                          motion to dismiss it would
                                                                                                                                                                            unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                            argument that claims are would dismiss the claim in
                                                                                                                                                                            frivolous or without merit response or elect not to
                                                                                                                                                                            and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                            state law/ADA claims);        following a ruling on the
                                                                                                    ($41.75) [this is 5/7s                                                  unable to determine how motion.
                                                                                                    of the full $58.80                                                      much time billed for each
Connie L. Michaels     9/2/2022 Confer with Dr. Reingold re reviewing 3 reports                 0.1 entry]                 Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022 by plaintiffs’ experts.

                                                                                                                                                                                                          Nature of attorney work is
                                                                                                                                                                                                          evident and clearly denotes
                                                                                                                                                                                                          review and legal analysis in
                                                                                                                                                                                                          prepration for Reply to
                                                                                                                                                                                                          MJOP. Attorney activity was
                                                                                                                                                                                                          conducted in light of all
                                                                                                                                                                                                          allegations within Plaintiffs'
                                                                                                                                                                                                          Complaint. However, if a
                                                                                                                                                                                                          prevailing party ultimately
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                                                                                                                                                                                                          is entitled to all attorney's
                                                                                                                                                                                                          fees reasonably expended
                                                                                                                                                                                                          in pursuing that claim.
                                                                                                                                                                                                          Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                          F.2d 1050, 1053 (9th
                                                                                                                                                                                                          Cir.1991). Defendants
                                                                                                                                                                                                          intend to seek 5/7 fraction
                                                                                                                                                                                                          of total attorneys' fees
                                                                                                                                                                                                          billed for this entry.
                                                                                                                                                                                                          Redactions have been made
                                                                                                                                                                                                          to protect attorney work
                                                                                                                                                                                                          product, attorney mental
                                                                                                                                                                                                          impressions and strategy.

                                                                                                    ($140.23) [this is                                                      unable to determine how
                                                                                                    5/7s of the full                                                        much time billed for each
Nick McKinney          9/2/2022 Review court ruling on Motion for Judgment on                   0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022 the Pleadings.




                                                                                  Final Joint Statement_00239
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                               Page 240 of 274 Page
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                                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                              unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                              argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                              frivolous or without merit would dismiss the claim in
                                                                                                                                                                                              and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                              state law/ADA claims);        amend their Complaint
                                                                                                                                                                                              unable to determine how following a ruling on the
                                                                                                                        ($785.26) [this is                                                    much time billed for each motion.
                                                                                                                        5/7s of the full                                                      claim ; unable to
Carrie A. Stringham     9/2/2022 Comprehensive review and analysis of              To protect content of attorney   2.8 $1,106 entry]        Reduced in its entirety by Plaintiffs   object   determine nature of entry
Invoice=5749467       10/10/2022 Plaintiffs' voluminous expert witness             work product, attorney mental
                                 disclosures/reports to identify and REDACTED      impressions, and/or strategy.
                                 REDACTED
                                 REDACTED
                                 REDACTED
                                 REDACTED.

                                                                                                                        ($166.99) [this is
                                                                                                                        5/7s of the full
Connie L. Michaels      9/2/2022 Review and analyze court order granting defense                                    0.4 $235.20 entry]
Invoice=5749467       10/10/2022 motion to dismiss.

                                                                                                                                                                                                                           Entry unredacted. Nature of
                                                                                                                                                                                                                           attorney work is evident
                                                                                                                                                                                                                           and clearly denotes client
                                                                                                                                                                                                                           correspondences related to
                                                                                                                                                                                                                           this matter. Attorney
                                                                                                                                                                                                                           activity was conducted in
                                                                                                                                                                                                                           light of all allegations within
                                                                                                                                                                                                                           Plaintiffs' Complaint.
                                                                                                                                                                                                                           However, if a prevailing
                                                                                                                                                                                                                           party ultimately wins on a
                                                                                                                                                                                                                           particular claim, it is
                                                                                                                                                                                                                           entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney-client
                                                                                                                                                                                                                           communications.
                                                                                                                        ($125.24) [this is                                                    unable to determine how
                                                                                                                        5/7s of the full                                                      much time billed for each
Connie L. Michaels      9/2/2022 Correspond with client re plaintiffs’ third                                        0.3 $176.40 entry]       Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467       10/10/2022 expert witness, deposition scheduling and
                                 granting of motion to dismiss.




                                                                                            Final Joint Statement_00240
                          Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                   Page 241 of 274 Page
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                                                                                                                                                                                                                              Nature of attorney work is
                                                                                                                                                                                                                              evident and clearly denotes
                                                                                                                                                                                                                              client correspondences
                                                                                                                                                                                                                              related to this matter.
                                                                                                                                                                                                                              Attorney activity was
                                                                                                                                                                                                                              conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
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                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                                                                                                                              billed for this entry.
                                                                                                                                                                                                                              Redactions have been made
                                                                                                                                                                                                                              to protect attorney-client
                                                                                                                                                                                                                              communications, attorney
                                                                                                                                                                                                                              work product, attorney
                                                                                                                                                                                                 unable to determine how      mental impressions and
                                                                                                                       ($333.98) [this is                                                        much time billed for each    strategy.
                                                                                                                       5/7s of the full                                                          claim; unable to determine
Connie L. Michaels     9/2/2022 Review plaintiffs’ counsel’s correspondence,      To protect content of attorney   0.8 $470.40 entry]           Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467      10/10/2022 REDACTED and prepare (separate)                   work product, attorney mental
                                correspondence with six witnesses re REDACTED     impressions, and/or strategy.
                                REDACTED

                                                                                                                                                                                                                              Nature of attorney work is
                                                                                                                                                                                                                              evident and clearly denotes
                                                                                                                                                                                                                              document review related to
                                                                                                                                                                                                                              discovery served by
                                                                                                                                                                                                                              Plaintiffs. Attorney activity
                                                                                                                                                                                                                              was conducted in light of all
                                                                                                                                                                                                                              allegations within Plaintiffs'
                                                                                                                                                                                                                              Complaint. However, if a
                                                                                                                                                                                                                              prevailing party ultimately
                                                                                                                                                                                                                              wins on a particular claim, it
                                                                                                                                                                                                                              is entitled to all attorney's
                                                                                                                                                                                                                              fees reasonably expended
                                                                                                                                                                                                                              in pursuing that claim.
                                                                                                                                                                                                                              Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                              F.2d 1050, 1053 (9th
                                                                                                                                                                                                                              Cir.1991). Defendants
                                                                                                                                                                                                                              intend to seek 5/7 fraction
                                                                                                                                                                                                                              of total attorneys' fees
                                                                                                                                                                                                                              billed for this entry. .
                                                                                                                                                                                                                              Redacations have been
                                                                                                                                                                                                                              made to protect attorney-
                                                                                                                                                                                                                              client communications,
                                                                                                                                                                                                                              attorney work product,
                                                                                                                                                                                                 unable to determine how      attorney mental
                                                                                                                      ($319.50) [this is                                                         much time billed for each    impressions and strategy.
                                                                                                                      5/7s of the full $450                                                      claim; unable to determine
Robert Rousseau        9/6/2022 Review prior productions and case documents for   To protect content of attorney    2 entry]                Reduced in its entirety by Plaintiffs       object   nature of entry
Invoice=5749467      10/10/2022 REDACTED                                          work product, attorney mental
                                                                                  impressions, and/or strategy.

                                                                                                                       ($207.68) [this is
                                                                                                                       5/7s of the full
Robert Rousseau        9/6/2022 Revise draft production and finalize.                                              1.3 $292.50 entry]
Invoice=5749467      10/10/2022

                                                                                                                       ($56.09) [this is 5/7s
                                                                                                                       of the full $79
Joy C. Rosenquist      9/6/2022 Correspondence to CJ Dimarco regarding Meet and                                    0.2 entry]
Invoice=5749467      10/10/2022 Confer meeting regarding all five subpoenas
                                issued to LAUSD staff.




                                                                                           Final Joint Statement_00241
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                               Page 242 of 274 Page
                                                                                          ID #:2381

                                                                                                                                                                                                         Entry unredacted. Nature of
                                                                                                                                                                                                         attorney work is evident
                                                                                                                                                                                                         and clearly denotes
                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                         prevailing party ultimately
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                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                         Redacations have been
                                                                                                                                                                                                         made to protect attorney-
                                                                                                                                                                                                         client communications,
                                                                                                                                                                              unable to determine how attorney work product,
                                                                                                   ($834.96) [this is                                                         much time billed for each attorney mental
                                                                                                   5/7s of the full                                                           claim; unable to determine impressions and strategy.
Connie L. Michaels     9/6/2022 Review additional case documents for potential                   2 $1,176 entry]             Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467      10/10/2022 supplemental document production.

                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                                            motion to dismiss it would
                                                                                                                                                                              unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                              argument that claims are would dismiss the claim in
                                                                                                                                                                              frivolous or without merit response or elect not to
                                                                                                                                                                              and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                              state law/ADA claims);        following a ruling on the
                                                                                                    ($41.75) [this is 5/7s                                                    unable to determine how motion.
                                                                                                    of the full $58.80                                                        much time billed for each
Connie L. Michaels     9/6/2022 Correspond with third party expert witnesses re                 0.1 entry]                 Reduced in its entirety by Plaintiffs     object   claim
Invoice=5749467      10/10/2022 deposition scheduling.

                                                                                                    ($392.63) [this is
                                                                                                    5/7s of the full $553
Joy C. Rosenquist      9/7/2022 Preparation for Meet and Confer meeting                         1.4 entry]
Invoice=5749467      10/10/2022 regarding all five subpoenas issued to LAUSD
                                staff.

                                                                                                    ($84.14) [this is 5/7s
                                                                                                    of the full $118.50
Joy C. Rosenquist      9/7/2022 Review Plaintiff's correspondence regarding                     0.3 entry]
Invoice=5749467      10/10/2022 amended complaint.

                                                                                                    ($112.18) [this is
                                                                                                    5/7s of the full $158
Joy C. Rosenquist      9/7/2022 Correspondence to/from CJ Dimarco regarding                     0.4 entry]
Invoice=5749467      10/10/2022 conferral on subpoenas.




                                                                                  Final Joint Statement_00242
                           Case 2:21-cv-08688-DSF-PVC                                                Document 95 Filed 01/19/23                                                Page 243 of 274 Page
                                                                                                          ID #:2382

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            review and legal analysis in
                                                                                                                                                                                                                            prepration for Reply to
                                                                                                                                                                                                                            MJOP. Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
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                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                                                            Redactions have been made
                                                                                                                                                                                                                            to protect attorney work
                                                                                                                                                                                                                            product, attorney mental
                                                                                                                                                                                                                            impressions and strategy.
                                                                                                                                                                                               unable to determine how
                                                                                                                        ($112.18) [this is                                                     much time billed for each
                                                                                                                        5/7s of the full $158                                                  claim; unable to determine
Carrie A. Stringham     9/7/2022 Review and analysis of correspondence from        To protect content of attorney   0.4 entry]                Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467       10/10/2022 opposing counsel meeting and conferring as to     work product, attorney mental
                                 the Court's Order granting Defendants' Motion     impressions, and/or strategy.
                                 for Judgment on the Pleadings and the REDACTED
                                 REDACTED
                                 REDACTED

                                                                                                                                                                                                                             This entry concerns case
                                                                                                                                                                                                                             experts. Defendants
                                                                                                                                                                                                                             retained experts regarding
                                                                                                                                                                                                                             the 14th amendment claims
                                                                                                                                                                                                                             and the ADA claim. Given
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                                                                                                                                                                                                                             Defendants intend to seek
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                                                                                                                                                                                                                             total attorneys' fees related
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                                                                                                                                                                                                                             retained the experts when
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                                                                                                                                                                                                                             ADA claim was frivolous,
                                                                                                                                                                                               unnecessary (contradicts      they had no guarantee their
                                                                                                                                                                                               argument that claims are motion to dismiss it would
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                                                                                                                                                                                               and irrelevant to Plaintiffs' would dismiss the claim in
                                                                                                                                                                                               state law/ADA claims);        response or elect not to
                                                                                                                                                                                               unable to determine how amend their Complaint
                                                                                                                                                                                               much time billed for each following a ruling on the
                                                                                                                        ($542.72) [this is                                                     claim ; unable to             motion.
                                                                                                                        5/7s of the full                                                       determine nature of
Connie L. Michaels      9/7/2022 Various calls and correspondence with expert      To protect content of attorney   1.3 $764.40 entry]        Reduced in its entirety by Plaintiffs   object   redacted entry
Invoice=5749467       10/10/2022 witness and other potential expert witnesses re   work product, attorney mental
                                 REDACTED                                          impressions, and/or strategy.

                                                                                                                        ($250.49) [this is
                                                                                                                        5/7s of the full
Connie L. Michaels      9/7/2022 Final revision of supplemental interrogatory                                       0.6 $352.80 entry]
Invoice=5749467       10/10/2022 and document request responses of Board
                                 defendants.




                                                                                            Final Joint Statement_00243
                          Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 244 of 274 Page
                                                                                                       ID #:2383

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         document review related to
                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redacations have been
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                                                                                                                                                                                             unable to determine how     attorney work product,
                                                                                                                                                                                             much time billed for each   attorney mental
                                                                                                                     ($709.72) [this is                                                      claim ; unable to           impressions and strategy.
                                                                                                                     5/7s of the full                                                        determine nature of
Connie L. Michaels     9/7/2022 Continued review and organization of REDACTED   To protect content of attorney   1.7 $999.60 entry]         Reduced in its entirety by Plaintiffs   object   redacted entry
Invoice=5749467      10/10/2022 documents for production.                       work product, attorney mental
                                                                                impressions, and/or strategy.




                                                                                                                                                                                                                         Nature of attorney work is
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                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
                                                                                                                                                                                                                         was conducted in light of all
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                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redacations have been
                                                                                                                                                                                                                         made to protect attorney-
                                                                                                                                                                                                                         client communications,
                                                                                                                                                                                                                         attorney work product,
                                                                                                                                                                                             unnecessary discovery       attorney mental
                                                                                                                     ($83.50) [this is 5/7s                                                  expense; unable to          impressions and strategy.
                                                                                                                     of the full $117.60                                                     determine how much time
Connie L. Michaels     9/7/2022 Strategize with case team re meet and confer                                     0.2 entry]                 Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 conference re Rule 45 subpoenas.




                                                                                         Final Joint Statement_00244
                          Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                 Page 245 of 274 Page
                                                                                                       ID #:2384

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         review and legal analysis in
                                                                                                                                                                                                                         prepration for Reply to
                                                                                                                                                                                                                         MJOP. Attorney activity was
                                                                                                                                                                                                                         conducted in light of all
                                                                                                                                                                                                                         allegations within Plaintiffs'
                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
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                                                                                                                                                                                                                         Redactions have been made
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                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                             unable to determine how     impressions and strategy.
                                                                                                                                                                                             much time billed for each
                                                                                                                     ($83.50) [this is 5/7s                                                  claim ; unable to
                                                                                                                     of the full $117.60                                                     determine nature of
Connie L. Michaels     9/7/2022 Review meet and confer letter from opposing     To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   object   redacted entry
Invoice=5749467      10/10/2022 counsel re clarifying court order re defense    work product, attorney mental
                                motion for judgment on the pleadings, and       impressions, and/or strategy.
                                REDACTED
                                REDACTED

                                                                                                                     ($112.18) [this is
                                                                                                                     5/7s of the full $158
Joy C. Rosenquist      9/8/2022 Correspondences to/from Plaintiff's counsel                                      0.4 entry]
Invoice=5749467      10/10/2022 regarding discovery.


                                                                                                                     ($140.23) [this is
                                                                                                                     5/7s of the full
Joy C. Rosenquist      9/8/2022 Prepare for Meet and Confer meeting with CJ                                      0.5 $197.50 entry]
Invoice=5749467      10/10/2022 DiMarco.

                                                                                                                                                                                                                         Nature of attorney work is
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                                                                                                                                                                                                                         discovery served by
                                                                                                                                                                                                                         Plaintiffs. Attorney activity
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                                                                                                                                                                                                                         Complaint. However, if a
                                                                                                                                                                                                                         prevailing party ultimately
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                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
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                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redacations have been
                                                                                                                                                                                                                         made to protect attorney-
                                                                                                                                                                                                                         client communications,
                                                                                                                                                                                                                         attorney work product,
                                                                                                                                                                                                                         attorney mental
                                                                                                                    ($560.90) [this is                                                       unable to determine how     impressions and strategy.
                                                                                                                    5/7s of the full $790                                                    much time billed for each
Susie Keshishyan       9/8/2022 Review and revise Supplemental Responses to                                       2 entry]                Reduced in its entirety by Plaintiffs     object   claim ; admin task
Invoice=5749467      10/10/2022 Interrogatories and Request for Production re
                                Defendants Garcia, Schmerelson, Goldberg,
                                McKenna, Melvoin, and Gonez after opposing




                                                                                         Final Joint Statement_00245
                          Case 2:21-cv-08688-DSF-PVC                                           Document 95 Filed 01/19/23                                                 Page 246 of 274 Page
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                                counsel advise of inconsistencies in the
                                numbering of said responses.

                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                                        recovery solely on State law
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                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                                        total attorneys' fees related
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                                                                                                                                                                                                                        retained the experts when
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                                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                          unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                          argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                          frivolous or without merit would dismiss the claim in
                                                                                                                                                                                          and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                          state law/ADA claims);        amend their Complaint
                                                                                                                                                                                          unable to determine how following a ruling on the
                                                                                                                  ($28.05) [this is 5/7s                                                  much time billed for each motion.
                                                                                                                  of the full $39.50                                                      claim; unable to determine
Susie Keshishyan       9/8/2022 Email correspondence to REDACTED             To protect content of attorney   0.1 entry]                 Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467      10/10/2022 REDACTED expert                              work product, attorney mental
                                REDACTED expert                              impressions, and/or strategy.

                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
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                                                                                                                                                                                          argument that claims are motion to dismiss it would
                                                                                                                                                                                          frivolous or without merit be successful, that Plaintiffs
                                                                                                                                                                                          and irrelevant to Plaintiffs' would dismiss the claim in
                                                                                                                                                                                          state law/ADA claims);        response or elect not to
                                                                                                                                                                                          unable to determine how amend their Complaint
                                                                                                                                                                                          much time billed for each following a ruling on the
                                                                                                                  ($1,377.68) [this is                                                    claim; unable to determine motion.
                                                                                                                  5/7s of the full                                                        nature of entry;
Connie L. Michaels     9/8/2022 Research REDACTED experts, correspond with   To protect content of attorney   3.3 $1,940.40 entry]       Reduced in its entirety by Plaintiffs   object   unreasonable block billing
Invoice=5749467      10/10/2022 same, correspond with expert Dr. Reingold,   work product, attorney mental
                                correspond with counsel REDACTED             impressions, and/or strategy.
                                REDACTED re deposition scheduling.




                                                                                      Final Joint Statement_00246
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                   Page 247 of 274 Page
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                                                                                                                                                                                                                            Nature of attorney work is
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                                                                                                                                                                                                                            Plaintiffs. Attorney activity
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                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                                                            Redacations have been
                                                                                                                                                                                                                            made to protect attorney-
                                                                                                                                                                                                                            client communications,
                                                                                                                                                                                                                            attorney work product,
                                                                                                                                                                                                                            attorney mental
                                                                                                                      ($166.99) [this is                                                        unable to determine how     impressions and strategy.
                                                                                                                      5/7s of the full                                                          much time billed for each
Connie L. Michaels     9/8/2022 Prepare for and confer with case team the                                         0.4 $235.20 entry]           Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022 subpoena meet and confer, finalizing discovery
                                responses, and motion to dismiss.

                                                                                                                      ($459.23) [this is
                                                                                                                      5/7s of the full
Connie L. Michaels     9/8/2022 Draft response to plaintiffs’ meet and confer                                     1.1 $646.80 entry]
Invoice=5749467      10/10/2022 letter re interpretation of court order re
                                defense motion to dismiss.

                                                                                                                      ($63.90) [this is 5/7s
                                                                                                                      of the full $90
Robert Rousseau        9/8/2022 Commence preparation of additional documents                                      0.4 entry]
Invoice=5749467      10/10/2022 for production.

                                                                                                                      ($140.23) [this is
                                                                                                                      5/7s of the full
Joy C. Rosenquist      9/9/2022 Outline of narrowed down subpoena requests in                                     0.5 $197.50 entry]
Invoice=5749467      10/10/2022 preparation for call with C.J. DiMarco.

                                                                                                                                                                                                                           Nature of attorney work is
                                                                                                                                                                                                                           evident and clearly denotes
                                                                                                                                                                                                                           review and analysis
                                                                                                                                                                                                                           plaintiffs' proposed
                                                                                                                                                                                                                           stipulation and client
                                                                                                                                                                                                                           communications thereto.
                                                                                                                                                                                                                           Attorney activity was
                                                                                                                                                                                                                           conducted in light of all
                                                                                                                                                                                                                           allegations within Plaintiffs'
                                                                                                                                                                                                                           Complaint. However, if a
                                                                                                                                                                                                                           prevailing party ultimately
                                                                                                                                                                                                                           wins on a particular claim, it
                                                                                                                                                                                                                           is entitled to all attorney's
                                                                                                                                                                                                                           fees reasonably expended
                                                                                                                                                                                                                           in pursuing that claim.
                                                                                                                                                                                                                           Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                           F.2d 1050, 1053 (9th
                                                                                                                                                                                                                           Cir.1991). Defendants
                                                                                                                                                                                                                           intend to seek 5/7 fraction
                                                                                                                                                                                                                           of total attorneys' fees
                                                                                                                                                                                                                           billed for this entry.
                                                                                                                                                                                                                           Redactions have been made
                                                                                                                                                                                                                           to protect attorney client
                                                                                                                                                                                                unable to determine how communications, attorney
                                                                                                                      ($308.50) [this is                                                        much time billed for each work product, attorney
                                                                                                                      5/7s of the full                                                          claim; unable to determine mental impressions and
Joy C. Rosenquist      9/9/2022 Review stipulation offered by Plaintiff and      To protect content of attorney   1.1 $434.50 entry]           Reduced in its entirety by Plaintiffs   object   nature of entry            strategy.




                                                                                          Final Joint Statement_00247
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Invoice=5749467     10/10/2022 determine REDACTED                            work product, attorney mental
                               REDACTED correspondence to/from               impressions, and/or strategy.
                               clients REDACTED

                                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                                     communications with client
                                                                                                                                                                                                                     related to discovery served
                                                                                                                                                                                                                     by Plaintiffs. Attorney
                                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                                     Plaintiffs' Complaint.
                                                                                                                                                                                                                     However, if a prevailing
                                                                                                                                                                                                                     party ultimately wins on a
                                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                                                                     Redacations have been
                                                                                                                                                                                                                     made to protect attorney-
                                                                                                                                                                                                                     client communications,
                                                                                                                                                                                          unable to determine how attorney work product,
                                                                                                                  ($56.09) [this is 5/7s                                                  much time billed for each attorney mental
                                                                                                                  of the full $79                                                         claim; unable to determine impressions and strategy.
Joy C. Rosenquist     9/9/2022 Communication from Kristen Murphy regarding   To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467     10/10/2022 REDACTED                                      work product, attorney mental
                               45 subpoenas.                                 impressions, and/or strategy.

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       document review related to
                                                                                                                                                                                                                       discovery served by
                                                                                                                                                                                                                       Plaintiffs. Attorney activity
                                                                                                                                                                                                                       was conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                                       Redacations have been
                                                                                                                                                                                                                       made to protect attorney-
                                                                                                                                                                                                                       client communications,
                                                                                                                                                                                                                       attorney work product,
                                                                                                                                                                                                                       attorney mental
                                                                                                                 ($319.50) [this is                                                       unnecessary discovery        impressions and strategy.
                                                                                                                 5/7s of the full $450                                                    expense; admin task;
Robert Rousseau       9/9/2022 Review and prepare additional documents for                                     2 entry]                Reduced in its entirety by Plaintiffs     object   vague
Invoice=5749467     10/10/2022 database for eventual production.




                                                                                      Final Joint Statement_00248
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                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                                            motion to dismiss it would
                                                                                                                                                                              unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                              argument that claims are would dismiss the claim in
                                                                                                                                                                              frivolous or without merit response or elect not to
                                                                                                                                                                              and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                              state law/ADA claims);        following a ruling on the
                                                                                                    ($1,377.68) [this is                                                      unable to determine           motion.
                                                                                                    5/7s of the full                                                          number of hours billed for
Connie L. Michaels     9/9/2022 Prepare for meeting and correspondence with                     3.3 $1,940.40 entry]         Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5749467      10/10/2022 potential rebuttal expert by review of portions
                                of plaintiffs' experts reports.

                                                                                                                                                                                                            This entry concerns case
                                                                                                                                                                                                            experts. Defendants
                                                                                                                                                                                                            retained experts regarding
                                                                                                                                                                                                            the 14th amendment claims
                                                                                                                                                                                                            and the ADA claim. Given
                                                                                                                                                                                                            that Defendants seek
                                                                                                                                                                                                            recovery solely on State law
                                                                                                                                                                                                            claims and ADA claim,
                                                                                                                                                                                                            Defendants intend to seek
                                                                                                                                                                                                            1/3 of the amount of the
                                                                                                                                                                                                            total attorneys' fees related
                                                                                                                                                                                                            to experts. Defendants
                                                                                                                                                                                                            retained the experts when
                                                                                                                                                                                                            they did as they faced pre-
                                                                                                                                                                                                            trial deadlines and, while
                                                                                                                                                                                                            Defendants believed the
                                                                                                                                                                                                            ADA claim was frivolous,
                                                                                                                                                                                                            they had no guarantee their
                                                                                                                                                                                                            motion to dismiss it would
                                                                                                                                                                              unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                              argument that claims are would dismiss the claim in
                                                                                                                                                                              frivolous or without merit response or elect not to
                                                                                                                                                                              and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                              state law/ADA claims);        following a ruling on the
                                                                                                    ($166.99) [this is                                                        unable to determine           motion.
                                                                                                    5/7s of the full                                                          number of hours billed for
Connie L. Michaels     9/9/2022 Attend meeting with potential rebuttal expert.                  0.4 $235.20 entry]           Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5749467      10/10/2022

                                                                                                    ($208.74) [this is
                                                                                                    5/7s of the full $294
Connie L. Michaels     9/9/2022 Correspond (separately) with client and                         0.5 entry]
Invoice=5749467      10/10/2022 opposing counsel re plaintiffs' proposal to
                                stay discovery, deposition scheduling, expert
                                discovery, and document production.

                                                                                                    ($41.75) [this is 5/7s
                                                                                                    of the full $58.80
Connie L. Michaels     9/9/2022 Confer with counsel for LA county department of                 0.1 entry]
Invoice=5749467      10/10/2022 health re deposition scheduling.




                                                                                  Final Joint Statement_00249
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                                                                                                                                                                                                                      A brief case team meeting
                                                                                                                                                                                                                      was held for all defense
                                                                                                                                                                                                                      counsel weekly to confer
                                                                                                                                                                                                                      and strategize regarding the
                                                                                                                                                                                                                      case and its developments.
                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                           unable to determine how billed for this entry.
                                                                                                                  ($125.24) [this is                                                       much time billed for each Redactions have been made
                                                                                                                  5/7s of the full                                                         claim; unable to determine to protect attorney work
Connie L. Michaels     9/9/2022 Strategize with case team re REDACTED                                         0.3 $176.40 entry]          Reduced in its entirety by Plaintiffs   object   nature of entry            product, attorney mental
Invoice=5749467      10/10/2022 REDACTED                                     To protect content of attorney
                                REDACTED                                     work product, attorney mental
                                REDACTED                                     impressions, and/or strategy.

                                                                                                                  ($127.80) [this is
                                                                                                                  5/7s of the full $180
Robert Rousseau        9/9/2022 Process revised document production and                                       0.8 entry]
Invoice=5749467      10/10/2022 transmit to opposing counsel.

                                                                                                                                                                                                                         This entry concerns case
                                                                                                                                                                                                                         experts. Defendants
                                                                                                                                                                                                                         retained experts regarding
                                                                                                                                                                                                                         the 14th amendment claims
                                                                                                                                                                                                                         and the ADA claim. Given
                                                                                                                                                                                                                         that Defendants seek
                                                                                                                                                                                                                         recovery solely on State law
                                                                                                                                                                                                                         claims and ADA claim,
                                                                                                                                                                                                                         Defendants intend to seek
                                                                                                                                                                                                                         1/3 of the amount of the
                                                                                                                                                                                                                         total attorneys' fees related
                                                                                                                                                                                                                         to experts. Defendants
                                                                                                                                                                                                                         retained the experts when
                                                                                                                                                                                                                         they did as they faced pre-
                                                                                                                                                                                                                         trial deadlines and, while
                                                                                                                                                                                                                         Defendants believed the
                                                                                                                                                                                                                         ADA claim was frivolous,
                                                                                                                                                                                                                         they had no guarantee their
                                                                                                                                                                                           unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                           argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                           frivolous or without merit would dismiss the claim in
                                                                                                                                                                                           and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                           state law/ADA claims);        amend their Complaint
                                                                                                                                                                                           unable to determine how following a ruling on the
                                                                                                                  ($83.50) [this is 5/7s                                                   much time billed for each motion.
                                                                                                                  of the full $117.60                                                      claim; unable to determine
Connie L. Michaels    9/11/2022 Confer with Dr. Reingold re his expert       To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs    object   nature of entry
Invoice=5749467      10/10/2022 testimony REDACTED                           work product, attorney mental
                                REDACTED                                     impressions, and/or strategy.
                                REDACTED LAUSD lawsuit.

                                                                                                                  ($208.74) [this is
                                                                                                                  5/7s of the full $294
Connie L. Michaels    9/11/2022 Draft correspondence to client summarizing                                    0.5 entry]
Invoice=5749467      10/10/2022 case development.




                                                                                      Final Joint Statement_00250
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                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         communications with client
                                                                                                                                                                                                                         related to discovery served
                                                                                                                                                                                                                         by Plaintiffs. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redacations have been
                                                                                                                                                                                                                         made to protect attorney-
                                                                                                                                                                                                                         client communications,
                                                                                                                                                                                              unable to determine how attorney work product,
                                                                                                                      ($84.14) [this is 5/7s                                                  much time billed for each attorney mental
                                                                                                                      of the full $118.50                                                     claim; unable to determine impressions and strategy.
Joy C. Rosenquist    9/12/2022 Correspondence to/from Gifty Beets, Narmin        To protect content of attorney   0.3 entry]                 Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467     10/10/2022 regarding REDACTED                                work product, attorney mental
                                                                                 impressions, and/or strategy.




                                                                                                                      ($56.09) [this is 5/7s
                                                                                                                      of the full $79
Joy C. Rosenquist    9/12/2022 Review proposed stipulation regarding discovery                                    0.2 entry]
Invoice=5749467     10/10/2022 stay.

                                                                                                                      ($15.98) [this is 5/7s
                                                                                                                      of the full $22.50
Robert Rousseau      9/12/2022 Finalize additional document production.                                           0.1 entry]
Invoice=5749467     10/10/2022

                                                                                                                                                                                                                           Preparing for and advising
                                                                                                                                                                                                                           on the manner in which to
                                                                                                                                                                                                                           maintain potentially
                                                                                                                                                                                                                           privileged documents or
                                                                                                                                                                                                                           information is not an
                                                                                                                                                                                                                           administrative task.
                                                                                                                                                                                                                           Moreover, attorneys' fee
                                                                                                                                                                                                                           awards must account for
                                                                                                                                                                                                                           work of non-attorneys,
                                                                                                                                                                                                                           including paralegals and law
                                                                                                                                                                                                                           clerks “whose labor
                                                                                                                                                                                                                           contributes to the work
                                                                                                                                                                                                                           product for which an
                                                                                                                                                                                                                           attorney bills her client.”
                                                                                                                      ($79.88) [this is 5/7s                                                                               Missouri v. Jenkins, 491 U.S.
                                                                                                                      of the full $112.50                                                                                  274, 285 (1989).
Ajay A. Patel        9/12/2022 Review and analyze electronic evidence and                                         0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5749467     10/10/2022 prepare specifications for processing and
                               loading into Relativity for substantive case
                               team review.




                                                                                          Final Joint Statement_00251
                          Case 2:21-cv-08688-DSF-PVC                                            Document 95 Filed 01/19/23                                               Page 252 of 274 Page
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                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       drafting of stipulation.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
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                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                                       Redactions have been made
                                                                                                                                                                                                                       to protect attorney work
                                                                                                                                                                                                                       product, attorney mental
                                                                                                                                                                                                                       impressions and strategy.

                                                                                                                  ($417.48) [this is
                                                                                                                  5/7s of the full $588                                                  unable to determine
Connie L. Michaels    9/12/2022 Draft language for stipulation seeking to     To protect content of attorney    1 entry]                reduced in its entirety by Plaintiffs   object   nature of redacted entry.
Invoice=5749467      10/10/2022 continue the trials and pretrial dates, and   work product, attorney mental
                                confer REDACTED opposing                      impressions, and/or strategy.
                                counsel re same.


                                                                                                                   ($125.24) [this is
                                                                                                                   5/7s of the full
Connie L. Michaels    9/13/2022 Review, revise and confer REDACTED            To protect content of attorney   0.3 $176.40 entry]
Invoice=5749467      10/10/2022 REDACTED opposing counsel re Stipulation to   work product, attorney mental
                                Continue the Trial and related dates.         impressions, and/or strategy.

                                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                                         unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                         argument that claims are would dismiss the claim in
                                                                                                                                                                                         frivolous or without merit response or elect not to
                                                                                                                                                                                         and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                         state law/ADA claims);        following a ruling on the
                                                                                                                   ($333.98) [this is                                                    unable to determine how motion.
                                                                                                                   5/7s of the full                                                      much time billed for each
Connie L. Michaels    9/13/2022 Prepare for and interview potential expert.                                    0.8 $470.40 entry]       Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022




                                                                                       Final Joint Statement_00252
                       Case 2:21-cv-08688-DSF-PVC                              Document 95 Filed 01/19/23                                            Page 253 of 274 Page
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                                                                                                                                                                                                   This entry concerns case
                                                                                                                                                                                                   experts. Defendants
                                                                                                                                                                                                   retained experts regarding
                                                                                                                                                                                                   the 14th amendment claims
                                                                                                                                                                                                   and the ADA claim. Given
                                                                                                                                                                                                   that Defendants seek
                                                                                                                                                                                                   recovery solely on State law
                                                                                                                                                                                                   claims and ADA claim,
                                                                                                                                                                                                   Defendants intend to seek
                                                                                                                                                                                                   1/3 of the amount of the
                                                                                                                                                                                                   total attorneys' fees related
                                                                                                                                                                                                   to experts. Defendants
                                                                                                                                                                                                   retained the experts when
                                                                                                                                                                                                   they did as they faced pre-
                                                                                                                                                                                                   trial deadlines and, while
                                                                                                                                                                                                   Defendants believed the
                                                                                                                                                                                                   ADA claim was frivolous,
                                                                                                                                                                                                   they had no guarantee their
                                                                                                                                                                                                   motion to dismiss it would
                                                                                                                                                                     unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                     argument that claims are would dismiss the claim in
                                                                                                                                                                     frivolous or without merit response or elect not to
                                                                                                                                                                     and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                     state law/ADA claims);        following a ruling on the
                                                                                              ($127.80) [this is                                                     unable to determine how motion. Attorneys' fee
                                                                                              5/7s of the full $180                                                  much time billed for each awards must account for
Robert Rousseau    9/13/2022 Process and transmit documents to expert for                 0.8 entry]                Reduced in its entirety by Plaintiffs   object   claim                         work of non-attorneys,
Invoice=5749467   10/10/2022 review.

                                                                                                                                                                                             This entry concerns case
                                                                                                                                                                                             experts. Defendants
                                                                                                                                                                                             retained experts regarding
                                                                                                                                                                                             the 14th amendment claims
                                                                                                                                                                                             and the ADA claim. Given
                                                                                                                                                                                             that Defendants seek
                                                                                                                                                                                             recovery solely on State law
                                                                                                                                                                                             claims and ADA claim,
                                                                                                                                                                                             Defendants intend to seek
                                                                                                                                                                                             1/3 of the amount of the
                                                                                                                                                                                             total attorneys' fees related
                                                                                                                                                                                             to experts. Defendants
                                                                                                                                                                                             retained the experts when
                                                                                                                                                                                             they did as they faced pre-
                                                                                                                                                                                             trial deadlines and, while
                                                                                                                                                                                             Defendants believed the
                                                                                                                                                                                             ADA claim was frivolous,
                                                                                                                                                                                             they had no guarantee their
                                                                                                                                                                                             motion to dismiss it would
                                                                                                                                                                                             be successful, that Plaintiffs
                                                                                                                                                                                             would dismiss the claim in
                                                                                                                                                                                             response or elect not to
                                                                                                                                                                     unnecessary discovery   amend their Complaint
                                                                                                                                                                     expense; unable to      following a ruling on the
                                                                                              ($127.80) [this is                                                     determine how much time motion. Attorneys' fee
                                                                                              5/7s of the full $180                                                  billed for each claim;  awards must account for
Robert Rousseau    9/14/2022 Re-configure expert report files for expert                  0.8 entry]                Reduced in its entirety by Plaintiffs   object   admin task              work of non-attorneys,
Invoice=5749467   10/10/2022 Moore and re-send.




                                                                            Final Joint Statement_00253
                          Case 2:21-cv-08688-DSF-PVC                                            Document 95 Filed 01/19/23                                                Page 254 of 274 Page
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                                                                                                                                                                                                                        This entry concerns case
                                                                                                                                                                                                                        experts. Defendants
                                                                                                                                                                                                                        retained experts regarding
                                                                                                                                                                                                                        the 14th amendment claims
                                                                                                                                                                                                                        and the ADA claim. Given
                                                                                                                                                                                                                        that Defendants seek
                                                                                                                                                                                                                        recovery solely on State law
                                                                                                                                                                                                                        claims and ADA claim,
                                                                                                                                                                                                                        Defendants intend to seek
                                                                                                                                                                                                                        1/3 of the amount of the
                                                                                                                                                                                                                        total attorneys' fees related
                                                                                                                                                                                                                        to experts. Defendants
                                                                                                                                                                                                                        retained the experts when
                                                                                                                                                                                                                        they did as they faced pre-
                                                                                                                                                                                                                        trial deadlines and, while
                                                                                                                                                                                                                        Defendants believed the
                                                                                                                                                                                                                        ADA claim was frivolous,
                                                                                                                                                                                                                        they had no guarantee their
                                                                                                                                                                                          unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                          argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                          frivolous or without merit would dismiss the claim in
                                                                                                                                                                                          and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                          state law/ADA claims);        amend their Complaint
                                                                                                                                                                                          unable to determine how following a ruling on the
                                                                                                                   ($459.23) [this is                                                     much time billed for each motion.
                                                                                                                   5/7s of the full                                                       claim; unable to determine
Connie L. Michaels    9/14/2022 Relate for and confer with potential expert   To protect content of attorney   1.1 $646.80 entry]        Reduced in its entirety by Plaintiffs   object   nature of entry
Invoice=5749467      10/10/2022 REDACTED                                      work product, attorney mental
                                                                              impressions, and/or strategy.

                                                                                                                                                                                                                       Nature of attorney work is
                                                                                                                                                                                                                       evident and clearly denotes
                                                                                                                                                                                                                       task related to discovery
                                                                                                                                                                                                                       served by Plaintiffs.
                                                                                                                                                                                                                       Attorney activity was
                                                                                                                                                                                                                       conducted in light of all
                                                                                                                                                                                                                       allegations within Plaintiffs'
                                                                                                                                                                                                                       Complaint. However, if a
                                                                                                                                                                                                                       prevailing party ultimately
                                                                                                                                                                                                                       wins on a particular claim, it
                                                                                                                                                                                                                       is entitled to all attorney's
                                                                                                                                                                                                                       fees reasonably expended
                                                                                                                                                                                                                       in pursuing that claim.
                                                                                                                                                                                                                       Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                       F.2d 1050, 1053 (9th
                                                                                                                                                                                                                       Cir.1991). Defendants
                                                                                                                                                                                                                       intend to seek 5/7 fraction
                                                                                                                                                                                                                       of total attorneys' fees
                                                                                                                                                                                                                       billed for this entry.
                                                                                                                                                                                                                       Redacations have been
                                                                                                                                                                                                                       made to protect attorney-
                                                                                                                                                                                                                       client communications,
                                                                                                                                                                                                                       attorney work product,
                                                                                                                                                                                          unnecessary discovery        attorney mental
                                                                                                                   ($112.18) [this is                                                     expense; unable to           impressions and strategy.
                                                                                                                   5/7s of the full $158                                                  determine how much time
Joy C. Rosenquist     9/15/2022 Strategy regarding written discovery.                                          0.4 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022




                                                                                       Final Joint Statement_00254
                          Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                             Page 255 of 274 Page
                                                                                          ID #:2394

                                                                                                                                                                                                      A brief case team meeting
                                                                                                                                                                                                      was held for all defense
                                                                                                                                                                                                      counsel weekly to confer
                                                                                                                                                                                                      and strategize regarding the
                                                                                                                                                                                                      case and its developments.
                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                    ($112.18) [this is                                                      unnecessary; unable to
                                                                                                    5/7s of the full $158                                                   determine how much time
Nick McKinney         9/15/2022 Weekly litigation team strategy call.                           0.4 entry]                Reduced in its entirety by Plaintiffs    object   billed for each claim
Invoice=5749467      10/10/2022

                                                                                                                                                                                                      Nature of attorney work is
                                                                                                                                                                                                      evident and clearly denotes
                                                                                                                                                                                                      task related to discovery
                                                                                                                                                                                                      served by Plaintiffs.
                                                                                                                                                                                                      Attorney activity was
                                                                                                                                                                                                      conducted in light of all
                                                                                                                                                                                                      allegations within Plaintiffs'
                                                                                                                                                                                                      Complaint. However, if a
                                                                                                                                                                                                      prevailing party ultimately
                                                                                                                                                                                                      wins on a particular claim, it
                                                                                                                                                                                                      is entitled to all attorney's
                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                                                      Redacations have been
                                                                                                                                                                                                      made to protect attorney-
                                                                                                                                                                                                      client communications,
                                                                                                                                                                                                      attorney work product,
                                                                                                                                                                                                      attorney mental
                                                                                                    ($1,461.18) [this is                                                                              impressions and strategy.
                                                                                                    5/7s of the full                                                        excessive; unnecessary
Connie L. Michaels    9/16/2022 Review plaintiffs' emails to determine which to                 3.5 $2,058 entry]          Reduced in its entirety by Plaintiffs   object   discovery expense
Invoice=5749467      10/10/2022 produce in response to Rule 45 subpoena to
                                LAUSD.




                                                                                  Final Joint Statement_00255
                          Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                           Page 256 of 274 Page
                                                                                         ID #:2395

                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                         unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                         argument that claims are would dismiss the claim in
                                                                                                                                                                         frivolous or without merit response or elect not to
                                                                                                                                                                         and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                         state law/ADA claims);        following a ruling on the
                                                                                                   ($918.46) [this is                                                    unable to determine how motion.
                                                                                                   5/7s of the full                                                      much time billed for each
Connie L. Michaels    9/16/2022 Prepare for and confer (separately) with two                   2.2 $1,293.60 entry]     Reduced in its entirety by Plaintiffs   object   claim
Invoice=5749467      10/10/2022 expert consultants re impeaching plaintiffs’
                                experts.

                                                                                                                                                                                                       This entry concerns case
                                                                                                                                                                                                       experts. Defendants
                                                                                                                                                                                                       retained experts regarding
                                                                                                                                                                                                       the 14th amendment claims
                                                                                                                                                                                                       and the ADA claim. Given
                                                                                                                                                                                                       that Defendants seek
                                                                                                                                                                                                       recovery solely on State law
                                                                                                                                                                                                       claims and ADA claim,
                                                                                                                                                                                                       Defendants intend to seek
                                                                                                                                                                                                       1/3 of the amount of the
                                                                                                                                                                                                       total attorneys' fees related
                                                                                                                                                                                                       to experts. Defendants
                                                                                                                                                                                                       retained the experts when
                                                                                                                                                                                                       they did as they faced pre-
                                                                                                                                                                                                       trial deadlines and, while
                                                                                                                                                                                                       Defendants believed the
                                                                                                                                                                                                       ADA claim was frivolous,
                                                                                                                                                                                                       they had no guarantee their
                                                                                                                                                                                                       motion to dismiss it would
                                                                                                                                                                                                       be successful, that Plaintiffs
                                                                                                                                                                                                       would dismiss the claim in
                                                                                                                                                                                                       response or elect not to
                                                                                                                                                                                                       amend their Complaint
                                                                                                                                                                         unnecessary discovery         following a ruling on the
                                                                                                   ($500.98) [this is                                                    expense; unable to            motion.
                                                                                                   5/7s of the full                                                      determine how much time
Connie L. Michaels    9/17/2022 Prepare for, follow up re and call with expert                 1.2 $705.60 entry]       Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467      10/10/2022 Podany.




                                                                                 Final Joint Statement_00256
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 257 of 274 Page
                                                                                                         ID #:2396

                                                                                                                                                                                                                             This entry concerns case
                                                                                                                                                                                                                             experts. Defendants
                                                                                                                                                                                                                             retained experts regarding
                                                                                                                                                                                                                             the 14th amendment claims
                                                                                                                                                                                                                             and the ADA claim. Given
                                                                                                                                                                                                                             that Defendants seek
                                                                                                                                                                                                                             recovery solely on State law
                                                                                                                                                                                                                             claims and ADA claim,
                                                                                                                                                                                                                             Defendants intend to seek
                                                                                                                                                                                                                             1/3 of the amount of the
                                                                                                                                                                                                                             total attorneys' fees related
                                                                                                                                                                                                                             to experts. Defendants
                                                                                                                                                                                                                             retained the experts when
                                                                                                                                                                                                                             they did as they faced pre-
                                                                                                                                                                                                                             trial deadlines and, while
                                                                                                                                                                                                                             Defendants believed the
                                                                                                                                                                                                                             ADA claim was frivolous,
                                                                                                                                                                                                                             they had no guarantee their
                                                                                                                                                                                                                             motion to dismiss it would
                                                                                                                                                                                               unnecessary (contradicts      be successful, that Plaintiffs
                                                                                                                                                                                               argument that claims are would dismiss the claim in
                                                                                                                                                                                               frivolous or without merit response or elect not to
                                                                                                                                                                                               and irrelevant to Plaintiffs' amend their Complaint
                                                                                                                                                                                               state law/ADA claims);        following a ruling on the
                                                                                                                       ($31.95) [this is 5/7s                                                  unable to determine how motion. Attorneys' fee
                                                                                                                       of the full $45                                                         much time billed for each awards must account for
Robert Rousseau        9/19/2022 Prepare and transmit documents to expert.                                         0.2 entry]                 Reduced in its entirety by Plaintiffs   object   claim                         work of non-attorneys,
Invoice=5749467       10/10/2022

                                                                                                                                                                                                                             A brief case team meeting
                                                                                                                                                                                                                             was held for all defense
                                                                                                                                                                                                                             counsel weekly to confer
                                                                                                                                                                                                                             and strategize regarding the
                                                                                                                                                                                                                             case and its developments.
                                                                                                                                                                                                                             If a prevailing party
                                                                                                                                                                                                                             ultimately wins on a
                                                                                                                                                                                                                             particular claim, it is
                                                                                                                                                                                                                             entitled to all attorney's
                                                                                                                                                                                                                             fees reasonably expended
                                                                                                                                                                                                                             in pursuing that claim.
                                                                                                                                                                                                                             Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                             F.2d 1050, 1053 (9th
                                                                                                                                                                                                                             Cir.1991). Moreover,
                                                                                                                                                                                                                             Defendants intend to seek
                                                                                                                                                                                                                             5/7 fraction of total
                                                                                                                                                                                                                             attorneys' fees billed for
                                                                                                                                                                                                                             this entry. Nature of the
                                                                                                                                                                                               unnecessary (contradicts      attorney work is evident,
                                                                                                                                                                                               argument that claims are and redactions have been
                                                                                                                                                                                               frivolous or without merit made to protect attorney
                                                                                                                                                                                               and irrelevant to Plaintiffs' work product, attorney
                                                                                                                                                                                               state law/ADA claims);        mental impressions and
                                                                                                                                                                                               unable to determine how strategy. Moreover,
                                                                                                                       ($392.63) [this is                                                      much time billed for each Defendants are entitled to
                                                                                                                       5/7s of the full $553                                                   claim; unable to determine recovery of litigation costs,
Carrie A. Stringham    9/19/2022 Review and analysis of information, REDACTED     To protect content of attorney   1.4 entry]                Reduced in its entirety by Plaintiffs    object   nature of entry.              including expert fees, and
Invoice=5749467       10/10/2022 REDACTED relating to                             work product, attorney mental
                                 Plaintiffs' retained expert, Jay Bhattacharya,   impressions, and/or strategy.
                                 REDACTED
                                 REDACTED




                                                                                           Final Joint Statement_00257
                          Case 2:21-cv-08688-DSF-PVC                                                        Document 95 Filed 01/19/23                                                 Page 258 of 274 Page
                                                                                                                 ID #:2397

                                                                                                                                                                                                                                    Nature of attorney work is
                                                                                                                                                                                                                                    evident and clearly denotes
                                                                                                                                                                                                                                    task related to discovery
                                                                                                                                                                                                                                    served by Plaintiffs.
                                                                                                                                                                                                                                    Attorney activity was
                                                                                                                                                                                                                                    conducted in light of all
                                                                                                                                                                                                                                    allegations within Plaintiffs'
                                                                                                                                                                                                                                    Complaint. However, if a
                                                                                                                                                                                                                                    prevailing party ultimately
                                                                                                                                                                                                                                    wins on a particular claim, it
                                                                                                                                                                                                                                    is entitled to all attorney's
                                                                                                                                                                                                                                    fees reasonably expended
                                                                                                                                                                                                                                    in pursuing that claim.
                                                                                                                                                                                                                                    Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                    F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                    Cir.1991). Defendants
                                                                                                                                                                                                                                    intend to seek 5/7 fraction
                                                                                                                                                                                                                                    of total attorneys' fees
                                                                                                                                                                                                                                    billed for this entry. .
                                                                                                                                                                                                                                    Redacations have been
                                                                                                                                                                                                                                    made to protect attorney-
                                                                                                                                                                                                                                    client communications,
                                                                                                                                                                                                                                    attorney work product,
                                                                                                                                                                                                       unnecessary discovery        attorney mental
                                                                                                                               ($333.98) [this is                                                      expense; unable to           impressions and strategy.
                                                                                                                               5/7s of the full                                                        determine how much time
Connie L. Michaels    9/19/2022 Revise response to requests for documents to                                               0.8 $470.40 entry]                                                          billed for each claim
Invoice=5749467      10/10/2022 superintendent, and correspond with client re the same.


                                                                                                                                                                                                                                     This entry concerns case
                                                                                                                                                                                                                                     experts. Defendants
                                                                                                                                                                                                                                     retained experts regarding
                                                                                                                                                                                                                                     the 14th amendment claims
                                                                                                                                                                                                                                     and the ADA claim. Given
                                                                                                                                                                                                                                     that Defendants seek
                                                                                                                                                                                                                                     recovery solely on State law
                                                                                                                                                                                                                                     claims and ADA claim,
                                                                                                                                                                                                                                     Defendants intend to seek
                                                                                                                                                                                                                                     1/3 of the amount of the
                                                                                                                                                                                                                                     total attorneys' fees related
                                                                                                                                                                                                                                     to experts. Defendants
                                                                                                                                                                                                                                     retained the experts when
                                                                                                                                                                                                                                     they did as they faced pre-
                                                                                                                                                                                                                                     trial deadlines and, while
                                                                                                                                                                                                                                     Defendants believed the
                                                                                                                                                                                                                                     ADA claim was frivolous,
                                                                                                                                                                                                                                     they had no guarantee their
                                                                                                                                                                                                       unnecessary (contradicts      motion to dismiss it would
                                                                                                                                                                                                       argument that claims are be successful, that Plaintiffs
                                                                                                                                                                                                       frivolous or without merit would dismiss the claim in
                                                                                                                                                                                                       and irrelevant to Plaintiffs' response or elect not to
                                                                                                                                                                                                       state law/ADA claims);        amend their Complaint
                                                                                                                                                                                                       unable to determine           following a ruling on the
                                                                                                                               ($83.50) [this is 5/7s                                                  nature of entry; unable to motion. Attorneys' fee
                                                                                                                               of the full $117.60                                                     determine amount of time awards must account for
Connie L. Michaels    9/19/2022 Correspond with REDACTED re REDACTED                      To protect content of attorney   0.2 entry]                 Reduced in its entirety by Plaintiffs   object   billed for each claim.        work of non-attorneys,
Invoice=5749467      10/10/2022 REDACTED impeachment of an expert of                      work product, attorney mental
                                plaintiffs.                                               impressions, and/or strategy.




                                                                                                   Final Joint Statement_00258
                       Case 2:21-cv-08688-DSF-PVC                                              Document 95 Filed 01/19/23                                                Page 259 of 274 Page
                                                                                                    ID #:2398

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                                                                      Redactions have been made
                                                                                                                                                                                                                      to protect attorney work
                                                                                                                                                                                                                      product, attorney mental
                                                                                                                                                                                         unable to determine          impressions and strategy.
                                                                                                                  ($196.32) [this is                                                     nature of entry; unable to
                                                                                                                  5/7s of the full                                                       determine amount of time
Nick McKinney      9/19/2022 Review and analysis of case law and authority   To protect content of attorney   0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467   10/10/2022 regarding REDACTED                              work product, attorney mental
                             REDACTED                                        impressions, and/or strategy.

                                                                                                                                                                                                                      Nature of the attorney work
                                                                                                                                                                                                                      is evident and necessary in
                                                                                                                                                                                                                      the defense against
                                                                                                                                                                                                                      Plaintiffs' claims. Attorney
                                                                                                                                                                                                                      activity was conducted in
                                                                                                                                                                                                                      light of all allegations within
                                                                                                                                                                                                                      Plaintiffs' Complaint.
                                                                                                                                                                                                                      However, if a prevailing
                                                                                                                                                                                                                      party ultimately wins on a
                                                                                                                                                                                                                      particular claim, it is
                                                                                                                                                                                                                      entitled to all attorney's
                                                                                                                                                                                                                      fees reasonably expended
                                                                                                                                                                                                                      in pursuing that claim.
                                                                                                                                                                                                                      Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                      F.2d 1050, 1053 (9th
                                                                                                                                                                                                                      Cir.1991). Defendants
                                                                                                                                                                                                                      intend to seek 5/7 fraction
                                                                                                                                                                                                                      of total attorneys' fees
                                                                                                                                                                                                                      billed for this entry.
                                                                                                                                                                                                                      Redactions have been made
                                                                                                                                                                                                                      to protect attorney work
                                                                                                                                                                                                                      product, attorney mental
                                                                                                                                                                                         unable to determine          impressions and strategy.
                                                                                                                  ($224.36) [this is                                                     nature of entry; unable to
                                                                                                                  5/7s of the full $316                                                  determine amount of time
Nick McKinney      9/20/2022 Review additional case law regarding the        To protect content of attorney   0.8 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467   10/10/2022 REDACTED                                        work product, attorney mental
                             REDACTED                                        impressions, and/or strategy.




                                                                                      Final Joint Statement_00259
                         Case 2:21-cv-08688-DSF-PVC                               Document 95 Filed 01/19/23                                             Page 260 of 274 Page
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                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     task related to discovery
                                                                                                                                                                                                     served by Plaintiffs.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
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                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                                                     Redacations have been
                                                                                                                                                                                                     made to protect attorney-
                                                                                                                                                                                                     client communications,
                                                                                                                                                                                                     attorney work product,
                                                                                                                                                                         unnecessary discovery       attorney mental
                                                                                                 ($476.77) [this is                                                      expense; unable to          impressions and strategy.
                                                                                                 5/7s of the full                                                        determine amount of time
Nick McKinney        9/20/2022 Prepare objections to Plaintiffs' request for                 1.7 $671.50 entry]         Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467     10/10/2022 production of documents, set one to Albert
                               Carvalho.

                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     review and analysis of
                                                                                                                                                                                                     Plaintiffs' Notice of Errata.
                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
                                                                                                                                                                                                     wins on a particular claim, it
                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry.
                                                                                                                                                                                                     Redacations have been
                                                                                                                                                                                                     made to protect attorney-
                                                                                                                                                                                                     client communications,
                                                                                                                                                                                                     attorney work product,
                                                                                                                                                                                                     attorney mental
                                                                                                 ($84.14) [this is 5/7s                                                  unable to determine         impressions and strategy.
                                                                                                 of the full $118.50                                                     amount of time billed for
Joy C. Rosenquist    9/20/2022 Review Errata filed by Plaintiff's counsel to                 0.3 entry]                 Reduced in its entirety by Plaintiffs   object   each claim.
Invoice=5749467     10/10/2022 the Second Amended Complaint.




                                                                               Final Joint Statement_00260
                          Case 2:21-cv-08688-DSF-PVC                              Document 95 Filed 01/19/23                                             Page 261 of 274 Page
                                                                                       ID #:2400

                                                                                                                                                                                                     Preparing for and advising
                                                                                                                                                                                                     on the manner in which to
                                                                                                                                                                                                     maintain potentially
                                                                                                                                                                                                     privileged documents or
                                                                                                                                                                                                     information is not an
                                                                                                                                                                                                     administrative task.
                                                                                                                                                                                                     Moreover, attorneys' fee
                                                                                                                                                                                                     awards must account for
                                                                                                                                                                                                     work of non-attorneys,
                                                                                                                                                                                                     including paralegals and law
                                                                                                                                                                                                     clerks “whose labor
                                                                                                                                                                                                     contributes to the work
                                                                                                                                                                                                     product for which an
                                                                                                                                                                                                     attorney bills her client.”
                                                                                                                                                                                                     Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                     274, 285 (1989). Non-
                                                                                                                                                                                                     attorney activity was
                                                                                                                                                                                                     conducted in light of
                                                                                                 ($79.88) [this is 5/7s                                                                              Plaintiffs' numerous sets of
                                                                                                 of the full $112.50                                                                                 discovery requests.
Ajay A. Patel         9/20/2022 Review and analyze electronic evidence and                   0.5 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5749467      10/10/2022 prepare specifications for processing and
                                loading into Relativity for substantive case
                                team review.


                                                                                                 ($41.75) [this is 5/7s
                                                                                                 of the full $58.80
Connie L. Michaels    9/20/2022 Confer with client re deposition scheduling.                 0.1 entry]
Invoice=5749467      10/10/2022

                                                                                                                                                                                                     Attorney activity was
                                                                                                                                                                                                     conducted in light of all
                                                                                                                                                                                                     allegations within Plaintiffs'
                                                                                                                                                                                                     Complaint. However, if a
                                                                                                                                                                                                     prevailing party ultimately
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                                                                                                                                                                                                     is entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                 ($41.75) [this is 5/7s                                                  unable to determine         billed for this entry.
                                                                                                 of the full $58.80                                                      amount of time billed for
Connie L. Michaels    9/20/2022 Review plaintiffs’ errata to complaint.                      0.1 entry]                 Reduced in its entirety by Plaintiffs   object   each claim.
Invoice=5749467      10/10/2022




                                                                               Final Joint Statement_00261
                           Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                 Page 262 of 274 Page
                                                                                                         ID #:2401

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            task related to discovery
                                                                                                                                                                                                                            served by Plaintiffs.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                                                            Redacations have been
                                                                                                                                                                                                                            made to protect attorney-
                                                                                                                                                                                                                            client communications,
                                                                                                                                                                                                                            attorney work product,
                                                                                                                                                                                               unnecessary discovery        attorney mental
                                                                                                                       ($83.50) [this is 5/7s                                                  expense; unable to           impressions and strategy.
                                                                                                                       of the full $117.60                                                     determine amount of time
Connie L. Michaels     9/20/2022 Review and revise responses to plaintiffs’                                        0.2 entry]                 Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467       10/10/2022 requests for documents to superintendent
                                 Carvalho.

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            review and analysis of
                                                                                                                                                                                                                            Plaintiffs' Notice of Errata.
                                                                                                                                                                                                                            Attorney activity was
                                                                                                                                                                                                                            conducted in light of all
                                                                                                                                                                                                                            allegations within Plaintiffs'
                                                                                                                                                                                                                            Complaint. However, if a
                                                                                                                                                                                                                            prevailing party ultimately
                                                                                                                                                                                                                            wins on a particular claim, it
                                                                                                                                                                                                                            is entitled to all attorney's
                                                                                                                                                                                                                            fees reasonably expended
                                                                                                                                                                                                                            in pursuing that claim.
                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                               unable to determine          billed for this entry.
                                                                                                                       ($112.18) [this is                                                      nature of entry; unable to
                                                                                                                       5/7s of the full $158                                                   determine amount of time
Carrie A. Stringham    9/21/2022 Review and analysis of Notice of Errata filed    To protect content of attorney   0.4 entry]                Reduced in its entirety by Plaintiffs    object   billed for each claim.
Invoice=5749467       10/10/2022 by Plaintiffs relating to their Second Amended   work product, attorney mental
                                 Complaint and REDACTED                           impressions, and/or strategy.

                                                                                                                       ($793.21) [this is
                                                                                                                       5/7s of the full
Connie L. Michaels     9/21/2022 Review plaintiffs’ emails for possible                                            1.9 $1,117.20 entry]
Invoice=5749467       10/10/2022 production.




                                                                                           Final Joint Statement_00262
                          Case 2:21-cv-08688-DSF-PVC                                   Document 95 Filed 01/19/23                                                  Page 263 of 274 Page
                                                                                            ID #:2402

                                                                                                                                                                                                                Nature of attorney work is
                                                                                                                                                                                                                evident and clearly denotes
                                                                                                                                                                                                                client communication
                                                                                                                                                                                                                regarding matter. Attorney
                                                                                                                                                                                                                activity was conducted in
                                                                                                                                                                                                                light of all allegations within
                                                                                                                                                                                                                Plaintiffs' Complaint.
                                                                                                                                                                                                                However, if a prevailing
                                                                                                                                                                                                                party ultimately wins on a
                                                                                                                                                                                                                particular claim, it is
                                                                                                                                                                                                                entitled to all attorney's
                                                                                                                                                                                                                fees reasonably expended
                                                                                                                                                                                                                in pursuing that claim.
                                                                                                                                                                                                                Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                                of total attorneys' fees
                                                                                                                                                                                   unable to determine          billed for this entry.
                                                                                                           ($41.75) [this is 5/7s                                                  nature of entry; unable to
                                                                                                           of the full $58.80                                                      determine amount of time
Connie L. Michaels    9/21/2022 Correspond with client re REDACTED   To protect content of attorney-   0.1 entry]                 Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467      10/10/2022 REDACTED                             client communications.




                                                                                                                                                                                                                Attorneys' fee awards must
                                                                                                                                                                                                                account for work of non-
                                                                                                                                                                                                                attorneys, including
                                                                                                                                                                                                                paralegals and law clerks
                                                                                                                                                                                                                “whose labor contributes to
                                                                                                                                                                                                                the work product for which
                                                                                                                                                                                                                an attorney bills her client.”
                                                                                                                                                                                                                Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                274, 285 (1989). Non-
                                                                                                                                                                                                                attorney activity was
                                                                                                                                                                                                                conducted in light of
                                                                                                                                                                                                                Plaintiffs' numerous sets of
                                                                                                                                                                                                                discovery requests. If a
                                                                                                                                                                                                                prevailing party ultimately
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                                                                                                                                                                                                                Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                F.2d 1050, 1053 (9th
                                                                                                                                                                                                                Cir.1991). Defendants
                                                                                                                                                                                                                intend to seek 5/7 fraction
                                                                                                                                                                                                                of total attorneys' fees
                                                                                                                                                                                                                billed for this entry.
                                                                                                           ($830.70) [this is                                                      excessive; unable to
                                                                                                           5/7s of the full                                                        determine how much time
Robert Rousseau       9/21/2022 Review documents for duplicates.                                       5.2 $1,170 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467      10/10/2022




                                                                              Final Joint Statement_00263
                         Case 2:21-cv-08688-DSF-PVC                                 Document 95 Filed 01/19/23                                              Page 264 of 274 Page
                                                                                         ID #:2403

                                                                                                                                                                                                         A brief case team meeting
                                                                                                                                                                                                         was held for all defense
                                                                                                                                                                                                         counsel weekly to confer
                                                                                                                                                                                                         and strategize regarding the
                                                                                                                                                                                                         case and its developments.
                                                                                                                                                                                                         Nature of the attorney work
                                                                                                                                                                                                         is evident and necessary in
                                                                                                                                                                                                         the defense against
                                                                                                                                                                                                         Plaintiffs' claims. Attorney
                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                         light of all allegations within
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                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                         billed for this entry.
                                                                                                   ($140.23) [this is                                                       unnecessary; unable to
                                                                                                   5/7s of the full                                                         determine amount of time
Nick McKinney        9/22/2022 Weekly litigation team conference call.                         0.5 $197.50 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim.
Invoice=5749467     10/10/2022

                                                                                                                                                                                                        Attorneys' fee awards must
                                                                                                                                                                                                        account for work of non-
                                                                                                                                                                                                        attorneys, including
                                                                                                                                                                                                        paralegals and law clerks
                                                                                                                                                                                                        “whose labor contributes to
                                                                                                                                                                                                        the work product for which
                                                                                                                                                                                                        an attorney bills her client.”
                                                                                                                                                                                                        Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                        274, 285 (1989).Nature of
                                                                                                                                                                                                        attorney work is evident
                                                                                                                                                                                                        and clearly denotes review
                                                                                                                                                                                                        and analysis of email
                                                                                                                                                                                                        correspondences related to
                                                                                                                                                                                                        this matter. Non-attorney
                                                                                                                                                                                                        activity was conducted in
                                                                                                                                                                                                        light of Plaintiffs' numerous
                                                                                                                                                                                                        sets of discovery requests. If
                                                                                                                                                                                                        a prevailing party ultimately
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                                                                                                                                                                                                        is entitled to all attorney's
                                                                                                                                                                                                        fees reasonably expended
                                                                                                                                                                                                        in pursuing that claim.
                                                                                                                                                                                                        Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                        F.2d 1050, 1053 (9th
                                                                                                   ($686.93) [this is                                                       vague; excessive; unable to Cir.1991). Defendants
                                                                                                   5/7s of the full                                                         determine amount of time intend to seek 5/7 fraction
Robert Rousseau      9/22/2022 Complete review of documents to be produced for                 4.3 $967.50 entry]          Reduced in its entirety by Plaintiffs   object   billed for each claim.      of total attorneys' fees
Invoice=5749467     10/10/2022 duplicates.

                                                                                                   ($112.18) [this is
                                                                                                   5/7s of the full $158
Joy C. Rosenquist    9/22/2022 Review procedural status of case.                               0.4 entry]
Invoice=5749467     10/10/2022




                                                                                 Final Joint Statement_00264
                          Case 2:21-cv-08688-DSF-PVC                            Document 95 Filed 01/19/23                                            Page 265 of 274 Page
                                                                                     ID #:2404

                                                                                                                                                                                                  A brief case team meeting
                                                                                                                                                                                                  was held for all defense
                                                                                                                                                                                                  counsel weekly to confer
                                                                                                                                                                                                  and strategize regarding the
                                                                                                                                                                                                  case and its developments.
                                                                                                                                                                                                  Nature of the attorney work
                                                                                                                                                                                                  is evident and necessary in
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                                                                                                                                                                                                  Plaintiffs' Complaint.
                                                                                                                                                                                                  However, if a prevailing
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                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.
                                                                                               ($208.74) [this is                                                     unable to determine
                                                                                               5/7s of the full $294                                                  amount of time billed for
Connie L. Michaels    9/22/2022 Team call.                                                 0.5 entry]                Reduced in its entirety by Plaintiffs   object   each claim;
Invoice=5749467      10/10/2022

                                                                                                                                                                                                  Nature of attorney work is
                                                                                                                                                                                                  evident and clearly denotes
                                                                                                                                                                                                  task related to discovery
                                                                                                                                                                                                  served by Plaintiffs.
                                                                                                                                                                                                  Attorney activity was
                                                                                                                                                                                                  conducted in light of all
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                                                                                                                                                                                                  Complaint. However, if a
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                                                                                                                                                                                                  Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                  F.2d 1050, 1053 (9th
                                                                                                                                                                                                  Cir.1991). Defendants
                                                                                                                                                                                                  intend to seek 5/7 fraction
                                                                                                                                                                                                  of total attorneys' fees
                                                                                                                                                                                                  billed for this entry.
                                                                                                                                                                                                  Redacations have been
                                                                                                                                                                                                  made to protect attorney-
                                                                                                                                                                                                  client communications,
                                                                                                                                                                                                  attorney work product,
                                                                                                                                                                                                  attorney mental
                                                                                              ($834.96) [this is                                                                                  impressions and strategy.
                                                                                              5/7s of the full                                                        unnecessary discovery
Connie L. Michaels    9/22/2022 Continued review of plaintiffs’ emails for                  2 $1,176 entry]          Reduced in its entirety by Plaintiffs   object   expense
Invoice=5749467      10/10/2022 possible production.




                                                                             Final Joint Statement_00265
                          Case 2:21-cv-08688-DSF-PVC                                                      Document 95 Filed 01/19/23                                                 Page 266 of 274 Page
                                                                                                               ID #:2405

                                                                                                                                                                                                                                 Preparing for and advising
                                                                                                                                                                                                                                 on the manner in which to
                                                                                                                                                                                                                                 maintain potentially
                                                                                                                                                                                                                                 privileged documents or
                                                                                                                                                                                                                                 information is not an
                                                                                                                                                                                                                                 administrative task.
                                                                                                                                                                                                                                 Moreover, attorneys' fee
                                                                                                                                                                                                                                 awards must account for
                                                                                                                                                                                                                                 work of non-attorneys,
                                                                                                                                                                                                                                 including paralegals and law
                                                                                                                                                                                                                                 clerks “whose labor
                                                                                                                                                                                                                                 contributes to the work
                                                                                                                                                                                                                                 product for which an
                                                                                                                                                                                                                                 attorney bills her client.”
                                                                                                                                                                                                                                 Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                                 274, 285 (1989).Nature of
                                                                                                                                                                                                                                 attorney work is evident
                                                                                                                                                                                                                                 and clearly denotes review
                                                                                                                                                                                                                                 and analysis of email
                                                                                                                                                                                                                                 correspondences related to
                                                                                                                                                                                                                                 this matter. Non-attorney
                                                                                                                                                                                                                                 activity was conducted in
                                                                                                                                                                                                                                 light of Plaintiffs' numerous
                                                                                                                                                                                                                                 sets of discovery requests.
                                                                                                                             ($47.93) [this is 5/7s
                                                                                                                             of the full $67.50
Mohamed A. El Bana    9/22/2022 Conduct analysis of evidence in Relativity to                                            0.3 entry]                 Reduced in its entirety by Plaintiffs   object   admin task
Invoice=5749467      10/10/2022 identify documents that may contain privileged
                                or protected content.

                                                                                                                                                                                                                                 Nature of the attorney work
                                                                                                                                                                                                                                 is evident and necessary in
                                                                                                                                                                                                                                 the defense against
                                                                                                                                                                                                                                 Plaintiffs' claims. If a
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                                                                                                                                                                                                                                 fees reasonably expended
                                                                                                                                                                                                                                 in pursuing that claim.
                                                                                                                                                                                                                                 Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                                 F.2d 1050, 1053 (9th
                                                                                                                                                                                                                                 Cir.1991). Defendants
                                                                                                                                                                                                                                 intend to seek 5/7 fraction
                                                                                                                                                                                                                                 of total attorneys' fees
                                                                                                                                                                                                                                 billed for this entry.
                                                                                                                                                                                                                                 Prevailing party may recover
                                                                                                                                                                                                                                 attorneys' fees for time
                                                                                                                                                                                                                                 reasonably expended on a
                                                                                                                                                                                                                                 motion for attorneys' fees
                                                                                                                                                                                                                                 and costs. Thompson v.
                                                                                                                                                                                                     unable to determine         Gomez, 45 F.3d 1365, 1367
                                                                                                                                                                                                     amount of time billed for   (9th Cir. 1995).
                                                                                                                             ($140.23) [this is                                                      each claim; unable to
                                                                                                                             5/7s of the full                                                        determine nature of
Susie Keshishyan      9/22/2022 Strategy call re possible filing of plaintiffs' third   To protect content of attorney   0.5 $197.50 entry]         Reduced in its entirety by Plaintiffs   object   redacted entry
Invoice=5749467      10/10/2022 amended complaint, filing of defendants' motion for     work product, attorney mental
                                fees and costs, and pending subpoena REDACTED.          impressions, and/or strategy.


                                                                                                                            ($159.75) [this is
                                                                                                                            5/7s of the full $225
Robert Rousseau       9/23/2022 Process documents for production.                                                         1 entry]
Invoice=5749467      10/10/2022




                                                                                                 Final Joint Statement_00266
                          Case 2:21-cv-08688-DSF-PVC                                               Document 95 Filed 01/19/23                                                   Page 267 of 274 Page
                                                                                                        ID #:2406

                                                                                                                                                                                                                            A brief case team meeting
                                                                                                                                                                                                                            was held for all defense
                                                                                                                                                                                                                            counsel weekly to confer
                                                                                                                                                                                                                            and strategize regarding the
                                                                                                                                                                                                                            case and its developments.
                                                                                                                                                                                                                            Nature of the attorney work
                                                                                                                                                                                                                            is evident and necessary in
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                                                                                                                                                                                                                            activity was conducted in
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                                                                                                                                                                                                                            Plaintiffs' Complaint.
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                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                unable to determine         billed for this entry.
                                                                                                                      ($125.24) [this is                                                        amount of time billed for   Redactions have been made
                                                                                                                      5/7s of the full                                                          each claim; unable to       to protect attorney work
Connie L. Michaels    9/23/2022 Prepare for and strategize with case team re     To protect content of attorney   0.3 $176.40 entry]           Reduced in its entirety by Plaintiffs   object   determine nature of entry   product, attorney mental
Invoice=5749467      10/10/2022 REDACTED                                         work product, attorney mental
                                REDACTED                                         impressions, and/or strategy.

                                                                                                                      ($41.75) [this is 5/7s
                                                                                                                      of the full $58.80
Connie L. Michaels    9/23/2022 Review court order denying trial continuance.                                     0.1 entry]
Invoice=5749467      10/10/2022

                                                                                                                      ($41.75) [this is 5/7s
                                                                                                                      of the full $58.80
Connie L. Michaels    9/23/2022 Draft correspondence to plaintiffs’ counsel re                                    0.1 entry]
Invoice=5749467      10/10/2022 scheduling of expert depositions.

                                                                                                                                                                                                                            Nature of attorney work is
                                                                                                                                                                                                                            evident and clearly denotes
                                                                                                                                                                                                                            task related to discovery
                                                                                                                                                                                                                            served by Plaintiffs.
                                                                                                                                                                                                                            Attorney activity was
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                                                                                                                                                                                                                            Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                            F.2d 1050, 1053 (9th
                                                                                                                                                                                                                            Cir.1991). Defendants
                                                                                                                                                                                                                            intend to seek 5/7 fraction
                                                                                                                                                                                                                            of total attorneys' fees
                                                                                                                                                                                                                            billed for this entry.
                                                                                                                                                                                                                            Redacations have been
                                                                                                                                                                                                                            made to protect attorney-
                                                                                                                                                                                                                            client communications,
                                                                                                                                                                                                                            attorney work product,
                                                                                                                                                                                                unable to determine         attorney mental
                                                                                                                      ($500.98) [this is                                                        amount of time billed for   impressions and strategy.
                                                                                                                      5/7s of the full                                                          each claim; unable to
Connie L. Michaels    9/23/2022 Further review of case emails for REDACTED       To protect content of attorney   1.2 $705.60 entry]           Reduced in its entirety by Plaintiffs   object   determine nature of entry
Invoice=5749467      10/10/2022 REDACTED                                         work product, attorney mental
                                                                                 impressions, and/or strategy.




                                                                                          Final Joint Statement_00267
                       Case 2:21-cv-08688-DSF-PVC                                Document 95 Filed 01/19/23                                            Page 268 of 274 Page
                                                                                      ID #:2407

                                                                                                                                                                                                   Nature of attorney work is
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                                                                                                                                                                                                   served by Plaintiffs.
                                                                                                                                                                                                   Attorney activity was
                                                                                                                                                                                                   conducted in light of all
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                                                                                                                                                                                                   Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991). Defendants
                                                                                                                                                                                                   intend to seek 5/7 fraction
                                                                                                                                                                                                   of total attorneys' fees
                                                                                                                                                                                                   billed for this entry.
                                                                                                ($224.36) [this is                                                     unable to determine
                                                                                                5/7s of the full $316                                                  amount of time billed for
Nick McKinney      9/23/2022 Complete preparation of responses to Request                   0.8 entry]                Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5749467   10/10/2022 for Production of Documents to Carvalho,
                             includes incorporating client edits.

                                                                                                                                                                                                   Attorneys' fee awards must
                                                                                                                                                                                                   account for work of non-
                                                                                                                                                                                                   attorneys, including
                                                                                                                                                                                                   paralegals and law clerks
                                                                                                                                                                                                   “whose labor contributes to
                                                                                                                                                                                                   the work product for which
                                                                                                                                                                                                   an attorney bills her client.”
                                                                                                                                                                                                   Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                   274, 285 (1989). Non-
                                                                                                                                                                                                   attorney activity was
                                                                                                                                                                                                   conducted in light of
                                                                                                                                                                                                   Plaintiffs' numerous sets of
                                                                                                                                                                                                   discovery requests. If a
                                                                                                                                                                                                   prevailing party ultimately
                                                                                                                                                                                                   wins on a particular claim, it
                                                                                                                                                                                                   is entitled to all attorney's
                                                                                                                                                                                                   fees reasonably expended
                                                                                                                                                                                                   in pursuing that claim.
                                                                                                                                                                                                   Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                   F.2d 1050, 1053 (9th
                                                                                                                                                                                                   Cir.1991).Defendants intend
                                                                                                                                                                                                   to seek 5/7 fraction of total
                                                                                                                                                                                                   attorneys' fees billed for
                                                                                                                                                                       unnecessary discovery       this entry.
                                                                                                ($255.60) [this is                                                     expense; unable to
                                                                                                5/7s of the full $360                                                  determine amount of time
Ajay A. Patel      9/23/2022 Prepare export of production set of evidence                   1.6 entry]                Reduced in its entirety by Plaintiffs   object   billed for each claim
Invoice=5749467   10/10/2022 (430 documents/LAUSD_HFDF 001132 to LAUSD_HFDF
                             002274) to be produced to opposing counsel.




                                                                              Final Joint Statement_00268
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                                                                                                        ID #:2408

                                                                                                                                                                                                                         Attorneys' fee awards must
                                                                                                                                                                                                                         account for work of non-
                                                                                                                                                                                                                         attorneys, including
                                                                                                                                                                                                                         paralegals and law clerks
                                                                                                                                                                                                                         “whose labor contributes to
                                                                                                                                                                                                                         the work product for which
                                                                                                                                                                                                                         an attorney bills her client.”
                                                                                                                                                                                                                         Missouri v. Jenkins, 491 U.S.
                                                                                                                                                                                                                         274, 285 (1989). Non-
                                                                                                                                                                                                                         attorney activity was
                                                                                                                                                                                                                         conducted in light of
                                                                                                                                                                                                                         Plaintiffs' numerous sets of
                                                                                                                                                                                                                         discovery requests. If a
                                                                                                                                                                                                                         prevailing party ultimately
                                                                                                                                                                                                                         wins on a particular claim, it
                                                                                                                                                                                                                         is entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A., 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                      ($127.80) [this is                                                     unable to determine
                                                                                                                      5/7s of the full $180                                                  amount of time billed for
Robert Rousseau      9/24/2022 Continue preparation of documents for                                              0.8 entry]                Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5749467     10/10/2022 production.

                                                                                                                                                                                                                         Nature of attorney work is
                                                                                                                                                                                                                         evident and clearly denotes
                                                                                                                                                                                                                         review and analysis of email
                                                                                                                                                                                                                         correspondences related to
                                                                                                                                                                                                                         this matter. Attorney
                                                                                                                                                                                                                         activity was conducted in
                                                                                                                                                                                                                         light of all allegations within
                                                                                                                                                                                                                         Plaintiffs' Complaint.
                                                                                                                                                                                                                         However, if a prevailing
                                                                                                                                                                                                                         party ultimately wins on a
                                                                                                                                                                                                                         particular claim, it is
                                                                                                                                                                                                                         entitled to all attorney's
                                                                                                                                                                                                                         fees reasonably expended
                                                                                                                                                                                                                         in pursuing that claim.
                                                                                                                                                                                                                         Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                                         F.2d 1050, 1053 (9th
                                                                                                                                                                                                                         Cir.1991). Defendants
                                                                                                                                                                                                                         intend to seek 5/7 fraction
                                                                                                                                                                                                                         of total attorneys' fees
                                                                                                                                                                                                                         billed for this entry.
                                                                                                                                                                                                                         Redactions have been made
                                                                                                                                                                                                                         to protect attorney work
                                                                                                                                                                                                                         product, attorney mental
                                                                                                                                                                                             unable to determine         impressions and strategy.
                                                                                                                      ($196.32) [this is                                                     amount of time billed for
                                                                                                                      5/7s of the full                                                       each claim; unable to
Joy C. Rosenquist    9/26/2022 Receive and review correspondence to/from         To protect content of attorney   0.7 $276.50 entry]        Reduced in its entirety by Plaintiffs   object   determine nature of entry
Invoice=5749467     10/10/2022 Plaintiffs counsel, REDACTED                      work product, attorney mental
                               REDACTED regarding status of pleadings REDACTED   impressions, and/or strategy.
                               REDACTED




                                                                                          Final Joint Statement_00269
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                                                                                                                                                                                                     Nature of attorney work is
                                                                                                                                                                                                     evident and clearly denotes
                                                                                                                                                                                                     review and analysis of email
                                                                                                                                                                                                     correspondences related to
                                                                                                                                                                                                     this matter. Attorney
                                                                                                                                                                                                     activity was conducted in
                                                                                                                                                                                                     light of all allegations within
                                                                                                                                                                                                     Plaintiffs' Complaint.
                                                                                                                                                                                                     However, if a prevailing
                                                                                                                                                                                                     party ultimately wins on a
                                                                                                                                                                                                     particular claim, it is
                                                                                                                                                                                                     entitled to all attorney's
                                                                                                                                                                                                     fees reasonably expended
                                                                                                                                                                                                     in pursuing that claim.
                                                                                                                                                                                                     Cabrales v. Co. of L.A. , 935
                                                                                                                                                                                                     F.2d 1050, 1053 (9th
                                                                                                                                                                                                     Cir.1991). Defendants
                                                                                                                                                                                                     intend to seek 5/7 fraction
                                                                                                                                                                                                     of total attorneys' fees
                                                                                                                                                                                                     billed for this entry. .
                                                                                                                                                                                                     Redactions have been made
                                                                                                                                                                                                     to protect attorney work
                                                                                                                                                                                                     product, attorney mental
                                                                                                                                                                                                     impressions and strategy.
                                                                                                   ($459.23) [this is                                                    unable to determine
                                                                                                   5/7s of the full                                                      amount of time billed for
Connie L. Michaels    9/26/2022 Correspond with opposing counsel re plaintiffs                 1.1 $646.80 entry]       Reduced in its entirety by Plaintiffs   object   each claim
Invoice=5749467      10/10/2022 declining to amend their complaint, advise
                                client and various witnesses of same.




                                                                                 Final Joint Statement_00270
                                       Case 2:21-cv-08688-DSF-PVC                                                        Document 95 Filed 01/19/23                                                          Page 271 of 274 Page
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Date        Name                Quantity Amount Billed Amount Sought Description                                                Defendants' Position                     Plaintiff's Position                               Amount Plaintiffs' Agree to Remit   Defendants' Response to Plaintiffs' Objections



                                                                                                                                                                                                                                                                  efendants seek recovery
                                                                                                                                                                                                                                                                of expenses related to
                                                                                                                                                                                                                                                                depositions costs as
                                                                                                                                                                         Plaintiffs object to all costs requested by                                            Plaintiffs never dismissed
                                                                                                                                                                         defendants that are associated with plaintiffs'                                        the State law and ADA
                                                                                                                                                                         depositions as unnecessary discovery expenses.                                         claims despite numerous
                                                                                                                                                                         Plaintiffs' counsel advised defense counsel                                            representations. Moreover,
                                                                                                                                                                         shortly after Plaintiffs were noticed for                                              Plaintiffs continued to
                                                                                                                                                                         deposition that the noticed Plaintiffs had no                                          propound sets of
                                                                                                                                                                         knowledge pertaining to any legal issues in the                                        discovery, subpoernas, and
                                                                                                                                                                         case. Plaintiffs' depositions did not elicit any                                       participated in numerous
                                                                                                                                                                         information supportive of the arguments made                                           meet and confers thereto.
                                                                                                                                                                         in the defense's MJOP, especially not for the                                          In fact, during the
                                                                                                                                                                         state law/ADA claims, which Defendants have                                            deposition of Plaintiff
                                                                                                                                                                         argued should be dismissed based on 11th                            0                  Norma Brambila, after
                                                                                                                                                                         Amendment Immunity, a jurisdictional and                                               numerous hours of
                                                                                                                                                                         purely legal issue that could have been raised                                         attorney work resulted in
                                                                                                                                                                         at the onset of this case, as detailed in our                                          incurred fees and
                                                                                                                                                                         November 18, 2022, and December 20, 2022,                                              expenses, opposing
                                                                                                                                                                         correspondence. See also Oregon Short Line                                             counsel, on record, once
                                                                                                                                                                         R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d                                         again claimed that "Today
                                                                                                                                                                         1259, 1263 (9th Cir. 1998) (“Whether a state is                                        we are going to inform the
                                                                                                                                                                         immune from suit under the Eleventh                                                    court that we're agreeing
                                                                                                                                                                         Amendment is a question of law[.]”) (quoting                                           to dismiss counts three
                                                                                                                                                                         Micomonaco v. Washington , 45 F.3d 316, 319                                            through seven without
                                                                                                                                                                         (9th Cir.1995)).                                                                       prejudice. So if your
                                                                                                                                                                                                                                                                questioning goes to any of
 8/22/2022 Connie L. Michaels         1      1,810.30         699.50 Court Reporter - - VERITEXT CORPORATION                    Pursuant to FRCP Rule 54(d)                                                                                                     those counts, you might
                                                                     Original with 1 Certified Transcrpt on Norma               attorneys' fees and nontaxable
                                                                     Brambila                                                   expenses are recoverable.
                                                                                                                                Furthermore, 42 U.S.C. § 12205
                                                                                                                                provides grounds for prevailing party
                                                                                                                                to recover litigation expenses.
                                                                     Vendor=VERITEXT CORPORATION                                Taxable costs under 28 U.S.C. sect.
                                                                                                                                1920 (taxation of costs), have
                                                                                                                                been sought via Bill of Costs (CV-059)
                                                                                                                                filed with Clerk on November 23,
                                                                                                                                2022




                                                                                                                                                                                                                                                                Defendants seek recovery
                                                                                                                                                                                                                                                                of expenses related to
                                                                                                                                                                                                                                                                depositions costs as
                                                                                                                                                                         Plaintiffs object to all costs requested by                                            Plaintiffs never dismissed
                                                                                                                                                                         defendants that are associated with plaintiffs'                                        the State law and ADA
                                                                                                                                                                         depositions as unnecessary discovery expenses.                                         claims despite numerous
                                                                                                                                                                         Plaintiffs' counsel advised defense counsel                                            representations. Moreover,
                                                                                                                                                                         shortly after Plaintiffs were noticed for                                              Plaintiffs continued to
                                                                                                                                                                         deposition that the noticed Plaintiffs had no                                          propound sets of
                                                                                                                                                                         knowledge pertaining to any legal issues in the                                        discovery, subpoernas, and
                                                                                                                                                                         case. Plaintiffs' depositions did not elicit any                                       participated in numerous
                                                                                                                                                                         information supportive of the arguments made                                           meet and confers thereto.
                                                                                                                                                                         in the defense's MJOP, especially not for the                                          In fact, during the
                                                                                                                                                                         state law/ADA claims, which Defendants have                                            deposition of Plaintiff
                                                                                                                                                                         argued should be dismissed based on 11th                            0                  Norma Brambila, after
                                                                                                                                                                         Amendment Immunity, a jurisdictional and                                               numerous hours of
                                                                                                                                                                         purely legal issue that could have been raised                                         attorney work resulted in
                                                                                                                                                                         at the onset of this case, as detailed in our                                          incurred fees and
                                                                                                                                                                         November 18, 2022, and December 20, 2022,                                              expenses, opposing
                                                                                                                                                                         correspondence. See also Oregon Short Line                                             counsel, on record, once
                                                                                                                                                                         R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d                                         again claimed that "Today
                                                                                                                                                                         1259, 1263 (9th Cir. 1998) (“Whether a state is                                        we are going to inform the
                                                                                                                                                                         immune from suit under the Eleventh                                                    court that we're agreeing
                                                                                                                                                                         Amendment is a question of law[.]”) (quoting                                           to dismiss counts three
                                                                                                                                                                         Micomonaco v. Washington , 45 F.3d 316, 319                                            through seven without
                                                                                                                                                                         (9th Cir.1995)).                                                                       prejudice. So if your
                                                                                                                                                                                                                                                                questioning goes to any of
 8/23/2022 Connie L. Michaels         1      1,285.20         590.80 Court Reporter - - VERITEXT CORPORATION                    Pursuant to FRCP Rule 54(d)                                                                                                     those counts, you might
                                                                     Original with 1 Certified transcript on Sandra             attorneys' fees and nontaxable
                                                                     Garcia                                                     expenses are recoverable.
                                                                     Vendor=VERITEXT CORPORATION                                Furthermorem, 42 U.S.C. § 12205
                                                                                                                                provides grounds for prevailing party
                                                                                                                                to recover litigation expenses.
                                                                                                                                Taxable costs under 28 U.S.C. sect.
                                                                                                                                1920 (taxation of costs), have




                                                                                                                      Final Joint Statement_00271
                               Case 2:21-cv-08688-DSF-PVC                                           Document 95 Filed 01/19/23                                                          Page 272 of 274 Page
                                                                                                         ID #:2411

                                                                                                           been sought via Bill of Costs (CV-059)
                                                                                                           filed with Clerk on November 23,
                                                                                                           2022
                                                                                                                                                                                                             efendants seek recovery
                                                                                                                                                                                                           of expenses related to
                                                                                                                                                                                                           depositions costs as
                                                                                                                                                    Plaintiffs object to all costs requested by            Plaintiffs never dismissed
                                                                                                                                                    defendants that are associated with plaintiffs'        the State law and ADA
                                                                                                                                                    depositions as unnecessary discovery expenses.         claims despite numerous
                                                                                                                                                    Plaintiffs' counsel advised defense counsel            representations. Moreover,
                                                                                                                                                    shortly after Plaintiffs were noticed for              Plaintiffs continued to
                                                                                                                                                    deposition that the noticed Plaintiffs had no          propound sets of
                                                                                                                                                    knowledge pertaining to any legal issues in the        discovery, subpoernas, and
                                                                                                                                                    case. Plaintiffs' depositions did not elicit any       participated in numerous
                                                                                                                                                    information supportive of the arguments made           meet and confers thereto.
                                                                                                                                                    in the defense's MJOP, especially not for the          In fact, during the
                                                                                                                                                    state law/ADA claims, which Defendants have            deposition of Plaintiff
                                                                                                                                                    argued should be dismissed based on 11th           0   Norma Brambila, after
                                                                                                                                                    Amendment Immunity, a jurisdictional and               numerous hours of
                                                                                                                                                    purely legal issue that could have been raised         attorney work resulted in
                                                                                                                                                    at the onset of this case, as detailed in our          incurred fees and
                                                                                                                                                    November 18, 2022, and December 20, 2022,              expenses, opposing
                                                                                                                                                    correspondence. See also Oregon Short Line             counsel, on record, once
                                                                                                                                                    R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d         again claimed that "Today
                                                                                                                                                    1259, 1263 (9th Cir. 1998) (“Whether a state is        we are going to inform the
                                                                                                                                                    immune from suit under the Eleventh                    court that we're agreeing
                                                                                                                                                    Amendment is a question of law[.]”) (quoting           to dismiss counts three
                                                                                                                                                    Micomonaco v. Washington , 45 F.3d 316, 319            through seven without
                                                                                                                                                    (9th Cir.1995)).                                       prejudice. So if your
                                                                                                                                                                                                           questioning goes to any of
8/23/2022 Connie L. Michaels   1    849    849 Videotape - - VERITEXT CORPORATION Viceo                    Pursuant to FRCP Rule 54(d)                                                                     those counts, you might
                                               Service on Sandra Garcias                                   attorneys' fees and nontaxable
                                               Vendor=VERITEXT CORPORATION                                 expenses are recoverable.
                                                                                                           Furthermore, 42 U.S.C. § 12205
                                                                                                           provides grounds for prevailing party
                                                                                                           to recover litigation expenses.




                                                                                                                                                                                                           Defendants seek recovery
                                                                                                                                                                                                           of expenses related to
                                                                                                                                                                                                           depositions costs as
                                                                                                                                                    Plaintiffs object to all costs requested by            Plaintiffs never dismissed
                                                                                                                                                    defendants that are associated with plaintiffs'        the State law and ADA
                                                                                                                                                    depositions as unnecessary discovery expenses.         claims despite numerous
                                                                                                                                                    Plaintiffs' counsel advised defense counsel            representations. Moreover,
                                                                                                                                                    shortly after Plaintiffs were noticed for              Plaintiffs continued to
                                                                                                                                                    deposition that the noticed Plaintiffs had no          propound sets of
                                                                                                                                                    knowledge pertaining to any legal issues in the        discovery, subpoernas, and
                                                                                                                                                    case. Plaintiffs' depositions did not elicit any       participated in numerous
                                                                                                                                                    information supportive of the arguments made           meet and confers thereto.
                                                                                                                                                    in the defense's MJOP, especially not for the          In fact, during the
                                                                                                                                                    state law/ADA claims, which Defendants have            deposition of Plaintiff
                                                                                                                                                    argued should be dismissed based on 11th           0   Norma Brambila, after
                                                                                                                                                    Amendment Immunity, a jurisdictional and               numerous hours of
                                                                                                                                                    purely legal issue that could have been raised         attorney work resulted in
                                                                                                                                                    at the onset of this case, as detailed in our          incurred fees and
                                                                                                                                                    November 18, 2022, and December 20, 2022,              expenses, opposing
                                                                                                                                                    correspondence. See also Oregon Short Line             counsel, on record, once
                                                                                                                                                    R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d         again claimed that "Today
                                                                                                                                                    1259, 1263 (9th Cir. 1998) (“Whether a state is        we are going to inform the
                                                                                                                                                    immune from suit under the Eleventh                    court that we're agreeing
                                                                                                                                                    Amendment is a question of law[.]”) (quoting           to dismiss counts three
                                                                                                                                                    Micomonaco v. Washington , 45 F.3d 316, 319            through seven without
                                                                                                                                                    (9th Cir.1995)).                                       prejudice. So if your
                                                                                                                                                                                                           questioning goes to any of
8/24/2022 Connie L. Michaels   1   906.4   196 Court Reporter - - VERITEXT CORPORATION                     Pursuant to FRCP Rule 54(d)                                                                     those counts, you might
                                               Original with 1 Certified transcript on Jeffrey             attorneys' fees and nontaxable
                                               Fuentes                                                     expenses are recoverable.
                                               Vendor=VERITEXT CORPORATION                                 Furthermore, 42 U.S.C. § 12205
                                                                                                           provides grounds for prevailing party
                                                                                                           to recover litigation expenses.
                                                                                                           Taxable costs under 28 U.S.C. sect.
                                                                                                           1920 (taxation of costs), have
                                                                                                           been sought via Bill of Costs (CV-059)
                                                                                                           filed with Clerk on November 23,
                                                                                                           2022




                                                                                                 Final Joint Statement_00272
                                   Case 2:21-cv-08688-DSF-PVC                                                          Document 95 Filed 01/19/23                                                                   Page 273 of 274 Page
                                                                                                                            ID #:2412
                                                                                                                                                                                                                                       Defendants seek recovery
                                                                                                                                                                                                                                       of expenses related to
                                                                                                                                                                                                                                       depositions costs as
                                                                                                                                                                                Plaintiffs object to all costs requested by            Plaintiffs never dismissed
                                                                                                                                                                                defendants that are associated with plaintiffs'        the State law and ADA
                                                                                                                                                                                depositions as unnecessary discovery expenses.         claims despite numerous
                                                                                                                                                                                Plaintiffs' counsel advised defense counsel            representations. Moreover,
                                                                                                                                                                                shortly after Plaintiffs were noticed for              Plaintiffs continued to
                                                                                                                                                                                deposition that the noticed Plaintiffs had no          propound sets of
                                                                                                                                                                                knowledge pertaining to any legal issues in the        discovery, subpoernas, and
                                                                                                                                                                                case. Plaintiffs' depositions did not elicit any       participated in numerous
                                                                                                                                                                                information supportive of the arguments made           meet and confers thereto.
                                                                                                                                                                                in the defense's MJOP, especially not for the          In fact, during the
                                                                                                                                                                                state law/ADA claims, which Defendants have            deposition of Plaintiff
                                                                                                                                                                                argued should be dismissed based on 11th           0   Norma Brambila, after
                                                                                                                                                                                Amendment Immunity, a jurisdictional and               numerous hours of
                                                                                                                                                                                purely legal issue that could have been raised         attorney work resulted in
                                                                                                                                                                                at the onset of this case, as detailed in our          incurred fees and
                                                                                                                                                                                November 18, 2022, and December 20, 2022,              expenses, opposing
                                                                                                                                                                                correspondence. See also Oregon Short Line             counsel, on record, once
                                                                                                                                                                                R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d         again claimed that "Today
                                                                                                                                                                                1259, 1263 (9th Cir. 1998) (“Whether a state is        we are going to inform the
                                                                                                                                                                                immune from suit under the Eleventh                    court that we're agreeing
                                                                                                                                                                                Amendment is a question of law[.]”) (quoting           to dismiss counts three
                                                                                                                                                                                Micomonaco v. Washington , 45 F.3d 316, 319            through seven without
                                                                                                                                                                                (9th Cir.1995)).                                       prejudice. So if your
                                                                                                                                                                                                                                       questioning goes to any of
8/24/2022 Connie L. Michaels      1    855              $855 Videotape - - VERITEXT CORPORATION Video                                   Pursuant to FRCP Rule 54(d)                                                                    those counts, you might
                                                             Service on Jeffrey Fuentes                                                 attorneys' fees and nontaxable
                                                             Vendor=VERITEXT CORPORATION                                                expenses are recoverable.
                                                                                                                                        Furthermore, 42 U.S.C. § 12205
                                                                                                                                        provides grounds for prevailing party




                                                                                                                                                                                Plaintiffs object to all costs requested by            Defendants seek recovery
                                                                                                                                                                                defendants that are associated with their              of expenses related to the
                                                                                                                                                                                retained and nonretained expert witnesses as           the State law and ADA
                                                                                                                                                                                unnecessary discovery expenses. Defendants             claims, including expert
                                                                                                                                                                                do not intend to seek fees/costs associated            fees. Despite numerous
                                                                                                                                                                                with defending against Plaintiffs' 14th                representations, Plaintiffs
                                                                                                                                                                                Amendment SDP and EPC claims (which                    never dismissed these
                                                                                                                                                                                defendants' experts were primarily retained to         claims and Defendants
                                                                                                                                                                                defend against), and expert testimony is not           incurred costs in their
                                                                                                                                                                                needed to argue that the court lacked                  effort to retain experts.
                                                                                                                                                                                jurisdiction over Plaintiffs' state law/ADA        0   Plaintiffs unfounded
                                                                                                                                                                                claims based on 11th Amendment immunity.               representation that
                                                                                                                                                                                Rather, as above, whether the 11th                     Defendants experts were
                                                                                                                                                                                Amendment immunizes defendants from suit               solely pursuant to
                                                                                                                                                                                against Plaintiffs' state law/ADA claims is a          defending against Plaintiffs'
                                                                                                                                                                                pure legal question. See Oregon Short Line             section 1983 claims is
                                                                                                                                                                                R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d         conclusory and untrue.
                                                                                                                                                                                1259, 1263 (9th Cir. 1998) (“Whether a state is        Moreover, Defendants are
                                                                                                                                                                                immune from suit under the Eleventh                    entitled to recovery of
                                                                                                                                                                                Amendment is a question of law[.]”) (quoting           litigation costs, including
                                                                                                                                                                                Micomonaco v. Washington , 45 F.3d 316, 319            expert fees, and attorneys'
                                           $2,800 (this is                                                                                                                      (9th Cir.1995)). Indeed, Dr. Reingold's report         fee based on ADA statute if
                                           1/3s of the total                                                                                                                    contains no opinions on or even related to             they are the prevailing
9/27/2022 Arthur Reingold, M.D.   14   600 $8400)            Expert witness fee re Arthur Reingold, M.D., for services provided         Litigation expenses normally            Plaintiffs' state law or ADA claims.                   party, as is the case here.
                                                             including review of documents, advising, and drafting of initial report.   encompasses expert witness fees.
                                                                                                                                        See Lovell v. Chandler 303 F.3d
                                                                                                                                        1039 (9th Cir. 2002). See also,
                                                                                                                                        Pursuant to FRCP Rule 54(d)
                                                                                                                                        attorneys' fees and nontaxable
                                                                                                                                        expenses are recoverable.
                                                                                                                                        Furthermore, 42 U.S.C. § 12205
                                                                                                                                        provides grounds for prevailing party




                                                                                                             Final Joint Statement_00273
                                               Case 2:21-cv-08688-DSF-PVC                                                       Document 95 Filed 01/19/23                                                               Page 274 of 274 Page
                                                                                                                                     ID #:2413


                                                                                                                                                                                                                                           Defendants seek recovery
                                                                                                                                                                                                                                           of expenses related to the
                                                                                                                                                                                     Plaintiffs object to all costs requested by           the State law and ADA
                                                                                                                                                                                     defendants that are associated with their             claims, including expert
                                                                                                                                                                                     retained and nonretained expert witnesses as          fees. Despite numerous
                                                                                                                                                                                     unnecessary discovery expenses. Defendants            representations, Plaintiffs
                                                                                                                                                                                     do not intend to seek fees/costs associated           never dismissed these
                                                                                                                                                                                     with defending against Plaintiffs' 14th               claims and Defendants
                                                                                                                                                                                     Amendment SDP and EPC claims (which                   incurred costs in their
                                                                                                                                                                                     defendants' experts were primarily retained to        effort to retain experts.
                                                                                                                                                                                     defend against), and expert testimony is not      0   Plaintiffs unfounded
                                                                                                                                                                                     needed to argue that the court lacked                 representation that
                                                                                                                                                                                     jurisdiction over Plaintiffs' state law/ADA           Defendants experts were
                                                                                                                                                                                     claims based on 11th Amendment immunity.              solely pursuant to
                                                                                                                                                                                     Rather, as above, whether the 11th                    defending against Plaintiffs'
                                                                                                                                                                                     Amendment immunizes defendants from suit              section 1983 claims is
                                                                                                                                                                                     against Plaintiffs' state law/ADA claims is a         conclusory and untrue.
                                                                                                                                                                                     pure legal question. See Oregon Short Line            Moreover, Defendants are
                                                                                                                                                                                     R.R. Co. v. Dep't of Revenue Oregon , 139 F.3d        entitled to recovery of
                                                                                                                                                                                     1259, 1263 (9th Cir. 1998) (“Whether a state is       litigation costs, including
                                                                                                                                                                                     immune from suit under the Eleventh                   expert fees, and attorneys'
                                                       $937.5 [this is                                                                                                               Amendment is a question of law[.]”) (quoting          fee based on ADA statute if
                                                       1/3 of the total                                                                                                              Micomonaco v. Washington , 45 F.3d 316, 319           they are the prevailing
9/28/2022 Anthony Podany, Pharm.D., Ph.D.   6.25   450 $2812.5)         Expert witness fee re Athony Podany, Pharm.D., Ph.D., for services   Litigation expenses normally            (9th Cir.1995)).                                      party, as is the case here.
                                                                        provided including advising and review of documents.                 encompasses expert witness fees.
                                                                                                                                             See Lovell v. Chandler 303 F.3d
                                                                                                                                             1039 (9th Cir. 2002). See also,
                                                                                                                                             Pursuant to FRCP Rule 54(d)
                                                                                                                                             attorneys' fees and nontaxable
                                                                                                                                             expenses are recoverable.
                                                                                                                                             Furthermore, 42 U.S.C. § 12205
                                                                                                                                             provides grounds for prevailing party




                                                                                                                      Final Joint Statement_00274
